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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

CENTER FOR BIOLOGICAL DIVERSITY                     )
                                                    )      Case No. 1:22-cv-1716
CITIZENS CARING FOR THE FUTURE                      )
1004 Major Avenue NW                                )
Albuquerque, New Mexico 87107                       )
                                                    )
NEW MEXICO INTERFAITH POWER AND                     )
LIGHT                                               )
1004 Major Avenue NW                                )
Albuquerque, New Mexico 87107, and                  )
                                                    )
WILDEARTH GUARDIANS                                 )
                                                    )
              Plaintiffs,                           )
       v.                                           )
                                                    )
U.S. DEPARTMENT OF THE INTERIOR, et al.             )
                                                    )
              Defendants.                           )


                         AMENDED COMPLAINT
            FOR DECLARATORY JUDGMENT AND INJUNCTIVE RELIEF


                                      INTRODUCTION

       1.     Through this Amended Complaint1, Plaintiffs Center for Biological Diversity,

Citizens Caring For the Future, New Mexico Interfaith Power and Light, and WildEarth

Guardians (together “Conservation Groups”) challenge the approval by Defendants U.S.

Department of the Interior (“Interior”), Interior Secretary Debra Haaland, U.S. Bureau of Land

Management (“BLM”), and BLM Director Tracy Stone-Manning (together “Federal



1
 Federal Rule of Civil Procedure 15(a) allows a party to amend a complaint once as of right
within 21 days of service of an answer. The Federal Defendants served their answer on August
22, 2022. Dkt. No. 47. Conservation Groups file this Amended Complaint on September 11,
2022, within 21 days of service of the answer.

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Defendants”) of at least 4,019 applications for permit to drill (“APDs”) for oil and gas in New

Mexico’s Permian Basin and Wyoming’s Powder River Basin in violation of the National

Environmental Policy Act (“NEPA”), 42 U.S.C. §§ 4321-4370m-11, the Endangered Species Act

(“ESA”), 16 U.S.C. §§ 1531-1544, and the Federal Land Policy and Management Act

(“FLPMA”), 43 U.S.C. §§ 1701-1787, and those statutes’ implementing regulations. A list of the

challenged APDs is provided in Appendix A, attached below.

        2.     Climate change is driven primarily by the burning of fossil fuels for energy and

transportation activities. In the United States, almost one quarter of all annual emissions are

from fossil fuel resources extracted from public lands. Of that amount, according to the BLM’s

own analyses, oil and gas production from public lands emits nine percent of greenhouse gas

(“GHG”) emissions in the United States, and slightly over one percent of global emissions.

        3.     During the first twenty months of the Biden administration, the BLM approved

well over 4,000 APDs in the Permian and Powder River Basins. The drilling of these oil and gas

wells will likely emit 564-706 million metric tons of carbon dioxide equivalent (“CO2e”)

greenhouse gas pollution over the course of their lifespans, equivalent to the annual emissions

of between 151-189 coal fired power plants. This is both a nationally and globally significant

quantity of emissions.

        4.     In approving these APDs, BLM failed to evaluate the cumulative impacts of

greenhouse gas emissions that will result from these approvals under NEPA, and failed to

consider the impact of these emissions as they relate to BLM’s procedural and substantive

obligations under the ESA and FLPMA. Instead, BLM myopically considered the localized

impacts of a small subset of APD approvals, failed to take a hard look at cumulative impacts,

ignored the effects that additional greenhouse gas pollution would have on climate-imperiled




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species, and failed to prevent the unnecessary and undue degradation of public lands, as is the

agency’s duty.

       5.        An ever-growing body of scientific literature, which BLM acknowledges,

demonstrates that increasing greenhouse gas emissions are causing irreparable damage to

virtually every ecosystem on the planet. From rising temperatures, increased drought and

wildfires, more chaotic and extreme weather, ocean acidification, loss of sea and land ice, to

rising sea levels, the impacts of climate change are already being experienced virtually

everywhere. By failing to consider and act on these impacts, BLM violated the law in four

distinct ways.

       6.        First, BLM failed to consult with the U.S. Fish and Wildlife Service (“USFWS”)

and the National Marine Fisheries Service (together the “Services”) on the effect that GHG

emissions from the challenged wells will have on threatened and endangered species protected

under the ESA. The consultation procedures of the ESA are designed to ensure that all federal

agencies examine both the direct and indirect effects of their activities, even when those indirect

effects are removed from the immediate footprint of the agency action, and minimize the harm

to protected species that might result.

       7.        A large and growing number of U.S. endangered species are being pushed

towards extinction primarily by climate change. In Plaintiffs’ Notice of Intent to Sue for

violations of the ESA, submitted to Federal Defendants prior to bringing this case and

incorporated herein by reference, Plaintiffs identified approximately 150 animals and plants for

which climate change is a primary driver of their decline. These species include coral reefs,

Hawaiian songbirds, desert fish, mountaintop species, ice seals and polar bears, and species

found in low-lying areas like the Florida Keys. For biodiversity in the United States, the




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situation is the most dire in Hawaii. A scientific paper published in the spring of 2022 warns

that three Hawaiian songbirds will be extinct in the wild in three to five years due to the uphill

spread of mosquitos and avian malaria caused by climate change. At no point has the BLM ever

considered the contribution from its fossil fuel program to the decline of these bird species, or

for that matter any other climate-imperiled species being driven towards extinction by ever-

increasing emissions. This failure violates the ESA.

       8.     Second, BLM violated FLPMA by failing to consider or take action to prevent the

unnecessary and undue degradation of public lands resulting from ongoing oil and gas

permitting. As the agency acknowledges, almost all ecosystems in the United States are

unraveling as a result of climate change. The lands administered by the BLM are found

predominantly in the western half of the nation and Alaska. In particular, lands in the western

United States are experiencing a climate change-exacerbated megadrought, the likes of which

have not been seen in 800 years, and unprecedented and severe wildfires. These and other

climate impacts will occur more frequently and grow more severe as additional greenhouse gas

pollution occurs, including the pollution from federal oil and gas permitting. Under FLPMA, the

BLM has a duty to take action to prevent such unnecessary and undue degradation of the lands

it administers. Yet the agency continues to authorize additional oil and gas development,

including the over 4,000 oil and gas wells challenged here, without considering or taking action

related to this substantive duty. The resulting greenhouse gas emissions exacerbate the climate

crisis, causing unnecessary and undue degradation of almost every landscape BLM manages.

       9.     Third, the BLM has failed to take a hard look at cumulative GHG emissions and

climate impacts under NEPA. Rather, BLM merely quantified projected GHG emissions from

the APD approvals and listed the percent increase, or the fraction of regional or national GHG




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    emissions they represent, in a table. This does not satisfy BLM’s obligation to take a hard look

    at cumulative GHG emissions and climate impacts. BLM must analyze and disclose reasonably

    foreseeable cumulative climate impacts of these GHG emissions, as well as provide some

    measure of the significance and severity of these emissions, from the challenged APD approvals

    and aggregated nationwide across the agency’s fossil fuel program.

           10.    Fourth, the BLM has failed to take a hard look at environmental justice under

    NEPA. There are communities in New Mexico, Wyoming, and nationwide that are likely to

    experience disproportionate2 and adverse effects from climate change, and from oil and gas

    development authorized by BLM. Moreover, BLM has failed to assess or acknowledge the

    contribution of its APD approvals and its fossil fuel program to environmental injustices

    associated with GHG emissions and climate change. Communities from Alaska to the Gulf of

    Mexico will see their lands disappear due to rising sea levels and worsening storms. Droughts

    and wildfires will increasingly displace and destroy communities in the West. People and

    communities already experiencing environmental, social, and structural inequities and injustices

    are likely to suffer the worst climate impacts.

           11.    Plaintiffs therefore ask this Court to declare BLM’s APD approvals challenged

    herein to be unlawful, to vacate or set aside all APD approvals, to remand to BLM for further

    action in accordance with applicable law, and to enjoin Federal Defendants from approving or

    otherwise taking action to approve any applications for permits to drill on federal public lands




2
 As used in Executive Order 12898 on environmental justice, a term used “to describe situations
of concern where there exists significantly higher and more adverse health and environmental
effects on minority populations, low-income populations or indigenous peoples.” See U.S.
Environmental Protection Agency, “EJ 2020 Glossary,” available at:
https://www.epa.gov/environmentaljustice/ej-2020-glossary.



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and minerals until Federal Defendants have fully complied with NEPA and its implementing

regulations, and the substantive provisions of the ESA and FLPMA.

                                 JURISDICTION AND VENUE

       12.     This action arises under NEPA, 42 U.S.C. §§ 4321-4370m-11, the ESA, 16

U.S.C. §§ 1531-1544, FLPMA, 43 U.S.C. §§ 1701-1787, and the Administrative Procedure Act

(“APA”), 5 U.S.C. §§ 701-706.

       13.     Jurisdiction is proper in this Court pursuant to 28 U.S.C. § 1331 and 28 U.S.C. §

1346 because it arises under the laws of the United States and involves the United States as a

defendant. Jurisdiction over Plaintiffs’ ESA claim arises under 16 U.S.C. § 1540(g).

       14.     The requested relief is proper under 28 U.S.C. §§ 2201-2202 and 5 U.S.C. §§

705-706, and would redress the actual and imminent, concrete injuries to Conservation Groups

caused by Federal Defendants’ failure to comply with duties mandated by NEPA, the ESA and

FLPMA, and their implementing regulations. Conservation Groups’ interests will be adversely

affected and irreparably injured if Federal Defendants continue to violate NEPA, the ESA, and

FLPMA, as alleged herein, and if they affirmatively implement the decisions challenged herein.

These injuries are concrete and particularized and fairly traceable to Federal Defendants’

challenged decisions, providing the requisite personal stake in the outcome of this controversy

necessary for this Court’s jurisdiction.

       15.     The requested relief would redress the actual, concrete injuries to Conservation

Groups caused by Federal Defendants’ failure to comply with duties mandated by NEPA, the

ESA, and FLPMA and those statutes’ implementing regulations.

       16.     The challenged agency actions are final and subject to judicial review pursuant to

5 U.S.C. §§ 702, 704, and 706.




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           17.   Conservation Groups have exhausted any and all available and requested

administrative remedies.

           18.   The Center for Biological Diversity sent a Notice of Intent to Sue to the Bureau of

Land Management, Department of the Interior and U.S. Department of Commerce as required by

16 U.S.C. § 1540(g) on February 2, 2022, alleging violations of the Endangered Species Act

including the failure to consult on the approval of APDs with respect to climate-imperiled

species and the failure to reinitiate consultations regarding the impacts to climate-imperiled

species that were never considered at any point in any applicable resource management plans.

An updated Notice of Intent to Sue was submitted to the Federal Defendants on March 28, 2022,

that included plaintiff WildEarth Guardians.

           19.   Venue in this Court is proper pursuant to 28 U.S.C. § 1391(e)(1) because officers

of the United States are named as Defendants in their official capacities and reside in this judicial

district; Plaintiff Center for Biological Diversity maintains an office in this judicial district; and a

substantial part of the events or omissions giving rise to the claims have occurred in this judicial

district, including underlying decision-making and guidance for the U.S. Department of the

Interior’s management of federal oil and gas resources, as disseminated to the agency’s field

offices.

                                              PARTIES

           20.   Plaintiff CENTER FOR BIOLOGICAL DIVERSITY (“the Center”) is a non-

profit conservation organization headquartered in Tucson, Arizona, with offices in Washington,

D.C., a number of states, and Mexico. The Center uses science, policy, and law to advocate for

the conservation and recovery of species on the brink of extinction and the habitats they need to

survive. The Center has and continues to advocate actively for increased protections for species




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and their habitats across the United States. The Center has more than 81,000 members and 1.7

million online members and activists. The Center’s board, staff, and members observe wildlife

for recreation, scientific research, aesthetic pursuits, and spiritual renewal, including climate-

imperiled species harmed by greenhouse gas emissions caused by oil and gas development on

BLM lands, and recreate on public lands across the United States as well as public lands in New

Mexico and Wyoming that will be affected by the drilling permits challenged herein. The Center

brings this action on its own behalf and on behalf of its adversely affected members.

       21.     Plaintiff CITIZENS CARING FOR THE FUTURE (“CCFF”) is an

unincorporated non-profit membership association based in southeastern New Mexico in the

Permian Basin. CCFF’s mission is to bring together southeastern New Mexico community

members who support protecting the air, water and public health and safety during the current oil

and gas boom in the Permian. The organization seeks to find an informed and safe path to ensure

protections for the local community in the face of the health, safety and environmental dangers

posed by rapid oil and gas development in the greater Carlsbad region of southeastern New

Mexico.

       22.     Plaintiff NEW MEXICO INTERFAITH POWER AND LIGHT (“NM IPL”) is a

non-profit organization based in Albuquerque, New Mexico. It is one of 40 state affiliates of the

Interfaith Power and Light National Office, which is headquartered in Oakland, California. NM

IPL has members who live, work, worship, or recreate on public lands across New Mexico and

on and near the drilling permits in New Mexico challenged herein. NM IPL works for climate

justice by mobilizing faith communities, faith leaders and people of faith to reduce the cause and

consequences of global climate change through religious inspiration, education, outreach,

implementation of sustainable practices and advocating effective climate protection policies. NM




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IPL works in all areas of New Mexico, including the Permian Basin, where faith leaders formed

and now work with the Permian-based group Citizens Caring for the Future. These faith leaders

live with growing health and environmental concerns in their communities in Hobbs, Carlsbad

and Jal, in the Permian Basin of southeast New Mexico, where oil and gas leasing and drilling is

rampant. These concerns come from a moral and ethical care for God’s creation and the religious

mandate to take care of neighbors. People of faith and leaders who are NM IPL members in

nearby Albuquerque, New Mexico and El Paso, Texas have visited and will continue to visit

locations in the Permian Basin near Carlsbad, Loco Hills, Hobbs, and Jal, New Mexico, where

they have prayed for healing of polluted sites while breathing toxic air from oil and gas

emissions. For NM IPL members, this oil and gas pollution violates sacred land, water and air

and the right to a clean environment.

       23.     Plaintiff WILDEARTH GUARDIANS (“Guardians”) is a non-profit membership

organization based in Santa Fe, New Mexico, with offices throughout the West. Guardians has

more than 187,000 members and activists, some of whom live, work, or recreate on public lands

across the West and on and near the drilling permits in New Mexico and Wyoming challenged

herein. Guardians and its members are dedicated to protecting and restoring the wildlife, wild

places, wild rivers, and health of the American West. Toward this end, Guardians and its

members work to replace fossil fuels with clean, renewable energy in order to safeguard public

health, the environment, and the Earth’s climate.

       24.     Conservation Groups’ members use and enjoy the cultural resources, wildlands,

wildlife habitat, rivers, streams, and healthy environment on BLM and other public lands across

the nation, including BLM lands and other public lands in New Mexico and Wyoming that are in

and adjacent to the oil and gas well sites that are the subject of this Amended Complaint.




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Conservation Groups’ members use and enjoy these public lands across the nation for hiking,

fishing, hunting, camping, photographing scenery and wildlife, wildlife viewing, aesthetic

enjoyment, prayer, and engaging in other vocational, scientific, spiritual, and recreational

activities.

        25.    Conservation Groups’ members live, work, recreate, and/or worship in

communities in the Permian Basin of southeastern New Mexico near existing oil and gas well

sites and pollution, and near oil and gas well sites in the Permian Basin that are the subject of this

Amended Complaint.

        26.    For example, CCFF member Kayley Shoup lives in Carlsbad, New Mexico and

has a pre-existing condition that makes her particularly vulnerable to environmental pollutants.

More air and water pollution in her region puts her health at risk, and makes her community a

risky place to call home, not only for herself, but also for other vulnerable people throughout the

community. CCFF member Chris Dizon lives near a gas compressor station in Eunice, New

Mexico. Frequent flaring events are disruptive and the pollutants that result from this flaring are

a hazardous irritant degrading the quality of life and health of the surrounding community. CCFF

member Nicholas King is pastor of the Carlsbad Mennonite Church. His moral and spiritual

responsibility is to care for the congregation and the world we live in for the good of all. With air

pollutant concentrations in the area––including those monitored at the nearby Carlsbad Caverns

National Park––at levels regularly exceeding the U.S. Environmental Protection Agency’s

(“EPA”) health-based standards, he is concerned for the health of the elderly and everyone living

in the Permian Basin. Seeing the flares all around the landscape at night and smelling the

noxious fumes from oil and gas development whenever he travels in the region is very

concerning for Mr. King, as he is concerned with not only the health risks and impacts now, but




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also the cumulative effects of greenhouse gas emissions and climate change for all in this world,

now and for the foreseeable future. BLM's unlawful approval of the APDs—without complying

with NEPA, the ESA, and FLPMA—will lead to additional oil and gas development across the

Permian Basin and will exacerbate these and other harms experienced by Ms. Shoup, Mr. Dizon,

Mr. King, and other CCFF members living with rampant oil and gas development in the Permian

Basin.

         27.   In addition, faith leaders who are members of NM IPL, including board members

Ruth Striegel, Ann McCartney, Judy Smith, and other leaders including Sr. Odile Coirier,

Stephen Picha, Sr. Joan Brown, and Clara Sims have regularly visited, and will continue to visit,

communities in the Permian Basin. During these visits, they have talked with community

members about cancer and living near oil and gas development and the health-harming

pollution it causes. They have visited playgrounds in these communities adjacent to oil and gas

development and are concerned about harms to children’s health, and have spoken with

community members, priests, and ministers who are concerned about the communities they

serve, where they see many health concerns they believe are related to proximity of the oil and

gas industry. People of faith throughout the ages have gone to pray and be with the natural

world in the wilderness, and NM IPL’s members continue to do so, including in areas in and

around the challenged APDs––but it is difficult to hear the voice of the Holy when surrounded

in these areas by oil and gas wells. Carlsbad Caverns National Park, near Carlsbad, New

Mexico in the Permian Basin, is a cathedral of inspiration and renewal for many, and is

threatened by ongoing exploration, leasing and oil and gas wells, tanks, traffic, and pipelines.

NM IPL’s members are concerned about worsening climate change and several young adults

like Clara Sims and organizer Kayley Shoup wonder how they will be able to be responsible




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citizens into the future as they face more and more suffering and death from storms, droughts,

flooding, and food insecurity due to climate change that is directly linked to the fossil fuel

industry in the Permian Basin. NM IPL regularly hears young people, including its own

members, express concerns about hope for the future as they tirelessly work for healthy

communities and systemic change, even as they see rampant oil and gas leasing and drilling

permit approvals in the Permian Basin. As people of faith, NM IPL’s members try to live

according to their vision of scriptures that counsel to take care of neighbors, care for creation,

and choose life that you and your descendants may live. BLM's unlawful approval of the

APDs—without complying with NEPA, the ESA, and FLPMA—will lead to additional oil and

gas development across the Permian Basin and will exacerbate these and other harms, now and

for future generations.

       28.    Conservation Groups, their members, and supporters include individuals who

enjoy observing, photographing, filming, and otherwise appreciating threatened and endangered

species, as well as their habitats. In particular, these individuals enjoy and appreciate observing

climate-imperiled species, and derive professional, scientific, educational, recreational,

aesthetic, moral, spiritual, and other benefits from seeing these species and their habitat in the

wild. Plaintiffs have members who have visited and have concrete plans to again visit these

species and their habitat.

       29.    For example, Center member Robin Silver routinely travels to Mt. Graham,

Arizona to observe and photograph the Mt. Graham red squirrel, whose remaining cold

mountaintop, microclimate continued to shrink and degrade as temperatures warm and wildfires

become more intense and more frequent. Center member Chris Nagano, a former U.S. Fish and

Wildlife Service biologist and entomologist, routinely travels and intends to visit again areas




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that are home to the Miami blue butterfly, Quino checkerspot butterfly and Schaus swallowtail

butterfly, all of which are threatened by warming temperatures. Center member Brett Hartl has

traveled extensively across the United States to view whooping cranes, Hawaiian songbirds,

piping plover, and eastern black rail. These species are threatened by sea level rise and

degradation of their habitats as temperature rise due to climate change. Center member Jenny

Ross is a freelance photographer and writer who has traveled numerous times to photograph

polar bears in the Arctic and she intends to do so again in the future. Center member Abel

Valdivia is a professional marine biologist whose research focuses on coral species, and has

observed elkhorn and staghorn coral on many occasions, and travels internationally for work

and for personal enjoyment to view coral reefs, all of which are threatened by ocean

acidification and warming temperatures. The concrete interests of these and other Center

members in observing, studying, and otherwise benefitting from these and other climate-

imperiled species throughout the United States (and the world) are imperiled by Defendants’

failure to engage in ESA Section 7 consultation regarding the federal agency actions at issue.

      30.     In addition, Guardians member Jeremy Nichols regularly travels to recreate on

public lands in the Powder River Basin, including areas directly impacted by development of

many of the challenged APDs. Mr. Nichols uses BLM and other public lands for hiking,

searching for wildlife, searching for other unique natural artifacts, and enjoying the feeling of

being away from it all. Oil and gas development has a negative impact on the relatively

undeveloped landscapes particularly enjoyed by Mr. Nichols, through drilling, fracking, flaring,

truck traffic, construction of pipelines, installation of tanks and compressor stations,

development of processing facilities, and overall leading to an enormous influx of industrial

development and traffic. The development leads to air pollution, both directly from engines,




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flaring, and other sources, but also through the creation of haze and smog. Oil and gas

development inevitably has a negative impact on Mr. Nichols' recreational and aesthetic

pursuits. BLM's unlawful approval of the APDs—without complying with NEPA, the ESA, and

FLPMA—will lead to additional oil and gas development across the Powder River Basin and

will exacerbate these and other harms. Nichols also enjoys searching for wildlife, including

various species threatened by catastrophic climate change. Mr. Nichols' ability to observe

wildlife, including wolverine, Canada lynx, Bull trout and other imperiled fish species, is

imperiled by increased temperatures resulting from climate change. Defendants' approvals of

the challenged APDs will lead to additional GHG emissions and exacerbate the increased

temperatures and other negative impacts of climate change, thereby harming Mr. Nichols'

ability to observe and enjoy these and other climate-imperiled species.

       31.     Conservation Groups’ members intend to continue to use and enjoy BLM lands

and other public lands around the nation, including in New Mexico and Wyoming, that include

or are adjacent to the well sites for the oil and gas drilling permits challenged herein and lands

that are around or within view of lands affected by the drilling permits challenged herein, to

enjoy cultural resources, wildlands, wildlife habitat, rivers, streams, and healthy environments

frequently and on an ongoing basis long into the future, including this summer, fall, and winter.

       32.     Conservation Groups’ members’ enjoyment of public lands will be adversely

affected and diminished as a result of Federal Defendants’ APD approvals. Conservation

Groups’ members recreate on and enjoy public lands that include and are near the well sites for

the oil and gas drilling permits that are the subject of this lawsuit. Development of oil and gas

wells resulting from these drilling permits stands to directly alter the natural state of public lands

within these areas, emit greenhouse gases and exacerbate climate change, produce air pollution




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that is offensive and dangerous, and cause further unnecessary and undue degradation and

otherwise adversely impact public lands, communities, climate-threatened species and their

habitats, and environmental justice.

       33.     The development of the oil and gas drilling permits challenged herein will bring

not only new industrial activity, but also noise, destruction of wildlife habitat, surface

disturbance, air pollution, and water contamination. These impacts can be far-reaching. For

example, air pollution from oil and gas development can create extensive visible emissions that

create haze and smog in large regions.

       34.     A favorable ruling in this case would redress the harms that Conservation Groups

and their members stand to suffer as a result of Federal Defendants’ actions. If Federal

Defendants had properly taken into account the climate and environmental justice impacts of

their actions, as NEPA requires, they may have rejected or otherwise conditioned the issuance of

the challenged drilling permits. If Federal Defendants had consulted with the U.S. Fish and

Wildlife Service and National Marine Fisheries Service to ensure the challenged actions would

not jeopardize the continued existence of climate-imperiled listed species and their habitats, as is

their duty under the ESA, they may have rejected or otherwise conditioned the issuance of the

challenged drilling permits. And if Federal Defendants had defined and taken action to avoid the

unnecessary and undue degradation of public lands, as is their substantive duty under FLPMA,

they may have rejected or otherwise conditioned the issuance of the challenged drilling permits.

Such actions would have mitigated or eliminated the threat of reasonably foreseeable oil and gas

development, preventing the diminishment of the enjoyment of public lands used by

Conservation Groups’ members. A favorable ruling would ensure that as Conservation Groups’




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members continue to use and enjoy public lands affected by Federal Defendants’ actions, their

harms would be reduced, if not eliminated.

       35.     Defendant U.S. DEPARTMENT OF THE INTERIOR is an executive department

of the United States government that is responsible for the conservation and management of the

nation’s natural resources, including its public lands, wildlife and endangered species, resources,

mineral estates, and cultural heritage. In this managerial capacity, the U.S. Department of the

Interior is responsible for implementing and complying with federal law, including the federal

laws under which this action is brought.

       36.     Defendant DEBRA HAALAND is sued in her official capacity as the Secretary of

the U.S. Department of the Interior and is responsible for conserving endangered species and

managing federal public lands and resources, including in New Mexico and Wyoming, and, in

that official capacity, is responsible for implementing and complying with federal law, including

the federal laws under which this action is brought.

       37.     Defendant U.S. BUREAU OF LAND MANAGEMENT is an agency within the

U.S. Department of the Interior and is responsible for managing federal public lands and

resources, including federal onshore oil and gas resources and the development of those

resources. In this managerial capacity, BLM is responsible for implementing and complying with

federal law, including the federal laws under which this action is brought.

       38.     Defendant TRACY STONE-MANNING is Director of the Bureau of Land

Management, an agency within the U.S. Department of the Interior, and is responsible for

managing the public lands, wildlife resources, and public mineral estate of the United States. In

her official capacity, Director Stone-Manning is responsible for implementing and complying

with federal law, including the federal laws under which this action is brought.




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                           LEGAL AND POLICY BACKGROUND

I.     National Environmental Policy Act

       A.      General NEPA Framework and Greenhouse Gas Analysis

       39.     Recognizing “the profound impact of man’s activity on the interrelations of all

components of the natural environment,” Congress enacted NEPA in 1970 “to use all practicable

means and measures . . . to create and maintain conditions under which man and nature can exist

in productive harmony . . . .” 42 U.S.C. § 4331(a). The act declares that “each person should

enjoy a healthful environment”—to ensure that the federal government uses all practicable

means to “assure for all Americans safe, healthful, productive, and esthetically and culturally

pleasing surroundings,” and to “attain the widest range of beneficial uses of the environment

without degradation, risk to health or safety, or other undesirable and unintended consequences,”

among other policies. Id. § 4331(b).

       40.     According to the White House Council on Environmental Quality (“CEQ”), the

federal agency responsible for implementing NEPA:

       . . . NEPA was a statute ahead of its time, and it remains relevant and vital today.
       It codifies the common-sense and fundamental idea of “look before you leap” to
       guide agency decision making, particularly in complex and consequential areas,
       because conducting sound environmental analysis before actions are taken
       reduces conflict and waste in the long run by avoiding unnecessary harms and
       uninformed decisions. It establishes a framework for agencies to ground decisions
       in sound science and recognizes that the public may have important ideas and
       information on how Federal actions can occur in a manner that reduces potential
       harms and enhances ecological, social, and economic well-being.

87 Fed. Reg. 23,453 (April 20, 2022).

       41.     NEPA achieves its purpose through “action forcing procedures. . . requir[ing] that

agencies take a hard look at environmental consequences.” Robertson v. Methow Valley Citizens

Council, 490 U.S. 332, 350 (1989) (citations omitted) (emphasis added).




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       42.     NEPA's purpose is “to provide for informed decision making and foster excellent

action.” 40 C.F.R. § 1500.1(a). NEPA regulations “are intended to ensure that relevant

environmental information is identified and considered early in the process in order to ensure

informed decision making by Federal agencies. Id. § 1500.1(b).

       43.     Federal agencies must comply with NEPA before there are “any irreversible and

irretrievable commitments of resources which would be involved in the proposed action should it

be implemented.” 42 U.S.C. § 4332(2)(C)(v).

       44.     To accomplish these purposes, NEPA requires that all federal agencies prepare a

“detailed statement” regarding all “major federal actions significantly affecting the quality of the

human environment.” Id. § 4332(C). This statement, known as an Environmental Impact

Statement (“EIS”), must among other things ensure that agencies consider the environmental

impacts of their actions in decision-making; provide full and fair discussion of significant

environmental impacts; and inform decision makers and the public of reasonable alternatives that

would avoid or minimize adverse impacts or enhance the quality of the human environment. 40

C.F.R. § 1502.1. An EIS must describe the environment of the area or areas to be affected,

including the reasonably foreseeable environmental trends in the areas and the environmental

impacts of the proposed action; reasonable alternatives to the proposed action and the

significance of those impacts; and the means to mitigate adverse environmental impacts. 40

C.F.R. §§ 1502.15, 1502.16(a)(1)-(9).

       45.     BLM’s analysis must do more than merely identify impacts; it must also “evaluate

the severity” of effects. Robertson v. Methow Valley Citizens Council, 490 U.S. at 352.

An agency may also prepare an environmental assessment (“EA”) if it has determined not to

prepare an EIS. 40 C.F.R. § 1501.5(a).




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           46.    An EA must include discussion of sufficient evidence and analysis to determine

    whether to prepare an EIS or a finding of no significant impact (“FONSI”); the environmental

    impacts of the proposed action; and alternatives to the proposed action. Id. § 1501.5(c).

          47.     To implement NEPA’s requirement to evaluate the effects of greenhouse gas

emissions, the CEQ has directed federal agencies to “consider all available tools and resources in

assessing GHG emissions and climate change effects of their proposed actions, including, as

appropriate and relevant, the 2016 GHG Guidance.” 86 Fed. Reg. 10,252 (Feb. 21, 2021). The

“2016 GHG Guidance” refers to the Final Guidance for Federal Departments and Agencies on

Consideration of Greenhouse Gas Emissions and the Effects of Climate Change in National

Environmental Policy Reviews issued August 2, 2016. 81 Fed. Reg. 51,866 (Aug. 5, 2016).3

          48.     The 2016 GHG Guidance advises federal agencies to:

          •       quantify a proposed agency action’s projected direct and indirect GHG emissions,
                  taking into account available data and GHG quantification tools that are suitable
                  for the proposed agency action;




3
 The 2016 GHG Guidance is available at: https://ceq.doe.gov/docs/ceq-regulations-and-
guidance/nepa_final_ghg_guidance.pdf.

In 2017, President Trump withdrew the 2016 GHG Guidance, 82 Fed. Reg. 16,093, 16,094 (Mar.
28, 2017). In 2019, the Trump administration issued draft guidance on analysis of GHGs under
NEPA. See “Draft National Environmental Policy Act Guidance on Consideration of Greenhouse
Gas Emissions,” 84 Fed. Reg. 30,097 (June 26, 2019) (“Draft 2019 GHG Guidance”). However,
that draft guidance was never finalized. See 86 Fed. Reg. 10,252 (Feb. 19, 2021).

At the beginning of his administration, President Biden issued Executive Order 13990 directing
CEQ among other things to rescind the Draft 2019 GHG Guidance and update the 2016 GHG
Guidance. 86 Fed. Reg. 7037, 7042 (Jan. 25, 2021). CEQ has since rescinded the Draft 2019
GHG Guidance, is conducting a review and update of the 2016 GHG Guidance, and advised all
federal agencies to use the guidance as appropriate and relevant. 86 Fed. Reg. 10,252 (Feb. 19,
2021); see also San Juan Citizens All. v. U.S. Bureau of Land Mgmt., 326 F. Supp. 3d 1227,
1243 and n. 5 (D.N.M. 2018) (court cited and relied on withdrawn 2016 GHG Guidance as
persuasive and worthy of citation to the extent reasoning is logically sound and consistent with
case law).

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       •       sets forth methods to appropriately analyze reasonably foreseeable direct, indirect,
               and cumulative GHG emissions and climate effects;

       •       use appropriate tools and methodologies for quantifying GHG emissions and
               comparing GHG quantities across alternative scenarios;
       •       not limit themselves to calculating a proposed action’s emissions as a percentage
               of sector, nationwide, or global emissions in deciding whether or to what extent to
               consider climate change impacts under NEPA; and

       •       identify alternatives that would make the actions and affected communities more
               resilient to the effects of a changing climate.

       B.      Environmental Justice and Climate Justice Guidance and Policies

       49.     Executive Order 12898 (“EO 12898”), Federal Actions to Address Environmental

Justice in Minority Populations and Low-Income Populations, requires that each federal agency

“shall make achieving environmental justice part of its mission by identifying and addressing, as

appropriate, disproportionately high and adverse human health or environmental effects of its

programs, policies, and activities on minority populations and low-income populations” to the

greatest extent practicable. 59 Fed. Reg. 7,629 (Feb. 11, 1994).

       50.     Environmental justice, in turn, is defined by the EPA as “the fair treatment and

meaningful involvement of all people regardless of race, color, national origin, or income, with

respect to the development, implementation, and enforcement of environmental laws,

regulations, and policies.”4 According to the EPA, environmental justice “will be achieved”

when “everyone enjoys” two things: “the same degree of protection from environmental and

health hazards,” and “equal access to the decision-making process to have a healthy environment

in which to live, learn, and work.”5




4
  See EPA, available at: https://www.epa.gov/environmentaljustice/learn-about-environmental-
justice (emphasis added).
5
  Id.

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        51.     Environmental justice is a “relevant factor” and an “important aspect of the

problem” for which courts have held that federal agencies must take a hard look under NEPA

and the APA.

        52.     The CEQ has developed guidance to assist federal agencies in addressing

environmental justice issues during the NEPA process. CEQ recognizes that “[e]nvironmental

justice issues may arise at any step of the NEPA process and agencies should consider these

issues at each and every step of the process, as appropriate.” CEQ, Environmental Justice under

the National Environmental Policy Act, at 8 (Dec. 10, 1997).

        53.     According to the CEQ Guidance, environmental justice “consideration of impacts

on low-income populations, minority populations, or Indian tribes”, can identify

disproportionately high and adverse effects that are “significant” under NEPA, but that would

otherwise be overlooked. Id. at 10.

        54.     The CEQ Guidance directs agencies to ensure meaningful community

involvement in the NEPA process, recommending that “[a]gencies should be aware of the

diverse constituencies within any particular community when they seek community

representation and should endeavor to have complete representation of the community as a

whole. Agencies also should be aware that community participation must occur as early as

possible if it is to be meaningful.” Id. at 9.

        55.     On his first day in office, President Biden signed Executive order 13990 (“EO

13990”), Protecting Public Health and the Environment and Restoring Science to Tackle the

Climate Crisis, 86 Fed. Reg. 7037 (Jan. 20, 2021). Through EO 13990, the President directed all

executive departments and agencies “to immediately review and, as appropriate and consistent

with applicable law, take action to address the promulgation of Federal regulations and other




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actions” during the Trump administration that conflict with environmental justice, climate, and

public health objectives outlined in the EO, and “to immediately commence work to confront the

climate crisis.”

        56.        One week later, President Biden affirmed his administration’s commitment to

tackling climate change, and to ensuring that environmental justice concerns were front and

center in undertaking this “urgent and necessary” work, by issuing Executive Order 14008 (“EO

14008”), Tackling the Climate Crisis at Home and Abroad. 86 Fed. Reg. 7619 (Jan. 27, 2021).

        57.        Through EO 14008, the President directed that federal “[a]gencies shall make

achieving environmental justice part of their missions by developing programs, policies, and

activities to address the disproportionately high and adverse human health, environmental,

climate-related and other cumulative impacts on disadvantaged communities…” Id. at 7629.

II.     The Endangered Species Act

         58.       The ESA’s purpose is “to provide a means whereby the ecosystems upon which

 endangered species and threatened species depend may be conserved, [and] to provide a

 program for the conservation of such endangered species and threatened species.” 16 U.S.C. §

 1531(b). In passing the ESA, Congress intended endangered species to be afforded the highest

 of priorities.

         59.       The ESA assigns responsibility to implement the statute to the Secretaries of

 Interior and Commerce, which in turn have delegated responsibility to the U.S. Fish and

 Wildlife Service and the National Marine Fisheries Service, respectively. 50 C.F.R. § 402.01.

         60.       Through the ESA, Congress declared its policy “that all Federal departments and

 agencies shall seek to conserve endangered species and threatened species and shall utilize their

 authorities in furtherance of the purposes of [the Act].” Id. § 1531(c)(1).




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       61.    To fulfill the substantive purposes of the ESA, federal agencies are required to

engage in Section 7 consultation with the Services to “insure that any action authorized, funded,

or carried out by such agency . . . is not likely to jeopardize the continued existence of any

endangered species or threatened species or result in the destruction or adverse modification of

habitat of such species which is determined . . . to be critical.” Id. § 1536(a)(2).

       62.    The ESA’s regulatory definition of “action” is broad and includes “all activities or

programs of any kind authorized, funded, or carried out, in whole or in part, by Federal agencies

in the United States or upon the high seas,” such as the promulgation of regulations, or any

“actions directly or indirectly causing modifications to the land, water, or air.” 50 C.F.R. §

402.02.

       63.    Section 7 consultation is required for all such actions “in which there is

discretionary Federal involvement or control.” 50 C.F.R. § 402.03. When an agency “had some

discretion to influence or change the activity for the benefit of a protected species” the action

involves sufficient discretion to require Section 7 consultation. Karuk Tribe of Cal. v. U.S.

Forest Serv., 681 F.3d 1006, 1024 (9th Cir. 2012).

       64.    Section 7(a)(2) and its implementing regulations set forth a detailed process that

must be followed before agencies take or approve actions that may affect threatened or

endangered species or critical habitat.

       65.    Each federal agency must “review its actions at the earliest possible time to

determine whether any action may affect listed species or critical habitat” in the action area and

thus whether consultation is required. 50 C.F.R. § 402.14(a). The term “may affect” is broadly

construed to include “[a]ny possible effect, whether beneficial, benign, adverse, or of an




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undetermined character,” and thus is easily triggered. 51 Fed. Reg. 19,926, 19,949 (June 3,

1986).

         66.   The “action area” includes all areas that would be “affected directly or indirectly

by the Federal action and not merely the immediate area involved in the action.” 50 C.F.R. §

402.02. The indirect effects of an action can be far removed from the location a project occurs

and can even encompass the entirety of a threatened or endangered species’ range.

         67.   Cumulative effects are defined as those effects of future State or private activities,

not involving Federal activities, that are reasonably certain to occur within the action area of the

Federal action subject to consultation. Id. § 402.02.

         68.   Only if an action agency makes a non-arbitrary “no effect” determination can the

agency proceed without consultation. If listed species or critical habitat may be present in the

action area, the agency must analyze the proposed action’s effects. It may do so by first

engaging in “informal consultation” with the Service(s). See id. §§ 402.12, 402.13,

402.14(b)(1). If the agency concludes, in a biological assessment, that the action is “not likely to

adversely affect” listed species—and the Service lawfully concurs in writing—then the

consultation process is completed. Id. § 403.13(c). Conversely, if the action is “likely to

adversely affect” listed species, the agency must enter into “formal consultation” with the

Service(s), a more extensive and protective process to consider the action’s impacts. Id. §§

402.12(k), 402.14(a).

         69.   Formal ESA consultation commences with the action agency’s written request for

consultation and concludes with the Services’ issuance of a “biological opinion.” Id. §§ 402.02;

402.14(c), (g)(4).




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       70.    The biological opinion is the heart of the formal consultation process and states

the Services’ opinion as to whether the effects of the action are “likely to jeopardize the

continued existence of listed species or result in the destruction or adverse modification of

critical habitat.” Id. § 402.14(g)(4), (h)(3); see 16 U.S.C. § 1536(a)(2), (b)(3)(A).

       71.    If the Services determine that the action is likely to jeopardize a species, the

biological opinion must outline “reasonable and prudent alternatives” to the action, if any exist,

that will avoid jeopardy and “which [the agency] believes would not violate [Section 7(a)(2)].”

16 U.S.C. § 1536(b)(3)(A); 50 C.F.R. § 402.14(h)(3). The Services must also provide “those

reasonable and prudent measures that the Secretary considers necessary or appropriate to

minimize such impact.” 16 U.S.C. § 1536(b)(4)(ii).

       72.    A jeopardy analysis requires the Services to assess the “effects of the action,”

defined as “all consequences to listed species or critical habitat that are caused by the proposed

action, including the consequences of other activities that are caused by the proposed action.”

50 C.F.R. § 402.02. The effects of the action are considered when added to the current

“environmental baseline” for the species, which includes “the past and present impacts of all

Federal, State, or private actions and other human activities in the action area, the anticipated

impacts of all proposed Federal projects in the action area that have already undergone formal

or early Section 7 consultation, and the impact of State or private actions which are

contemporaneous with the consultation in process” plus all “cumulative effects,” defined as

“future State or private activities, not involving Federal activities, that are reasonably certain to

occur within the action area of the Federal action subject to consultation.” Id.

       73.    The Services must consider all of these factors in context of the current status of

the species and its habitat. Id. § 402.14(g). Only where the Services conclude that all of these




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elements added together do not threaten a species’ survival and recovery can the agency issue a

no-jeopardy opinion. Pac. Coast Fed’n of Fishermen’s Ass’n v. U.S. Bureau of Reclamation,

426 F.3d 1082, 1093 (9th Cir. 2005).

        74.    If a biological opinion does not satisfy the Endangered Species Act’s standards,

then the Bureau of Land Management may not rely on it to fulfill its Section 7 duties.

        75.    Furthermore, the Endangered Species Act’s mandates and duties do not end with

the completion of the initial consultation. The agencies must review the ongoing impacts of the

action and reinitiate consultation: (a) when the amount or extent of taking specified in the

incidental take statement is exceeded; (b) when new information reveals effects of the action

that may affect listed species or critical habitat in a manner or to an extent not previously

considered; (c) if the identified action is subsequently modified in a manner that causes an effect

to the listed species or critical habitat that was not considered in the biological opinion; or (d) if

a new species is listed or critical habitat designated that may be affected by the identified action.

50 C.F.R. § 402.16.

        76.    When re-initiation of consultations is required, “the original opinion loses its

validity, as does its accompanying incidental take statement, which then no longer shields the

action agency from penalties for takings.” Ctr. for Biological Diversity v. BLM, 698 F.3d 1101,

1108 (9th Cir. 2012). Finally, during the consultation process and until the requirements of

Section 7(a)(2) are satisfied, Section 7(d) provides that an agency “shall not make any

irreversible or irretrievable commitment of resources” toward an action that would foreclose

“the formulation or implementation of any reasonable and prudent alternative measures.” 16

U.S.C. § 1536(d); 50 C.F.R. § 402.09.




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III.   The Federal Land Policy and Management Act

        77.    The property clause of the United States Constitution confers upon Congress the

 “[p]ower to dispose of and make all needful Rules and Regulations respecting the Territory or

 other Property belonging to the United States.” U.S. Constitution, Art. IV., Sec. 3, Cl. 2.

 Congress has exercised its power over federal public lands through the passage of FLPMA.

 “[W]hile the furthest reaches of the power granted by the Property Clause have not yet been

 definitively resolved, [the U.S. Supreme Court] ha[s] repeatedly observed that ‘(t)he power over

 the public land thus entrusted to Congress is without limitations.’” Kleppe v. New Mexico, 426

 U.S. 529, 539 (1976) (citations omitted).

        78.    The Federal Land Policy and Management Act requires that “[t]he Secretary [of

 the Interior] shall, with public involvement and consistent with the terms and conditions of this

 Act, develop, maintain, and, when appropriate, revise land use plans which provide by tracts or

 areas for the use of the public lands.” 43 U.S.C. § 1712(a). Accordingly, BLM must create

 resource management plans (“RMPs”) pursuant to FLPMA’s resource management planning

 regulations. 43 C.F.R. § 1610.

        79.    FLPMA directs that “the public lands be managed in a manner that will protect

 the quality of [critical resource] values; that, where appropriate, will preserve and protect certain

 public lands in their natural condition; that will provide food and habitat for fish and wildlife

 and domestic animals; and that will provide for outdoor recreation and human occupancy and

 use.” 43 U.S.C. § 1701(a)(8). The act requires the Secretary to account for “the long-term needs

 of future generations.” Id. at § 1702(c). This substantive mandate requires that the Secretary not

 elevate the development of oil and gas resources above other critical resource values in a

 planning area. To the contrary, FLPMA requires that where oil and gas development would




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threaten the quality of critical resources, conservation of these resources should be the

preeminent goal.

        80.      FLPMA also provides that public lands be managed “on the basis of multiple use

and sustained yield.” Id. § 1701(a)(7).

        81.      The term “multiple use” means:

       . . . a combination of balanced and diverse resource uses that takes into account
       the long-term needs of future generations for renewable and nonrenewable
       resources, including, but not limited to, recreation, range, timber, minerals,
       watershed, wildlife and fish, and natural scenic, scientific and historical values;
       and harmonious and coordinated management of the various resources without
       permanent impairment of the productivity of the land and the quality of the
       environment with consideration being given to the relative values of the resources
       and not necessarily to the combination of uses that will give the greatest economic
       return or the greatest unit output.

Id. § 1702(c).

        82.      The term “sustained yield” means “the achievement and maintenance in

perpetuity of a high-level annual or regular periodic output of the various renewable resources

of the public lands consistent with multiple use.” Id. § 1702(h).

        83.      In applying the principles of multiple use and sustained yield mandated by

FLPMA, “the Secretary shall, by regulation or otherwise, take any action necessary to prevent

unnecessary or undue degradation of the lands.” Id. § 1732(b) (emphasis added). This duty is

“the heart of FLPMA.” Mineral Policy Center v. Norton, 292 F. Supp.2d 30, 42. (D.D.C. 2003).

        84.      FLPMA expressly obliges Interior to “issue regulations necessary to implement

the provisions of [FLPMA] with respect to the management, use, and protection of the public

lands …” 43 U.S.C. § 1733(a).

IV.    Administrative Procedure Act

        85.      The APA provides a right to judicial review to any “person suffering legal wrong




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because of agency action.” 5 U.S.C. § 702. Actions that are reviewable under the APA include

final agency actions “for which there is no other adequate remedy in a court.” Id.

       86.    Under the APA, a reviewing court shall, inter alia, “hold unlawful and set aside

agency action . . . found to be arbitrary, capricious, an abuse of discretion, or otherwise not in

accordance with law.” Id. § 706(2)(A). Agency actions may also be set aside in other

circumstances, such as where the action is “without observance of procedure required by law.”

Id. § 706(2)(B)-(F).

       87.    An agency decision is arbitrary or capricious,

      . . . if the agency has relied on factors which Congress has not intended it to
      consider, entirely failed to consider an important aspect of the problem, offered an
      explanation for its decision that runs counter to the evidence before the agency, or
      is so implausible that it could not be ascribed to a difference in view or the
      product of agency expertise.

Motor Vehicles Mfrs. Assoc. v. State Farm Mut. Auto Ins. Co., 463 U.S. at 29, 43 (1983).

V.    Federal Oil and Gas Planning and Management

       88.    BLM manages onshore oil and gas development through a three-phase process.

Each phase is distinct, serves distinct purposes, and is subject to nationally applicable rules,

policies, and procedures established by the BLM’s national office in Washington, D.C.

       89.    In the first phase, BLM prepares a resource management plan in accordance with

43 C.F.R. Subparts 1601 & 1610, along with guidance in BLM’s Land Use Planning Handbook

(H-1601-1) (“BLM Handbook”). An RMP projects present and future use of public lands and

their resources by establishing management priorities, as well as guiding and constraining

BLM’s implementation-stage management.

       90.    With respect to fluid minerals leasing decisions, BLM determines in the RMP

which public lands containing federal minerals will be open to leasing and under what



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conditions. The basis for such land designations is the detailed hard look analysis of the direct,

indirect, and cumulative impacts to the environment of predicted implementation-stage

development in the RMP’s corresponding EIS.

        91.    A reasonably foreseeable development scenario (“RFDS”) underlies BLM’s

assumptions regarding the pace and scope of fluid minerals development within the RMP

planning area. An RFDS does not include any analysis of environmental impacts and is not a

NEPA document.

        92.    In the second phase, BLM identifies the boundaries for lands to be offered for

lease and proceeds to sell and execute leases for those lands through a lease sale and issuance.

Leases are sold in accordance with 43 C.F.R. Subpart 3120, with additional agency guidance

outlined in BLM Instruction Memoranda. The BLM state offices generally oversee the lease

sales, while the BLM field offices where specific lease parcels are located conduct NEPA

review, solicit public comment, and apply appropriate site-specific leasing stipulations.

        93.    BLM regulations allow for the public to protest the sale of specific parcels. Id. §

3120.1-3. Although BLM may proceed with a lease sale after a protest has been filed, BLM

must resolve any and all protests received prior to issuing a lease parcel to a successful bidder.

BLM Competitive Leases Handbook H-3120-1, Section II.G. (“Every effort must be made to

decide the protest prior to the sale.”).

        94.    Prior to the point BLM sells a lease, BLM may refuse to lease public lands, even

if public lands were made available for leasing pursuant to the RMP. Udall v. Tallman, 380 U.S.

1, 4 (1965).

        95.    Prior to a BLM lease sale, BLM has the authority to subject leases to terms and

conditions, which can serve as “stipulations” to protect the environment. 43 C.F.R. § 3101.1-3.




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 Once BLM issues leases, it may impose conditions of approval that are delimited by the terms

 and conditions of the lease. Id. § 3101.1-2.

         96.    Once sold, the lease purchaser has the right to use as much of the leased land as is

 necessary to explore and drill oil and gas within the lease boundaries, subject to stipulations

 attached to the lease. Id.

         97.    The Secretary of the Interior has the authority to cancel leases that have been

 “improperly issued.” Id. § 3108.3(d). A lease may be canceled where BLM has not complied

 with all applicable legal requirements prior to lease issuance. Clayton W. Williams, Jr., 103

 IBLA 192 (1988).

         98.    The third phase occurs once BLM issues a lease, and the lessee is required to

 submit an application for permit to drill to BLM for approval prior to drilling. 43 C.F.R. §

 3162.3-1(c).

         99.    At this stage, BLM conducts NEPA review that must include discussion of the

 environmental impacts of drilling and alternatives. 40 C.F.R. § 1501.5(c)(2).

         100. At this stage, BLM may condition approval of the APD on the lessee’s adoption

 of “reasonable measures” whose scope is delimited by the lease and the lessee’s surface use

 rights. Id. § 3101.1-2.

         101. Oil and gas operations associated with exploration, development and production

 are conducted in accordance with BLM regulations at 43 C.F.R. Part 3160.

                                  FACTUAL BACKGROUND

I.      The Challenged Oil and Gas Drilling Permits

         102. Conservation Groups challenge all APDs approved between January 21, 2021 and

 August 31, 2022 in New Mexico’s Permian Basin, through BLM’s Carlsbad and Roswell Field




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    Offices, and in Wyoming’s Powder River Basin, through BLM’s Buffalo and Casper Field

    Offices.

           103. Based on available data from BLM, the agency approved at least 4,019 APDs in

    the Permian and Powder River Basins during this time period––roughly the first 20 months of

    the Biden administration, as further detailed below. Of these approvals, at least 3,125 permits

    are located in the Permian Basin in New Mexico, on lands managed by the Carlsbad Field

    Office (3,118 permit approvals) and Roswell Field Office (7 permit approvals). The at least 894

    permits which remain are located in the Powder River Basin in Wyoming, on lands managed by

    the Buffalo Field Office (509 permit approvals) and Casper Field Office (385 permit

    approvals).6 A list of the challenged APDs is set forth in Appendix A.7

           104. Together, the New Mexico Permian Basin and Wyoming Powder River Basin

    APD approvals challenged herein constitute approximately 74% of all BLM onshore oil and gas

    drilling permit approvals during President Biden’s first 20 months in office.8

           105. In its EAs for all the challenged APD approvals, BLM failed to take a hard look at

    greenhouse gas emissions and climate impacts––particularly cumulative emissions and impacts,

    including the aggregate emissions and impacts of the federal fossil fuel program nationwide.

           106. BLM also failed to take a hard look at environmental justice impacts in its NEPA

    documentation for the challenged APDs, including taking a hard look at environmental justice



6
  The approved APD data is gathered from BLM’s Automated Fluid Minerals Support System
(“AFMSS”), available at: https://reports.blm.gov/report/AFMSS/81/Approved-APDs-Report-
Federal. The date range queried was January 21, 2021 through August 31, 2022.
7
  The list of challenged permits is developed based on available data from BLM, which may or
may not be complete for reasons set forth below. Citizen Groups reserve the right to add
additional APD approvals during the time period challenged based on information not available
through BLM’s AFMSS or E-Planning databases.
8
  The AFMSS data for this time period indicates a total number of approved APDs nationwide of
5,449.

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impacts on relevant communities that are disproportionately impacted by oil and gas pollution

and resulting climate harms.

       107. The BLM failed to complete the mandatory consultation requirements to address

harm from greenhouse gas emissions, in violation of the Section 7 consultation requirements of

the ESA.

       108. The BLM failed to take action to define and prevent unnecessary and undue

degradation of public lands caused by the cumulative impacts from GHG emissions and climate

change.

II.   The Inadequacies of BLM’s APD Approval Process and NEPA Documentation

       109. The BLM uses two separate databases for its system of proposing, analyzing, and

approving APDs: (1) the Automated Fluid Minerals Support System Reports (“AFMSS”)

database, and (2) the E-Planning database. For the public to track the approval of APDs requires

accessing three separate data interfaces for these two datasets, at different points in this approval

process. The labyrinthian maze within these three data interfaces frustrates the public’s ability

to determine what APDs have been approved and where, to access accurate NEPA

documentation for APDs, and for Plaintiffs’ ability to access NEPA documents for all

challenged APDs. Plaintiffs’ review of these systems also suggests that NEPA documentation

may be missing or uncompleted on a large number of APD approvals identified herein.

       110. BLM describes its process for approval of APDs as follows:

       Upon receiving an APD, BLM typically conducts an onsite inspection with
       surface and/or mineral estate owners, resource specialists, the operator, and when
       applicable, other Surface Management Agencies (or SMAs, such as states, tribal
       representatives, or other Federal agencies like the USDA Forest Service). After
       completing these inspections, the BLM, together with any other relevant SMAs,




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           conducts a NEPA analysis, and then approves, approves with modifications,
           denies, or defers action on the application.9

           111. For the public, attempting to track a comprehensive dataset of APD applications

    and BLM’s NEPA documents and approvals involves three steps.

           112. Step one requires the public to use the Automated Fluid Minerals Support System

    Reports (“AFMSS”) database10 and its “30 Day Federal Public Posting”11 interface to track

    APD applications. This interface allows the public to query for APDs submitted to the agency

    for review within the last 30 days. Data provided from these queries include general information

    about proposed APDs, such as location and administrative identifiers, but provide no NEPA

    documents or information about potential environmental impacts. This limited information is

    only presented within fields populating a spreadsheet row. The 30 Day Federal Public Posting

    interface offers no mechanism for public comment on APDs listed therein. This information

    disappears after 30 days.

           113. Step two involves accessing a second database and interface, “E-Planning” to

    search for NEPA documents.12 E-Planning is the sole means by which the public can access

    NEPA documents for APDs. It allows the public to query for NEPA projects by state, BLM

    administrative units, type of NEPA documentation (e.g., EAs), program, or year. Its search

    mechanism for individual APD NEPA projects does not reliably identify specific APD projects

    through NEPA number, project name, or document name.




9
  BLM, 2022. Applications for Permits to Drill. See https://www.blm.gov/programs/energy-and-
minerals/oil-and-gas/operations-and-production/permitting/applications-permits-drill.
10
   See https://reports.blm.gov/reports.cfm?application=AFMSS.
11
   See https://reports.blm.gov/report/AFMSS/34/30-Day-Federal-Public-Posting.
12
   See https://eplanning.blm.gov/eplanning-ui/home.

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        114. E-Planning webpages for APD NEPA projects—should the public be able to

 locate them—include a status page and a documents page. The status page lists basic project

 information and timelines. The document page typically includes an environmental assessment,

 categorical exclusion (“CatEx”), or determination of NEPA adequacy (“DNA”), as applicable,

 and, upon completion, a corresponding decision document.

        115. BLM’s administration of APD NEPA documentation within E-Planning is

 inconsistent and unreliable, is often incomplete and out-of-date, and does not provide public

 notice or an opportunity to comment. In most cases, APD NEPA documents are not posted to E-

 Planning until after decisions approving those projects have been signed.13 In other cases, BLM

 claims that it “publishes a NEPA log for public inspection” of proposed and approved actions at

 a field office or on the BLM state website,14 but the link to the website for proposed actions15

 does not work for either New Mexico or Wyoming. At other times, BLM explicitly excludes

 APD NEPA documents from E-Planning until project decisions are signed, citing the AFMSS




13
   See, e.g., DOI-BLM-NM-P020-2022-0160-EA, involving analysis and approval of 12
horizontal wells and associated infrastructure on BLM land within the Carlsbad Field Office’s
jurisdiction, for which no EA was published on E-Planning until at least several days after the
project Decision Record and FONSI were signed on January 31, 2022. The January 31, 2022
decision in the documents tab (available at: https://eplanning.blm.gov/eplanning-
ui/project/2016728/570) and February 3, 2022 screenshot of E-Planning page lacking
“documents” tab (available at:
https://drive.google.com/file/d/1MYxNaBzcJGZIIcRppwoQd8E7iEGa165r/view?usp=sharing).
See also DOI-BLM-WY-P070-2021-0146-EA, involving five APDs and wells, whose EA was
published in E-Planning on the same day (Feb. 8, 2022) as decision documents approving the
project (available at: https://eplanning.blm.gov/eplanning-ui/project/2015677/570).
14
   See, e.g., DOI-BLM-NM-P020-2021-0361-EA, approving 39 wells in the Carlsbad Field
Office, available at:
https://eplanning.blm.gov/public_projects/2011637/200476910/20035666/250041863/Final%20
EA-%20XTO%20James%20Ranch%20Unit%20DI2%20MW.pdf.
15
   See http://www.blm.gov/nm/st/en/prog/planning/nepa_logs.html.

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 30 Day Federal Public Posting,16 which provides no mechanism for or discussion of public

 comment. In still other APD NEPA documents, BLM tells the public that it “publishes National

 Environmental Policy Act (NEPA) documents to the national register known as E-Planning.

 The register allows you to review and comment online on BLM NEPA and planning projects.”17

        116. Step three for the public involves reviewing and cross-referencing approved

 APDs on a second, separate interface within the AFMSS database, called “Approved APDs

 Report – Federal.” This interface allows the public to query the AFMSS database for approved

 APDs by approval date, state, and administrative unit.

        117. Because of a lack of unique data attributes commonly identifying APDs across the

 AFMSS and E-Planning databases and their three interfaces, it is nearly impossible for the

 public—and likely the agency itself—to track APDs from AFMSS into E-Planning and back

 into AFMSS as BLM conducts its three-step APD approval process. This problem, coupled with

 above-described problems with BLM’s administration of APD NEPA in E-Planning, may mean

 that Conservation Groups’ list of challenged APD approvals in Appendix A is possibly

 incomplete and only BLM is in possession of a complete itemization.

 III.   Greenhouse Gas Pollution and the Climate Crisis

        118. The scientific consensus is clear: as a result of greenhouse gas emissions, our

 climate is rapidly destabilizing with potentially catastrophic results, including rising seas, more




16
   Decision Record of Anschutz Exploration Corporation Chopper Fed T43R71S31SESW and
Ross Fed T43R71S31SWSE, Oil and Gas Well Pads, DOI-BLM-WY-P070-2022-0042-EA, at 2,
stating, “The APDs were posted for 30 days on the BLM’s National Automated Fluid Mineral
Support System-30 Day Federal Public Posting Website, and made available in the Buffalo Field
Office public area. The final NEPA documents will also be posted to project’s E-Planning
website” (available at: https://eplanning.blm.gov/eplanning-ui/project/2018146/510).
17
   Environmental Assessment DOI-BLM-NM-P020-2022-0293-EA, at 6 (available at:
https://eplanning.blm.gov/eplanning-ui/project/2017342/570).

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 extreme heatwaves, increased drought and flooding, larger and more devastating wildfires and

 hurricanes, and other destructive changes. It is now conclusively established that GHG

 emissions from the production and combustion of fossil fuels are the predominant drivers of

 climate change. According to the Fourth National Climate Assessment, eighty-five percent of

 U.S. greenhouse gas emissions come from oil, gas, and coal. Carbon dioxide (“CO2”) is the

 leading cause of climate change and the most emitted greenhouse gas in the United States.

 According to a 2018 EPA report, Inventory of U.S. Greenhouse Gas Emissions and Sinks, 1990-

 2016, carbon dioxide comprised 82% of total U.S. greenhouse gas emissions, or 5.3 billion

 metric tons. EPA’s data indicates that fossil fuel combustion accounted for 93.5% of carbon

 dioxide emissions within the U.S. in 2016. Although emissions declined at the beginning of the

 COVID-19 pandemic due primarily to a decrease in travel, they have since rebounded to their

 highest level in history.

        119. Methane (“CH4”) is an extremely potent GHG, with a global warming potential

 87 times that of CO2 over a 20-year period. Over a 100-year period, methane has a climate

 impact 36 times greater than that of CO2 on a ton-for-ton basis. Large amounts of methane are

 released during the extraction, processing, transportation, and delivery of oil and gas, with

 significant climate impacts. A recent peer-reviewed study conducted by academic experts at

 Harvard University, SRON Netherlands Institute for Space Research, the Georgia Institute of

 Technology, and the Environmental Defense Fund found that 3.7% of gas produced in the

 Permian Basin leaked into the atmosphere.18

        120. Future oil and gas development resulting from the challenged drilling permits has


18
   See Zhang, Y., et al, Quantifying methane emissions from the largest oil-producing basin in
the United States from space, Science Advances Vol. 6, Issue 6498 (2020),
https://doi.org/10.1126/sciadv.aaz5120.


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the potential to significantly increase CO2 and methane emissions in the Permian and Powder

River Basins.

       121. The Intergovernmental Panel on Climate Change (“IPCC”) is a Nobel Prize-

winning scientific body within the United Nations that reviews and assesses the most recent

scientific, technical, and socio-economic information relevant to our understanding of climate

change. In October 2018, the IPCC issued a special report that examined, in greater depth, the

impacts of global warming of 1.5°C above pre-industrial levels as compared to 2.0°C. The

IPCC’s findings included:

      •   Human activities are estimated to have caused approximately 1.0°C of global
          warming above pre-industrial levels, with a likely range of 0.8°C to 1.2°C.
          Global warming is likely to reach 1.5°C between 2030 and 2052 if it continues
          to increase at the current rate.

      •   Warming from anthropogenic emissions from the pre-industrial period to the
          present will persist for centuries to millennia and will continue to cause further
          long-term changes in the climate system, such as sea level rise, with associated
          impacts but these emissions alone are unlikely to cause global warming of
          1.5°C.

      •   Climate-related risks to health, livelihoods, food security, water supply, human
          security, and economic growth are projected to increase with global warming
          of 1.5° C and increase further with 2° C. Limiting warming to 1.5° C could
          reduce the number of people both exposed to climate-related risks and
          susceptible to poverty by up to several hundred million by 2050 (medium
          confidence).

      •   Pathways limiting global warming to 1.5° C with no or limited overshoot would
          require rapid and far-reaching transitions in energy, land, urban and
          infrastructure (including transport and buildings), and industrial systems (high
          confidence). These systems transitions are unprecedented in terms of scale, but
          not necessarily in terms of speed, and imply deep emissions reductions in all
          sectors, a wide portfolio of mitigation options and a significant upscaling of
          investments in those options (medium confidence).

       122. In 2019, a joint report between the IPCC and the Intergovernmental Panel on

Biodiversity and Ecosystem Services found that one million animal and plant species will be



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threatened with extinction in the coming decades due to the threat of climate change. The

Fourth National Climate Assessment predicts widespread, intensifying, and ecosystem harms

from climate change, including: (1) soaring air and ocean temperatures; (2) more frequent and

intense heat waves, floods, and droughts; (3) more destructive hurricanes and wildfires; (4)

coastal flooding from sea level rise and increasing storm surge; (5) accelerating species

extinction risk; (6) melting Arctic sea ice, glaciers, and ice sheets; (7) the collapse of Antarctic

ice shelves; and (8) ocean acidification; and the collapse of coral reefs.

        123. In a 2022 report, the IPCC confirmed that climate change is not simply a future

threat, but that “[w]idespread, pervasive impacts to ecosystems, people, settlements, and

infrastructure” are already being seen globally, and “[t]he rise in weather and climate extremes

has led to some irreversible impacts as natural and human systems are pushed beyond their

ability to adapt.”

        124. Recently, the IPCC has also recognized climate justice as an essential component

of climate analysis and discussion in parts of its Sixth Assessment Report. The report outlines

three main components of climate justice, stating:

        The term climate justice, while used in different ways in different contexts by
        different communities, generally includes three principles: distributive justice
        which refers to the allocation of burdens and benefits among individuals, nations
        and generations; procedural justice which refers to who decides and participates
        in decision-making; and recognition which entails basic respect and robust
        engagement with and fair consideration of diverse cultures and perspectives.

        125. These findings have been affirmed by the federal government, and BLM

acknowledges in EAs for the challenged APDs that global warming is anthropogenic and




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 “primarily attributed to human activities such as fossil fuel combustion, industrial processes,

 and land use changes.”19

       A.      Federal Climate Policy and Initiatives

        126. In Executive Order 13514, Federal Leadership in Environmental, Energy, and

 Economic Performance (Oct. 5, 2009), President Obama called on all federal agencies to

 “measure, report, and reduce their GHG emissions from direct and indirect activities.” 74 Fed.

 Reg. 52,117 (Oct. 8, 2009). In 2015, President Obama revoked Executive Order 13514 and

 issued Executive Order 13693, Planning for Federal Sustainability in the Next Decade (Mar. 25,

 2015), which superseded EO 13514 and reaffirmed the federal government’s commitment to

 reducing GHG emissions. 80 Fed. Reg. 15,871 (Mar. 25, 2015).20

        127. In 2009, EPA issued a formal finding under the Clean Air Act, 42 U.S.C. §

 7521(a), that the changes in our climate caused by elevated concentrations of greenhouse gases

 in the atmosphere are reasonably anticipated to endanger the public health and welfare of

 current and future generations. 74 Fed. Reg. 66,496 (Dec. 15, 2009). EPA concluded that “the

 body of scientific evidence compellingly supports” the finding and recognized the potential

 human-induced climate change to have “far-reaching and multidimensional” impacts. Id. at

 66,497.

        128. The CEQ has recognized the unique nature of climate change and the challenges

 it imposes on NEPA compliance. As explained above, while the Trump administration



19
   See, e.g., 2021 Carlsbad Field Office EA DOI-BLM-NM-P020-2021-0835-EA at 15, stating,
“global warming refers to the apparent warming of climate observed since the early 20th century
and is primarily attributed to human activities such as fossil fuel combustion, industrial
processes, and land use changes.”
20
   While President Trump revoked President Obama’s Executive Order 13693, President Trump
nonetheless required federal agencies to track and report on GHGs. Executive Order 13834, 83
Fed. Reg. 23,771 (May 17, 2018).

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rescinded CEQ’s 2016 GHG Guidance, the Biden administration directed that federal agencies

may use this guidance. The 2016 GHG Guidance, applicable to all proposed federal agency

actions, “including land and resource management actions,” recognized that:

       Climate change results from the incremental addition of GHG emissions from
       millions of individual sources, which collectively have a large impact on a global
       scale. CEQ recognizes that the totality of climate change impacts is not
       attributable to any single action, but are exacerbated by a series of actions
       including actions taken pursuant to decisions of the Federal Government.
       Therefore, a statement that emissions from a proposed Federal action represent
       only a small fraction of global emissions is essentially a statement about the
       nature of the climate change challenge, and is not an appropriate basis for
       deciding whether or to what extent to consider climate change impacts under
       NEPA. Moreover, these comparisons are also not an appropriate method for
       characterizing the potential impacts associated with a proposed action and its
       alternatives and mitigations because this approach does not reveal anything
       beyond the nature of the climate change challenge itself: the fact that diverse
       individual sources of emissions each make a relatively small addition to global
       atmospheric GHG concentrations that collectively have a large impact.

2016 GHG Guidance at 9, 10-11 (emphasis added).

        129. The 2016 GHG Guidance provides that, “[i]n the context of long-range energy,

transportation, and resource management strategies . . . it would be useful and efficient to

provide an aggregate analysis of GHG emissions or climate change effects in a programmatic

analysis and then incorporate by reference that analysis into future NEPA reviews.” Id. at 31.

        130. In Executive Order 14008, President Biden acknowledged that:

       The scientific community has made clear that the scale and speed of necessary [to
       address climate change] is greater than previously believed. There is little time
       left to avoid setting the world on a dangerous, potentially catastrophic, climate
       trajectory. Responding to the climate crisis will require both significant short-term
       global reduction in greenhouse gas emissions and net-zero emission by mid-
       century or before.

Executive Order 14008, 86 Fed. Reg. 7619, (Feb. 1, 2021).

        131. Later in 2021, the Secretary of the Interior issued Secretarial Order 3399, which

instructs “all Bureaus/Offices to utilize science and enhance opportunities for Tribal and



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 environmental justice community engagement in the NEPA and decision-making process.”

 Specifically, it orders agencies to “consider impacts on both the natural or physical environment

 as well as social, cultural, and economic impacts,” and it emphasizes the importance of Tribal

 consultation.21

        132. In October 2021, BLM released a report on the annual greenhouse gas emissions

 and climate trends associated with federal oil and gas development: 2020 BLM Specialist

 Report on Annual Greenhouse Gas Emissions and Climate Trends (“BLM Specialist Report”).

 This report is specifically focused on “estimating GHG emissions from coal, oil, and gas

 development that is occurring, and is projected to occur, on the federal onshore mineral estate.”

 It includes a summary of current emissions estimates from development and production, as well

 as “longer term assessments of potential federal fossil fuel GHG emissions and the anticipated

 climate change impacts resulting from the cumulative global GHG burden,” and is being used

 as “a tool for evaluating the cumulative impacts of GHG emissions from fossil fuel energy

 leasing and development authorizations on the federal onshore mineral estate.”

        133. The BLM Specialist Report is designed to be updated annually, this report

 provides both short- and long-term emissions estimates based on projected development, and

 “serves as a tool to track the evolution of climate science and policy in order to provide decision

 makers with the best available data to implement management strategies consistent with

 regulatory requirements.” The report contains discussion of carbon budgets and is explicitly

 intended to be used as a supplement to NEPA analysis at the project or decision level.22




21
   Secretarial Order 3399, available at:
https://www.doi.gov/sites/doi.gov/files/elips/documents/so-3399-508_0.pdf.
22
   2020 BLM Specialist Report on Annual Greenhouse Gas Emissions and Climate Trends,
available at: https://www.blm.gov/sites/blm.gov/files/docs/2021-

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        134. In 2019, the D.C. District Court found in WildEarth Guardians v. Zinke that BLM

must “consider the cumulative impact of GHG emissions generated by past, present, or

reasonably foreseeable BLM lease sales in the region and nation.” 368 F. Supp. 3d 41, 77

(D.D.C. 2019).

       B.      Greenhouse Gas Pollution from the BLM Fossil Fuel Program

        135. BLM is responsible for the management of over 700 million acres of federal

onshore subsurface minerals. Based on 2012 figures, the ultimate downstream GHG emissions

from fossil fuel extraction from federal lands and waters by private leaseholders accounts for

approximately 21% of total U.S. GHG emissions and 24% of all energy-related GHG

emissions.23

        136.   According to a 2018 report from the U.S. Geological Survey (“USGS”), fossil

fuel development on federal lands in 2014 released 1.279 GtCO2 emissions, or 23.7% of the

nation’s CO2 emissions.24 Based on EPA data, this is the equivalent of annual GHG emissions

from over 329 coal-fired power plants.

        137. As of October 2020, BLM-managed lands contained 37,496 individual oil and gas

lease parcels, covering over 26.6 million acres of public lands, on which 96,110 active

producible wells are drilled. The area already leased for oil and gas extraction covers an area

nearly as large as all federal lands combined in the State of New Mexico (27.5 million acres) or




11/2020%20BLM%20Specialist%20Report%20-
%20GHG%20Emissions%20and%20Climate%20Trends%20%2811-3-21%29.pdf.
23
   Stratus Consulting, “Greenhouse Gas Emissions from Fossil Fuel Energy Extracted from
Federal Lands and Waters: An Update” at 10 (2014), available at:
http://riggingthesystem.org/wp-content/uploads/2017/07/Stratus-Report.pdf.
24
   See Merrill, M.D. et al., 2018, Federal lands greenhouse gas emissions and sequestration in
the United States—Estimates for 2005–14: U.S. Geological Survey Scientific Investigations
Report 2018-5131 at 1 (2018).

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 the State of Wyoming (30 million acres). It would cover more than 35% of the entire State of

 New Mexico, and more than 43% of the entire State of Wyoming.

        138. In spite of the worsening climate crisis, BLM continues to authorize the sale and

 issuance of hundreds of new federal oil and gas leases and subsequently approves thousands of

 new APDs on public lands across the Interior West without meaningfully acknowledging or

 fully evaluating the climate change implications of its actions.

       C.      Greenhouse Gas Pollution from the Greater Carlsbad Region

        139. Oil and gas development in the Greater Carlsbad region of southeast New Mexico

 and northwest Texas takes place in an area known to the oil industry as the Permian Basin,

 based on geologic nomenclature for the predominantly Permian-era oil- and gas-bearing

 formations in the region. The New Mexico portion of the Permian is predominantly composed

 of federally-managed lands and minerals, whereas the Texas portion is largely privately owned.

        140. BLM’s Pecos District, consisting of the Carlsbad Field Office and Roswell Field

 Office, generally covers the New Mexico portion of the Greater Carlsbad region/Permian Basin,

 which includes all or part of Eddy, Lea, Chavez, Roosevelt, and Quay counties.

        141. Nearly one-third of the United States’ crude oil now comes from the Permian

 Basin/Greater Carlsbad region, making it the largest shale-oil producing region in the country.

 And oil and gas production from this region continues to grow rapidly.25

        142. New Mexico is the source of 6% of all CO2 emissions from federal fossil fuel

 production, higher than those of all but one other state. New Mexico is also the source of 23%




25
   EIA, This Week in Petroleum, Permian & Gulf of Mexico Regions Expected to Drive
Continued Record-High U.S. Crude Oil Production Through 2020, available at:
https://www.eia.gov/petroleum/weekly/archive/2019/190221/includes/analysis_print.php.

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 of all methane emissions from federal lands, higher than those of every state except Wyoming.26

        143. On November 28, 2018, Interior announced the results of a formal USGS

 assessment of the oil and gas resource potential of two of the geologic units within the Greater

 Carlsbad region’s Permian Basin, the Wolfcamp Shale and overlying Bone Spring Formation in

 the Delaware Basin. According to Interior, these two geologic units alone contain an estimated

 mean of 46.3 billion barrels of oil, 281 trillion cubic feet of natural gas, and 20 billion barrels of

 natural gas liquids.

        144. BLM has played a critical role in facilitating the explosive growth in oil and gas

 production in New Mexico and the Greater Carlsbad region. Between 2009 and 2020, BLM

 issued leases covering over 550,000 acres of New Mexico public lands. Over 190,000 acres of

 leases were sold just between 2016 and 2020.

        D.     Greenhouse Gas Pollution from the Powder River Basin

        145. The Powder River Basin is located in northeast Wyoming and southeast Montana,

 and oil and gas development associated with it is administered by the Buffalo and Casper Field

 Offices. Wyoming is the source of 57% of all CO2 emissions from federal fossil fuel

 production, higher than those of every other state combined.27 Wyoming is also the source of

 28% of all methane emissions from federal lands, higher than those of every other state.

        146. Today, however, it has become a site of considerable oil and gas production. As

 in the Greater Carlsbad region, development in the Powder River Basin has expanded due to

 horizontal drilling and multi-stage hydraulic fracturing.




26
   Merrill, M.D. et al., 2018, Federal lands greenhouse gas emissions and sequestration in the
United States—Estimates for 2005–14: U.S. Geological Survey Scientific Investigations Report
2018-5131 at 9 (2018).
27
   Id.

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IV.     BLM’s Failure to Comply with NEPA and Address Environmental Justice

         147. “EJ populations” or “EJ communities” experience disproportionate risks and

 impacts from oil and gas extraction, GHG emissions, and climate change not only due to

 disproportionate exposures, but also because of underlying economic, social, and structural

 inequities and injustices that compound the effects of pollution and climate change and impede

 resilience.

         148. Both the Permian Basin and Wyoming are home to “minority populations” and/or

 “low income populations,”28 commonly referred to as “Environmental Justice (“EJ”)”

 populations or communities, who could experience––or are already experiencing––

 disproportionate, adverse risks and effects resulting from BLM’s approvals of the APDs

 challenged herein, and from BLM’s fossil fuel program overall. Moreover, there are people and

 communities both within and outside of the Permian and Powder River Basin experiencing

 ongoing inequities and injustices or “social vulnerabilities”29 that make them more likely than

 others to suffer adverse and disproportionate risks and impacts from climate change.

         149. Using the criteria for identifying “minority populations” and “low-income

 populations” in the 1997 CEQ Guidance on environmental justice in the NEPA process, BLM

 itself determined in EAs for 2021 and 2022 lease sales30 that there are “EJ populations of




28
   According to the definitions and identification criteria in EO 12898 and the CEQ Guidance on
environmental justice in the NEPA process. See CEQ 1997, infra ¶ 47, at 25-27.
29
   See EPA. 2021. Climate Change and Social Vulnerability in the United States: A Focus on Six
Impacts, EPA 430-R-21-003, available at: https://www.epa.gov/cira/social-vulnerability-report.
30
   January 2021 lease sale, BLM Carlsbad Field Office EA, available at:
https://eplanning.blm.gov/public_projects/2000535/200380391/20038908/250045103/EA_CFO_
Jan2021LeaseSale_Final_508.pdf; First quarter 2022 lease sale, BLM Pecos District Office EA,
available at:

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concern” present in Lea and Eddy Counties, in New Mexico’s Carlsbad Field Office, and EJ

“communities of concern” present in Chaves and Lea Counties, in New Mexico’s Pecos District

Office. Specifically, the populations of Lea County and Eddy County are over 50% “minority”

(63.9% of the population in Lea County and 52.4% in Eddy County, according to 2018 census

population estimates used by the Carlsbad Field Office). More than 50% of the population in

Chaves and Lea Counties is of Hispanic or Latino origin according to 2020 census data used by

the Pecos District Office, and the percent of the population below the poverty line in Chaves

County (19.4%) exceeds that of the state of New Mexico overall.

       150. BLM has not identified EJ populations using the above criteria in the Buffalo or

Casper Field Offices, and there is no indication that such consideration was given at either the

leasing or APD stages. However, BLM’s Wyoming State Office has at least acknowledged EJ at

the leasing stage in a 2021 EA.

       151. BLM altogether omitted environmental justice from its consideration and NEPA

documentation for the Permian and Powder River Basin APDs challenged here, representing a

fundamental violation of NEPA. However, the agency has elsewhere acknowledged its

obligation to consider environmental justice, including, for example, in EAs for 2021 and 2022

lease sales in the Permian Basin and in Wyoming. In particular, the January 2021 lease sale EA

for the BLM Carlsbad Field Office acknowledged the agency’s obligation to consider

environmental justice not only under EO 12898, but also under its own BLM Handbook,

Appendix D. The BLM Wyoming State Office has also cited EO 12898 in a 2021 lease sale EA.

In both instances, however, beyond such an acknowledgment, BLM failed to provide any actual




https://eplanning.blm.gov/public_projects/2015540/200495201/20057761/250063943/EA_PDO_
Quarter%20One%202022_LeaseSale_ProtestDraft_clean_508%20(1).pdf

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 analysis of the environmental justice impacts of oil and gas leasing and development, and

 therefore the agency cannot tier to these documents for the APD approvals challenged here

 because no such analysis exists.

          152. Despite BLM’s recognition of EO 12898 and environmental justice obligations

 elsewhere, BLM failed to take a hard look at environmental justice impacts, or the potential for

 disproportionate and adverse risks and impacts, in its NEPA documentation for the 2,726

 challenged APD approvals from the Carlsbad and Roswell Field Offices. Similarly, BLM failed

 to take a hard look at environmental justice, or the potential for disproportionate and adverse

 risks and impacts, in its NEPA documentation for the 809 challenged APD approvals from the

 Buffalo and Casper Field Offices.

          153. As discussed above, oil and gas development from BLM’s APD approvals

 challenged herein will result in 490-600 million tons of CO2e greenhouse gas pollution. These

 emissions will contribute to and are a primary driver in worsening the climate crisis and

 resulting climate-induced impacts, including environmental justice impacts.

          154. The cumulative climate impacts of GHG emissions are not felt evenly. Notably,

 environmental justice communities are more likely than others to be disproportionately exposed

 to and impacted by climate-exacerbated droughts, wildfires, storms, and other adverse effects,

 and less able to access resources to help recover from the effects of climate change. For

 example, American Indian and Alaska Native individuals are 48% more likely than others to

 live in areas where the highest percentage of land is projected to be inundated due to sea level

 rise.31 Climate-exacerbated extreme drought and historic wildfires currently being experienced




31
     EPA, Climate Change and Social Vulnerability in the United States (2021), supra n.27 at 6.

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in New Mexico have resulted in the loss of generational homes in Hispanic and low-income

communities and destroyed untold areas of cultural significance.

         155. BLM has also never analyzed the broader environmental justice impacts from

cumulative GHG emissions and climate change resulting from the challenged APD approvals or

from its fossil fuel program overall.

         156. BLM has not offered any explanation for its failure to evaluate environmental

justice impacts––including disproportionate and adverse climate impacts––in its NEPA analyses

for the challenged APD approvals. The agency has thus “entirely failed to consider an important

aspect of the problem” Motor Vehicles Mfrs. Assoc. v. State Farm Mut. Auto Ins. Co., 463 U.S.

at 43.

V.       BLM’s Failure to Comply with the Endangered Species Act

         157. The climate crisis poses significant risks to threatened and endangered species

across the United States.

         158.   Federal agencies undertake and have completed nationwide consultations when

the scope of their actions and the indirect effects of their actions have nationwide consequences

for listed species under the ESA.

         159. The emission of 490-600 million tons of CO2e of greenhouse gas pollution from

fossil fuels extracted from BLM lands under the challenged APDs is nationally significant and

will have indirect effects on environments across the entire United States. For purposes of

Section 7 of the ESA, the action area of indirect effects from APD approvals is the entirety of

the United States.




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        160. Continuing decline of Arctic sea-ice is an existential threat to polar bears and ice-

seals. Sea level rise threatens coastal habitats, potentially wiping out the Florida Key deer,

Atlantic salt-marsh snake, and Pacific tidewater goby.

        161. Rising temperatures will push mountain-top species, including Hawaii’s

songbirds, the Mount Graham red squirrel, and Western glacier stonefly out of their last

remaining homes. Aridification of the Colorado River Basin will starve Colorado pikeminnow

and other endangered fish of critical Colorado River recovery flows. Ocean acidification and

warming temperatures are destroying the nations and world’s coral reefs.

        162. More than 100 other endangered and threatened species, including Pacific salmon,

desert tortoise and mountain yellow-legged frogs are being pushed to the brink by extreme heat,

droughts, and weather.

        163. This looming climate catastrophe, the impacts of which are already underway, is

being driven by reckless and unsustainable extraction of fossil fuels, including on lands and

waters managed by the Department of the Interior and the Bureau of Land Management. But at

no point has BLM even considered the harms being caused by the burning of fossil fuels upon

threatened and endangered species.

        164. The Endangered Species Act plainly requires federal agencies to consult on the

impacts of federal actions that may harm endangered and threatened species. Despite this

unambiguous requirement, the BLM has never at any stage in the fossil fuel leasing or

production approval process consulted with the U.S. Fish and Wildlife Service and National

Marine Fisheries Service on the impacts of the emissions from burning fossil fuels extracted

from public lands. It has instead myopically limited its analysis, if any, to localized impacts

only.




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       165. In May of 2008 the polar bear was listed as a threatened species under the ESA. It

was the first species in the United States to be protected primarily because of future climate

change-related impacts caused by greenhouse gases.

       166. Five months later, in October of 2008, the then-Solicitor of the Department of the

Interior, David Bernhardt, released legal opinion M-37017, Guidance on the Applicability of the

Endangered Species Act’s Consultation Requirements to Proposed Actions Involving the

Emission of Greenhouse Gases (“Bernhardt Legal Opinion”). This legal opinion was based on

the following sentence within a two page memorandum by the head of the U.S. Geological

Survey: “It is currently beyond the scope of existing science to identify a specific source of CO2

emissions and designate it as the cause of specific climate impacts at an exact location.” The

Solicitor stated in its legal opinion M-37017, the “requisite causal connections cannot be made

between the emissions of GHGs from a proposed agency action and specific localized climate

change as it impacts listed species or critical habitat.” The Solicitor found that: “Based on the

USGS statement, and its continued scientific validity, we conclude that where the effect at issue

is climate change in the form of increased temperatures, a proposed action that will involve the

emission of GHG cannot pass the ‘may affect’ test and is not subject to consultation under the

ESA and its implementing regulations.” Fourteen years following its issuance, the Bernhardt

Legal Opinion continues to the basis on which federal agencies, including Defendants here, fail

to engage in Section 7 consultation in connection with agency actions that contribute to climate

change-related effects on endangered and threatened species.

       167. Climate science and research on the impacts of climate change has evolved and

developed significantly since the Bernhardt Legal Opinion was issued. Since 2008, the IPCC

has published the Fifth Assessment Report and will publish the final version of the Sixth




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Assessment Report in 2022. Similarly, the United States government published the Second

National Climate Assessment in 2009, the Third Climate Assessment in 2014 and the Fourth

National Climate Assessment in 2018. Since 2008, numerous additional species have been listed

under the ESA due to the threat of climate change including three songbirds in Hawaii, 22 coral

species, the bearded seal, ringed seal, and western glacier stonefly.

       168. For other species listed before 2008, the threat of climate change has gone from a

minor, theoretical threat, to the primary threat driving their decline. For example, the Hawaiian

crested honeycreeper, or 'Ākohekohe, was first listed in 1967. While ESA-listed for over 50

years, its small population was relatively stable until recently. Now, warming temperatures are

allowing mosquitos and avian malaria to move to higher elevations on Maui and its extinction is

predicted this decade.

       169. BLM has failed entirely to consult on the climate impacts of its fossil fuel

program on listed species at the permitting stage or any other stage. In some instances, the

agency has relied on antiquated biological opinions, some of which predate the listing of the

polar bear, that never considered climate change impacts. It has never assessed the development

of climate science and its ability to attribute impacts to the environment, specific ecosystems or

species, or the numerous species that have been added to the list of threatened and endangered

species over the past 15 years.

       170. For each of the APDs referenced below in Appendix A by relevant field office,

BLM must either complete a consultation with USFWS that evaluates the impacts of fossil fuel

development on threatened or endangered species, or it must reinitiate consultation on a

previously issued opinion to ensure that those previously unconsidered impacts will not

jeopardize the continued existence of listed species.




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       171. New Mexico – Carlsbad Field Office: BLM’s Carlsbad, New Mexico Field

Office has approved, without consultation, at least 3,118 APDs in the 20-month period since

President Biden took office. The Carlsbad RMP was last revised in 1997, with amendments in

2008 to address new information regarding the now-listed lesser prairie chicken and now-

candidate dunes sagebrush lizard. USFWS prepared a biological opinion in 1997, addressing

only impacts to the Pecos bluntnose shiner from the BLM’s RMP for the Carlsbad management

area. That biological opinion found the RMP not likely to jeopardize the continued existence of

the Bluenose shiner, citing therein USFWS’s 1996 concurrence with the BLM’s “no effect” and

“not likely to adversely affect” determination for black-footed ferret, brown pelican, peregrine

falcon, Mexican spotted owl, Pecos gambusia, Arkansas river shiner, Pecos bluntnose shiner,

interior least tern, northern aplomado falcon, southwestern willow flycatcher, bald eagle,

Kuenzler hedgehog cactus, Lloyd's hedgehog cactus, gypsum wild-buckwheat, and Lee

pincushion cactus.

       172. The 1997 biological opinion contains no discussion of climate-related impacts

from BLM oil and gas activities within the immediate area of oil and gas activities or within the

full action area where indirect effects are likely to occur due to greenhouse gas emissions and

climate change. It further explicitly stated that “[t]his plan-level consultation, however, does not

eliminate the need for BLM to conduct future action-specific biological assessments pursuant to

50 CFR 1402.12 to determine if any actions are likely to adversely affect listed or proposed

species or adversely modify critical habitat.” USFWS, Programmatic Biological Opinion for the

Carlsbad Resource Management Plan Amendment (1997), in BLM, Carlsbad Approved

Resource Management Plan Amendment and Record of Decision at AP4-137.




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       173. There is no evidence that BLM ever consulted on climate-imperiled species at that

time or subsequently for oil and gas activities in New Mexico.

       174. Wyoming – Buffalo Field Office: BLM’s Buffalo, Wyoming Field Office has

approved, without consultation, 509 APDs in the 20-month period since Biden took office. In

2015, the BLM approved RMPs for both its Miles City and Buffalo Field Offices, located in

Montana and Wyoming, respectively. USFWS prepared a programmatic biological opinion for

the 2015 Buffalo RMP examining the local effects on the Northern long-eared bat and Ute

Ladies-tresses (although not on pallid sturgeon, present immediately downstream of the

planning area).

       175. That opinion contains no discussion of impacts to any species from climate

change or from greenhouse gas emissions associated with BLM oil and gas activities within the

immediate area of oil and gas activities or within the full action area where indirect effects are

likely to occur due to greenhouse gas emissions and climate change.

       176. There is no evidence that BLM ever consulted on climate-imperiled species at that

time or subsequently for oil and gas activities in the Buffalo Field Office.

       177. Wyoming – Casper Field Office: BLM’s Casper, Wyoming Field Office has

approved, without consultation, 385 APDs in the 20-month period. USFWS prepared a 2007

programmatic Biological Opinion for the Casper Resource Management Plan, addressing local

impacts to black-footed ferret, Preble’s meadow jumping mouse, Colorado butterfly plant,

blowout penstemon, Ute ladies’-tresses orchid, and Platte River downstream listed species.

       178. The opinion contains no discussion of impacts to any species from climate change

or from greenhouse gas emissions associated with BLM oil and gas activities within the




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immediate area of oil and gas activities or within the full action area where indirect effects are

likely to occur due to greenhouse gas emissions and climate change.

        179. There is no evidence that BLM ever consulted on climate-imperiled species at that

time or subsequently for oil and gas activities in the Casper Field Office.

VI.    Failure to Comply with FLPMA

        180. FLPMA provides Interior with the authority and responsibility to serve as both the

trustee of federal public lands for the benefit of the American people and the regulator of

federal public lands uses. FLPMA requires Interior to:

       •        Protect public land values including air and atmospheric, water resource,
                ecological, environmental, and scenic values, and to preserve and protect “certain
                public lands in their natural condition,” and “food and habitat for fish and
                wildlife”;

       •        Account for “the long-term needs of future generations”;

       •        Prevent “permanent impairment of the productivity of the land and quality of the
                environment”; and

       •        “[T]ake any action necessary to prevent unnecessary or undue degradation of the
                lands.”

        181. These substantive obligations have existed since the passage of FLPMA in 1976.

        182. However, Interior has never defined how the multiple use mandates apply to land

and resource management planning generally, or to the federal onshore oil and gas program

specifically.

        183. Moreover, BLM has never defined what constitutes “unnecessary and undue

degradation,” therefore preventing BLM from applying FLPMA’s substantive mandate to take

action necessary to prevent unnecessary and undue degradation when authorizing the challenged

oil and gas drilling permits, or when considering the broader cumulative climate impacts that

the oil and gas program causes on public lands.



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       184. While Interior has discretion in how it implements these conservation-centered

duties, that discretion is not unlimited and FLPMA’s mandates cannot be ignored. This is

particularly true where, as here, the agency acknowledges that its approval of over 4,000 oil and

gas drilling permits on federal public lands will result in substantial greenhouse gas emissions,

that such emissions are a fundamental cause of the climate crisis, and that the climate crisis

results in ongoing and escalating impacts to public lands. Yet the agency has failed to take

action to prevent unnecessary and undue degradation to public lands—as is its substantive

obligation.

       185. As BLM admits in its Specialist Report, and in reliance on IPCC and the National

Climate Assessment scientific consensus, that “[c]urrent ongoing global climate change is

caused, in large part, by the atmospheric buildup of GHGs,” which include CO2, CH4, N2O, and

fluorinated gases. Quoting the IPCC’s climate assessment report, BLM offers: “Warming of the

climate system is unequivocal, and since the 1950s, many of the observed changes are

unprecedented over decades to millennia. The atmosphere and ocean have warmed, the amounts

of snow and ice have diminished, sea level has risen, and the concentration of greenhouse gases

have increased.”

       186. BLM also recognizes that the National Climate Assessment provides region-

specific impact assessments for climate change, that each region has experienced increasing

temperatures, and that the largest changes were in the western have of the United States. For

example, in New Mexico, since 1980 the mean annual temperature increased by approximately

2.5° F, and that drought is currently more severe than any in recent historical record. Wyoming

has experienced net warming of 1.4° F since the beginning of the 20th century with three of the

four hottest years on record since 2012. These effects are already occurring.



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       187. BLM also predicts future climate impacts at a state-level based on various

emission scenarios. For example, in New Mexico temperatures could increase by as much as

12° F above current levels by the end of the century. Precipitation is projected to decrease, with

negative impacts on snowpack. There would be decreases in overall water availability by one-

quarter to one-third, with increased frequency and intensity of both droughts and floods.

Wyoming would experience unprecedented warming, with mean temperatures projected to

increase by about 10° F, with increases in heat wave and drought intensity. This will increase

the risk of wildfires, which are projected to become more frequent and severe.

       188. “Global fossil CO2 emissions were estimated at 38,000 Mt [million tons] for

2019” with increased in CO2 emissions being attributable to fossil fuel use in industrial

processes and combustion. The agency further acknowledges the “general consensus among

climate scientists that to limit global temperature rise to 1.5° C and avoid serious climate

changes, global emissions must drop to 25,000 Mt by 2030.” The United States is responsible

for over 13% of current global emissions, while “emissions from oil in the U.S. increased in

recent years due primarily to the increase from new production in basins such as the Permian,”

and “emissions from natural gas have increased dramatically both globally, and in the U.S., due

to increases in production and demand.”

       189. BLM also acknowledges that global energy related CO2 emissions are projected to

increase through 2050 from about 35 billion metric tons of CO2 to about 43 billion metric tons,

and that 82% of total U.S. emissions are due to energy production and use from fossil fuels.

       190. The agency has nonetheless refused to apply such admissions to its substantive

duty to take action to prevent the unnecessary and undue degradation of public lands, either

generally or as applied its authorization of oil and gas drilling permits challenged here.



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                                    CLAIMS FOR RELIEF

                            FIRST CLAIM FOR RELIEF
Failure to Take a Hard Look at the Significance and Severity of Greenhouse Gas Pollution
                                  (Violation of NEPA)

       191. Conservation Groups incorporate by reference all preceding paragraphs and

Appendix A below.

       192. Pursuant to NEPA, NEPA’s implementing regulations, and applicable case law,

Federal Defendants must take a hard look at the direct, indirect, and cumulative environmental

consequences of their proposed actions. 42 U.S.C. § 4332(2)(C)(i)-(v); 40 C.F.R. §§ 1500.1(b),

1502.1. Cumulative impacts from the challenged oil and gas drilling authorizations include the

combined impact of oil and gas development with other past, present and reasonably

foreseeable development at a regional and national scale.

       193. BLM is required to provide a hard look analysis of these impacts before there are

“any irreversible and irretrievable commitments of resources which would be involved in the

proposed action should it be implemented.” 42 U.S.C. § 4332(2)(C)(v).

       194. NEPA documentation must do more than merely identify impacts, it must also

enable the agency and other interested parties to “evaluate the severity” of the effects.

Robertson v. Methow Valley Citizens Council, 490 U.S. 332 at 352.

       195. Where information relevant to foreseeable adverse impacts is unavailable,

agencies must nonetheless bear in mind NEPA’s mandate to “develop methods and procedures

… which will insure that presently unquantified environmental amenities and values may be

given appropriate consideration in decision making along with economic and technical

considerations. 42. U.S.C. § 4332(2)(B).




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       196. For all the oil and gas drilling permits identified in Appendix A, BLM failed to

take the required hard look at the cumulative GHG emissions and the impacts of those

emissions on climate change. BLM also failed to discuss the cumulative effects of these

emissions across federal public lands managed through BLM’s oil and gas program.

       197. BLM oil and gas drilling permit authorizations failed to take a hard look at

cumulative greenhouse gas emissions or the severity of resulting climate impacts, and failed to

employ available tools for assessing the impact of the climate pollution caused by the

production and combustion of the federal mineral resources authorized by the challenged APDs.

BLM’s failure to discuss the severity or impact of these emissions and the broader, cumulative

impacts to which they incrementally contribute, despite the availability of tools to do so, is

contrary to NEPA, 42 U.S.C. § 4332(2)(C)(ii) and its implementing regulations, 40 C.F.R. §§

1500.1(b), 1502.1, and is arbitrary, capricious, an abuse of discretion pursuant to the APA. 5

U.S.C. § 706(2).

                              SECOND CLAIM FOR RELIEF
                   Failure to Take a Hard Look at Environmental Justice
                                    (Violation of NEPA)

       198. Conservation Groups incorporate by reference all preceding paragraphs and

Appendix A below.

       199. BLM failed to consider the environmental justice impacts of its oil and gas

drilling authorizations at any scale or for any region, including at the local level where drilling

occurs or for disproportionally climate impacted environmental justice communities.

       200. Environmental justice is a relevant factor and important aspect of the problem at

which BLM must take a hard look under NEPA. See Council on Envt’l Quality, Environmental

Justice: Guidance Under the National Environmental Policy Act (December 10, 1997), at 8




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(“[e]nvironmental justice issues may arise at any step of the NEPA process and agencies should

consider these issues at each and every step of the process, as appropriate”).

       201. By failing to conduct any environmental justice analysis in its EAs for the

challenged APD approvals, and failing to consider the environmental justice implications of

increased GHG emissions and cumulative climate impacts, BLM acted arbitrarily and

capriciously by “entirely failing to consider an important aspect of the problem,” See Motor

Vehicle Ass'n v. State Farm Mutual Auto. Ins., 463 U.S. at 43; see also WildEarth Guardians v.

Zinke, 368 F. Supp. 3d 41, 58 (D.D.C. 2019) (noting arbitrary and capricious standard from

State Farm and stating that “[t]his standard applies when assessing an agency's compliance with

NEPA.”).

       202. BLM’s failure to take a hard look at impacts to environmental justice or articulate

a satisfactory explanation for its actions, including a rational connection between the facts found

and choices made, was arbitrary, capricious, an abuse of discretion, and contrary to NEPA, 42

U.S.C. § 4332(2)(C)(ii), and its implementing regulations, 40 C.F.R. §§ 1500.1(b), 1502.1, and

the APA, 5 U.S.C. § 706(2)(A).

                                THIRD CLAIM FOR RELIEF
                       Failure to Consult on Climate-Impacted Species
                                 (Violation of the ESA 7(a)(2))

       203. Conservation Groups incorporate by reference all preceding paragraphs and

Appendix A below.

       204. Section 2(c) of the Endangered Species Act establishes “that all Federal

departments and agencies shall seek to conserve endangered species and threatened species and

shall utilize their authorities in furtherance of the purposes of this [Act].” 16 U.S.C. §

1531(c)(1). The ESA defines “conservation” to mean “the use of all methods and procedures




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which are necessary to bring any endangered species or threatened species to the point at which

the measures provided pursuant to this Act are no longer necessary.” 16 U.S.C. § 1532(3).

       205. Section 7(a)(2) requires all federal agencies to “insure that any action authorized,

funded, or carried out by such agency…is not likely to jeopardize the continued existence of

any endangered species or threatened species or result in the destruction or adverse modification

of habitat of such species…determined…to be critical.” 16 U.S.C. § 1536(a)(2).

       206. Under the ESA, Section 7 consultation is required for every discretionary federal

agency action that “may affect listed species or critical habitat.” According to the ESA

implementing regulations, “Actions” requiring consultation under the ESA are broadly defined

to include “activities or programs of any kind authorized, funded, or carried out, in whole or in

part, by Federal agencies,” including “the granting of … permits” and all “actions directly or

indirectly causing modifications to the land, water, or air.” 50 C.F.R. § 402.02. BLM’s

consideration and approval of applications for permits to drill are discretionary federal actions

within the meaning of the ESA.

       207. Emissions from wells and production units approved by the BLM on public lands

contribute to climate change which “may affect” and does in fact deleteriously affect listed

species.

       208. The threats to species affected by BLM-issued permits clearly meets the ESA’s

“may affect” threshold for triggering the agency’s Section 7 consultation obligations, but BLM

has never consulted on the impacts of greenhouse gas emissions on threatened and endangered

species.

       209. Defendants’ failure to enter into and complete consultation with the Services

regarding the effects of BLM’s approval of applications to drill on listed species and their




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critical habitats constitutes a failure to ensure that the agency’s actions are not likely to

jeopardize the existence of listed species or result in destruction or adverse modification of

critical habitat, in direct violation of Section 7 of the ESA, 16 U.S.C. § 1536. Such action is

arbitrary and capricious within the meaning of the APA, and in direct violation of Federal

Defendants’ duties pursuant to the ESA.

        210. In failing to engage in Section 7 consultation regarding the effects of their actions

on climate change-imperiled species, Defendants may be relying on the 2008 Bernhardt Legal

Opinion. In view of the best available science regarding the threats that climate change pose to

imperiled species, and the extent to which federal agency actions such as those involved here

contribute to such threats, Federal Defendants’ reliance on the Bernhardt Legal Opinion to

avoid any Section 7 consultation violates the ESA and is arbitrary, capricious, and not in

accordance with law in contravention of the APA.

                             FOURTH CLAIM FOR RELIEF
              Failure to Reinitiate Consultation on Climate-Impacted Species
                                (Violation of the ESA 7(a)(2))

        211. Conservation Groups incorporate by reference all preceding paragraphs and

Appendix A below.

        212. Defendants have an ongoing duty pursuant to Section 7(a)(2) of the ESA to

ensure that their actions are not likely to jeopardize the continued existence of endangered and

threatened species or result in the destruction or adverse modification of such species’ critical

habitat. 16 U.S.C. § 1536(a)(2).

        213. The ESA requires the Bureau of Land Management to reinitiate consultation on

its resource management plans when new information reveals that the action may have effects

not previously considered. 50 C.F.R. § 402.16(b).




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        214. At no point during the entire history of the oil and gas program has BLM

considered the nationwide impacts of its fossil fuel program on the environment.

        215. Federal Defendants’ failure to reinitiate and complete formal consultation with the

Services regarding the effects of BLM’s resource management plans on listed species and their

critical habitats constitutes a failure to ensure that the agency’s actions are not likely to

jeopardize the existence of listed species or result in destruction or adverse modification of

critical habitat, in direct violation of Section 7 of the ESA, 16 U.S.C. § 1536. Such action is

arbitrary and capricious within the meaning of the APA, and in direct violation of Federal

Defendants’ duties pursuant to the ESA.

                               FIFTH CLAIM FOR RELIEF
           Failure to Prevent Unnecessary or Undue Degradation of Public Lands
                                  (Violation of FLPMA)

        216. Conservation Groups incorporate by reference all preceding paragraphs and

Appendix A below.

        217. The Secretary of the Interior is required to “by regulation or otherwise, take any

action necessary to prevent unnecessary or undue degradation of the lands.” 43 U.S.C. §

1732(b).

        218. BLM acknowledges multiple negative environmental impacts of the challenged

oil and gas drilling permit authorizations, including millions of metric tons of GHG emissions

per year. The agency also acknowledges—through extensive discussion—current climate

science and the scientific consensus that BLM managed greenhouse gas emissions contribute to

anthropogenic climate change, that climate induced impacts are already occurring, and that

these impacts will increase and become more severe over time without dramatic emissions

reductions and the implementation of aggressive mitigation pathways.




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        219. However, BLM has neither defined what constitutes “unnecessary or undue

degradation” in the management of oil and gas resources and the drilling permits challenged

here—with particular consideration of greenhouse gas emissions and resulting climate

impacts—nor has the agency explained why its authorization of over 4,000 additional drilling

permits will not result in such degradation, as required by FLPMA, 43 U.S.C. § 1732(b).

        220. BLM’s failure to take action necessary to prevent unnecessary or undue

degradation in the context of climate impacts is arbitrary and capricious agency action, an abuse

of discretion, and action without observance of procedures required by law, pursuant to the

APA. 5 U.S.C. § 706(2).

                                     RELIEF REQUESTED

       WHEREFORE, Plaintiff Conservation Groups respectfully request that this Court:

       A.      Declare that Federal Defendants’ oil and gas drilling permit authorizations

challenged herein violate NEPA and its implementing regulations;

       B.      Declare that Federal Defendants’ oil and gas drilling permit authorizations

challenged herein violate the ESA and its implementing regulations;

       C.      Declare that Federal Defendants’ oil and gas drilling permit authorizations

challenged herein violate FLPMA;

       D.      Vacate and set aside Federal Defendants’ oil and gas drilling permit

authorizations challenged herein;

       E.      Enjoin Federal Defendants from approving or otherwise taking action to approve

any applications for permits to drill on federal public lands and minerals until Federal

Defendants have fully complied with NEPA and its implementing regulations, and the

substantive provisions of the ESA and FLPMA;




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       F.     Remand this matter to BLM for further action in accordance with applicable laws;

       G.     Award the Conservation Groups their fees, costs, and other expenses as provided

by applicable law; and

       H.     Issue such relief as Conservation Groups subsequently request or that this Court

may deem just, proper, and equitable.

       RESPECTFULLY SUBMITTED on the 12th day of September 2022,

                                    /s/ Kyle Tisdel
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                                    Power and Light, and WildEarth Guardians

                                    /s/ Jason C. Rylander
                                    Jason C. Rylander
                                    D.C. Bar No. 474995



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                              CERTIFICATE OF SERVICE

I hereby certify that on September 12, 2022 I electronically filed the foregoing
AMENDED AND SUPPLEMENTED COMPLAINT with the Clerk of the Court via the
CM/ECF system, which will send notification of such filing to all counsel of record.


                                                  /s/ Kyle Tisdel
                                                  Attorney for Plaintiffs




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                                Appendix A

Number State      Field    Well Name         Well Number    Drilling
                  Office                                    Permit
                                                            Approval
                                                            Date
1       New       Carlsbad RED LAKE 33       9H             3/7/2022
        Mexico             FEDERAL COM

2       New       Carlsbad RED LAKE 33       11H            3/7/2022
        Mexico             FEDERAL COM

3       New       Carlsbad RED LAKE 33       12H            3/7/2022
        Mexico             FEDERAL COM

4       New       Carlsbad RED LAKE 33       13H            3/7/2022
        Mexico             FEDERAL COM

5       New       Carlsbad MALCO B 6         4H             8/19/2022
        Mexico             FEDERAL COM

6       New       Carlsbad FAT TIRE 12       71H            6/18/2021
        Mexico             FEDERAL
7       New       Carlsbad FAT TIRE 12       10H            6/18/2021
        Mexico             FEDERAL
8       New       Carlsbad FAT TIRE 12       51H            8/6/2021
        Mexico             FEDERAL
9       New       Carlsbad POKER LAKE        126H           11/3/2021
        Mexico             UNIT 29-20 BS

10      New       Carlsbad MALCO B 6         5H             8/19/2022
        Mexico             FEDERAL COM

11      New       Carlsbad MALCO B 6         6H             8/19/2022
        Mexico             FEDERAL COM

12      New       Carlsbad MALCO B 6         2H             8/26/2022
        Mexico             FEDERAL COM

13      New       Carlsbad MALCO B 6         7H             8/26/2022
        Mexico             FEDERAL COM

14      New       Carlsbad SAMSONITE 3/4     1H             1/7/2022
        Mexico             B2NM FED COM




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15      New       Carlsbad SAMSONITE 3/4    1H              1/7/2022
        Mexico             B2KL FED COM

16      New       Carlsbad JG 16 STATE      21H             5/6/2022
        Mexico             NORTH COM

17      New       Carlsbad JG 16 STATE      21H             5/6/2022
        Mexico             NORTH COM

18      New       Carlsbad JG 16 STATE      60H             5/6/2022
        Mexico             NORTH COM

19      New       Carlsbad JG 16 STATE      20H             5/16/2022
        Mexico             NORTH COM

20      New       Carlsbad JG 16 STATE      20H             5/16/2022
        Mexico             NORTH COM

21      New       Carlsbad CORVETTE 4-33    1H              6/24/2022
        Mexico             FED 2BS COM

22      New       Carlsbad CORVETTE 4-33    2H              6/24/2022
        Mexico             FED 2BS COM

23      New       Carlsbad MULE 23-11 FED   712H            3/11/2022
        Mexico             COM
24      New       Carlsbad MULE 23-11 FED   623H            3/11/2022
        Mexico             COM
25      New       Carlsbad MULE 23-11 FED   624H            3/11/2022
        Mexico             COM
26      New       Carlsbad MULE 23-11 FED   714H            3/11/2022
        Mexico             COM
27      New       Carlsbad MULE 23-11 FED   821H            3/11/2022
        Mexico             COM
28      New       Carlsbad MULE 23-11 FED   831H            3/11/2022
        Mexico             COM
29      New       Carlsbad MULE 23-11 FED   822H            3/11/2022
        Mexico             COM
30      New       Carlsbad MULE 23-11 FED   832H            3/11/2022
        Mexico             COM
31      New       Carlsbad MULE 23-11 FED   823H            3/11/2022
        Mexico             COM
32      New       Carlsbad MULE 23-11 FED   833H            3/11/2022
        Mexico             COM



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33      New       Carlsbad MULE 23-11 FED    824H           3/11/2022
        Mexico             COM
34      New       Carlsbad MULE 23-11 FED    713H           5/24/2022
        Mexico             COM
35      New       Carlsbad MULE 23-11 FED    732H           5/24/2022
        Mexico             COM
36      New       Carlsbad MULE 23-11 FED    731H           5/24/2022
        Mexico             COM
37      New       Carlsbad CO GRIZZLY 34     409H           11/12/2021
        Mexico             27 FED COM

38      New       Carlsbad CO GRIZZLY 3 34   406H           9/7/2021
        Mexico             FED

39      New       Carlsbad CO GRIZZLY 34     408H           11/12/2021
        Mexico             27 FED COM

40      New       Carlsbad CO GRIZZLY 34     417H           5/16/2022
        Mexico             27 FED COM

41      New       Carlsbad MORAB 29-20       334H           3/23/2021
        Mexico             FED COM
42      New       Carlsbad MORAB 29-20       621H           3/23/2021
        Mexico             FED COM
43      New       Carlsbad MORAB 29-20       623H           3/23/2021
        Mexico             FED COM
44      New       Carlsbad MORAB 29-20       711H           3/23/2021
        Mexico             FED COM
45      New       Carlsbad MORAB 29-20       713H           3/23/2021
        Mexico             FED COM
46      New       Carlsbad MORAB 29-20       714H           3/23/2021
        Mexico             FED COM
47      New       Carlsbad MORAB 29-20       731H           3/23/2021
        Mexico             FED COM
48      New       Carlsbad MORAB 29-20       733H           3/23/2021
        Mexico             FED COM
49      New       Carlsbad MORAB 29-20       734H           3/23/2021
        Mexico             FED COM
50      New       Carlsbad POKER LAKE        104H           6/4/2021
        Mexico             UNIT 28-21 BS

51      New       Carlsbad BROADSIDE 13-     4H             7/30/2021
        Mexico             24 FED COM




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52      New       Carlsbad BROADSIDE 13-    15H             7/30/2021
        Mexico             24 FED COM

53      New       Carlsbad BROADSIDE 13-    25H             7/30/2021
        Mexico             24 FED COM

54      New       Carlsbad SPANISH BAY      1H              9/21/2021
        Mexico             18/19 B1DM FED
                           COM

55      New       Carlsbad SPANISH BAY      1H              9/21/2021
        Mexico             18/19 B2DM FED
                           COM

56      New       Carlsbad SPANISH BAY      1H              10/21/2021
        Mexico             18/19 B2CN FED
                           COM

57      New       Carlsbad THUNDERBIRD      3H              10/21/2021
        Mexico             18-7 FED 1BS
                           COM
58      New       Carlsbad THUNDERBIRD      4H              10/21/2021
        Mexico             18-7 FED 1BS
                           COM
59      New       Carlsbad THUNDERBIRD      7H              10/21/2021
        Mexico             18-7 FED 2BS
                           COM
60      New       Carlsbad THUNDERBIRD      8H              10/21/2021
        Mexico             18-7 FED 2BS
                           COM
61      New       Carlsbad SUPREME          605H            12/2/2021
        Mexico             FEDERAL COM

62      New       Carlsbad SUPREME          606H            12/2/2021
        Mexico             FEDERAL COM

63      New       Carlsbad SUPREME          607H            12/2/2021
        Mexico             FEDERAL COM

64      New       Carlsbad SUPREME          608H            12/2/2021
        Mexico             FEDERAL COM




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65      New       Carlsbad MEAT LOVER       602H            5/25/2022
        Mexico             FEDERAL COM


66      New       Carlsbad MEAT LOVER       603H            5/25/2022
        Mexico             FEDERAL COM


67      New       Carlsbad MEAT LOVER       604H            5/25/2022
        Mexico             FEDERAL COM


68      New       Carlsbad MEAT LOVER       605H            5/25/2022
        Mexico             FEDERAL COM


69      New       Carlsbad MEAT LOVER       606H            5/25/2022
        Mexico             FEDERAL COM


70      New       Carlsbad MEAT LOVER       607H            5/25/2022
        Mexico             FEDERAL COM


71      New       Carlsbad MEAT LOVER       608H            5/25/2022
        Mexico             FEDERAL COM


72      New       Carlsbad MEAT LOVER       601H            5/25/2022
        Mexico             FEDERAL COM


73      New       Carlsbad BARRY MILLER     201H            2/22/2022
        Mexico             FED COM

74      New       Carlsbad BARRY MILLER     202H            2/22/2022
        Mexico             FED COM

75      New       Carlsbad BARRY MILLER     221H            2/22/2022
        Mexico             FED COM

76      New       Carlsbad BARRY MILLER     222H            2/22/2022
        Mexico             FED COM




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77      New       Carlsbad MIDNIGHT HOUR    108H            6/22/2022
        Mexico             10 FED COM

78      New       Carlsbad MIDNIGHT HOUR    595H            8/10/2022
        Mexico             10 FED COM

79      New       Carlsbad FAT TIRE 12      21H             6/18/2021
        Mexico             FEDERAL
80      New       Carlsbad FAT TIRE 12      22H             6/18/2021
        Mexico             FEDERAL
81      New       Carlsbad FAT TIRE 12      52H             6/18/2021
        Mexico             FEDERAL
82      New       Carlsbad FAT TIRE 12      11H             6/18/2021
        Mexico             FEDERAL
83      New       Carlsbad GISSLER A        63              11/12/2021
        Mexico
84      New       Carlsbad GISSLER A        64              11/12/2021
        Mexico
85      New       Carlsbad BARREL           1H              3/17/2022
        Mexico             CRUSHER 19/20
                           B2EH FED COM

86      New       Carlsbad RIKER FEDERAL    6H              4/19/2022
        Mexico
87      New       Carlsbad RED LAKE 33      4H              3/7/2022
        Mexico             FEDERAL COM

88      New       Carlsbad RED LAKE 33      5H              4/19/2022
        Mexico             FEDERAL COM

89      New       Carlsbad CHARLIE        313H              4/12/2021
        Mexico             CHOCOLATE 13-
                           14 FEDERAL COM


90      New       Carlsbad CHARLIE        31H               6/24/2022
        Mexico             CHOCOLATE 13-
                           14 FEDERAL COM


91      New       Carlsbad PUMA BLANCA      1H              2/9/2022
        Mexico             22-21 B2PM FED
                           COM




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92       New       Carlsbad PUMA BLANCA       1H             2/18/2022
         Mexico             22 B2IL FED COM


93       New       Carlsbad SWANSON 3/2       1H             1/19/2022
         Mexico             B2JI FED COM

94       New       Carlsbad SWANSON 3/2       1H             1/25/2022
         Mexico             B2OP FED COM

95       New       Carlsbad POSEIDON 3        27H            3/23/2021
         Mexico             FEDERAL
96       New       Carlsbad POSEIDON 3        23H            3/23/2021
         Mexico             FEDERAL
97       New       Carlsbad POSEIDON 3        20H            3/23/2021
         Mexico             FEDERAL
98       New       Carlsbad HT 18 FEDERAL     13H            8/13/2021
         Mexico
99       New       Carlsbad HT 18 FEDERAL     14H            8/13/2021
         Mexico
100      New       Carlsbad HT 18 FEDERAL     11H            9/7/2021
         Mexico
101      New       Carlsbad HT 18 FEDERAL     12H            9/7/2021
         Mexico
102      New       Carlsbad MUSTANG 9-16      1H             7/14/2022
         Mexico             FED 2BS COM

103      New       Carlsbad MUSTANG 9-16      2H             7/14/2022
         Mexico             FED 2BS COM

104      New       Carlsbad BIG EDDY UNIT     1              9/30/2021
         Mexico             21 SEAWEED FED
                            SWD

105      New       Carlsbad POKER LAKE        151H           9/21/2021
         Mexico             UNIT 29-20 BS

106      New       Carlsbad POKER LAKE        153H           9/21/2021
         Mexico             UNIT 29-20 BS

107      New       Carlsbad POKER LAKE        151H           3/25/2022
         Mexico             UNIT 30-19 BS




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108      New       Carlsbad POKER LAKE       153H            4/27/2022
         Mexico             UNIT 30-19 BS

109      New       Carlsbad POKER LAKE       154H            4/27/2022
         Mexico             UNIT 30-19 BS

110      New       Carlsbad POKER LAKE       155H            3/25/2022
         Mexico             UNIT 30-19 BS

111      New       Carlsbad POKER LAKE       156H            3/25/2022
         Mexico             UNIT 30-19 BS

112      New       Carlsbad POKER LAKE       158H            4/27/2022
         Mexico             UNIT 30-19 BS

113      New       Carlsbad POKER LAKE       156H            7/22/2021
         Mexico             UNIT 29-20 BS

114      New       Carlsbad POKER LAKE       121H            9/9/2021
         Mexico             UNIT 29-20 BS

115      New       Carlsbad POKER LAKE       122H            12/22/2021
         Mexico             UNIT 29-20 BS

116      New       Carlsbad POKER LAKE       102H            10/22/2021
         Mexico             UNIT 30-19 BS

117      New       Carlsbad POKER LAKE       103H            9/21/2021
         Mexico             UNIT 30-19 BS

118      New       Carlsbad POKER LAKE       104H            8/19/2021
         Mexico             UNIT 30-19 BS

119      New       Carlsbad POKER LAKE       105H            10/22/2021
         Mexico             UNIT 30-19 BS

120      New       Carlsbad POKER LAKE       107H            9/21/2021
         Mexico             UNIT 30-19 BS

121      New       Carlsbad POKER LAKE       108H            8/19/2021
         Mexico             UNIT 30-19 BS

122      New       Carlsbad POKER LAKE       121H            10/22/2021
         Mexico             UNIT 30-19 BS




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123      New       Carlsbad POKER LAKE       122H            8/19/2021
         Mexico             UNIT 30-19 BS

124      New       Carlsbad POKER LAKE       124H            10/22/2021
         Mexico             UNIT 30-19 BS

125      New       Carlsbad POKER LAKE       125H            8/19/2021
         Mexico             UNIT 30-19 BS

126      New       Carlsbad POKER LAKE       126H            8/19/2021
         Mexico             UNIT 30-19 BS

127      New       Carlsbad POKER LAKE       101H            4/19/2021
         Mexico             UNIT 27-22 BS

128      New       Carlsbad POKER LAKE       102H            4/19/2021
         Mexico             UNIT 27-22 BS

129      New       Carlsbad POKER LAKE       121H            4/19/2021
         Mexico             UNIT 27-22 BS

130      New       Carlsbad POKER LAKE       122H            7/22/2021
         Mexico             UNIT 27-22 BS

131      New       Carlsbad POKER LAKE       151H            7/22/2021
         Mexico             UNIT 27-22 BS

132      New       Carlsbad POKER LAKE       152H            4/19/2021
         Mexico             UNIT 27-22 BS

133      New       Carlsbad COTTON DRAW      545H            8/6/2021
         Mexico             UNIT
134      New       Carlsbad COTTON DRAW      544H            8/6/2021
         Mexico             UNIT
135      New       Carlsbad COTTON DRAW      546H            8/6/2021
         Mexico             UNIT
136      New       Carlsbad COTTON DRAW      547H            10/22/2021
         Mexico             UNIT
137      New       Carlsbad MULE 23-11 FED   733H            3/11/2022
         Mexico             COM
138      New       Carlsbad MULE 23-11 FED   734H            3/11/2022
         Mexico             COM
139      New       Carlsbad MULE 23-11 FED   834H            3/11/2022
         Mexico             COM




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140      New       Carlsbad MULE 23-11 FED   612H            5/24/2022
         Mexico             COM
141      New       Carlsbad MULE 23-11 FED   621H            5/24/2022
         Mexico             COM
142      New       Carlsbad MULE 23-11 FED   711H            5/24/2022
         Mexico             COM
143      New       Carlsbad MARWARI 21-16    622H            3/23/2021
         Mexico             STATE FED COM

144      New       Carlsbad MARWARI 21-16    623H            3/23/2021
         Mexico             STATE FED COM

145      New       Carlsbad MARWARI 21-16    712H            3/23/2021
         Mexico             STATE FED COM

146      New       Carlsbad MARWARI 21-16    714H            3/23/2021
         Mexico             STATE FED COM

147      New       Carlsbad MARWARI 21-16    624H            3/23/2021
         Mexico             STATE FED COM

148      New       Carlsbad MARWARI 21-16    734H            3/23/2021
         Mexico             STATE FED COM

149      New       Carlsbad MARWARI 21-16    733H            3/23/2021
         Mexico             STATE FED COM

150      New       Carlsbad MARWARI 21-16    331H            3/23/2021
         Mexico             STATE FED COM

151      New       Carlsbad MARWARI 21-16    332H            3/23/2021
         Mexico             STATE FED COM

152      New       Carlsbad MARWARI 21-16    333H            3/23/2021
         Mexico             STATE FED COM

153      New       Carlsbad MARWARI 21-16    621H            3/23/2021
         Mexico             STATE FED COM

154      New       Carlsbad MARWARI 21-16    731H            3/23/2021
         Mexico             STATE FED COM

155      New       Carlsbad MARWARI 21-16    732H            3/23/2021
         Mexico             STATE FED COM




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156      New       Carlsbad MARWARI 21-16     718H           3/23/2021
         Mexico             STATE FED COM

157      New       Carlsbad MARWARI 21-16     334H           5/26/2021
         Mexico             STATE FED COM

158      New       Carlsbad MARWARI 21-16     716H           5/26/2021
         Mexico             STATE FED COM

159      New       Carlsbad CO GRIZZLY 34     407H           11/12/2021
         Mexico             27 FED COM

160      New       Carlsbad CO GRIZZLY 3 34   404H           11/12/2021
         Mexico             FED

161      New       Carlsbad CO GRIZZLY 3 34   405H           9/7/2021
         Mexico             FED

162      New       Carlsbad CO GRIZZLY 34     418H           4/26/2022
         Mexico             27 FED COM

163      New       Carlsbad CO GRIZZLY 34     416H           4/13/2022
         Mexico             27 FED COM

164      New       Carlsbad CO GRIZZLY 3 34   0053H          5/12/2021
         Mexico             FED

165      New       Carlsbad POKER LAKE        124H           6/4/2021
         Mexico             UNIT 28-21 BS

166      New       Carlsbad POKER LAKE        107H           6/4/2021
         Mexico             UNIT 28-21 BS

167      New       Carlsbad POKER LAKE        127H           6/4/2021
         Mexico             UNIT 28-21 BS

168      New       Carlsbad POKER LAKE        153H           6/4/2021
         Mexico             UNIT 28-21 BS

169      New       Carlsbad POKER LAKE        158H           6/4/2021
         Mexico             UNIT 28-21 BS
                            MON




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170      New       Carlsbad POKER LAKE       156H            6/4/2021
         Mexico             UNIT 28-21 BS

171      New       Carlsbad POKER LAKE       103H            6/4/2021
         Mexico             UNIT 28-21 BS

172      New       Carlsbad POKER LAKE       108H            6/4/2021
         Mexico             UNIT 28-21 BS
                            MON

173      New       Carlsbad POKER LAKE       158H            9/21/2021
         Mexico             UNIT 29-20 BS

174      New       Carlsbad POKER LAKE       124H            9/9/2021
         Mexico             UNIT 29-20 BS

175      New       Carlsbad POKER LAKE       104H            9/9/2021
         Mexico             UNIT 29-20 BS

176      New       Carlsbad POKER LAKE       107H            8/19/2021
         Mexico             UNIT 29-20 BS

177      New       Carlsbad POKER LAKE       127H            7/22/2021
         Mexico             UNIT 29-20 BS

178      New       Carlsbad POKER LAKE       103H            7/22/2021
         Mexico             UNIT 29-20 BS

179      New       Carlsbad POKER LAKE       108H            12/22/2021
         Mexico             UNIT 29-20 BS

180      New       Carlsbad POKER LAKE       102H            6/4/2021
         Mexico             UNIT 28-21 BS

181      New       Carlsbad POKER LAKE       105H            6/4/2021
         Mexico             UNIT 28-21 BS

182      New       Carlsbad POKER LAKE       121H            6/4/2021
         Mexico             UNIT 28-21 BS

183      New       Carlsbad POKER LAKE       122H            6/4/2021
         Mexico             UNIT 28-21 BS




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184      New       Carlsbad POKER LAKE       125H            6/4/2021
         Mexico             UNIT 28-21 BS

185      New       Carlsbad POKER LAKE       126H            6/4/2021
         Mexico             UNIT 28-21 BS

186      New       Carlsbad POKER LAKE       151H            6/4/2021
         Mexico             UNIT 28-21 BS

187      New       Carlsbad POKER LAKE       154H            6/4/2021
         Mexico             UNIT 28-21 BS

188      New       Carlsbad POKER LAKE       155H            11/3/2021
         Mexico             UNIT 28-21 BS

189      New       Carlsbad POKER LAKE       105H            10/22/2021
         Mexico             UNIT 29-20 BS

190      New       Carlsbad POKER LAKE       125H            7/22/2021
         Mexico             UNIT 29-20 BS

191      New       Carlsbad POKER LAKE       155H            9/21/2021
         Mexico             UNIT 29-20 BS

192      New       Carlsbad MORAB 29-20      332H            3/23/2021
         Mexico             FED COM
193      New       Carlsbad MORAB 29-20      712H            3/23/2021
         Mexico             FED COM
194      New       Carlsbad MORAB 29-20      732H            3/23/2021
         Mexico             FED COM
195      New       Carlsbad VAN DOO DAH      337H            9/28/2021
         Mexico             28-33 FED COM

196      New       Carlsbad VAN DOO DAH      625H            9/28/2021
         Mexico             28-33 FED COM

197      New       Carlsbad VAN DOO DAH      711H            9/28/2021
         Mexico             28-33 FED COM

198      New       Carlsbad VAN DOO DAH      715H            10/21/2021
         Mexico             28-33 FED COM

199      New       Carlsbad VAN DOO DAH      717H            9/28/2021
         Mexico             28-33 FED COM




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200      New       Carlsbad VAN DOO DAH      730H            9/28/2021
         Mexico             28-33 FED COM

201      New       Carlsbad VAN DOO DAH      735H            9/30/2021
         Mexico             28-33 FED COM

202      New       Carlsbad VAN DOO DAH      737H            9/28/2021
         Mexico             28-33 FED COM

203      New       Carlsbad HAFLINGER 22-27 235H             3/9/2022
         Mexico             FED COM

204      New       Carlsbad HAFLINGER 22-27 236H             3/9/2022
         Mexico             FED COM

205      New       Carlsbad HAFLINGER 22-27 521H             3/9/2022
         Mexico             FED COM

206      New       Carlsbad HAFLINGER 22-27 522H             3/9/2022
         Mexico             FED COM

207      New       Carlsbad HAFLINGER 22-27 523H             3/9/2022
         Mexico             FED COM

208      New       Carlsbad HAFLINGER 22-27 524H             3/9/2022
         Mexico             FED COM

209      New       Carlsbad HAFLINGER 22-27 526H             3/9/2022
         Mexico             FED COM

210      New       Carlsbad HAFLINGER 22-27 621H             3/9/2022
         Mexico             FED COM

211      New       Carlsbad HAFLINGER 22-27 622H             3/9/2022
         Mexico             FED COM

212      New       Carlsbad HAFLINGER 22-27 711H             3/9/2022
         Mexico             FED COM

213      New       Carlsbad HAFLINGER 22-27 712H             3/9/2022
         Mexico             FED COM

214      New       Carlsbad ARABIAN 30-18    521H            3/30/2022
         Mexico             FED COM




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215      New       Carlsbad ARABIAN 30-18    522H            3/30/2022
         Mexico             FED COM
216      New       Carlsbad ARABIAN 30-18    523H            3/30/2022
         Mexico             FED COM
217      New       Carlsbad ARABIAN 30-18    524H            3/30/2022
         Mexico             FED COM
218      New       Carlsbad ARABIAN 30-18    525H            3/30/2022
         Mexico             FED COM
219      New       Carlsbad ARABIAN 30-18    526H            3/30/2022
         Mexico             FED COM
220      New       Carlsbad ARABIAN 30-18    527H            3/30/2022
         Mexico             FED COM
221      New       Carlsbad ARABIAN 30-18    528H            3/30/2022
         Mexico             FED COM
222      New       Carlsbad POKER LAKE       101H            4/19/2021
         Mexico             UNIT 34-3 BS

223      New       Carlsbad POKER LAKE       102H            4/19/2021
         Mexico             UNIT 34-3 BS

224      New       Carlsbad POKER LAKE       121H            4/19/2021
         Mexico             UNIT 34-3 BS

225      New       Carlsbad POKER LAKE       122H            9/9/2021
         Mexico             UNIT 34-3 BS

226      New       Carlsbad POKER LAKE       151H            5/26/2021
         Mexico             UNIT 34-3 BS

227      New       Carlsbad POKER LAKE       152H            4/19/2021
         Mexico             UNIT 34-3 BS

228      New       Carlsbad QUESO FEDERAL    601H            4/8/2022
         Mexico             COM

229      New       Carlsbad QUESO FEDERAL    602H            4/8/2022
         Mexico             COM

230      New       Carlsbad QUESO FEDERAL    603H            4/8/2022
         Mexico             COM

231      New       Carlsbad QUESO FEDERAL    604H            4/8/2022
         Mexico             COM




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232      New       Carlsbad EASTWATCH 4/3    1H              10/21/2021
         Mexico             B2EH FED COM

233      New       Carlsbad EASTWATCH 4/3    1H              11/19/2021
         Mexico             B2DA FED COM

234      New       Carlsbad BELL LAKE UNIT   305H            2/21/2021
         Mexico             SOUTH

235      New       Carlsbad BELL LAKE UNIT   406H            4/12/2021
         Mexico             SOUTH

236      New       Carlsbad BELL LAKE UNIT   101H            2/21/2021
         Mexico             SOUTH

237      New       Carlsbad BELL LAKE UNIT   102H            4/16/2021
         Mexico             SOUTH

238      New       Carlsbad FREMEN 7 WXY     5H              5/27/2021
         Mexico             FED COM

239      New       Carlsbad FREMEN 7 WXY     3H              5/27/2021
         Mexico             FED COM

240      New       Carlsbad CARTER           11H             4/16/2021
         Mexico             COLLIER 5 FED
                            COM
241      New       Carlsbad CARTER           12H             4/16/2021
         Mexico             COLLIER 5 FED
                            COM
242      New       Carlsbad CARTER           13H             4/16/2021
         Mexico             COLLIER 5 FED
                            COM
243      New       Carlsbad CARTER           10H             4/16/2021
         Mexico             COLLIER 5 FED
                            COM
244      New       Carlsbad CARTER           14H             4/16/2021
         Mexico             COLLIER 5 FED
                            COM
245      New       Carlsbad SHOWNUFF 18-19   1H              4/16/2021
         Mexico             FED COM WCC

246      New       Carlsbad SHOWNUFF 18-19   3H              4/12/2021
         Mexico             FED COM 3BS




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247      New       Carlsbad SHOWNUFF 18-19   2H              4/16/2021
         Mexico             FED COM WCB

248      New       Carlsbad FRING FEDERAL    2H              2/2/2022
         Mexico
249      New       Carlsbad FRING FEDERAL    1H              2/2/2022
         Mexico
250      New       Carlsbad FRING FEDERAL    3H              2/2/2022
         Mexico
251      New       Carlsbad TORO 22 FED      132H            1/21/2021
         Mexico             STATE COM

252      New       Carlsbad TORO 22 FED      131H            1/21/2021
         Mexico             STATE COM

253      New       Carlsbad TORO 22 FED      122H            1/21/2021
         Mexico             STATE COM

254      New       Carlsbad TORO 22 FED      121H            1/21/2021
         Mexico             STATE COM

255      New       Carlsbad ZHU 2331 WC      9H              5/10/2021
         Mexico
256      New       Carlsbad ZHU 2331 WC      11H             5/10/2021
         Mexico
257      New       Carlsbad ZHU 2331 WC      7H              5/10/2021
         Mexico
258      New       Carlsbad ZHU 2331 WC      4H              5/10/2021
         Mexico
259      New       Carlsbad ZHU 2331 WC      3H              5/10/2021
         Mexico
260      New       Carlsbad ZHU 2331 WC      2H              5/10/2021
         Mexico
261      New       Carlsbad ZHU 2331 WC      1H              5/10/2021
         Mexico
262      New       Carlsbad ZHU 2331 WC      5H              5/10/2021
         Mexico
263      New       Carlsbad ZHU 2331 WC      6H              5/10/2021
         Mexico
264      New       Carlsbad ZHU 2331 WC      10H             8/6/2021
         Mexico
265      New       Carlsbad ZHU 2331 WC      8H              8/6/2021
         Mexico
266      New       Carlsbad ZHU 2331 WC      12H             11/26/2021
         Mexico


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267      New       Carlsbad LEA SOUTH 25     9H              5/27/2021
         Mexico             FEDERAL COM
                            2BS
268      New       Carlsbad LEA SOUTH 25     9H              5/27/2021
         Mexico             FEDERAL COM
                            2BS
269      New       Carlsbad BELL LAKE UNIT   303H            1/21/2021
         Mexico             NORTH

270      New       Carlsbad EAGLE 27         2H              2/2/2022
         Mexico             FEDERAL COM

271      New       Carlsbad EAGLE 27         3H              2/2/2022
         Mexico             FEDERAL COM

272      New       Carlsbad RED BELLIED      1               4/19/2022
         Mexico             COOTER SWD


273      New       Carlsbad RAINMAKER FED 1                  4/20/2022
         Mexico
274      New       Carlsbad ATLAS 18 STATE   132H            1/21/2021
         Mexico             FED COM

275      New       Carlsbad ATLAS 18 STATE   131H            1/21/2021
         Mexico             FED COM

276      New       Carlsbad ATLAS 18 STATE   122H            1/21/2021
         Mexico             FED COM

277      New       Carlsbad ATLAS 18 STATE   121H            5/26/2021
         Mexico             FED COM

278      New       Carlsbad BARRY MILLER     136H            2/22/2022
         Mexico             FED COM

279      New       Carlsbad BARRY MILLER     121H            2/22/2022
         Mexico             FED COM

280      New       Carlsbad BARRY MILLER     122H            2/22/2022
         Mexico             FED COM

281      New       Carlsbad BARRY MILLER     135H            2/22/2022
         Mexico             FED COM




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282      New       Carlsbad ANVIL FED COM    702H            6/18/2021
         Mexico
283      New       Carlsbad ANVIL FED COM    701H            6/18/2021
         Mexico
284      New       Carlsbad ANVIL FED COM    601H            6/18/2021
         Mexico
285      New       Carlsbad ANVIL FED COM    501H            6/18/2021
         Mexico
286      New       Carlsbad ANVIL FED COM    401H            6/18/2021
         Mexico
287      New       Carlsbad POKER LAKE       107H            5/12/2021
         Mexico             UNIT 19 BD

288      New       Carlsbad POKER LAKE       108H            5/12/2021
         Mexico             UNIT 19 BD

289      New       Carlsbad POKER LAKE       127H            5/12/2021
         Mexico             UNIT 19 BD

290      New       Carlsbad POKER LAKE       158H            5/12/2021
         Mexico             UNIT 19 BD

291      New       Carlsbad POKER LAKE       167H            5/12/2021
         Mexico             UNIT 19 BD

292      New       Carlsbad FAIR 17 FEDERAL 3                4/21/2021
         Mexico
293      New       Carlsbad ZIA HILLS UNIT   10H             8/19/2022
         Mexico             2731 WC

294      New       Carlsbad ZIA HILLS UNIT   11H             8/19/2022
         Mexico             2731 WC

295      New       Carlsbad ZIA HILLS UNIT   12H             8/19/2022
         Mexico             2731 WC

296      New       Carlsbad ZIA HILLS UNIT   13H             8/19/2022
         Mexico             2731 WC

297      New       Carlsbad ZIA HILLS UNIT   3H              8/10/2022
         Mexico             2731 WC

298      New       Carlsbad ZIA HILLS UNIT   4H              8/31/2022
         Mexico             2731 WC




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299      New       Carlsbad ZIA HILLS UNIT   5H              8/19/2022
         Mexico             2731 WC

300      New       Carlsbad ZIA HILLS UNIT   6H              8/19/2022
         Mexico             2731 WC

301      New       Carlsbad ZIA HILLS UNIT   7H              8/31/2022
         Mexico             2731 WC

302      New       Carlsbad ZIA HILLS UNIT   8H              8/31/2022
         Mexico             2731 WC

303      New       Carlsbad ZIA HILLS UNIT   9H              8/19/2022
         Mexico             2731 WC

304      New       Carlsbad SALADO DRAW      1H              7/22/2022
         Mexico             16/9 B1OB FED
                            COM

305      New       Carlsbad SALADO DRAW      1H              7/22/2022
         Mexico             16/9 B2OB FED
                            COM

306      New       Carlsbad SALADO DRAW      1H              7/22/2022
         Mexico             16/9 B2PA FED
                            COM

307      New       Carlsbad SALADO DRAW      2H              7/22/2022
         Mexico             16/9 B2PA FED
                            COM

308      New       Carlsbad JAMES RANCH      802H            9/21/2021
         Mexico             UNIT DI 11
                            EKALAKA

309      New       Carlsbad JAMES RANCH      001H            10/21/2021
         Mexico             UNIT DI 11
                            EKALAKA SL


310      New       Carlsbad COTTON DRAW      542H            8/6/2021
         Mexico             UNIT
311      New       Carlsbad MULE 11-14 FED   523H            10/22/2021
         Mexico             COM




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312      New       Carlsbad MULE 11-14 FED    524H           10/22/2021
         Mexico             COM
313      New       Carlsbad MULE 11-14 FED    525H           10/22/2021
         Mexico             COM
314      New       Carlsbad MULE 11-14 FED    526H           10/22/2021
         Mexico             COM
315      New       Carlsbad MULE 11-14 FED    533H           10/22/2021
         Mexico             COM
316      New       Carlsbad MULE 11-14 FED    535H           10/22/2021
         Mexico             COM
317      New       Carlsbad RED HILLS UNIT    74H            5/11/2021
         Mexico
318      New       Carlsbad RED HILLS UNIT    99H            5/11/2021
         Mexico
319      New       Carlsbad RED HILLS UNIT    100H           5/11/2021
         Mexico
320      New       Carlsbad RED HILLS UNIT    101H           5/11/2021
         Mexico
321      New       Carlsbad ROJO 7811 34-27   45H            5/26/2021
         Mexico             FEDERAL COM


322      New       Carlsbad ROJO 7811 34-27   46H            5/26/2021
         Mexico             FEDERAL COM


323      New       Carlsbad AMAZING 19 FED    581H           6/24/2022
         Mexico
324      New       Carlsbad AMAZING 19 FED    582H           6/24/2022
         Mexico
325      New       Carlsbad IBEX 15/10 B1MD   1H             8/17/2022
         Mexico             FED COM

326      New       Carlsbad IBEX 15/10 B1NC   1H             8/17/2022
         Mexico             FED COM

327      New       Carlsbad IBEX 15/10 B1OB   1H             8/17/2022
         Mexico             FED COM

328      New       Carlsbad IBEX 15/10 B2MD   1H             8/17/2022
         Mexico             FED COM

329      New       Carlsbad IBEX 15/10 B2OB   1H             8/17/2022
         Mexico             FED COM



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330      New       Carlsbad IBEX 15/10 B2PA   1H             8/17/2022
         Mexico             FED COM

331      New       Carlsbad CHILE VERDE       1H             4/26/2022
         Mexico             23/24 W0MP FED
                            COM

332      New       Carlsbad CHILE VERDE       1H             4/26/2022
         Mexico             23/24 W0DA FED
                            COM

333      New       Carlsbad CHILE VERDE       1H             5/16/2022
         Mexico             23/24 W0EH FED
                            COM

334      New       Carlsbad CHILE VERDE       1H             5/16/2022
         Mexico             23/24 W0LI FED
                            COM

335      New       Carlsbad ARMSTRONG         5H             6/7/2021
         Mexico             26/23 W1GG FED
                            COM

336      New       Carlsbad ARMSTRONG         3H             6/7/2021
         Mexico             26/23 W0FF FED
                            COM

337      New       Carlsbad ARMSTRONG         1H             7/1/2021
         Mexico             26/23 B2GB FED
                            COM

338      New       Carlsbad CHOLULA 12/11     1H             7/19/2021
         Mexico             W0AB FED COM

339      New       Carlsbad PERAZZI 9/10      1H             7/30/2021
         Mexico             W0MP FED

340      New       Carlsbad DOS EQUIS 11-14   11H            11/12/2021
         Mexico             FEDERAL COM


341      New       Carlsbad DOS EQUIS 11-14   12H            11/12/2021
         Mexico             FEDERAL COM




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342      New       Carlsbad DOS EQUIS 11-14   13H            12/2/2021
         Mexico             FEDERAL COM


343      New       Carlsbad DOS EQUIS 11-14   14H            12/2/2021
         Mexico             FEDERAL COM


344      New       Carlsbad DOS EQUIS 12-13   48H            10/22/2021
         Mexico             FEDERAL COM


345      New       Carlsbad DOS EQUIS 12-13   49H            10/22/2021
         Mexico             FEDERAL COM


346      New       Carlsbad DOS EQUIS 12-13   50H            10/22/2021
         Mexico             FEDERAL COM


347      New       Carlsbad DOS EQUIS 12-13   51H            10/22/2021
         Mexico             FEDERAL COM


348      New       Carlsbad DOS EQUIS 12-13   52H            10/22/2021
         Mexico             FEDERAL COM


349      New       Carlsbad DOS EQUIS 12-13   9H             9/9/2021
         Mexico             FEDERAL COM


350      New       Carlsbad DOS EQUIS 12-13   10H            2/2/2022
         Mexico             FEDERAL COM


351      New       Carlsbad DOS EQUIS 12-13   11H            2/2/2022
         Mexico             FEDERAL COM


352      New       Carlsbad HORN 22-27-34     411H           8/12/2022
         Mexico             FED COM




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353      New       Carlsbad LLAMA MALL 26- 313H              6/3/2022
         Mexico             35 FEDERAL COM


354      New       Carlsbad LLAMA MALL 26- 24H               6/3/2022
         Mexico             35 FEDERAL COM


355      New       Carlsbad LLAMA MALL 26- 25H               6/3/2022
         Mexico             35 FEDERAL COM


356      New       Carlsbad LLAMA MALL 26- 26H               6/3/2022
         Mexico             35 FEDERAL COM


357      New       Carlsbad EAGLE 33          3H             2/2/2022
         Mexico             FEDERAL COM

358      New       Carlsbad EAGLE 33          11H            4/19/2022
         Mexico             FEDERAL COM

359      New       Carlsbad EAGLE 33          12H            4/19/2022
         Mexico             FEDERAL COM

360      New       Carlsbad EAGLE 33          10H            4/19/2022
         Mexico             FEDERAL COM

361      New       Carlsbad DOS EQUIS 12-13   75H            10/22/2021
         Mexico             FEDERAL COM


362      New       Carlsbad DOS EQUIS 12-13   77H            10/22/2021
         Mexico             FEDERAL COM


363      New       Carlsbad JAMES RANCH       923H           9/21/2021
         Mexico             UNIT DI 11
                            EKALAKA

364      New       Carlsbad JAMES RANCH       824H           9/21/2021
         Mexico             UNIT DI 11
                            EKALAKA




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365      New       Carlsbad JAMES RANCH       122H           9/21/2021
         Mexico             UNIT DI 11
                            EKALAKA

366      New       Carlsbad JAMES RANCH       701H           11/12/2021
         Mexico             UNIT DI 8 EAGLE


367      New       Carlsbad JAMES RANCH       702H           11/12/2021
         Mexico             UNIT DI 8 EAGLE


368      New       Carlsbad JAMES RANCH       703H           11/12/2021
         Mexico             UNIT DI 8 EAGLE


369      New       Carlsbad JAMES RANCH       704H           11/12/2021
         Mexico             UNIT DI 8 EAGLE


370      New       Carlsbad JAMES RANCH       705H           11/12/2021
         Mexico             UNIT DI 8 EAGLE


371      New       Carlsbad JAMES RANCH       151H           11/12/2021
         Mexico             UNIT DI 8 EAGLE


372      New       Carlsbad JAMES RANCH       151H           11/12/2021
         Mexico             UNIT DI 8 EAGLE


373      New       Carlsbad JAMES RANCH       162H           11/12/2021
         Mexico             UNIT DI 8 EAGLE


374      New       Carlsbad SPARKPLUG 17      3H             6/17/2022
         Mexico             FEDERAL COM


375      New       Carlsbad CURRAHEE 24/23    1H             11/22/2021
         Mexico             W0IL FED COM




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376      New       Carlsbad BS 33 09 FED     505H            6/3/2022
         Mexico             STATE COM P1

377      New       Carlsbad BS 33 09 FED     606H            6/3/2022
         Mexico             STATE COM P1

378      New       Carlsbad RANA SALADA      136H            7/22/2021
         Mexico             FED COM 0504


379      New       Carlsbad CHARLIE        33H               6/30/2022
         Mexico             CHOCOLATE 13-
                            14 FEDERAL COM


380      New       Carlsbad SAND CHUTE 4/9   1H              6/22/2022
         Mexico             B2DM FED COM


381      New       Carlsbad SAND CHUTE 4/9   1H              6/22/2022
         Mexico             W1DM FED COM


382      New       Carlsbad RUSTLER          2H              6/18/2021
         Mexico             BREAKS 26-23
                            W0NK FC
383      New       Carlsbad RUSTLER          1H              6/18/2021
         Mexico             BREAKS 26/23
                            W1NK FC

384      New       Carlsbad MALCO B 6        1H              8/19/2022
         Mexico             FEDERAL COM

385      New       Carlsbad FAT TIRE 12      70H             6/18/2021
         Mexico             FEDERAL
386      New       Carlsbad FAT TIRE 12      50H             6/18/2021
         Mexico             FEDERAL
387      New       Carlsbad FAT TIRE 12      20H             6/18/2021
         Mexico             FEDERAL
388      New       Carlsbad MERAK 7          70H             9/9/2021
         Mexico             FEDERAL
389      New       Carlsbad MERAK 7          52H             9/9/2021
         Mexico             FEDERAL
390      New       Carlsbad MERAK 7          50H             9/9/2021
         Mexico             FEDERAL


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391      New       Carlsbad MERAK 7           51H            9/9/2021
         Mexico             FEDERAL
392      New       Carlsbad MERAK 7           10H            9/9/2021
         Mexico             FEDERAL
393      New       Carlsbad MERAK 7           20H            10/21/2021
         Mexico             FEDERAL
394      New       Carlsbad MERAK 7           11H            10/21/2021
         Mexico             FEDERAL
395      New       Carlsbad FORTY NINER       133H           3/24/2022
         Mexico             RIDGE UNIT

396      New       Carlsbad FORTY NINER       124H           3/24/2022
         Mexico             RIDGE UNIT

397      New       Carlsbad FORTY NINER       125H           3/24/2022
         Mexico             RIDGE UNIT

398      New       Carlsbad COTTON DRAW       619H           11/12/2021
         Mexico             25-36 FED STATE
                            CO

399      New       Carlsbad COTTON DRAW       620H           11/12/2021
         Mexico             25-36 FED STATE
                            CO

400      New       Carlsbad COTTON DRAW       622H           11/12/2021
         Mexico             25-36 FED STATE
                            CO

401      New       Carlsbad COTTON DRAW       623H           11/12/2021
         Mexico             25-36 FED STATE
                            CO

402      New       Carlsbad COTTON DRAW       624H           11/12/2021
         Mexico             25-36 FED STATE
                            CO

403      New       Carlsbad COTTON DRAW       621H           11/12/2021
         Mexico             25-36 FED STATE
                            CO

404      New       Carlsbad QUAIL RIDGE 31-   702H           1/24/2022
         Mexico             6 FED COM




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405      New       Carlsbad RED HILLS WEST   2H              7/19/2021
         Mexico             22 W0AP FED
                            COM

406      New       Carlsbad RED HILLS WEST   2H              7/19/2021
         Mexico             22 W0BO FED
                            COM

407      New       Carlsbad RED HILLS WEST   4H              7/19/2021
         Mexico             22 W0BO FED
                            COM

408      New       Carlsbad RED HILLS WEST   3H              7/19/2021
         Mexico             22 W1AP FED
                            COM

409      New       Carlsbad RED HILLS WEST   3H              7/19/2021
         Mexico             22 W1BO FED
                            COM

410      New       Carlsbad RED HILLS 32-5   169H            5/11/2021
         Mexico             FED COM

411      New       Carlsbad RED HILLS 32-5   170H            4/23/2021
         Mexico             FED COM

412      New       Carlsbad RED HILLS 32-5   171H            4/23/2021
         Mexico             FED COM

413      New       Carlsbad RED HILLS 32-5   158H            4/30/2021
         Mexico             FEDERAL COM


414      New       Carlsbad RED HILLS 32     159H            4/30/2021
         Mexico             FEDERAL COM

415      New       Carlsbad RED HILLS 32-5   160H            4/30/2021
         Mexico             FEDERAL COM


416      New       Carlsbad FULLER 14/23     2H              7/22/2022
         Mexico             W1KN FED

417      New       Carlsbad RED HILLS WEST   024H            12/9/2021
         Mexico             UNIT



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418      New       Carlsbad RED HILLS WEST   026H            12/9/2021
         Mexico             UNIT
419      New       Carlsbad RED HILLS WEST   025H            4/26/2022
         Mexico             UNIT
420      New       Carlsbad RED HILLS WEST   027H            9/3/2021
         Mexico             UNIT
421      New       Carlsbad RED HILLS WEST   028H            9/3/2021
         Mexico             UNIT
422      New       Carlsbad RED HILLS WEST   029H            9/28/2021
         Mexico             UNIT
423      New       Carlsbad RED HILLS WEST   030H            9/28/2021
         Mexico             UNIT
424      New       Carlsbad RED HILLS WEST   030H            9/28/2021
         Mexico             UNIT
425      New       Carlsbad RED HILLS WEST   032H            9/28/2021
         Mexico             UNIT
426      New       Carlsbad RED HILLS WEST   034H            1/25/2022
         Mexico             UNIT
427      New       Carlsbad RED HILLS WEST   031H            4/26/2022
         Mexico             UNIT
428      New       Carlsbad RED HILLS WEST   033H            12/9/2021
         Mexico             UNIT
429      New       Carlsbad LOCO HILLS 2/4   1H              2/9/2022
         Mexico             B2NM FED COM

430      New       Carlsbad LOCO HILLS 2/3   1H              2/9/2022
         Mexico             B2FE FED COM

431      New       Carlsbad LOCO HILLS 2/4   1H              2/9/2022
         Mexico             B2KL FED COM

432      New       Carlsbad CURRAHEE 24/23   1H              11/22/2021
         Mexico             W0AD FED COM

433      New       Carlsbad COTTON DRAW      625H            5/27/2021
         Mexico             UNIT
434      New       Carlsbad COTTON DRAW      525H            5/27/2021
         Mexico             UNIT
435      New       Carlsbad COTTON DRAW      522H            5/27/2021
         Mexico             UNIT
436      New       Carlsbad COTTON DRAW      526H            5/27/2021
         Mexico             UNIT
437      New       Carlsbad COTTON DRAW      527H            5/27/2021
         Mexico             UNIT



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438      New       Carlsbad COTTON DRAW       523H           5/27/2021
         Mexico             UNIT
439      New       Carlsbad COTTON DRAW       520H           5/27/2021
         Mexico             UNIT
440      New       Carlsbad COTTON DRAW       612H           5/27/2021
         Mexico             UNIT
441      New       Carlsbad COTTON DRAW       524H           5/27/2021
         Mexico             UNIT
442      New       Carlsbad COTTON DRAW       609H           5/27/2021
         Mexico             UNIT
443      New       Carlsbad COTTON DRAW       613H           11/12/2021
         Mexico             25-36 FED STATE
                            CO

444      New       Carlsbad COTTON DRAW       616H           11/12/2021
         Mexico             25-36 FED STATE
                            CO

445      New       Carlsbad COTTON DRAW       617H           11/12/2021
         Mexico             25-36 FED STATE
                            CO

446      New       Carlsbad COTTON DRAW       618H           11/12/2021
         Mexico             25-36 FED STATE
                            CO

447      New       Carlsbad COTTON DRAW       614H           6/18/2021
         Mexico             UNIT
448      New       Carlsbad COTTON DRAW       615H           11/12/2021
         Mexico             UNIT
449      New       Carlsbad COTTON DRAW       626H           6/18/2021
         Mexico             UNIT
450      New       Carlsbad TATANKA FED       604H           4/19/2022
         Mexico             COM
451      New       Carlsbad TATANKA FED       604H           4/19/2022
         Mexico             COM
452      New       Carlsbad BELL LAKE UNIT    211H           1/21/2021
         Mexico             NORTH

453      New       Carlsbad BELL LAKE UNIT    418H           1/21/2021
         Mexico             NORTH

454      New       Carlsbad BELL LAKE UNIT    331H           4/16/2021
         Mexico             NORTH




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455      New       Carlsbad SALADO DRAW 9     3H             7/1/2021
         Mexico             W0DM FED COM


456      New       Carlsbad SALADO DRAW 9     2H             7/1/2021
         Mexico             W1DM FED COM


457      New       Carlsbad CHICAGO 9/8       1H             10/21/2021
         Mexico             W0AD FED COM

458      New       Carlsbad GOONCH FED        226H           4/16/2021
         Mexico             COM 0409

459      New       Carlsbad GOONCH FED        233H           4/16/2021
         Mexico             COM 0409

460      New       Carlsbad GOONCH FED        133H           4/28/2021
         Mexico             COM 0409

461      New       Carlsbad OXBOW 26/25       1H             10/21/2021
         Mexico             W1LI FED COM

462      New       Carlsbad OXBOW 26/25       1H             10/21/2021
         Mexico             W1EH FED COM

463      New       Carlsbad OXBOW 26/25       2H             10/21/2021
         Mexico             W0EH FED COM

464      New       Carlsbad OXBOW 26/25       1H             10/21/2021
         Mexico             W1MP FED COM

465      New       Carlsbad OXBOW 26/25       1H             10/21/2021
         Mexico             B2EH FED COM

466      New       Carlsbad OXBOW 26/25       2H             10/21/2021
         Mexico             W0LI FED COM

467      New       Carlsbad GRAMA 8817 16-9   7H             3/7/2022
         Mexico             FEDERAL COM


468      New       Carlsbad MARGARITA      10H               6/18/2021
         Mexico             FEDERAL COM 13




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469      New       Carlsbad MARGARITA      11H               6/18/2021
         Mexico             FEDERAL COM 13

470      New       Carlsbad MARGARITA      12H               6/18/2021
         Mexico             FEDERAL COM 13

471      New       Carlsbad MARGARITA      12H               6/18/2021
         Mexico             FEDERAL COM 13

472      New       Carlsbad MARGARITA      14H               6/18/2021
         Mexico             FEDERAL COM 13

473      New       Carlsbad MARGARITA      15H               6/18/2021
         Mexico             FEDERAL COM 13

474      New       Carlsbad MARGARITA      16H               6/18/2021
         Mexico             FEDERAL COM 13

475      New       Carlsbad MARGARITA        18H             7/23/2021
         Mexico             FEDRAL COM 13

476      New       Carlsbad MARGARITA        19H             7/23/2021
         Mexico             FEDRAL COM 13

477      New       Carlsbad MARGARITA        22H             7/23/2021
         Mexico             FEDRAL COM 13

478      New       Carlsbad MARGARITA        23H             10/21/2021
         Mexico             FEDRAL COM 13

479      New       Carlsbad MARGARITA        24H             10/21/2021
         Mexico             FEDRAL COM 13

480      New       Carlsbad MARGARITA        20H             4/19/2022
         Mexico             FEDRAL COM 13

481      New       Carlsbad MALTESE 5_8      36H             4/21/2021
         Mexico             FEDERAL COM


482      New       Carlsbad SAKER 6-7        1H              9/30/2021
         Mexico             FEDERAL COM




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483      New       Carlsbad SAKER 6-7        2H              9/30/2021
         Mexico             FEDERAL COM

484      New       Carlsbad SAKER 6-7        3H              9/30/2021
         Mexico             FEDERAL COM

485      New       Carlsbad SAKER 6-7        5H              9/30/2021
         Mexico             FEDERAL COM

486      New       Carlsbad SAKER 6-7        6H              9/30/2021
         Mexico             FEDERAL COM

487      New       Carlsbad SAKER 6-7        11H             9/30/2021
         Mexico             FEDERAL COM

488      New       Carlsbad SAKER 6-7        12H             9/30/2021
         Mexico             FEDERAL COM

489      New       Carlsbad SAKER 6-7        13H             9/30/2021
         Mexico             FEDERAL COM

490      New       Carlsbad SAKER 6-7        14H             9/30/2021
         Mexico             FEDERAL COM

491      New       Carlsbad SAKER 6-7        23H             9/30/2021
         Mexico             FEDERAL COM

492      New       Carlsbad SAKER 6-7        24H             9/30/2021
         Mexico             FEDERAL COM

493      New       Carlsbad SAKER 6-7        26H             9/30/2021
         Mexico             FEDERAL COM

494      New       Carlsbad MALTESE 5-8      4H              6/3/2022
         Mexico             FEDERAL COM

495      New       Carlsbad MALTESE 5-8      1H              6/3/2022
         Mexico             FEDERAL COM

496      New       Carlsbad MALTESE 5-8      2H              6/3/2022
         Mexico             FEDERAL COM

497      New       Carlsbad MALTESE 5-8      3H              6/3/2022
         Mexico             FEDERAL COM




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498       New      Carlsbad MALTESE 5-8       12H            6/3/2022
          Mexico            FEDERAL COM

499       New      Carlsbad MALTESE 5-8       13H            6/3/2022
          Mexico            FEDERAL COM

500       New      Carlsbad MALTESE 5-8       11H            6/3/2022
          Mexico            FEDERAL COM

501       New      Carlsbad SAKER 6-7         25H            6/30/2022
          Mexico            FEDERAL COM

502       New      Carlsbad SAKER 6-7         4H             6/22/2022
          Mexico            FEDERAL COM

503       New      Carlsbad MESA 8105 1-12    51H            4/12/2021
          Mexico            FEDERAL

504       New      Carlsbad MESA 8105 1-12    52H            4/12/2021
          Mexico            FEDERAL

505       New      Carlsbad MESA 8105 1-12    66H            4/12/2021
          Mexico            FEDERAL

506       New      Carlsbad MESA 8105 1-12    67H            4/12/2021
          Mexico            FEDERAL

507       New      Carlsbad MESA 8105 1-12    69H            4/12/2021
          Mexico            FEDERAL

508       New      Carlsbad MESA 8105 11      59H            4/12/2021
          Mexico            FEDERAL
509       New      Carlsbad MESA 8105 11      61H            4/12/2021
          Mexico            FEDERAL
510       New      Carlsbad MESA 8105 11      63H            4/12/2021
          Mexico            FEDERAL
511       New      Carlsbad MESA 8105 11      64H            4/12/2021
          Mexico            FEDERAL
512       New      Carlsbad MESA 8105 11      65H            4/12/2021
          Mexico            FEDERAL
513       New      Carlsbad MESA 8105 11      74H            4/12/2021
          Mexico            FEDERAL
514       New      Carlsbad MESA 8105 11      75H            4/12/2021
          Mexico            FEDERAL




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515       New      Carlsbad MESA 8105 1-12    53H            4/12/2021
          Mexico            FEDERAL

516       New      Carlsbad MESA 8105 1-12    54H            4/12/2021
          Mexico            FEDERAL

517       New      Carlsbad MESA 8105 1-12    54H            4/12/2021
          Mexico            FEDERAL

518       New      Carlsbad MESA 8105 1-12    55H            4/12/2021
          Mexico            FEDERAL

519       New      Carlsbad MESA 8105 1-12    56H            4/12/2021
          Mexico            FEDERAL

520       New      Carlsbad MESA 8105 1-12    50H            4/12/2021
          Mexico            FEDERAL

521       New      Carlsbad MESA 8105 11      58H            4/12/2021
          Mexico            FEDERAL
522       New      Carlsbad MESA 8105 11      60H            4/12/2021
          Mexico            FEDERAL
523       New      Carlsbad MESA 8105 11      62H            4/12/2021
          Mexico            FEDERAL
524       New      Carlsbad MESA 8105 11      79H            4/12/2021
          Mexico            FEDERAL
525       New      Carlsbad MESA 8105 11      80H            4/12/2021
          Mexico            FEDERAL
526       New      Carlsbad MESA 8105 11      81H            4/12/2021
          Mexico            FEDERAL
527       New      Carlsbad MESA 8105 11      76H            4/12/2021
          Mexico            FEDERAL
528       New      Carlsbad MESA 8105 1-12    68H            7/19/2021
          Mexico            FEDERAL

529       New      Carlsbad MESA 8105 1-12    70H            7/19/2021
          Mexico            FEDERAL

530       New      Carlsbad MESA 8105 11      77H            7/19/2021
          Mexico            FEDERAL
531       New      Carlsbad MESA 8105 11      78H            7/19/2021
          Mexico            FEDERAL
532       New      Carlsbad QUAIL RIDGE 31-   301H           1/24/2022
          Mexico            6 FED COM



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533       New      Carlsbad QUAIL RIDGE 31-   501H           1/24/2022
          Mexico            6 FED COM

534       New      Carlsbad QUAIL RIDGE 31-   601H           5/5/2022
          Mexico            6 FED COM

535       New      Carlsbad QUAIL RIDGE 31-   701H           1/24/2022
          Mexico            6 FED COM

536       New      Carlsbad KEYSTONE 6 FED    701H           4/16/2021
          Mexico            COM
537       New      Carlsbad KEYSTONE 6 FED    705H           11/26/2021
          Mexico            COM
538       New      Carlsbad KEYSTONE 6 FED    706H           8/23/2022
          Mexico            COM
539       New      Carlsbad KEYSTONE 6 FED    707H           8/10/2022
          Mexico            COM
540       New      Carlsbad SHANGHAI          102H           3/7/2022
          Mexico            ROOSTER 22-27
                            FED
541       New      Carlsbad SHANGHAI          104H           3/7/2022
          Mexico            ROOSTER 22-27
                            FED
542       New      Carlsbad SHANGHAI          121H           3/7/2022
          Mexico            ROOSTER 22-27
                            FED
543       New      Carlsbad SHANGHAI          122H           3/7/2022
          Mexico            ROOSTER 22-27
                            FED
544       New      Carlsbad SHANGHAI          123H           3/7/2022
          Mexico            ROOSTER 22-27
                            FED
545       New      Carlsbad SHANGHAI          124H           3/7/2022
          Mexico            ROOSTER 22-27
                            FED
546       New      Carlsbad SHANGHAI          701H           3/7/2022
          Mexico            ROOSTER 22-27
                            FED
547       New      Carlsbad SHANGHAI          702H           3/25/2022
          Mexico            ROOSTER 22-27
                            FED
548       New      Carlsbad SHANGHAI          703H           3/7/2022
          Mexico            ROOSTER 22-27
                            FED




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549       New      Carlsbad SHANGHAI          704H           3/25/2022
          Mexico            ROOSTER 22-27
                            FED
550       New      Carlsbad SHANGHAI          706H           4/8/2022
          Mexico            ROOSTER 22-27
                            FED
551       New      Carlsbad SHANGHAI          708H           3/25/2022
          Mexico            ROOSTER 22-27
                            FED
552       New      Carlsbad SHANGHAI          901H           3/7/2022
          Mexico            ROOSTER 22-27
                            FED
553       New      Carlsbad SHANGHAI          903H           3/7/2022
          Mexico            ROOSTER 22-27
                            FED
554       New      Carlsbad ROJO 7811 22      47H            5/26/2021
          Mexico            FEDERAL COM

555       New      Carlsbad ROJO 7811 22      48H            5/26/2021
          Mexico            FEDERAL COM

556       New      Carlsbad CORRAL            102H           12/21/2021
          Mexico            CANYON 3 FED

557       New      Carlsbad CORRAL            104H           12/21/2021
          Mexico            CANYON 3 FED

558       New      Carlsbad CORRAL            121H           12/21/2021
          Mexico            CANYON 3 FED

559       New      Carlsbad RIVERBEND 11-  17H               4/13/2022
          Mexico            14 FEDERAL COM


560       New      Carlsbad WHISTLE PIG 1     201H           7/27/2022
          Mexico            SB FED COM

561       New      Carlsbad WHISTLE PIG 1     1H             7/27/2022
          Mexico            WC FED COM

562       New      Carlsbad WHISTLE PIG 1     7H             7/27/2022
          Mexico            WC FED COM

563       New      Carlsbad HOLYFIELD 9       743H           3/4/2022
          Mexico            FED COM


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564       New      Carlsbad PEREGRINE 27      317H           3/11/2022
          Mexico            FED COM
565       New      Carlsbad HOLYFIELD 9       701H           3/16/2022
          Mexico            FED COM
566       New      Carlsbad HOLYFIELD 9       705H           3/30/2022
          Mexico            FED COM
567       New      Carlsbad HOLYFIELD 9       741H           3/30/2022
          Mexico            FED COM
568       New      Carlsbad HOLYFIELD 9       744H           3/30/2022
          Mexico            FED COM
569       New      Carlsbad HOLYFIELD 9       103H           4/8/2022
          Mexico            FED COM
570       New      Carlsbad HOLYFIELD 9       203H           4/8/2022
          Mexico            FED COM
571       New      Carlsbad HOLYFIELD 9       706H           4/20/2022
          Mexico            FED COM
572       New      Carlsbad HOLYFIELD 9       707H           5/5/2022
          Mexico            FED COM
573       New      Carlsbad SHEBA FEDERAL     305H           12/21/2021
          Mexico            COM

574       New      Carlsbad PEREGRINE 27      746H           3/11/2022
          Mexico            FED COM
575       New      Carlsbad OUTRIDER 28       502H           12/2/2021
          Mexico            FED
576       New      Carlsbad OUTRIDER 28       503H           12/2/2021
          Mexico            FED
577       New      Carlsbad OUTRIDER 28       503H           12/2/2021
          Mexico            FED
578       New      Carlsbad OUTRIDER 28       501H           12/2/2021
          Mexico            FED
579       New      Carlsbad OUTRIDER 28       601H           12/2/2021
          Mexico            FED
580       New      Carlsbad OUTRIDER 28       702H           12/10/2021
          Mexico            FED
581       New      Carlsbad OUTRIDER 27       510H           12/2/2021
          Mexico            FED
582       New      Carlsbad OUTRIDER 27       103H           12/2/2021
          Mexico            FED
583       New      Carlsbad OUTRIDER 27       511H           12/2/2021
          Mexico            FED
584       New      Carlsbad OUTRIDER 27       114H           12/2/2021
          Mexico            FED
585       New      Carlsbad OUTRIDER 27       509H           12/2/2021
          Mexico            FED


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586       New      Carlsbad OUTRIDER 28       505H           12/2/2021
          Mexico            FED
587       New      Carlsbad OUTRIDER 28       603H           12/2/2021
          Mexico            FED
588       New      Carlsbad OUTRIDER 28       504H           12/10/2021
          Mexico            FED
589       New      Carlsbad OUTRIDER 28       506H           12/2/2021
          Mexico            FED
590       New      Carlsbad OUTRIDER 28       507H           12/2/2021
          Mexico            FED
591       New      Carlsbad OUTRIDER 28       602H           12/2/2021
          Mexico            FED
592       New      Carlsbad OUTRIDER 28       701H           12/10/2021
          Mexico            FED
593       New      Carlsbad OUTRIDER 28       406H           12/10/2021
          Mexico            FED
594       New      Carlsbad OUTRIDER 28       705H           12/10/2021
          Mexico            FED
595       New      Carlsbad OUTRIDER 28       706H           12/10/2021
          Mexico            FED
596       New      Carlsbad OUTRIDER 28       707H           12/10/2021
          Mexico            FED
597       New      Carlsbad OUTRIDER 28       708H           12/10/2021
          Mexico            FED
598       New      Carlsbad OUTRIDER 27       701H           12/10/2021
          Mexico            FED
599       New      Carlsbad OUTRIDER 27       605H           12/2/2021
          Mexico            FED
600       New      Carlsbad OUTRIDER 28       508H           12/2/2021
          Mexico            FED
601       New      Carlsbad JUPITER 19 FED    701H           4/12/2021
          Mexico            COM
602       New      Carlsbad JUPITER 19 FED    703H           4/12/2021
          Mexico            COM
603       New      Carlsbad DL 15 22          219H           4/2/2021
          Mexico            NARWHAL FED
                            COM
604       New      Carlsbad DL 15 22          220H           4/2/2021
          Mexico            NARWHAL FED
                            COM
605       New      Carlsbad DL 10 15          422H           3/9/2022
          Mexico            OGOPOGO FED
                            COM




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606       New      Carlsbad RIO BLANCO 4-33   9H             4/20/2022
          Mexico            FED COM

607       New      Carlsbad RIO BLANCO 4-33   10H            4/20/2022
          Mexico            FED COM

608       New      Carlsbad DOS EQUIS 11-14   26H            12/2/2021
          Mexico            FEDERAL COM


609       New      Carlsbad DOS EQUIS 11-14   27H            12/2/2021
          Mexico            FEDERAL COM


610       New      Carlsbad COLTRANE 36/25    1H             10/21/2021
          Mexico            B2OJ FED COM

611       New      Carlsbad COLTRANE 36/25    1H             10/21/2021
          Mexico            W0OJ FED COM

612       New      Carlsbad COLTRANE 36/25    2H             12/21/2021
          Mexico            W1OJ FED COM

613       New      Carlsbad MALTESE 5_8       33H            4/21/2021
          Mexico            FEDERAL COM


614       New      Carlsbad MALTESE 5-8       6H             6/3/2022
          Mexico            FEDERAL COM

615       New      Carlsbad MALTESE 5-8       14H            6/3/2022
          Mexico            FEDERAL COM

616       New      Carlsbad MALTESE 5_8       38H            4/21/2021
          Mexico            FEDERAL COM


617       New      Carlsbad SCHLITZ FED       204H           9/28/2021
          Mexico            COM
618       New      Carlsbad SCHLITZ FED       213H           9/28/2021
          Mexico            COM
619       New      Carlsbad SCHLITZ FED       233H           9/28/2021
          Mexico            COM
620       New      Carlsbad SCHLITZ FED       234H           9/28/2021
          Mexico            COM


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621       New      Carlsbad MARGHERITA        601H           12/2/2021
          Mexico            FEDERAL COM


622       New      Carlsbad MARGHERITA        602H           12/2/2021
          Mexico            FEDERAL COM


623       New      Carlsbad MARGHERITA        603H           12/2/2021
          Mexico            FEDERAL COM


624       New      Carlsbad MARGHERITA        604H           12/2/2021
          Mexico            FEDERAL COM


625       New      Carlsbad LEA UNIT          110H           5/26/2021
          Mexico
626       New      Carlsbad LEA UNIT          111H           5/26/2021
          Mexico
627       New      Carlsbad APPALOOSA 18      106H           3/17/2022
          Mexico            FED COM

628       New      Carlsbad APPALOOSA 18      108H           3/17/2022
          Mexico            FED COM

629       New      Carlsbad APPALOOSA 18      105H           3/25/2022
          Mexico            FED COM

630       New      Carlsbad APPALOOSA 18      107H           3/25/2022
          Mexico            FED COM

631       New      Carlsbad APPALOOSA 18      206H           3/25/2022
          Mexico            FED COM

632       New      Carlsbad DAGGER LAKE       560H           11/26/2021
          Mexico            SOUTH 8 FED
                            COM

633       New      Carlsbad DAGGER LAKE       702H           11/26/2021
          Mexico            SOUTH 8 FED
                            COM




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634       New      Carlsbad DAGGER LAKE        562H          12/21/2021
          Mexico            SOUTH 8 FED
                            COM

635       New      Carlsbad DAGGER LAKE        704H          12/21/2021
          Mexico            SOUTH 8 FED
                            COM

636       New      Carlsbad DREAMCATCHER 3H                  5/27/2021
          Mexico            7-6 FED COM 3BS


637       New      Carlsbad DREAMCATCHER 2H                  5/27/2021
          Mexico            7-6 FED COM
                            WCA

638       New      Carlsbad DREAMCATCHER 1H                  5/27/2021
          Mexico            7-6 FED COM
                            WCB

639       New      Carlsbad KING EIDER 12      501H          7/20/2021
          Mexico            FED COM
640       New      Carlsbad ROJO 7811 27-22    44H           4/27/2022
          Mexico            FEDERAL COM


641       New      Carlsbad VACA DRAW 20-      48H           4/25/2022
          Mexico            17 FEDERAL

642       New      Carlsbad SIG 6/5 B2DA FED   1H            7/22/2021
          Mexico            COM

643       New      Carlsbad DESERT EAGLE       1H            6/3/2022
          Mexico            1/2 W0AD FED
                            COM

644       New      Carlsbad DESERT EAGLE       1H            6/3/2022
          Mexico            1/2 W0EH FED
                            COM

645       New      Carlsbad DESERT EAGLE       1H            6/3/2022
          Mexico            1/2 B3AD FED
                            COM




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646       New      Carlsbad MERAK 7           22H            9/9/2021
          Mexico            FEDERAL
647       New      Carlsbad SD 29 32 FED      424H           6/23/2022
          Mexico            COM P364

648       New      Carlsbad SD 29 32 FED      425H           6/23/2022
          Mexico            COM P364

649       New      Carlsbad SD 18 19 FED      23H            7/8/2022
          Mexico            COM P346

650       New      Carlsbad SLIDER 18 W0LI    1H             2/9/2022
          Mexico            FED COM

651       New      Carlsbad SLIDER 18 W0MP    1H             2/9/2022
          Mexico            FED COM

652       New      Carlsbad JOURNEY 11/12     2H             12/9/2021
          Mexico            W0LI FED COM

653       New      Carlsbad JOURNEY 11/12     1H             12/21/2021
          Mexico            B2LI FED COM

654       New      Carlsbad AIR BOSS 13/14    1H             5/25/2022
          Mexico            W0HE FED COM

655       New      Carlsbad AIR BOSS 13/14    1H             5/25/2022
          Mexico            W0IL FED COM

656       New      Carlsbad AIR BOSS 13/14    1H             5/25/2022
          Mexico            W0PM FED COM

657       New      Carlsbad DILLON 31 FED     742H           3/4/2022
          Mexico            COM
658       New      Carlsbad DILLON 31 FED     751H           1/26/2022
          Mexico            COM
659       New      Carlsbad DILLON 31 FED     752H           1/26/2022
          Mexico            COM
660       New      Carlsbad DILLON 31 FED     753H           1/26/2022
          Mexico            COM
661       New      Carlsbad DOS EQUIS 11-14   50H            12/2/2021
          Mexico            FEDERAL COM




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662       New      Carlsbad DOS EQUIS 12-13   76H            10/22/2021
          Mexico            FEDERAL COM


663       New      Carlsbad DOS EQUIS 12-13   87H            9/9/2021
          Mexico            FEDERAL COM


664       New      Carlsbad DOS EQUIS 12-13   89H            9/9/2021
          Mexico            FEDERAL COM


665       New      Carlsbad DOS EQUIS 12-13   90H            9/9/2021
          Mexico            FEDERAL COM


666       New      Carlsbad DOS EQUIS 12-13   91H            9/9/2021
          Mexico            FEDERAL COM


667       New      Carlsbad DOS EQUIS 12-13   88H            9/9/2021
          Mexico            FEDERAL COM


668       New      Carlsbad SND 11 2 FED      218H           10/21/2021
          Mexico            COM 004 P27

669       New      Carlsbad JAVELINA UNIT     414H           6/24/2022
          Mexico
670       New      Carlsbad SND JAVELINA      413H           6/24/2022
          Mexico            UNIT 10 15 P413


671       New      Carlsbad SND JAVELINA      415H           6/3/2022
          Mexico            UNIT 10 15 P413


672       New      Carlsbad SND JAVELINA      416H           6/24/2022
          Mexico            UNIT 10 15 P413


673       New      Carlsbad SPARKPLUG 17      1H             6/17/2022
          Mexico            FEDERAL COM




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674       New      Carlsbad SPARKPLUG 17      2H             6/17/2022
          Mexico            FEDERAL COM


675       New      Carlsbad JACKSON A         67             11/12/2021
          Mexico
676       New      Carlsbad JAMES RANCH       823H           7/30/2021
          Mexico            UNIT DI 11
                            EKALAKA

677       New      Carlsbad JAMES RANCH       821H           7/30/2021
          Mexico            UNIT DI 11
                            EKALAKA

678       New      Carlsbad JAMES RANCH       112H           7/30/2021
          Mexico            UNIT DI 11
                            EKALAKA

679       New      Carlsbad JAMES RANCH       121H           7/30/2021
          Mexico            UNIT DI 11
                            EKALAKA

680       New      Carlsbad MAGNOLIA 15       101H           5/26/2021
          Mexico            FED COM
681       New      Carlsbad PEACHTREE 25      751H           5/5/2021
          Mexico            FED COM
682       New      Carlsbad PEACHTREE 25      753H           5/5/2021
          Mexico            FED COM
683       New      Carlsbad PEACHTREE 25      755H           5/5/2021
          Mexico            FED COM
684       New      Carlsbad MAGNOLIA 15       102H           5/26/2021
          Mexico            FED COM
685       New      Carlsbad MAGNOLIA 15       103H           5/26/2021
          Mexico            FED COM
686       New      Carlsbad MAGNOLIA 15       104H           5/26/2021
          Mexico            FED COM
687       New      Carlsbad MAGNOLIA 15       201H           5/26/2021
          Mexico            FED COM
688       New      Carlsbad MAGNOLIA 15       202H           5/26/2021
          Mexico            FED COM
689       New      Carlsbad MAGNOLIA 15       203H           5/26/2021
          Mexico            FED COM
690       New      Carlsbad MAGNOLIA 15       204H           5/26/2021
          Mexico            FED COM




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691       New      Carlsbad MAGNOLIA 15       205H           5/26/2021
          Mexico            FED COM
692       New      Carlsbad MAGNOLIA 15       301H           5/26/2021
          Mexico            FED COM
693       New      Carlsbad MAGNOLIA 15       304H           5/26/2021
          Mexico            FED COM
694       New      Carlsbad BARLOW 34 FED     101H           5/10/2021
          Mexico            COM
695       New      Carlsbad BARLOW 34 FED     102H           5/10/2021
          Mexico            COM
696       New      Carlsbad BARLOW 34 FED     105H           5/10/2021
          Mexico            COM
697       New      Carlsbad BARLOW 34 FED     402H           5/10/2021
          Mexico            COM
698       New      Carlsbad BARLOW 34 FED     403H           5/10/2021
          Mexico            COM
699       New      Carlsbad BARLOW 34 FED     404H           5/10/2021
          Mexico            COM
700       New      Carlsbad BARLOW 34 FED     405H           5/10/2021
          Mexico            COM
701       New      Carlsbad BARLOW 34 FED     501H           5/10/2021
          Mexico            COM
702       New      Carlsbad BARLOW 34 FED     503H           5/10/2021
          Mexico            COM
703       New      Carlsbad BARLOW 34 FED     504H           5/10/2021
          Mexico            COM
704       New      Carlsbad BARLOW 34 FED     505H           5/10/2021
          Mexico            COM
705       New      Carlsbad BARLOW 34 FED     506H           5/10/2021
          Mexico            COM
706       New      Carlsbad MAGNOLIA 15       303H           5/26/2021
          Mexico            FED COM
707       New      Carlsbad MAGNOLIA 15       305H           6/28/2021
          Mexico            FED COM
708       New      Carlsbad MAGNOLIA 15       401H           6/28/2021
          Mexico            FED COM
709       New      Carlsbad MAGNOLIA 15       402H           6/28/2021
          Mexico            FED COM
710       New      Carlsbad MAGNOLIA 15       403H           6/28/2021
          Mexico            FED COM
711       New      Carlsbad MAGNOLIA 15       404H           6/28/2021
          Mexico            FED COM
712       New      Carlsbad MAGNOLIA 15       501H           6/28/2021
          Mexico            FED COM



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713       New      Carlsbad MAGNOLIA 15       502H           6/28/2021
          Mexico            FED COM
714       New      Carlsbad MAGNOLIA 15       503H           6/28/2021
          Mexico            FED COM
715       New      Carlsbad MAGNOLIA 15       504H           6/28/2021
          Mexico            FED COM
716       New      Carlsbad PEACHTREE 25      744H           9/7/2021
          Mexico            FED COM
717       New      Carlsbad PEACHTREE 25      742H           10/4/2021
          Mexico            FED COM
718       New      Carlsbad BARLOW 34 FED     502H           2/11/2022
          Mexico            COM
719       New      Carlsbad BARLOW 34 FED     401H           4/19/2022
          Mexico            COM
720       New      Carlsbad WLC SOUTH         1              9/7/2021
          Mexico            FEDERAL SWD

721       New      Carlsbad POKER LAKE 23     123H           3/7/2022
          Mexico            DTD FEDERAL
                            COM


722       New      Carlsbad POKER LAKE 23     125H           3/25/2022
          Mexico            DTD FEDERAL
                            COM


723       New      Carlsbad POKER LAKE 23     154H           3/25/2022
          Mexico            DTD FEDERAL
                            COM


724       New      Carlsbad POKER LAKE 23     155H           3/25/2022
          Mexico            DTD FEDERAL
                            COM


725       New      Carlsbad POKER LAKE 23     175H           3/7/2022
          Mexico            DTD FEDERAL
                            COM




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726       New      Carlsbad POKER LAKE 23     176H           3/7/2022
          Mexico            DTD FEDERAL
                            COM


727       New      Carlsbad PUMA BLANCA       1H             3/17/2022
          Mexico            21/22 B2EH FED
                            COM

728       New      Carlsbad PUMA BLANCA       1H             3/17/2022
          Mexico            21/22 B2DA FED
                            COM

729       New      Carlsbad JAVELINA UNIT     418H           6/24/2022
          Mexico
730       New      Carlsbad VALKYRIE 12       7H             12/2/2021
          Mexico            WXY FEDERAL
                            COM

731       New      Carlsbad RAM 2-11 FED      7H             12/2/2021
          Mexico            2BS COM

732       New      Carlsbad RAM 2-11 FED      8H             12/2/2021
          Mexico            2BS COM

733       New      Carlsbad RAM 2-11 FED      9H             12/2/2021
          Mexico            2BS COM

734       New      Carlsbad RAM 2-11 FED      10H            12/2/2021
          Mexico            1BS COM

735       New      Carlsbad YEAH YEAH         504H           3/17/2022
          Mexico            FEDERAL COM

736       New      Carlsbad YEAH YEAH         505H           3/17/2022
          Mexico            FEDERAL COM

737       New      Carlsbad YEAH YEAH         603H           3/17/2022
          Mexico            FEDERAL COM

738       New      Carlsbad BLACK SHEEP       1H             4/12/2021
          Mexico            4/33 B3PA FED
                            COM




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739       New      Carlsbad BLACK SHEEP       1H             9/27/2021
          Mexico            4/33 B2OB FED
                            COM

740       New      Carlsbad BLACK SHEEP       2H             9/27/2021
          Mexico            4/33 B2OB FED
                            COM

741       New      Carlsbad BLACK SHEEP 4     2H             9/27/2021
          Mexico            B2PA FED COM


742       New      Carlsbad EAGLE 33          1H             2/2/2022
          Mexico            FEDERAL COM

743       New      Carlsbad EAGLE 33          4H             3/2/2022
          Mexico            FEDERAL COM

744       New      Carlsbad RED LAKE 33       7H             3/7/2022
          Mexico            FEDERAL COM

745       New      Carlsbad EAGLE 33          5H             6/30/2022
          Mexico            FEDERAL COM

746       New      Carlsbad EAGLE 33          6H             6/30/2022
          Mexico            FEDERAL COM

747       New      Carlsbad SALADO DRAW       2H             9/3/2021
          Mexico            10 W0OB FED
                            COM

748       New      Carlsbad SALADO DRAW       3H             6/3/2022
          Mexico            10 W0NC FED
                            COM

749       New      Carlsbad SALADO DRAW       2H             6/3/2022
          Mexico            10 W1NC FED
                            COM

750       New      Carlsbad VAN DOO DAH       626H           9/28/2021
          Mexico            33-28 FED COM

751       New      Carlsbad VAN DOO DAH       714H           9/28/2021
          Mexico            33-28 FED COM




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752       New      Carlsbad VAN DOO DAH       716H           9/30/2021
          Mexico            33-28 FED COM

753       New      Carlsbad VAN DOO DAH       624H           9/28/2021
          Mexico            33-28 FED COM

754       New      Carlsbad VAN DOO DAH       734H           9/28/2021
          Mexico            33-28 FED COM

755       New      Carlsbad VAN DOO DAH       736H           9/28/2021
          Mexico            33-28 FED COM

756       New      Carlsbad BOBBY WATTS       1              6/18/2021
          Mexico            FED SWD

757       New      Carlsbad BLACK SHEEP       1H             9/27/2021
          Mexico            4/33 B2NC FED
                            COM

758       New      Carlsbad BLACK SHEEP       2H             9/27/2021
          Mexico            4/33 B2NC FED
                            COM

759       New      Carlsbad BLACK SHEEP 4     2H             9/27/2021
          Mexico            B2MD FED COM


760       New      Carlsbad BORA BORA 13-     624H           2/11/2022
          Mexico            24 FED COM

761       New      Carlsbad BORA BORA 13-     711H           4/19/2022
          Mexico            24 FED COM

762       New      Carlsbad BORA BORA 13-     331H           4/19/2022
          Mexico            24 FED COM

763       New      Carlsbad BORA BORA 13-     334H           4/19/2022
          Mexico            24 FED COM

764       New      Carlsbad BORA BORA 13-     332H           4/19/2022
          Mexico            24 FED COM

765       New      Carlsbad BORA BORA 13-     622H           4/19/2022
          Mexico            24 FED COM




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766       New      Carlsbad BORA BORA 13-     712H           4/19/2022
          Mexico            24 FED COM

767       New      Carlsbad BORA BORA 13-     621H           4/20/2022
          Mexico            24 FED COM

768       New      Carlsbad BORA BORA 13-     623H           2/11/2022
          Mexico            24 FED COM

769       New      Carlsbad BORA BORA 13-     333H           2/11/2022
          Mexico            24 FED COM

770       New      Carlsbad BORA BORA 13-     714H           2/11/2022
          Mexico            24 FED COM

771       New      Carlsbad BORA BORA 13-     713H           2/11/2022
          Mexico            24 FED COM

772       New      Carlsbad CASCADE 28        30H            12/10/2021
          Mexico            FEDERAL
773       New      Carlsbad CASCADE 28        31H            12/10/2021
          Mexico            FEDERAL
774       New      Carlsbad PERRO LOCO 27     1H             7/22/2022
          Mexico            B2PA FED COM


775       New      Carlsbad PERRO LOCO 27     1H             5/11/2022
          Mexico            B3OB FED COM


776       New      Carlsbad PHANTOM DRAW 105H                6/18/2021
          Mexico            20 FED UNIT

777       New      Carlsbad PHANTOM DRAW 104H                6/18/2021
          Mexico            20 FED UNIT

778       New      Carlsbad PHANTOM DRAW 103H                6/18/2021
          Mexico            20 FED UNIT

779       New      Carlsbad PHANTOM DRAW 102H                6/18/2021
          Mexico            20 FED UNIT

780       New      Carlsbad PHANTOM DRAW 101H                6/18/2021
          Mexico            20 FED UNIT




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781       New      Carlsbad PHANTOM DRAW 207H                6/18/2021
          Mexico            20 FED UNIT

782       New      Carlsbad PHANTOM DRAW 206H                6/18/2021
          Mexico            20 FED UNIT

783       New      Carlsbad PHANTOM DRAW 205H                6/18/2021
          Mexico            20 FED UNIT

784       New      Carlsbad PHANTOM DRAW 301H                6/18/2021
          Mexico            20 FED UNIT

785       New      Carlsbad PHANTOM DRAW 204H                6/18/2021
          Mexico            20 FED UNIT

786       New      Carlsbad PHANTOM DRAW 203H                6/18/2021
          Mexico            20 FED UNIT

787       New      Carlsbad PHANTOM DRAW 202H                6/18/2021
          Mexico            20 FED UNIT

788       New      Carlsbad PHANTOM DRAW 201H                6/18/2021
          Mexico            20 FED UNIT

789       New      Carlsbad PHANTOM DRAW 109H                6/18/2021
          Mexico            20 FED UNIT

790       New      Carlsbad PHANTOM DRAW 108H                6/18/2021
          Mexico            20 FED UNIT

791       New      Carlsbad PHANTOM DRAW 107H                6/18/2021
          Mexico            20 FED UNIT

792       New      Carlsbad PHANTOM DRAW 106H                6/18/2021
          Mexico            20 FED UNIT

793       New      Carlsbad PHANTOM DRAW 504H                6/18/2021
          Mexico            20 FED UNIT

794       New      Carlsbad PHANTOM DRAW 503H                6/18/2021
          Mexico            20 FED UNIT

795       New      Carlsbad PHANTOM DRAW 502H                6/18/2021
          Mexico            20 FED UNIT




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796       New      Carlsbad PHANTOM DRAW 501H                6/18/2021
          Mexico            20 FED UNIT

797       New      Carlsbad PHANTOM DRAW 303H                6/18/2021
          Mexico            20 FED UNIT

798       New      Carlsbad PHANTOM DRAW 302H                6/18/2021
          Mexico            20 FED UNIT

799       New      Carlsbad PHANTOM DRAW 595H                6/18/2021
          Mexico            20 FED UNIT

800       New      Carlsbad PHANTOM DRAW 594H                6/18/2021
          Mexico            20 FED UNIT

801       New      Carlsbad PHANTOM DRAW 593H                6/18/2021
          Mexico            20 FED UNIT

802       New      Carlsbad PHANTOM DRAW 592H                6/18/2021
          Mexico            20 FED UNIT

803       New      Carlsbad PHANTOM DRAW 591H                6/18/2021
          Mexico            20 FED UNIT

804       New      Carlsbad PHANTOM DRAW 586H                6/18/2021
          Mexico            20 FED UNIT

805       New      Carlsbad PHANTOM DRAW 585H                6/18/2021
          Mexico            20 FED UNIT

806       New      Carlsbad PHANTOM DRAW 584H                6/18/2021
          Mexico            20 FED UNIT

807       New      Carlsbad PHANTOM DRAW 583H                6/18/2021
          Mexico            20 FED UNIT

808       New      Carlsbad PHANTOM DRAW 582H                6/18/2021
          Mexico            20 FED UNIT

809       New      Carlsbad PHANTOM DRAW 581H                6/18/2021
          Mexico            20 FED UNIT

810       New      Carlsbad PHANTOM DRAW 505H                6/18/2021
          Mexico            20 FED UNIT




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811       New      Carlsbad PHANTOM DRAW 208H                6/18/2021
          Mexico            20 FED UNIT

812       New      Carlsbad RIPPLE 32 FED     202H           6/3/2022
          Mexico            COM
813       New      Carlsbad RIPPLE 32 FED     204H           6/3/2022
          Mexico            COM
814       New      Carlsbad RIPPLE 32 FED     203H           6/3/2022
          Mexico            COM
815       New      Carlsbad RIPPLE 32 FED     201H           6/3/2022
          Mexico            COM
816       New      Carlsbad RIPPLE 32 FED     104H           5/25/2022
          Mexico            COM
817       New      Carlsbad RIPPLE 32 FED     102H           5/25/2022
          Mexico            COM
818       New      Carlsbad RIPPLE 32 FED     101H           5/25/2022
          Mexico            COM
819       New      Carlsbad RIPPLE 32 FED     706H           6/3/2022
          Mexico            COM
820       New      Carlsbad RIPPLE 32 FED     702H           6/3/2022
          Mexico            COM
821       New      Carlsbad RIPPLE 32 FED     585H           6/22/2022
          Mexico            COM
822       New      Carlsbad RIPPLE 32 FED     595H           6/22/2022
          Mexico            COM
823       New      Carlsbad RIPPLE 32 FED     594H           6/22/2022
          Mexico            COM
824       New      Carlsbad RIPPLE 32 FED     586H           6/22/2022
          Mexico            COM
825       New      Carlsbad RIPPLE 32 FED     584H           6/22/2022
          Mexico            COM
826       New      Carlsbad RIPPLE 32 FED     505H           6/22/2022
          Mexico            COM
827       New      Carlsbad RIPPLE 32 FED     303H           6/22/2022
          Mexico            COM
828       New      Carlsbad RIPPLE 32 FED     205H           6/3/2022
          Mexico            COM
829       New      Carlsbad RIPPLE 32 FED     582H           6/22/2022
          Mexico            COM
830       New      Carlsbad RIPPLE 32 FED     301H           6/22/2022
          Mexico            COM
831       New      Carlsbad RIPPLE 32 FED     302H           6/22/2022
          Mexico            COM
832       New      Carlsbad RIPPLE 32 FED     501H           6/22/2022
          Mexico            COM


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833       New      Carlsbad RIPPLE 32 FED     502H           6/22/2022
          Mexico            COM
834       New      Carlsbad RIPPLE 32 FED     503H           6/22/2022
          Mexico            COM
835       New      Carlsbad RIPPLE 32 FED     581H           6/22/2022
          Mexico            COM
836       New      Carlsbad RIPPLE 32 FED     583H           6/22/2022
          Mexico            COM
837       New      Carlsbad RIPPLE 32 FED     591H           6/22/2022
          Mexico            COM
838       New      Carlsbad RIPPLE 32 FED     592H           6/22/2022
          Mexico            COM
839       New      Carlsbad RIPPLE 32 FED     593H           6/22/2022
          Mexico            COM
840       New      Carlsbad RIPPLE 32 FED     106H           5/25/2022
          Mexico            COM
841       New      Carlsbad RIPPLE 32 FED     108H           5/25/2022
          Mexico            COM
842       New      Carlsbad RIPPLE 32 FED     109H           5/25/2022
          Mexico            COM
843       New      Carlsbad RIPPLE 32 FED     206H           6/3/2022
          Mexico            COM
844       New      Carlsbad RIPPLE 32 FED     207H           6/3/2022
          Mexico            COM
845       New      Carlsbad RIPPLE 32 FED     208H           6/3/2022
          Mexico            COM
846       New      Carlsbad RIPPLE 32 FED     504H           8/10/2022
          Mexico            COM
847       New      Carlsbad RIPPLE 32 FED     710H           6/3/2022
          Mexico            COM
848       New      Carlsbad RIPPLE 32 FED     712H           6/3/2022
          Mexico            COM
849       New      Carlsbad RIPPLE 32 FED     714H           6/3/2022
          Mexico            COM
850       New      Carlsbad RIPPLE 32 FED     721H           6/3/2022
          Mexico            COM
851       New      Carlsbad RIPPLE 32 FED     723H           6/3/2022
          Mexico            COM
852       New      Carlsbad RIPPLE 32 FED     725H           6/3/2022
          Mexico            COM
853       New      Carlsbad RIPPLE 32 FED     727H           6/3/2022
          Mexico            COM
854       New      Carlsbad RIPPLE 32 FED     731H           6/3/2022
          Mexico            COM



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855       New      Carlsbad RIPPLE 32 FED     733H           6/3/2022
          Mexico            COM
856       New      Carlsbad RIPPLE 32 FED     735H           6/3/2022
          Mexico            COM
857       New      Carlsbad RIPPLE 32 FED     761H           5/25/2022
          Mexico            COM
858       New      Carlsbad RIPPLE 32 FED     762H           5/5/2022
          Mexico            COM
859       New      Carlsbad RIPPLE 32 FED     763H           5/25/2022
          Mexico            COM
860       New      Carlsbad RIPPLE 32 FED     764H           6/3/2022
          Mexico            COM
861       New      Carlsbad RIPPLE 32 FED     765H           5/5/2022
          Mexico            COM
862       New      Carlsbad RIPPLE 32 FED     766H           5/25/2022
          Mexico            COM
863       New      Carlsbad RIPPLE 32 FED     767H           5/25/2022
          Mexico            COM
864       New      Carlsbad RIPPLE 32 FED     771H           5/5/2022
          Mexico            COM
865       New      Carlsbad RIPPLE 32 FED     774H           5/5/2022
          Mexico            COM
866       New      Carlsbad RIPPLE 32 FED     775H           6/3/2022
          Mexico            COM
867       New      Carlsbad RIPPLE 32 FED     776H           5/5/2022
          Mexico            COM
868       New      Carlsbad RIPPLE 32 FED     777H           5/5/2022
          Mexico            COM
869       New      Carlsbad RIPPLE 32 FED     805H           6/3/2022
          Mexico            COM
870       New      Carlsbad DEEP ELEM 4       710H           4/20/2021
          Mexico            FED COM
871       New      Carlsbad DEEP ELEM 4       731H           4/20/2021
          Mexico            FED COM
872       New      Carlsbad DEEP ELEM 4       712H           4/20/2021
          Mexico            FED COM
873       New      Carlsbad DEEP ELEM 4       733H           4/20/2021
          Mexico            FED COM
874       New      Carlsbad DEEP ELEM 4       774H           4/23/2021
          Mexico            FED COM
875       New      Carlsbad DEEP ELEM 4       716H           4/16/2021
          Mexico            FED COM
876       New      Carlsbad CASSIDY 18 FED    701H           5/10/2021
          Mexico            COM



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877       New      Carlsbad CASSIDY 18 FED    708H           5/10/2021
          Mexico            COM
878       New      Carlsbad CASSIDY 18 FED    707H           5/10/2021
          Mexico            COM
879       New      Carlsbad CASSIDY 18 FED    706H           5/10/2021
          Mexico            COM
880       New      Carlsbad CASSIDY 18 FED    705H           5/10/2021
          Mexico            COM
881       New      Carlsbad CASSIDY 18 FED    704H           5/10/2021
          Mexico            COM
882       New      Carlsbad CASSIDY 18 FED    703H           5/10/2021
          Mexico            COM
883       New      Carlsbad CASSIDY 18 FED    702H           5/10/2021
          Mexico            COM
884       New      Carlsbad DEEP ELEM 4       208H           5/28/2021
          Mexico            FED COM
885       New      Carlsbad DEEP ELEM 4       207H           5/28/2021
          Mexico            FED COM
886       New      Carlsbad DEEP ELEM 4       206H           5/28/2021
          Mexico            FED COM
887       New      Carlsbad DEEP ELEM 4       201H           5/28/2021
          Mexico            FED COM
888       New      Carlsbad DEEP ELEM 4       727H           6/3/2021
          Mexico            FED COM
889       New      Carlsbad DEEP ELEM 4       203H           5/28/2021
          Mexico            FED COM
890       New      Carlsbad DEEP ELEM 4       204H           5/28/2021
          Mexico            FED COM
891       New      Carlsbad DEEP ELEM 4       205H           5/28/2021
          Mexico            FED COM
892       New      Carlsbad DEEP ELEM 4       704H           5/26/2021
          Mexico            FED COM
893       New      Carlsbad DEEP ELEM 4       706H           5/26/2021
          Mexico            FED COM
894       New      Carlsbad DEEP ELEM 4       202H           5/28/2021
          Mexico            FED COM
895       New      Carlsbad DEEP ELEM 4       585H           8/6/2021
          Mexico            FED COM
896       New      Carlsbad DEEP ELEM 4       583H           8/6/2021
          Mexico            FED COM
897       New      Carlsbad DEEP ELEM 4       504H           8/6/2021
          Mexico            FED COM
898       New      Carlsbad DEEP ELEM 4       503H           8/6/2021
          Mexico            FED COM



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899       New      Carlsbad DEEP ELEM 4       593H           8/6/2021
          Mexico            FED COM
900       New      Carlsbad DEEP ELEM 4       592H           8/6/2021
          Mexico            FED COM
901       New      Carlsbad DEEP ELEM 4       584H           8/6/2021
          Mexico            FED COM
902       New      Carlsbad DEEP ELEM 4       501H           8/6/2021
          Mexico            FED COM
903       New      Carlsbad DEEP ELEM 4       303H           8/6/2021
          Mexico            FED COM
904       New      Carlsbad DEEP ELEM 4       302H           8/6/2021
          Mexico            FED COM
905       New      Carlsbad DEEP ELEM 4       595H           8/6/2021
          Mexico            FED COM
906       New      Carlsbad DEEP ELEM 4       594H           8/6/2021
          Mexico            FED COM
907       New      Carlsbad DEEP ELEM 4       714H           4/21/2022
          Mexico            FED COM
908       New      Carlsbad DEEP ELEM 4       767H           4/21/2022
          Mexico            FED COM
909       New      Carlsbad DEEP ELEM 4       709H           4/21/2022
          Mexico            FED COM
910       New      Carlsbad DEEP ELEM 4       708H           4/21/2022
          Mexico            FED COM
911       New      Carlsbad CASSIDY 18 FED    801H           5/16/2022
          Mexico            COM
912       New      Carlsbad STELLA BLUE 30    101H           8/31/2022
          Mexico            FED COM

913       New      Carlsbad STELLA BLUE 30    102H           8/31/2022
          Mexico            FED COM

914       New      Carlsbad STELLA BLUE 30    103H           8/31/2022
          Mexico            FED COM

915       New      Carlsbad STELLA BLUE 30    104H           8/31/2022
          Mexico            FED COM

916       New      Carlsbad STELLA BLUE 30    105H           8/31/2022
          Mexico            FED COM

917       New      Carlsbad STELLA BLUE 30    106H           8/31/2022
          Mexico            FED COM




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918       New      Carlsbad STELLA BLUE 30    107H           8/31/2022
          Mexico            FED COM

919       New      Carlsbad STELLA BLUE 30    108H           8/31/2022
          Mexico            FED COM

920       New      Carlsbad STELLA BLUE 30    109H           8/31/2022
          Mexico            FED COM

921       New      Carlsbad STELLA BLUE 30    201H           8/31/2022
          Mexico            FED COM

922       New      Carlsbad STELLA BLUE 30    202H           8/31/2022
          Mexico            FED COM

923       New      Carlsbad STELLA BLUE 30    203H           8/31/2022
          Mexico            FED COM

924       New      Carlsbad STELLA BLUE 30    204H           8/31/2022
          Mexico            FED COM

925       New      Carlsbad STELLA BLUE 30    205H           8/31/2022
          Mexico            FED COM

926       New      Carlsbad STELLA BLUE 30    206H           8/31/2022
          Mexico            FED COM

927       New      Carlsbad STELLA BLUE 30    207H           8/31/2022
          Mexico            FED COM

928       New      Carlsbad STELLA BLUE 30    208H           8/31/2022
          Mexico            FED COM

929       New      Carlsbad STELLA BLUE 30    707H           8/31/2022
          Mexico            FED COM

930       New      Carlsbad STELLA BLUE 30    708H           8/31/2022
          Mexico            FED COM

931       New      Carlsbad STELLA BLUE 30    709H           8/31/2022
          Mexico            FED COM

932       New      Carlsbad STELLA BLUE 30    710H           8/31/2022
          Mexico            FED COM




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933       New      Carlsbad STELLA BLUE 30    711H           8/31/2022
          Mexico            FED COM

934       New      Carlsbad STELLA BLUE 30    712H           8/31/2022
          Mexico            FED COM

935       New      Carlsbad STELLA BLUE 30    713H           8/31/2022
          Mexico            FED COM

936       New      Carlsbad STELLA BLUE 30    714H           8/31/2022
          Mexico            FED COM

937       New      Carlsbad STELLA BLUE 30    715H           8/31/2022
          Mexico            FED COM

938       New      Carlsbad JAWBONE FED       5H             4/13/2022
          Mexico            COM XYA

939       New      Carlsbad JAWBONE FED       6H             4/13/2022
          Mexico            COM XYA

940       New      Carlsbad JAWBONE FED       7H             4/13/2022
          Mexico            COM XYA

941       New      Carlsbad JAWBONE FED       13H            4/13/2022
          Mexico            COM LW

942       New      Carlsbad JAWBONE FED       12H            4/13/2022
          Mexico            COM LW

943       New      Carlsbad JAWBONE FED       14H            4/13/2022
          Mexico            COM LW

944       New      Carlsbad JAWBONE FED       11H            4/19/2022
          Mexico            COM LW

945       New      Carlsbad COUSIN EDDY       2H             4/25/2022
          Mexico            21-16 FEDERAL
                            COM

946       New      Carlsbad JAWBONE FED       8H             6/22/2022
          Mexico            COM XYA




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947       New      Carlsbad JAWBONE FED       9H             6/22/2022
          Mexico            COM XYA

948       New      Carlsbad JAWBONE FED       10H            6/22/2022
          Mexico            COM XYA

949       New      Carlsbad JAWBONE FED       15H            6/22/2022
          Mexico            COM LW

950       New      Carlsbad JAWBONE FED       16H            6/22/2022
          Mexico            COM LW

951       New      Carlsbad JAWBONE FED       17H            6/22/2022
          Mexico            COM LW

952       New      Carlsbad JAWBONE FED       18H            6/22/2022
          Mexico            COM LW

953       New      Carlsbad TALCO STATE       111H           4/1/2021
          Mexico            FED COM

954       New      Carlsbad TALCO STATE       112H           4/1/2021
          Mexico            FED COM

955       New      Carlsbad TALCO STATE       201H           4/1/2021
          Mexico            FED COM

956       New      Carlsbad TALCO STATE       205H           4/1/2021
          Mexico            FED COM

957       New      Carlsbad TALCO STATE       211H           4/1/2021
          Mexico            FED COM

958       New      Carlsbad TALCO STATE       215H           4/1/2021
          Mexico            FED COM

959       New      Carlsbad TALCO STATE       221H           4/1/2021
          Mexico            FED COM

960       New      Carlsbad TALCO STATE       221H           4/1/2021
          Mexico            FED COM

961       New      Carlsbad TALCO STATE       222H           4/1/2021
          Mexico            FED COM




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962       New      Carlsbad TALCO STATE       222H           4/1/2021
          Mexico            FED COM

963       New      Carlsbad WINE MIXER        1H             8/31/2022
          Mexico            21/20 B3IL FED
                            COM

964       New      Carlsbad WINE MIXER        1H             8/31/2022
          Mexico            21/20 B3PM FED
                            COM

965       New      Carlsbad DAWSON 34 FED     114H           9/30/2021
          Mexico            COM
966       New      Carlsbad ULURU 35 FED      134H           5/16/2022
          Mexico            STATE COM

967       New      Carlsbad ULURU 35 FED      133H           5/16/2022
          Mexico            STATE COM

968       New      Carlsbad ULURU 35 FED      131H           5/16/2022
          Mexico            STATE COM

969       New      Carlsbad ULURU 35 FED      203H           6/23/2022
          Mexico            STATE COM

970       New      Carlsbad ULURU 35 FED      201H           6/23/2022
          Mexico            STATE COM

971       New      Carlsbad ULURU 35 FED      121H           6/23/2022
          Mexico
972       New      Carlsbad CLAWHAMMER        414H           6/18/2021
          Mexico            33-28-21 FED
                            COM
973       New      Carlsbad CLAWHAMMER        415H           6/18/2021
          Mexico            33-28-21 FED
                            COM
974       New      Carlsbad CLAWHAMMER        416H           6/18/2021
          Mexico            33-28-21 FED
                            COM
975       New      Carlsbad CLAWHAMMER        424H           6/18/2021
          Mexico            33-28-21 FED
                            COM
976       New      Carlsbad CLAWHAMMER        425H           6/18/2021
          Mexico            33-28-21 FED
                            COM


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977       New      Carlsbad CLAWHAMMER        426H           6/18/2021
          Mexico            33-28-21 FED
                            COM
978       New      Carlsbad WELCH B 28        1H             11/26/2021
          Mexico            FEDERAL
979       New      Carlsbad WELCH B 28        50H            11/12/2021
          Mexico            FEDERAL
980       New      Carlsbad WELCH B 28        90H            11/26/2021
          Mexico            FEDERAL
981       New      Carlsbad WELCH B 28        10H            11/12/2021
          Mexico            FEDERAL
982       New      Carlsbad WELCH B 28        70H            1/25/2022
          Mexico            FEDERAL
983       New      Carlsbad SOUTH AVALON      1H             9/30/2021
          Mexico            AUA COM

984       New      Carlsbad COTTON DRAW       543H           8/6/2021
          Mexico            UNIT
985       New      Carlsbad COTTON DRAW       540H           8/6/2021
          Mexico            UNIT
986       New      Carlsbad COTTON DRAW       541H           9/7/2021
          Mexico            UNIT
987       New      Carlsbad EXMOOR 10-34      524H           2/11/2022
          Mexico            FED COM
988       New      Carlsbad EXMOOR 10-34      525H           2/11/2022
          Mexico            FED COM
989       New      Carlsbad EXMOOR 10-34      713H           2/11/2022
          Mexico            FED COM
990       New      Carlsbad EXMOOR 10-34      623H           2/11/2022
          Mexico            FED COM
991       New      Carlsbad EXMOOR 10-34      534H           2/11/2022
          Mexico            FED COM
992       New      Carlsbad EXMOOR 10-34      535H           2/11/2022
          Mexico            FED COM
993       New      Carlsbad EXMOOR 10-34      536H           2/11/2022
          Mexico            FED COM
994       New      Carlsbad EXMOOR 10-34      714H           2/11/2022
          Mexico            FED COM
995       New      Carlsbad EXMOOR 10-34      334H           2/11/2022
          Mexico            FED COM
996       New      Carlsbad EXMOOR 10-34      734H           2/11/2022
          Mexico            FED COM
997       New      Carlsbad EXMOOR 10-34      733H           2/11/2022
          Mexico            FED COM



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998        New      Carlsbad MULE 11-14 FED    521H           10/22/2021
           Mexico            COM
999        New      Carlsbad MULE 11-14 FED    522H           10/22/2021
           Mexico            COM
1000       New      Carlsbad MULE 11-14 FED    531H           10/22/2021
           Mexico            COM
1001       New      Carlsbad MULE 11-14 FED    534H           10/22/2021
           Mexico            COM
1002       New      Carlsbad GISSLER B 8 HE    1H             1/6/2022
           Mexico
1003       New      Carlsbad FORTY NINER       116H           4/16/2021
           Mexico            RIDGE UNIT

1004       New      Carlsbad FORTY NINER       129H           3/24/2022
           Mexico            RIDGE UNIT

1005       New      Carlsbad GALAPAGOS 14-     715H           3/9/2022
           Mexico            26 FED COM

1006       New      Carlsbad GALAPAGOS 14-     716H           3/9/2022
           Mexico            26 FED COM

1007       New      Carlsbad GALAPAGOS 14-     625H           3/9/2022
           Mexico            26 FED COM

1008       New      Carlsbad GALAPAGOS 14-     337H           3/17/2022
           Mexico            26 FED COM

1009       New      Carlsbad GALAPAGOS 14-     718H           3/17/2022
           Mexico            26 FED COM

1010       New      Carlsbad GALAPAGOS 14-     628H           3/17/2022
           Mexico            26 FED COM

1011       New      Carlsbad GALAPAGOS 14-     336H           3/9/2022
           Mexico            26 FED COM

1012       New      Carlsbad GALAPAGOS 14-     717H           3/9/2022
           Mexico            26 FED COM

1013       New      Carlsbad GALAPAGOS 14-     335H           3/9/2022
           Mexico            26 FED COM




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1014       New      Carlsbad GALAPAGOS 14-     627H           3/9/2022
           Mexico            26 FED COM

1015       New      Carlsbad GALAPAGOS 14-     338H           4/19/2022
           Mexico            26 FED COM

1016       New      Carlsbad GALAPAGOS 14-     626H           5/16/2022
           Mexico            26 FED COM

1017       New      Carlsbad CO VIPER 4 33     401H           2/2/2022
           Mexico            FED
1018       New      Carlsbad CO VIPER 4 33     402H           2/2/2022
           Mexico            FED
1019       New      Carlsbad CO VIPER 4 33     403H           2/2/2022
           Mexico            FED
1020       New      Carlsbad CROSSBOW          10H            5/16/2022
           Mexico            FEDERAL 23 27 8
                             WA
1021       New      Carlsbad CROSSBOW          4H             5/16/2022
           Mexico            FEDERAL 23 27 8
                             WA
1022       New      Carlsbad CROSSBOW          2H             5/16/2022
           Mexico            FEDERAL 23 27 8
                             WXY
1023       New      Carlsbad CROSSBOW          8H             5/16/2022
           Mexico            FEDERAL 23 27 8
                             WXY
1024       New      Carlsbad OVATION FED       133H           10/21/2021
           Mexico            COM 1318

1025       New      Carlsbad OVATION FED       212H           10/21/2021
           Mexico            COM 1318

1026       New      Carlsbad OVATION FED       222H           10/21/2021
           Mexico            COM 1318

1027       New      Carlsbad OVATION FED       235H           10/21/2021
           Mexico            COM 1318

1028       New      Carlsbad OVATION FED       134H           10/21/2021
           Mexico            COM 1318

1029       New      Carlsbad OVATION FED       213H           10/21/2021
           Mexico            COM 1318




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1030       New      Carlsbad OVATION FED       223H           10/21/2021
           Mexico            COM 1318

1031       New      Carlsbad OVATION FED       233H           10/21/2021
           Mexico            COM 1318

1032       New      Carlsbad OVATION FED       234H           10/21/2021
           Mexico            COM 1318

1033       New      Carlsbad OVATION FED       131H           11/12/2021
           Mexico            COM 1318

1034       New      Carlsbad OVATION FED       211H           11/12/2021
           Mexico            COM 1318

1035       New      Carlsbad OVATION FED       231H           11/12/2021
           Mexico            COM 1318

1036       New      Carlsbad OVATION FED       232H           11/12/2021
           Mexico            COM 1318

1037       New      Carlsbad OVATION FED       241H           11/12/2021
           Mexico            COM 1318

1038       New      Carlsbad OVATION FED       132H           8/13/2021
           Mexico            COM 1318

1039       New      Carlsbad OVATION FED       221H           9/7/2021
           Mexico            COM 1318

1040       New      Carlsbad OVATION FED       242H           3/4/2022
           Mexico            COM 1318

1041       New      Carlsbad OVATION FED       245H           3/4/2022
           Mexico            COM 1318

1042       New      Carlsbad OVATION FED       136H           3/3/2022
           Mexico            COM 1318

1043       New      Carlsbad OVATION FED       214H           3/3/2022
           Mexico            COM 1318

1044       New      Carlsbad OVATION FED       135H           3/30/2022
           Mexico            COM 1318




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1045       New      Carlsbad FORTY NINER       128H           3/24/2022
           Mexico            RIDGE UNIT

1046       New      Carlsbad FORTY NINER       127H           3/24/2022
           Mexico            RIDGE UNIT

1047       New      Carlsbad THE CONTEST       116H           4/13/2022
           Mexico            FED COM

1048       New      Carlsbad THE CONTEST       123H           4/13/2022
           Mexico            FED COM

1049       New      Carlsbad THE CONTEST       126H           4/13/2022
           Mexico            FED COM

1050       New      Carlsbad THE CONTEST       143H           4/13/2022
           Mexico            FED COM

1051       New      Carlsbad THE CONTEST       203H           4/13/2022
           Mexico            FED COM

1052       New      Carlsbad THE CONTEST       216H           4/13/2022
           Mexico            FED COM

1053       New      Carlsbad PERAZZI 9/10      1H             7/1/2021
           Mexico            B2MP FED

1054       New      Carlsbad PERAZZI 9/10      1H             7/19/2021
           Mexico            B2LI FED

1055       New      Carlsbad ITHACA 15/14      1H             9/21/2021
           Mexico            B3EF FED COM

1056       New      Carlsbad ITHACA 15/14      1H             9/21/2021
           Mexico            W0DC FED COM

1057       New      Carlsbad ITHACA 15/14      1H             9/21/2021
           Mexico            W0EF FED COM

1058       New      Carlsbad CHICKEN FRY 15- 12H              6/24/2022
           Mexico            22 WXY FED
                             COM




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1059       New      Carlsbad CHICKEN FRY 15- 16H              6/24/2022
           Mexico            22 WD FED COM


1060       New      Carlsbad CHICKEN FRY 15- 17H              6/24/2022
           Mexico            22 WD FED COM


1061       New      Carlsbad ALTO AMM 21-16    70H            9/9/2021
           Mexico            FEDERAL

1062       New      Carlsbad ALTO AMM 21-16    61H            9/9/2021
           Mexico            FEDERAL

1063       New      Carlsbad ALTO AMM 21-16    1H             9/9/2021
           Mexico            FEDERAL

1064       New      Carlsbad ALTO AMM 21-16    21H            10/21/2021
           Mexico            FEDERAL

1065       New      Carlsbad EAGLE 26          2H             2/2/2022
           Mexico            FEDERAL
1066       New      Carlsbad EAGLE 26          3H             2/2/2022
           Mexico            FEDERAL COM

1067       New      Carlsbad EAGLE 33          2H             2/2/2022
           Mexico            FEDERAL COM

1068       New      Carlsbad EAGLE 33          7H             6/30/2022
           Mexico            FEDERAL COM

1069       New      Carlsbad EAGLE 33          8H             6/30/2022
           Mexico            FEDERAL COM

1070       New      Carlsbad EAGLE 33          9H             6/30/2022
           Mexico            FEDERAL COM

1071       New      Carlsbad THUNDERBALL       2H             4/8/2022
           Mexico            23 FED 1BS COM

1072       New      Carlsbad THUNDERBALL       4H             4/8/2022
           Mexico            23 FED 3BS COM




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1073       New      Carlsbad THUNDERBALL    7H                4/8/2022
           Mexico            23 FED WCA COM

1074       New      Carlsbad ROJO 7811 34-27   59H            7/23/2021
           Mexico            FEDERAL COM


1075       New      Carlsbad ROJO 7811 34-27   60H            7/23/2021
           Mexico            FEDERAL COM


1076       New      Carlsbad ROJO 7811 34-27   62H            7/23/2021
           Mexico            FEDERAL COM


1077       New      Carlsbad ROJO 7811 34-27   63H            9/30/2021
           Mexico            FEDERAL COM


1078       New      Carlsbad ROJO 7811 34-27   64H            9/30/2021
           Mexico            FEDERAL COM


1079       New      Carlsbad ROJO 7811 34-27   65H            9/30/2021
           Mexico            FEDERAL COM


1080       New      Carlsbad ROJO 7811 34-27   66H            9/30/2021
           Mexico            FEDERAL COM


1081       New      Carlsbad ROJO 7811 34-27   61H            11/12/2021
           Mexico            FEDERAL COM


1082       New      Carlsbad BELL LAKE UNIT    313H           1/21/2021
           Mexico            NORTH

1083       New      Carlsbad BELL LAKE UNIT    414H           1/21/2021
           Mexico            NORTH

1084       New      Carlsbad BELL LAKE UNIT    135H           5/5/2021
           Mexico            NORTH




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1085       New      Carlsbad BELL LAKE UNIT    336H           5/5/2021
           Mexico            NORTH

1086       New      Carlsbad ROSS DRAW 17      772H           5/6/2021
           Mexico            FED COM

1087       New      Carlsbad ROSS DRAW 17      775H           5/6/2021
           Mexico            FED COM

1088       New      Carlsbad ROSS DRAW 17      774H           5/6/2021
           Mexico            FED COM

1089       New      Carlsbad ROSS DRAW 17      773H           5/6/2021
           Mexico            FED COM

1090       New      Carlsbad ROSS DRAW 17      586H           5/6/2021
           Mexico            FED COM

1091       New      Carlsbad ROSS DRAW 17      591H           5/6/2021
           Mexico            FED COM

1092       New      Carlsbad ROSS DRAW 17      778H           5/6/2021
           Mexico            FED COM

1093       New      Carlsbad ROSS DRAW 17      777H           5/6/2021
           Mexico            FED COM

1094       New      Carlsbad ROSS DRAW 17      803H           5/6/2021
           Mexico            FED COM

1095       New      Carlsbad ROSS DRAW 17      802H           5/6/2021
           Mexico            FED COM

1096       New      Carlsbad ROSS DRAW 17      801H           5/6/2021
           Mexico            FED COM

1097       New      Carlsbad ROSS DRAW 17      301H           5/6/2021
           Mexico            FED COM

1098       New      Carlsbad CASSIDY 18 FED    709H           5/10/2021
           Mexico            COM
1099       New      Carlsbad ROSS DRAW 17      302H           5/6/2021
           Mexico            FED COM




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1100       New      Carlsbad ROSS DRAW 17      303H           5/6/2021
           Mexico            FED COM

1101       New      Carlsbad ROSS DRAW 17      501H           5/6/2021
           Mexico            FED COM

1102       New      Carlsbad ROSS DRAW 17      502H           5/6/2021
           Mexico            FED COM

1103       New      Carlsbad ROSS DRAW 17      503H           5/6/2021
           Mexico            FED COM

1104       New      Carlsbad ROSS DRAW 17      504H           5/6/2021
           Mexico            FED COM

1105       New      Carlsbad ROSS DRAW 17      505H           5/6/2021
           Mexico            FED COM

1106       New      Carlsbad ROSS DRAW 17      581H           5/6/2021
           Mexico            FED COM

1107       New      Carlsbad ROSS DRAW 17      582H           5/6/2021
           Mexico            FED COM

1108       New      Carlsbad ROSS DRAW 17      583H           5/6/2021
           Mexico            FED COM

1109       New      Carlsbad ROSS DRAW 17      584H           5/6/2021
           Mexico            FED COM

1110       New      Carlsbad ROSS DRAW 17      585H           5/6/2021
           Mexico            FED COM

1111       New      Carlsbad ROSS DRAW 17      592H           5/6/2021
           Mexico            FED COM

1112       New      Carlsbad ROSS DRAW 17      804H           5/6/2021
           Mexico            FED COM

1113       New      Carlsbad ROSS DRAW 17      593H           5/6/2021
           Mexico            FED COM

1114       New      Carlsbad ROSS DRAW 17      594H           5/6/2021
           Mexico            FED COM




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1115       New      Carlsbad ROSS DRAW 17      101H           5/6/2021
           Mexico            FED COM

1116       New      Carlsbad ROSS DRAW 17      102H           5/6/2021
           Mexico            FED COM

1117       New      Carlsbad ROSS DRAW 17      103H           5/6/2021
           Mexico            FED COM

1118       New      Carlsbad ROSS DRAW 17      104H           5/6/2021
           Mexico            FED COM

1119       New      Carlsbad ROSS DRAW 17      105H           5/6/2021
           Mexico            FED COM

1120       New      Carlsbad ROSS DRAW 17      106H           5/6/2021
           Mexico            FED COM

1121       New      Carlsbad ROSS DRAW 17      107H           5/6/2021
           Mexico            FED COM

1122       New      Carlsbad ROSS DRAW 17      108H           5/6/2021
           Mexico            FED COM

1123       New      Carlsbad ROSS DRAW 17      109H           5/6/2021
           Mexico            FED COM

1124       New      Carlsbad ROSS DRAW 17      201H           5/6/2021
           Mexico            FED COM

1125       New      Carlsbad ROSS DRAW 17      202H           5/6/2021
           Mexico            FED COM

1126       New      Carlsbad ROSS DRAW 17      203H           5/6/2021
           Mexico            FED COM

1127       New      Carlsbad ROSS DRAW 17      204H           5/6/2021
           Mexico            FED COM

1128       New      Carlsbad ROSS DRAW 17      205H           5/6/2021
           Mexico            FED COM

1129       New      Carlsbad ROSS DRAW 17      206H           5/6/2021
           Mexico            FED COM




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1130       New      Carlsbad ROSS DRAW 17      207H           5/6/2021
           Mexico            FED COM

1131       New      Carlsbad ROSS DRAW 17      208H           5/6/2021
           Mexico            FED COM

1132       New      Carlsbad ROSS DRAW 17      761H           5/6/2021
           Mexico            FED COM

1133       New      Carlsbad ROSS DRAW 17      762H           5/6/2021
           Mexico            FED COM

1134       New      Carlsbad ROSS DRAW 17      763H           5/6/2021
           Mexico            FED COM

1135       New      Carlsbad ROSS DRAW 17      764H           5/6/2021
           Mexico            FED COM

1136       New      Carlsbad ROSS DRAW 17      766H           5/6/2021
           Mexico            FED COM

1137       New      Carlsbad ROSS DRAW 17      767H           5/6/2021
           Mexico            FED COM

1138       New      Carlsbad ROSS DRAW 17      771H           5/6/2021
           Mexico            FED COM

1139       New      Carlsbad RANA SALADA       213H           4/22/2021
           Mexico            FED COM 0504


1140       New      Carlsbad RANA SALADA       233H           7/22/2021
           Mexico            FED COM 0504


1141       New      Carlsbad LOS VAQUEROS      201H           6/3/2021
           Mexico            FED

1142       New      Carlsbad LOS VAQUEROS      321H           6/3/2021
           Mexico            FED

1143       New      Carlsbad LOS VAQUEROS      431H           6/3/2021
           Mexico            FED




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1144       New      Carlsbad LOS VAQUEROS      511H           7/22/2021
           Mexico            FED

1145       New      Carlsbad LOS VAQUEROS      114H           11/2/2021
           Mexico            FED COM

1146       New      Carlsbad LOS VAQUEROS      122H           11/2/2021
           Mexico            FED

1147       New      Carlsbad LOS VAQUEROS      123H           11/2/2021
           Mexico            FED

1148       New      Carlsbad LOS VAQUEROS      204H           11/2/2021
           Mexico            FED COM

1149       New      Carlsbad LOS VAQUEROS      404H           11/2/2021
           Mexico            FED COM

1150       New      Carlsbad LOS VAQUEROS      432H           11/2/2021
           Mexico            FED

1151       New      Carlsbad LOS VAQUEROS      434H           11/2/2021
           Mexico            FED COM

1152       New      Carlsbad LOS VAQUEROS      512H           11/2/2021
           Mexico            FED

1153       New      Carlsbad LOS VAQUEROS      322H           12/2/2021
           Mexico            FED

1154       New      Carlsbad LOS VAQUEROS      203H           3/25/2022
           Mexico            FED

1155       New      Carlsbad LOS VAQUEROS      403H           3/25/2022
           Mexico            FED

1156       New      Carlsbad LOS VAQUEROS      513H           3/25/2022
           Mexico            FED

1157       New      Carlsbad PHOENIX 21/22     1H             11/26/2021
           Mexico            B2CA FEDERAL
                             COM




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1158       New      Carlsbad PHOENIX 21/22     1H             11/26/2021
           Mexico            B2FH FEDERAL
                             COM

1159       New      Carlsbad MADERA 24 WB      13H            10/22/2021
           Mexico            FED
1160       New      Carlsbad MADERA 24 WB      20H            11/12/2021
           Mexico            FED
1161       New      Carlsbad MADERA 24 WXY     14H            10/22/2021
           Mexico            FED
1162       New      Carlsbad MADERA 24 WXY     21H            10/22/2021
           Mexico            FED
1163       New      Carlsbad MADERA 25 TB      17H            10/22/2021
           Mexico            FEDERAL COM


1164       New      Carlsbad MADERA 25 WA      18H            10/22/2021
           Mexico            FEDERAL COM


1165       New      Carlsbad MADERA 25 WB      13H            10/22/2021
           Mexico            FEDERAL COM


1166       New      Carlsbad MADERA 25 WB      20H            9/30/2021
           Mexico            FEDERAL COM


1167       New      Carlsbad MADERA 25 WXY 14H                10/22/2021
           Mexico            FEDERAL COM


1168       New      Carlsbad MADERA 25 WXY 21H                10/22/2021
           Mexico            FEDERAL COM


1169       New      Carlsbad MADERA 24 TB      17H            6/24/2022
           Mexico            FED
1170       New      Carlsbad MADERA 24 WA      18H            6/24/2022
           Mexico            FED
1171       New      Carlsbad CRAZY HORSE 32    133H           2/21/2021
           Mexico            STATE FED COM




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1172       New      Carlsbad BARREL            1H             3/17/2022
           Mexico            CRUSHER 19/20
                             B2DA FED COM

1173       New      Carlsbad CROCUBOT FED      131H           7/14/2022
           Mexico            26
1174       New      Carlsbad CROCUBOT FED      132H           7/14/2022
           Mexico            26
1175       New      Carlsbad CROCUBOT FED      211H           7/14/2022
           Mexico            26
1176       New      Carlsbad CROCUBOT FED      232H           7/14/2022
           Mexico            26
1177       New      Carlsbad CROCUBOT FED      135H           7/14/2022
           Mexico            26
1178       New      Carlsbad CROCUBOT FED      136H           7/14/2022
           Mexico            26
1179       New      Carlsbad CROCUBOT FED      215H           7/14/2022
           Mexico            26
1180       New      Carlsbad CROCUBOT FED      216H           7/14/2022
           Mexico            26
1181       New      Carlsbad CROCUBOT FED      235H           7/14/2022
           Mexico            26
1182       New      Carlsbad CROCUBOT FED      236H           7/14/2022
           Mexico            26
1183       New      Carlsbad CROCUBOT FED      133H           7/14/2022
           Mexico            26
1184       New      Carlsbad CROCUBOT FED      134H           7/14/2022
           Mexico            26
1185       New      Carlsbad CROCUBOT FED      213H           7/14/2022
           Mexico            26
1186       New      Carlsbad CROCUBOT FED      214H           7/14/2022
           Mexico            26
1187       New      Carlsbad CROCUBOT FED      233H           7/14/2022
           Mexico            26
1188       New      Carlsbad CROCUBOT FED      234H           7/14/2022
           Mexico            26
1189       New      Carlsbad POKER LAKE 23     103H           3/7/2022
           Mexico            DTD FEDERAL
                             COM




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1190       New      Carlsbad POKER LAKE 23     128H           3/25/2022
           Mexico            DTD FEDERAL
                             COM


1191       New      Carlsbad POKER LAKE 23     157H           3/7/2022
           Mexico            DTD FEDERAL
                             COM


1192       New      Carlsbad POKER LAKE 23     101H           3/7/2022
           Mexico            DTD FEDERAL
                             COM


1193       New      Carlsbad POKER LAKE 23     107H           4/8/2022
           Mexico            DTD FEDERAL
                             COM


1194       New      Carlsbad POKER LAKE 23     121H           3/25/2022
           Mexico            DTD FEDERAL
                             COM


1195       New      Carlsbad POKER LAKE 23     151H           3/25/2022
           Mexico            DTD FEDERAL
                             COM


1196       New      Carlsbad POKER LAKE 23     152H           3/25/2022
           Mexico            DTD FEDERAL
                             COM


1197       New      Carlsbad POKER LAKE 23     158H           3/7/2022
           Mexico            DTD FEDERAL
                             COM


1198       New      Carlsbad POKER LAKE 23     171H           3/7/2022
           Mexico            DTD FEDERAL
                             COM




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1199       New      Carlsbad POKER LAKE 23     172H           3/7/2022
           Mexico            DTD FEDERAL
                             COM


1200       New      Carlsbad POKER LAKE 23     177H           3/25/2022
           Mexico            DTD FEDERAL
                             COM


1201       New      Carlsbad POKER LAKE        101H           4/8/2022
           Mexico            UNIT 22 DTD

1202       New      Carlsbad POKER LAKE        102H           4/8/2022
           Mexico            UNIT 22 DTD

1203       New      Carlsbad POKER LAKE        104H           4/8/2022
           Mexico            UNIT 22 DTD

1204       New      Carlsbad POKER LAKE        105H           4/8/2022
           Mexico            UNIT 22 DTD

1205       New      Carlsbad POKER LAKE        107H           4/8/2022
           Mexico            UNIT 22 DTD

1206       New      Carlsbad POKER LAKE        108H           4/8/2022
           Mexico            UNIT 22 DTD

1207       New      Carlsbad POKER LAKE        121H           4/8/2022
           Mexico            UNIT 22 DTD

1208       New      Carlsbad POKER LAKE        122H           4/8/2022
           Mexico            UNIT 22 DTD

1209       New      Carlsbad POKER LAKE        124H           4/8/2022
           Mexico            UNIT 22 DTD

1210       New      Carlsbad POKER LAKE        125H           4/8/2022
           Mexico            UNIT 22 DTD

1211       New      Carlsbad POKER LAKE        127H           4/8/2022
           Mexico            UNIT 22 DTD




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1212       New      Carlsbad POKER LAKE        128H           4/8/2022
           Mexico            UNIT 22 DTD

1213       New      Carlsbad POKER LAKE        151H           4/8/2022
           Mexico            UNIT 22 DTD

1214       New      Carlsbad POKER LAKE        152H           4/8/2022
           Mexico            UNIT 22 DTD

1215       New      Carlsbad POKER LAKE        154H           4/8/2022
           Mexico            UNIT 22 DTD

1216       New      Carlsbad POKER LAKE        155H           4/8/2022
           Mexico            UNIT 22 DTD

1217       New      Carlsbad POKER LAKE        157H           4/8/2022
           Mexico            UNIT 22 DTD

1218       New      Carlsbad POKER LAKE        158H           4/8/2022
           Mexico            UNIT 22 DTD

1219       New      Carlsbad POKER LAKE        171H           4/8/2022
           Mexico            UNIT 22 DTD

1220       New      Carlsbad POKER LAKE        172H           4/8/2022
           Mexico            UNIT 22 DTD

1221       New      Carlsbad POKER LAKE        173H           4/8/2022
           Mexico            UNIT 22 DTD

1222       New      Carlsbad POKER LAKE        174H           4/8/2022
           Mexico            UNIT 22 DTD

1223       New      Carlsbad POKER LAKE        175H           4/8/2022
           Mexico            UNIT 22 DTD

1224       New      Carlsbad POKER LAKE        176H           4/8/2022
           Mexico            UNIT 22 DTD

1225       New      Carlsbad POKER LAKE        177H           4/8/2022
           Mexico            UNIT 22 DTD

1226       New      Carlsbad POKER LAKE        178H           4/8/2022
           Mexico            UNIT 22 DTD




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1227       New      Carlsbad POKER LAKE        181H           4/8/2022
           Mexico            UNIT 22 DTD

1228       New      Carlsbad POKER LAKE        182H           4/8/2022
           Mexico            UNIT 22 DTD

1229       New      Carlsbad POKER LAKE        183H           4/8/2022
           Mexico            UNIT 22 DTD

1230       New      Carlsbad POKER LAKE        185H           4/8/2022
           Mexico            UNIT 22 DTD

1231       New      Carlsbad POKER LAKE        186H           4/8/2022
           Mexico            UNIT 22 DTD

1232       New      Carlsbad POKER LAKE        187H           4/8/2022
           Mexico            UNIT 22 DTD

1233       New      Carlsbad POKER LAKE        102H           3/7/2022
           Mexico            UNIT 23 DTD

1234       New      Carlsbad POKER LAKE        122H           3/7/2022
           Mexico            UNIT 23 DTD

1235       New      Carlsbad POKER LAKE        178H           3/7/2022
           Mexico            UNIT 23 DTD

1236       New      Carlsbad POKER LAKE        179H           3/7/2022
           Mexico            UNIT 23 DTD

1237       New      Carlsbad SND JAVELINA      410H           6/3/2022
           Mexico            UNIT 10 15 P409


1238       New      Carlsbad DL 15 22          221H           4/2/2021
           Mexico            NARWHAL FED
                             COM
1239       New      Carlsbad POSEIDON 3        22H            9/7/2021
           Mexico            FEDERAL
1240       New      Carlsbad POSEIDON 3        21H            9/7/2021
           Mexico            FEDERAL
1241       New      Carlsbad POSEIDON 3        26H            8/13/2021
           Mexico            FEDERAL
1242       New      Carlsbad POSEIDON 3        24H            9/7/2021
           Mexico            FEDERAL


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1243       New      Carlsbad POSEIDON 3        29H            10/21/2021
           Mexico            FEDERAL
1244       New      Carlsbad POSEIDON 3        25H            4/27/2022
           Mexico            FEDERAL
1245       New      Carlsbad POSEIDON 3        28H            4/27/2022
           Mexico            FEDERAL
1246       New      Carlsbad GISSLER B         117            12/2/2021
           Mexico
1247       New      Carlsbad BEL-AIR 5-8 FED   5H             11/12/2021
           Mexico            2BS COM

1248       New      Carlsbad BEL-AIR 5-8 FED   5H             11/12/2021
           Mexico            2BS COM

1249       New      Carlsbad BEL-AIR 5-8 FED   6H             11/12/2021
           Mexico            2BS COM

1250       New      Carlsbad BEL-AIR 5-8 FED   8H             11/12/2021
           Mexico            2BS COM

1251       New      Carlsbad BEL-AIR 5-8 FED   7H             1/7/2022
           Mexico            2BS COM

1252       New      Carlsbad ROCK SPUR 27      2H             7/19/2021
           Mexico            W0DM FED COM

1253       New      Carlsbad FRIZZLE FRY 22    28H            9/7/2021
           Mexico            FB FED COM

1254       New      Carlsbad FRIZZLE FRY 22    29H            9/7/2021
           Mexico            FB FED COM

1255       New      Carlsbad FRIZZLE FRY 22    4H             9/7/2021
           Mexico            SB FED COM

1256       New      Carlsbad FRIZZLE FRY 22    8H             9/7/2021
           Mexico            SB FED COM

1257       New      Carlsbad LACEY SWISS 1     506H           4/19/2022
           Mexico            FED COM

1258       New      Carlsbad ROMEO             502H           4/12/2021
           Mexico            FEDERAL COM




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1259       New      Carlsbad KESTREL 1_12      31H            4/21/2021
           Mexico            FEDERAL COM


1260       New      Carlsbad KESTREL 1_12      32H            4/21/2021
           Mexico            FEDERAL COM


1261       New      Carlsbad KESTREL 1_12      33H            4/21/2021
           Mexico            FEDERAL COM


1262       New      Carlsbad KESTREL 1-12      2H             3/30/2022
           Mexico            FEDERAL COM

1263       New      Carlsbad KESTREL 1-12      3H             3/30/2022
           Mexico            FEDERAL COM

1264       New      Carlsbad KESTREL 1-12      11H            3/30/2022
           Mexico            FEDERAL COM

1265       New      Carlsbad KESTREL 1-12      12H            3/30/2022
           Mexico            FEDERAL COM

1266       New      Carlsbad KESTREL 1-12      21H            3/30/2022
           Mexico            FEDERAL COM

1267       New      Carlsbad KESTREL 1-12      22H            3/30/2022
           Mexico            FEDERAL COM

1268       New      Carlsbad KESTREL 1-12      1H             4/27/2022
           Mexico            FEDERAL COM

1269       New      Carlsbad WEST EUMONT       560            6/3/2022
           Mexico            UNIT

1270       New      Carlsbad TAILS CC 10_3     34H            9/7/2021
           Mexico            FED COM

1271       New      Carlsbad TAILS CC 10_3     36H            9/7/2021
           Mexico            FED COM

1272       New      Carlsbad TAILS CC 10_3     35H            9/7/2021
           Mexico            FED COM




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1273       New      Carlsbad SPUD MUFFIN 31-   231H           11/12/2021
           Mexico            30 FED COM

1274       New      Carlsbad SPUD MUFFIN 31-   232H           11/12/2021
           Mexico            30 FED COM

1275       New      Carlsbad BURTON FLAT       331H           4/19/2022
           Mexico            35-33 FED COM

1276       New      Carlsbad BURTON FLAT       332H           4/19/2022
           Mexico            35-33 FED COM

1277       New      Carlsbad BURTON FLAT       333H           3/30/2022
           Mexico            35-33 FED COM

1278       New      Carlsbad BURTON FLAT       334H           3/30/2022
           Mexico            35-33 FED COM

1279       New      Carlsbad BURTON FLAT       335H           3/30/2022
           Mexico            35-33 FED COM

1280       New      Carlsbad BURTON FLAT       336H           3/30/2022
           Mexico            35-33 FED COM

1281       New      Carlsbad BURTON FLAT       621H           3/30/2022
           Mexico            35-33 FED COM

1282       New      Carlsbad BURTON FLAT       622H           3/30/2022
           Mexico            35-33 FED COM

1283       New      Carlsbad BURTON FLAT       623H           4/19/2022
           Mexico            35-33 FED COM

1284       New      Carlsbad BURTON FLAT       624H           4/19/2022
           Mexico            35-33 FED COM

1285       New      Carlsbad DUNDEE 4 FED      202H           7/1/2022
           Mexico            COM
1286       New      Carlsbad DUNDEE 4 FED      203H           7/1/2022
           Mexico            COM
1287       New      Carlsbad DUNDEE 4 FED      132H           7/1/2022
           Mexico            COM
1288       New      Carlsbad DUNDEE 4 FED      133H           7/1/2022
           Mexico            COM




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1289       New      Carlsbad DUNDEE 4 FED      131H           7/1/2022
           Mexico            COM
1290       New      Carlsbad DUNDEE 4 FED      124H           7/1/2022
           Mexico            COM
1291       New      Carlsbad DUNDEE 4 FED      122H           7/1/2022
           Mexico            COM
1292       New      Carlsbad DUNDEE 4 FED      113H           7/1/2022
           Mexico            COM
1293       New      Carlsbad DUNDEE 4 FED      121H           7/22/2022
           Mexico            COM
1294       New      Carlsbad DUNDEE 4 FED      123H           7/22/2022
           Mexico            COM
1295       New      Carlsbad DUNDEE 4 FED      134H           7/27/2022
           Mexico            COM
1296       New      Carlsbad RED STRIPE 5      50H            11/12/2021
           Mexico            FEDERAL COM

1297       New      Carlsbad RED STRIPE 5      20H            11/12/2021
           Mexico            FEDERAL COM

1298       New      Carlsbad RED STRIPE 5      71H            11/26/2021
           Mexico            FEDERAL COM

1299       New      Carlsbad RED STRIPE 5      21H            11/12/2021
           Mexico            FEDERAL COM

1300       New      Carlsbad RED STRIPE 5      70H            5/25/2022
           Mexico            FEDERAL COM

1301       New      Carlsbad SWALLOWTAIL       5H             3/4/2022
           Mexico            14-11 TB FED
                             COM
1302       New      Carlsbad SWALLOWTAIL       4H             3/4/2022
           Mexico            14-11 WA FED
                             COM

1303       New      Carlsbad SWALLOWTAIL       6H             3/4/2022
           Mexico            14-11 WA FED
                             COM

1304       New      Carlsbad SWALLOWTAIL       8H             3/4/2022
           Mexico            14-11 WA FED
                             COM




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1305       New      Carlsbad SWALLOWTAIL       12H            3/4/2022
           Mexico            14-11 WA FED
                             COM

1306       New      Carlsbad SWALLOWTAIL       7H             4/27/2022
           Mexico            14-11 TB FED
                             COM
1307       New      Carlsbad SWALLOWTAIL       9H             4/27/2022
           Mexico            14-11 TB FED
                             COM
1308       New      Carlsbad SWALLOWTAIL       2H             4/27/2022
           Mexico            14-11 WA FED
                             COM

1309       New      Carlsbad SWALLOWTAIL       10H            4/27/2022
           Mexico            14-11 WA FED
                             COM

1310       New      Carlsbad SWALLOWTAIL       11H            7/14/2022
           Mexico            14-11 TB FED
                             COM
1311       New      Carlsbad SWALLOWTAIL       1H             7/14/2022
           Mexico            14-11 TB FED
                             COM
1312       New      Carlsbad SWALLOWTAIL       3H             6/30/2022
           Mexico            14-11 TB FED
                             COM
1313       New      Carlsbad NINA CORTELL      131H           5/5/2022
           Mexico            FED COM

1314       New      Carlsbad NINA CORTELL      113H           7/14/2022
           Mexico            FED COM

1315       New      Carlsbad NINA CORTELL      133H           8/26/2022
           Mexico            FED COM

1316       New      Carlsbad NINA CORTELL      224H           7/14/2022
           Mexico            FED COM

1317       New      Carlsbad LLAMA MALL 26- 21H               3/30/2022
           Mexico            35 FEDERAL COM




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1318       New      Carlsbad LLAMA MALL 26- 31H               3/30/2022
           Mexico            35 FEDERAL COM


1319       New      Carlsbad LLAMA MALL 26- 22H               6/3/2022
           Mexico            35 FEDERAL COM


1320       New      Carlsbad LLAMA MALL 26- 23H               6/3/2022
           Mexico            35 FEDERAL COM


1321       New      Carlsbad LLAMA MALL 26- 32H               6/3/2022
           Mexico            35 FEDERAL COM


1322       New      Carlsbad LLAMA MALL 26- 33H               6/3/2022
           Mexico            35 FEDERAL COM


1323       New      Carlsbad LLAMA MALL 26- 311H              6/22/2022
           Mexico            35 FEDERAL COM


1324       New      Carlsbad FLOOFY CAT 21-    528H           3/4/2022
           Mexico            16 FED STATE
                             COM

1325       New      Carlsbad MR POTATO         233H           3/23/2021
           Mexico            HEAD 11-14 FED
                             COM
1326       New      Carlsbad MR POTATO         234H           3/23/2021
           Mexico            HEAD 11-14 FED
                             COM
1327       New      Carlsbad MR POTATO         235H           3/23/2021
           Mexico            HEAD 11-14 FED
                             COM
1328       New      Carlsbad MR POTATO         232H           3/23/2021
           Mexico            HEAD 11-14 FED
                             COM
1329       New      Carlsbad MR POTATO         236H           7/19/2021
           Mexico            HEAD 11-14 FED
                             COM




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1330       New      Carlsbad RANA SALADA       214H           4/12/2021
           Mexico            FED COM 0106


1331       New      Carlsbad RANA SALADA       135H           4/19/2021
           Mexico            FED 01

1332       New      Carlsbad RANA SALADA       136H           4/19/2021
           Mexico            FED COM 0106


1333       New      Carlsbad RANA SALADA       215H           4/19/2021
           Mexico            FED 01

1334       New      Carlsbad RANA SALADA       216H           4/19/2021
           Mexico            FED COM 0106


1335       New      Carlsbad RANA SALADA       225H           4/19/2021
           Mexico            FED 01

1336       New      Carlsbad RANA SALADA       213H           5/27/2021
           Mexico            FED COM 0106


1337       New      Carlsbad RANA SALADA       133H           5/27/2021
           Mexico            FED COM 0106


1338       New      Carlsbad RANA SALADA       212H           6/4/2021
           Mexico            FED 01

1339       New      Carlsbad RANA SALADA       131H           7/30/2021
           Mexico            FED COM 0605


1340       New      Carlsbad RIO BLANCO 4-33   7H             4/20/2022
           Mexico            FED COM

1341       New      Carlsbad RIO BLANCO 4-33   8H             4/20/2022
           Mexico            FED COM

1342       New      Carlsbad MIDNIGHT HOUR     723H           6/9/2022
           Mexico            11 FED COM




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1343       New      Carlsbad MIDNIGHT HOUR     805H           8/10/2022
           Mexico            10 FED COM

1344       New      Carlsbad BARREL            1H             3/17/2022
           Mexico            CRUSHER 19/20
                             B2LI FED COM

1345       New      Carlsbad BARREL            1H             3/17/2022
           Mexico            CRUSHER 19/20
                             B2MP FED COM

1346       New      Carlsbad CAPER 20/29       1H             5/24/2022
           Mexico            W0BO FED COM

1347       New      Carlsbad CAPER 20/29       1H             7/22/2022
           Mexico            B2BO FED COM

1348       New      Carlsbad OE FED COM        232H           7/30/2021
           Mexico
1349       New      Carlsbad OE FED COM        202H           7/30/2021
           Mexico
1350       New      Carlsbad OE FED COM        204H           7/30/2021
           Mexico
1351       New      Carlsbad OE FED COM        213H           7/30/2021
           Mexico
1352       New      Carlsbad OE FED COM        211H           7/30/2021
           Mexico
1353       New      Carlsbad OE FED COM        233H           7/30/2021
           Mexico
1354       New      Carlsbad OE FED COM        234H           7/30/2021
           Mexico
1355       New      Carlsbad OE FED COM        231H           7/30/2021
           Mexico
1356       New      Carlsbad DIRE WOLF 12      771H           4/26/2022
           Mexico            FED
1357       New      Carlsbad DIRE WOLF 12      761H           4/26/2022
           Mexico            FED
1358       New      Carlsbad MAD MAX 6 FED     134H           8/29/2022
           Mexico            COM
1359       New      Carlsbad DAGGER LAKE       566H           11/26/2021
           Mexico            SOUTH 8 FED
                             COM




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1360       New      Carlsbad DAGGER LAKE       564H           11/26/2021
           Mexico            SOUTH 8 FED
                             COM

1361       New      Carlsbad DAGGER LAKE       706H           12/21/2021
           Mexico            SOUTH 8 FED
                             COM

1362       New      Carlsbad DAGGER LAKE       708H           12/21/2021
           Mexico            SOUTH 8 FED
                             COM

1363       New      Carlsbad ADMIRAL           704H           7/20/2021
           Mexico            FEDERAL COM

1364       New      Carlsbad ADMIRAL           804H           7/20/2021
           Mexico            FEDERAL COM

1365       New      Carlsbad ADMIRAL           705H           7/20/2021
           Mexico            FEDERAL COM

1366       New      Carlsbad ADMIRAL           706H           7/20/2021
           Mexico            FEDERAL COM

1367       New      Carlsbad ADMIRAL           806H           7/20/2021
           Mexico            FEDERAL COM

1368       New      Carlsbad ADMIRAL           805H           7/20/2021
           Mexico            FEDERAL COM

1369       New      Carlsbad TOMMY BOY         1H             1/4/2022
           Mexico            23/24 W0DA FED
                             COM

1370       New      Carlsbad TOMMY BOY         1H             1/4/2022
           Mexico            23/24 W0EH FED
                             COM

1371       New      Carlsbad JADE 34-3 FED     15H            3/25/2022
           Mexico            2BSC COM

1372       New      Carlsbad JADE 34-3 FED     18H            3/25/2022
           Mexico            HKY COM




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1373       New      Carlsbad JADE 34-3 FED     19H            3/25/2022
           Mexico            HKY COM

1374       New      Carlsbad JADE 34-3 FED     11H            3/25/2022
           Mexico            1BS COM

1375       New      Carlsbad JADE 34-3 FED     12H            8/19/2022
           Mexico            1BS COM

1376       New      Carlsbad JADE 34-3 FED     9H             8/19/2022
           Mexico            2BS COM

1377       New      Carlsbad JADE 34-3 FED     21H            6/30/2022
           Mexico            3BS COM

1378       New      Carlsbad JADE 34-3 FED     22H            6/30/2022
           Mexico            3BS COM

1379       New      Carlsbad JADE 34-3 FED     25H            8/19/2022
           Mexico            WCA COM

1380       New      Carlsbad JADE 34-3 FED     10H            3/25/2022
           Mexico            1BS COM

1381       New      Carlsbad JADE 34-3 FED     13H            3/25/2022
           Mexico            2BS COM

1382       New      Carlsbad JADE 34-3 FED     14H            3/25/2022
           Mexico            2BSC COM

1383       New      Carlsbad JADE 34-3 FED     17H            3/25/2022
           Mexico            HKY COM

1384       New      Carlsbad JADE 34-3 FED     20H            6/30/2022
           Mexico            3BS COM

1385       New      Carlsbad JADE 34-3 FED     16H            3/25/2022
           Mexico            HKY COM

1386       New      Carlsbad JADE 34-3 FED     23H            8/19/2022
           Mexico            WCA COM

1387       New      Carlsbad JADE 34-3 FED     24H            8/19/2022
           Mexico            WCA COM




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1388       New      Carlsbad EAGLE 26          4H             2/2/2022
           Mexico            FEDERAL COM

1389       New      Carlsbad SCHLITZ FED       202H           9/28/2021
           Mexico            COM
1390       New      Carlsbad SCHLITZ FED       232H           9/28/2021
           Mexico            COM
1391       New      Carlsbad SCHLITZ FED       152H           8/26/2022
           Mexico            COM
1392       New      Carlsbad HH SO 17 20 FED   401H           5/4/2021
           Mexico            003
1393       New      Carlsbad HH SO 17 20 FED   404H           5/4/2021
           Mexico            003
1394       New      Carlsbad HH SO 17 20 FED   403H           5/4/2021
           Mexico            003
1395       New      Carlsbad HH SO 17 20 FED   402H           5/4/2021
           Mexico            003
1396       New      Carlsbad HH SO 17 20 FED   301H           5/4/2021
           Mexico            003
1397       New      Carlsbad HH SO 17 20 FED   302H           5/4/2021
           Mexico            003
1398       New      Carlsbad ROSEMARY 10       761H           5/10/2021
           Mexico            FED COM
1399       New      Carlsbad ROSEMARY 10       766H           5/10/2021
           Mexico            FED COM
1400       New      Carlsbad ROSEMARY 10       767H           5/10/2021
           Mexico            FED COM
1401       New      Carlsbad ROSEMARY 10       765H           5/10/2021
           Mexico            FED COM
1402       New      Carlsbad ROSEMARY 10       804H           5/10/2021
           Mexico            FED COM
1403       New      Carlsbad ROSEMARY 10       803H           5/10/2021
           Mexico            FED COM
1404       New      Carlsbad ROSEMARY 10       802H           5/10/2021
           Mexico            FED COM
1405       New      Carlsbad ROSEMARY 10       801H           5/10/2021
           Mexico            FED COM
1406       New      Carlsbad ROSEMARY 10       776H           5/10/2021
           Mexico            FED COM
1407       New      Carlsbad ROSEMARY 10       774H           5/10/2021
           Mexico            FED COM
1408       New      Carlsbad ROSEMARY 10       773H           5/10/2021
           Mexico            FED COM
1409       New      Carlsbad ROSEMARY 10       771H           5/10/2021
           Mexico            FED COM


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1410       New      Carlsbad ROSEMARY 10       764H           5/10/2021
           Mexico            FED COM
1411       New      Carlsbad ROSEMARY 10       763H           5/10/2021
           Mexico            FED COM
1412       New      Carlsbad ROSEMARY 10       762H           5/10/2021
           Mexico            FED COM
1413       New      Carlsbad ROSEMARY 10       805H           5/10/2021
           Mexico            FED COM
1414       New      Carlsbad ROSEMARY 10       777H           5/10/2021
           Mexico            FED COM
1415       New      Carlsbad ROSEMARY 10       775H           5/10/2021
           Mexico            FED COM
1416       New      Carlsbad ROSEMARY 10       778H           5/10/2021
           Mexico            FED COM
1417       New      Carlsbad MUSKIE 23-11      11H            12/2/2021
           Mexico            FED COM
1418       New      Carlsbad MUSKIE 23-11      12H            12/2/2021
           Mexico            FED COM
1419       New      Carlsbad MUSKIE 23-11      13H            12/2/2021
           Mexico            FED COM
1420       New      Carlsbad MUSKIE 23-11      14H            12/2/2021
           Mexico            FED COM
1421       New      Carlsbad MUSKIE 23-11      15H            12/2/2021
           Mexico            FED COM
1422       New      Carlsbad MUSKIE 23-11      16H            12/2/2021
           Mexico            FED COM
1423       New      Carlsbad MUSKIE 23-11      35H            4/8/2022
           Mexico            FED COM
1424       New      Carlsbad BELL LAKE UNIT    107H           1/21/2021
           Mexico            SOUTH

1425       New      Carlsbad CARNIVAL FED      101H           3/9/2022
           Mexico            COM
1426       New      Carlsbad CARNIVAL FED      102H           3/9/2022
           Mexico            COM
1427       New      Carlsbad CARNIVAL FED      301H           3/9/2022
           Mexico            COM
1428       New      Carlsbad CARNIVAL FED      302H           3/9/2022
           Mexico            COM
1429       New      Carlsbad CARNIVAL FED      801H           3/9/2022
           Mexico            COM
1430       New      Carlsbad CARNIVAL FED      802H           3/9/2022
           Mexico            COM
1431       New      Carlsbad CARNIVAL FED      803H           3/9/2022
           Mexico            COM


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1432       New      Carlsbad CARNIVAL FED      104H           6/22/2022
           Mexico            COM
1433       New      Carlsbad CARNIVAL FED      304H           7/22/2022
           Mexico            COM
1434       New      Carlsbad CARNIVAL FED      806H           7/22/2022
           Mexico            COM
1435       New      Carlsbad BANJO 5 FED       778H           4/20/2021
           Mexico            COM
1436       New      Carlsbad BANJO 5 FED       777H           4/20/2021
           Mexico            COM
1437       New      Carlsbad BANJO 5 FED       775H           4/20/2021
           Mexico            COM
1438       New      Carlsbad BANJO 5 FED       774H           4/20/2021
           Mexico            COM
1439       New      Carlsbad BANJO 5 FED       773H           4/20/2021
           Mexico            COM
1440       New      Carlsbad BANJO 5 FED       772H           4/20/2021
           Mexico            COM
1441       New      Carlsbad BANJO 5 FED       764H           4/20/2021
           Mexico            COM
1442       New      Carlsbad BANJO 5 FED       761H           4/20/2021
           Mexico            COM
1443       New      Carlsbad BANJO 5 FED       503H           4/20/2021
           Mexico            COM
1444       New      Carlsbad BANJO 5 FED       803H           4/20/2021
           Mexico            COM
1445       New      Carlsbad BANJO 5 FED       805H           4/20/2021
           Mexico            COM
1446       New      Carlsbad BANJO 5 FED       802H           4/20/2021
           Mexico            COM
1447       New      Carlsbad BANJO 5 FED       801H           4/20/2021
           Mexico            COM
1448       New      Carlsbad BANJO 5 FED       583H           4/20/2021
           Mexico            COM
1449       New      Carlsbad BANJO 5 FED       735H           4/20/2021
           Mexico            COM
1450       New      Carlsbad BANJO 5 FED       108H           4/20/2021
           Mexico            COM
1451       New      Carlsbad BANJO 5 FED       727H           4/20/2021
           Mexico            COM
1452       New      Carlsbad BANJO 32 FED      206H           4/12/2021
           Mexico            COM
1453       New      Carlsbad BANJO 32 FED      207H           4/12/2021
           Mexico            COM



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1454       New      Carlsbad BANJO 32 FED      504H           4/12/2021
           Mexico            COM
1455       New      Carlsbad BANJO 32 FED      584H           4/12/2021
           Mexico            COM
1456       New      Carlsbad BANJO 32 FED      593H           4/12/2021
           Mexico            COM
1457       New      Carlsbad BANJO 32 FED      594H           4/12/2021
           Mexico            COM
1458       New      Carlsbad BANJO 5 FED       733H           4/20/2021
           Mexico            COM
1459       New      Carlsbad BANJO 5 FED       704H           5/5/2021
           Mexico            COM
1460       New      Carlsbad BANJO 5 FED       767H           5/5/2021
           Mexico            COM
1461       New      Carlsbad BANJO 5 FED       763H           5/5/2021
           Mexico            COM
1462       New      Carlsbad BANJO 5 FED       762H           5/5/2021
           Mexico            COM
1463       New      Carlsbad BANJO 5 FED       721H           5/5/2021
           Mexico            COM
1464       New      Carlsbad BANJO 5 FED       725H           5/5/2021
           Mexico            COM
1465       New      Carlsbad BANJO 5 FED       729H           5/5/2021
           Mexico            COM
1466       New      Carlsbad STARK 33 FED      701H           5/28/2021
           Mexico            COM
1467       New      Carlsbad STARK 33 FED      702H           5/28/2021
           Mexico            COM
1468       New      Carlsbad STARK 33 FED      703H           5/28/2021
           Mexico            COM
1469       New      Carlsbad STARK 33 FED      704H           5/28/2021
           Mexico            COM
1470       New      Carlsbad STARK 33 FED      705H           5/28/2021
           Mexico            COM
1471       New      Carlsbad STARK 33 FED      706H           5/28/2021
           Mexico            COM
1472       New      Carlsbad BANJO 5 FED       723H           9/7/2021
           Mexico            COM
1473       New      Carlsbad BANJO 5 FED       714H           9/7/2021
           Mexico            COM
1474       New      Carlsbad BANJO 32 FED      804H           9/7/2021
           Mexico            COM
1475       New      Carlsbad BANJO 5 FED       708H           9/7/2021
           Mexico            COM



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1476       New      Carlsbad BANJO 5 FED       706H           9/7/2021
           Mexico            COM
1477       New      Carlsbad BANJO 5 FED       702H           9/7/2021
           Mexico            COM
1478       New      Carlsbad BANJO 32 FED      731H           9/7/2021
           Mexico            COM
1479       New      Carlsbad BANJO 32 FED      712H           9/7/2021
           Mexico            COM
1480       New      Carlsbad STRAIGHT          1              4/19/2022
           Mexico            FLUSH SWD
1481       New      Carlsbad ABYSS FEDERAL     1              12/22/2021
           Mexico            SWD

1482       New      Carlsbad SALT FLAT CC      313H           6/4/2021
           Mexico            20-29 FEDERAL
                             COM

1483       New      Carlsbad SALT FLAT CC      314H           6/4/2021
           Mexico            20-29 FEDERAL
                             COM

1484       New      Carlsbad HOT POTATO 26-    232H           10/21/2021
           Mexico            23 FED

1485       New      Carlsbad HOT POTATO 26-    234H           10/21/2021
           Mexico            23 FED

1486       New      Carlsbad HOT POTATO 26-    235H           10/21/2021
           Mexico            23 FED

1487       New      Carlsbad HOT POTATO 26-    231H           10/21/2021
           Mexico            23 FED

1488       New      Carlsbad HOT POTATO 26-    233H           10/21/2021
           Mexico            23 FED

1489       New      Carlsbad HOT POTATO 26-    236H           10/21/2021
           Mexico            23 FED

1490       New      Carlsbad TATER TOT 2-35    712H           9/27/2021
           Mexico            STATE FED COM

1491       New      Carlsbad TATER TOT 2-35    624H           9/27/2021
           Mexico            STATE FED COM




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1492       New      Carlsbad TATER TOT 2-35    711H           9/27/2021
           Mexico            STATE FED COM

1493       New      Carlsbad TATER TOT 2-35    622H           9/27/2021
           Mexico            STATE FED COM

1494       New      Carlsbad TATER TOT 2-35    334H           10/22/2021
           Mexico            STATE FED COM

1495       New      Carlsbad TATER TOT 2-35    332H           9/27/2021
           Mexico            STATE FED COM

1496       New      Carlsbad TATER TOT 2-35    621H           9/27/2021
           Mexico            STATE FED COM

1497       New      Carlsbad TATER TOT 2-35    331H           9/27/2021
           Mexico            STATE FED COM

1498       New      Carlsbad TATER TOT 2-35    235H           9/27/2021
           Mexico            STATE FED COM

1499       New      Carlsbad TATER TOT 2-35    232H           9/27/2021
           Mexico            STATE FED COM

1500       New      Carlsbad TATER TOT 2-35    231H           9/27/2021
           Mexico            STATE FED COM

1501       New      Carlsbad TATER TOT 2-35    233H           9/27/2021
           Mexico            STATE FED COM

1502       New      Carlsbad TATER TOT 2-35    234H           9/27/2021
           Mexico            STATE FED COM

1503       New      Carlsbad TATER TOT 2-35    713H           9/27/2021
           Mexico            STATE FED COM

1504       New      Carlsbad                   1H             5/10/2021
           Mexico
1505       New      Carlsbad EASY COMPANY      1H             5/10/2021
           Mexico            36 35 W0PO FED
                             CO




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1506       New      Carlsbad EASY COMPANY      1H             5/10/2021
           Mexico            36 35 W0IJ FED
                             CO

1507       New      Carlsbad EASY COMPANY      1H             12/2/2021
           Mexico            36/35 B3AB FED
                             CO

1508       New      Carlsbad EASY COMPANY      1H             12/2/2021
           Mexico            36/35 W0HG FED
                             COM

1509       New      Carlsbad EASY COMPANY      1H             12/2/2021
           Mexico            36/35 W0AB FED
                             CO

1510       New      Carlsbad OCHOA 8703        3H             4/16/2021
           Mexico            FEDERAL COM

1511       New      Carlsbad OCHOA 8703        1H             4/16/2021
           Mexico            FEDERAL COM

1512       New      Carlsbad OCHOA 8703        4H             4/16/2021
           Mexico            FEDERAL COM

1513       New      Carlsbad OCHOA 8703        2H             4/16/2021
           Mexico            FEDERAL COM

1514       New      Carlsbad OCHOA 8703        5H             11/12/2021
           Mexico            FEDERAL COM

1515       New      Carlsbad OCHOA 8703        6H             11/12/2021
           Mexico            FEDERAL COM

1516       New      Carlsbad OCHOA 8703        7H             11/12/2021
           Mexico            FEDERAL COM

1517       New      Carlsbad OCHOA 8703        8H             12/10/2021
           Mexico            FEDERAL COM

1518       New      Carlsbad LOVE SHACK        111H           2/20/2021
           Mexico            FED COM




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1519       New      Carlsbad COLOSSUS 18-19    2H             9/7/2021
           Mexico            TB FED COM

1520       New      Carlsbad COLOSSUS 18-19    3H             9/7/2021
           Mexico            TB FED COM

1521       New      Carlsbad COLOSSUS 18-19    1H             9/7/2021
           Mexico            WA FED COM

1522       New      Carlsbad COLOSSUS 18-19    4H             9/7/2021
           Mexico            WA FED COM

1523       New      Carlsbad RIVER RANCH       514H           5/26/2021
           Mexico            FED COM

1524       New      Carlsbad QUAIL RIDGE 31-   302H           1/24/2022
           Mexico            6 FED COM

1525       New      Carlsbad QUAIL RIDGE 31-   502H           1/24/2022
           Mexico            6 FED COM

1526       New      Carlsbad QUAIL RIDGE 31-   602H           5/5/2022
           Mexico            6 FED COM

1527       New      Carlsbad FORTY NINER       112H           3/24/2022
           Mexico            RIDGE UNIT

1528       New      Carlsbad FORTY NINER       111H           3/24/2022
           Mexico            RIDGE UNIT

1529       New      Carlsbad FORTY NINER       123H           3/24/2022
           Mexico            RIDGE UNIT

1530       New      Carlsbad FORTY NINER       151H           3/24/2022
           Mexico            RIDGE UNIT

1531       New      Carlsbad FORTY NINER       132H           3/24/2022
           Mexico            RIDGE UNIT

1532       New      Carlsbad FORTY NINER       122H           3/24/2022
           Mexico            RIDGE UNIT

1533       New      Carlsbad FORTY NINER       126H           3/24/2022
           Mexico            RIDGE UNIT




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1534       New      Carlsbad FORTY NINER       131H           3/24/2022
           Mexico            RIDGE UNIT

1535       New      Carlsbad FNRU FEDERAL      15H            6/1/2022
           Mexico            COM 22 23 III


1536       New      Carlsbad FULLY LOADED      232H           3/23/2021
           Mexico            12-13 FED COM

1537       New      Carlsbad FULLY LOADED      231H           3/23/2021
           Mexico            12-13 FED COM

1538       New      Carlsbad FULLY LOADED      233H           3/23/2021
           Mexico            12-13 FED COM

1539       New      Carlsbad FULLY LOADED      233H           3/23/2021
           Mexico            12-1 FED COM

1540       New      Carlsbad FULLY LOADED      232H           3/23/2021
           Mexico            12-1 FED COM

1541       New      Carlsbad FULLY LOADED      231H           3/23/2021
           Mexico            12-1 FED COM

1542       New      Carlsbad JAMES RANCH       115H           9/21/2021
           Mexico            UNIT DI 11
                             EKALAKA

1543       New      Carlsbad PAPAS FRITAS      232H           10/22/2021
           Mexico            27-22 FED COM

1544       New      Carlsbad PAPAS FRITAS      231H           10/22/2021
           Mexico            27-22 FED COM

1545       New      Carlsbad PAPAS FRITAS      236H           10/22/2021
           Mexico            27-22 FED COM

1546       New      Carlsbad PAPAS FRITAS      235H           10/22/2021
           Mexico            27-22 FED COM

1547       New      Carlsbad PAPAS FRITAS      233H           10/22/2021
           Mexico            27-22 FED COM




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1548       New      Carlsbad PAPAS FRITAS      234H           8/31/2022
           Mexico            27-22 FED COM

1549       New      Carlsbad FNR FEDERAL       9H             4/16/2021
           Mexico            UNIT

1550       New      Carlsbad RED HILLS WEST    3H             7/19/2021
           Mexico            22 W1CN FED
                             COM

1551       New      Carlsbad RED HILLS WEST    2H             7/19/2021
           Mexico            22 W1CN FED
                             COM

1552       New      Carlsbad KEG SHELL         703H           4/22/2021
           Mexico            FEDERAL COM

1553       New      Carlsbad KEG SHELL         702H           4/22/2021
           Mexico            FEDERAL COM

1554       New      Carlsbad KEG SHELL         701H           4/22/2021
           Mexico            FEDERAL COM

1555       New      Carlsbad KEG SHELL         704H           4/22/2021
           Mexico            FEDERAL COM

1556       New      Carlsbad KEG SHELL         705H           4/22/2021
           Mexico            FEDERAL COM

1557       New      Carlsbad KEG SHELL         706H           4/22/2021
           Mexico            FEDERAL COM

1558       New      Carlsbad CICADA UNIT       41H            5/26/2021
           Mexico
1559       New      Carlsbad CICADA UNIT       43H            5/26/2021
           Mexico
1560       New      Carlsbad TITO 26 23 FED    1H             6/22/2022
           Mexico            STATE COM 25

1561       New      Carlsbad TITO 26 23 FED    2H             6/22/2022
           Mexico            STATE COM 25

1562       New      Carlsbad TITO 26 23 FED    3H             6/22/2022
           Mexico            STATE COM 25




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1563       New      Carlsbad TITO 26 23 FED    4H             6/22/2022
           Mexico            STATE COM 25

1564       New      Carlsbad DELAWARE          2H             6/18/2021
           Mexico            RANCH 11 14
                             W1BO FED

1565       New      Carlsbad DELAWARE          1H             6/18/2021
           Mexico            RANCH 11 14
                             W1BO FED

1566       New      Carlsbad DELAWARE          1H             6/18/2021
           Mexico            RANCH 11 14
                             W1DM FED

1567       New      Carlsbad DELAWARE          1H             6/18/2021
           Mexico            RANCH 11 14
                             B2DM FED

1568       New      Carlsbad DELAWARE          2H             7/30/2021
           Mexico            RANCH 11/14
                             W1DMFEDCO


1569       New      Carlsbad ROCK RIDGE FED 15H               10/21/2021
           Mexico            COM WCA

1570       New      Carlsbad ROCK RIDGE FED 16H               10/21/2021
           Mexico            COM WCA

1571       New      Carlsbad ROCK RIDGE FED 12H               10/21/2021
           Mexico            COM BSS

1572       New      Carlsbad ROCK RIDGE FED 13H               10/21/2021
           Mexico            COM BSS

1573       New      Carlsbad ROCK RIDGE FED 14H               2/2/2022
           Mexico            COM BSS

1574       New      Carlsbad LACEY SWISS 1     723H           3/4/2022
           Mexico            FED COM

1575       New      Carlsbad LACEY SWISS 1     705H           4/19/2022
           Mexico            FED COM




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1576       New      Carlsbad LACEY SWISS 1     704H           4/19/2022
           Mexico            FED COM

1577       New      Carlsbad ANTERO 14 FED     501H           8/31/2022
           Mexico            COM
1578       New      Carlsbad ANTERO 14 FED     502H           8/31/2022
           Mexico            COM
1579       New      Carlsbad ANTERO 14 FED     503H           8/31/2022
           Mexico            COM
1580       New      Carlsbad ANTERO 14 FED     505H           8/31/2022
           Mexico            COM
1581       New      Carlsbad BURTON FLAT       621H           1/24/2022
           Mexico            26-28 FED STATE
                             COM

1582       New      Carlsbad BURTON FLAT       332H           1/24/2022
           Mexico            26-28 FED STATE
                             COM

1583       New      Carlsbad BURTON FLAT       622H           1/24/2022
           Mexico            26-28 FED STATE
                             COM

1584       New      Carlsbad BURTON FLAT       624H           1/24/2022
           Mexico            26-28 FED STATE
                             COM

1585       New      Carlsbad BURTON FLAT       623H           1/24/2022
           Mexico            26-28 FED STATE
                             COM

1586       New      Carlsbad BURTON FLAT       335H           1/24/2022
           Mexico            26-28 FED STATE
                             COM

1587       New      Carlsbad BURTON FLAT       336H           1/24/2022
           Mexico            26-28 FED STATE
                             COM

1588       New      Carlsbad BURTON FLAT       334H           1/24/2022
           Mexico            26-28 FED STATE
                             COM




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1589       New      Carlsbad BURTON FLAT       333H           1/24/2022
           Mexico            26-28 FED STATE
                             COM

1590       New      Carlsbad BURTON FLAT       331H           1/24/2022
           Mexico            26-28 FED STATE
                             COM

1591       New      Carlsbad PONY EXPRESS      501H           1/21/2021
           Mexico            FED COM

1592       New      Carlsbad PONY EXPRESS      601H           1/21/2021
           Mexico            FED COM

1593       New      Carlsbad PONY EXPRESS      301H           4/19/2021
           Mexico            FED COM

1594       New      Carlsbad PONY EXPRESS      701H           4/19/2021
           Mexico            FED COM

1595       New      Carlsbad PONY EXPRESS      302H           4/23/2021
           Mexico            FED COM

1596       New      Carlsbad PONY EXPRESS      401H           4/23/2021
           Mexico            FED COM

1597       New      Carlsbad PONY EXPRESS      705H           4/23/2021
           Mexico            FED COM

1598       New      Carlsbad AZORES            701H           4/22/2021
           Mexico            FEDERAL COM

1599       New      Carlsbad AZORES            702H           4/22/2021
           Mexico            FEDERAL COM

1600       New      Carlsbad BENGAL 29 FED     501H           6/18/2021
           Mexico            COM
1601       New      Carlsbad BENGAL 29 FED     701H           6/18/2021
           Mexico            COM
1602       New      Carlsbad JEFE 29 FED COM   501H           4/30/2021
           Mexico
1603       New      Carlsbad JEFE 29 FED COM   502H           4/30/2021
           Mexico
1604       New      Carlsbad JEFE 29 FED COM   504H           4/30/2021
           Mexico


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1605       New      Carlsbad JEFE 29 FED COM   505H           4/30/2021
           Mexico
1606       New      Carlsbad JEFE 29 FED COM   506H           4/30/2021
           Mexico
1607       New      Carlsbad JEFE 29 FED COM   506H           4/30/2021
           Mexico
1608       New      Carlsbad JEFE 29 FED COM   507H           4/30/2021
           Mexico
1609       New      Carlsbad JEFE 29 FED COM   507H           4/30/2021
           Mexico
1610       New      Carlsbad JEFE 29 FED COM   731H           4/30/2021
           Mexico
1611       New      Carlsbad JEFE 29 FED COM   732H           4/30/2021
           Mexico
1612       New      Carlsbad JEFE 29 FED COM   733H           4/30/2021
           Mexico
1613       New      Carlsbad JEFE 29 FED COM   704H           4/30/2021
           Mexico
1614       New      Carlsbad JEFE 29 FED COM   705H           4/30/2021
           Mexico
1615       New      Carlsbad JEFE 29 FED COM   706H           4/30/2021
           Mexico
1616       New      Carlsbad JEFE 29 FED COM   707H           4/30/2021
           Mexico
1617       New      Carlsbad JEFE 29 FED COM   709H           4/30/2021
           Mexico
1618       New      Carlsbad JEFE 29 FED COM   710H           4/30/2021
           Mexico
1619       New      Carlsbad JEFE 29 FED COM   711H           4/30/2021
           Mexico
1620       New      Carlsbad JEFE 29 FED COM   724H           4/30/2021
           Mexico
1621       New      Carlsbad JEFE 29 FED COM   725H           4/30/2021
           Mexico
1622       New      Carlsbad JEFE 29 FED COM   726H           4/30/2021
           Mexico
1623       New      Carlsbad JEFE 29 FED COM   727H           4/30/2021
           Mexico
1624       New      Carlsbad JEFE 29 FED COM   728H           4/30/2021
           Mexico
1625       New      Carlsbad JEFE 29 FED COM   503H           4/30/2021
           Mexico
1626       New      Carlsbad JEFE 29 FED COM   508H           4/30/2021
           Mexico



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1627       New      Carlsbad HARRIER           701H           3/9/2022
           Mexico            FEDERAL COM

1628       New      Carlsbad HARRIER           702H           3/9/2022
           Mexico            FEDERAL COM

1629       New      Carlsbad HARRIER           703H           3/9/2022
           Mexico            FEDERAL COM

1630       New      Carlsbad HARRIER           704H           3/9/2022
           Mexico            FEDERAL COM

1631       New      Carlsbad HARRIER           801H           3/9/2022
           Mexico            FEDERAL COM

1632       New      Carlsbad HARRIER           802H           3/9/2022
           Mexico            FEDERAL COM

1633       New      Carlsbad PONY EXPRESS      303H           4/23/2021
           Mexico            FED COM

1634       New      Carlsbad PONY EXPRESS      402H           4/23/2021
           Mexico            FED COM

1635       New      Carlsbad PONY EXPRESS      502H           4/23/2021
           Mexico            FED COM

1636       New      Carlsbad PONY EXPRESS      503H           4/23/2021
           Mexico            FED COM

1637       New      Carlsbad PONY EXPRESS      602H           4/23/2021
           Mexico            FED COM

1638       New      Carlsbad PONY EXPRESS      702H           4/23/2021
           Mexico            FED COM

1639       New      Carlsbad PONY EXPRESS      706H           4/23/2021
           Mexico            FED COM

1640       New      Carlsbad PONY EXPRESS      304H           6/3/2021
           Mexico            FED COM

1641       New      Carlsbad CHOLULA 12/11     1H             5/3/2021
           Mexico            W0PO FED COM




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1642       New      Carlsbad CHOLULA 12/11       2H           5/3/2021
           Mexico            W0IJ FED COM

1643       New      Carlsbad BISON WALLOW        2H           1/25/2022
           Mexico            34 W10B FED

1644       New      Carlsbad BISON WALLOW        1H           1/25/2022
           Mexico            34 W10B FED

1645       New      Carlsbad Fuller 14-23 W1IP   2H           2/18/2022
           Mexico            Fed
1646       New      Carlsbad FULLER 14-11        1H           2/18/2022
           Mexico            W1HA FED COM

1647       New      Carlsbad FULLER 14/11        3H           2/18/2022
           Mexico            W1FC FED COM

1648       New      Carlsbad FULLER 14-11        1H           2/18/2022
           Mexico            W1GB FED COM

1649       New      Carlsbad Fuller 14-11 W1GB   2H           2/18/2022
           Mexico            Fed Com

1650       New      Carlsbad FULLER 14-23        3H           2/18/2022
           Mexico            W1KN FED COM

1651       New      Carlsbad FULLER 14-23        2H           2/18/2022
           Mexico            W1JO FED

1652       New      Carlsbad Fuller 14-23 W1JO   1H           2/18/2022
           Mexico            Fed
1653       New      Carlsbad FULLER 14/11        2H           7/22/2022
           Mexico            W1FC FED COM

1654       New      Carlsbad FULLER 14/23        1H           7/22/2022
           Mexico            W1LM FED COM

1655       New      Carlsbad FULLER 14/23        2H           7/22/2022
           Mexico            W1LM FED COM

1656       New      Carlsbad FULLER 14/23        1H           7/22/2022
           Mexico            W1KN FED




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1657       New      Carlsbad BUFFALO TRACE     1H             3/19/2021
           Mexico            1/36 W1NC FED
                             CO

1658       New      Carlsbad BUFFALO TRACE     1H             4/8/2021
           Mexico            1/36 H3MD FED
                             COM

1659       New      Carlsbad RUTHLESS 11       750H           4/23/2021
           Mexico            FED COM
1660       New      Carlsbad MERCILESS 13      744H           4/23/2021
           Mexico            FED COM
1661       New      Carlsbad MERCILESS 13      744H           4/23/2021
           Mexico            FED COM
1662       New      Carlsbad MERCILESS 13      702H           4/23/2021
           Mexico            FED COM
1663       New      Carlsbad MERCILESS 13      751H           4/23/2021
           Mexico            FED COM
1664       New      Carlsbad MERCILESS 13      720H           4/23/2021
           Mexico            FED COM
1665       New      Carlsbad MERCILESS 13      704H           4/23/2021
           Mexico            FED COM
1666       New      Carlsbad FEARLESS 26       701H           3/17/2021
           Mexico            FED COM
1667       New      Carlsbad FEARLESS 26       705H           3/17/2021
           Mexico            FED COM
1668       New      Carlsbad FEARLESS 26       705H           3/17/2021
           Mexico            FED COM
1669       New      Carlsbad FEARLESS 26       722H           4/16/2021
           Mexico            FED COM
1670       New      Carlsbad FEARLESS 23       710H           11/26/2021
           Mexico            FED COM
1671       New      Carlsbad FEARLESS 23       727H           11/26/2021
           Mexico            FED COM
1672       New      Carlsbad FEARLESS 23       708H           12/10/2021
           Mexico            FED COM
1673       New      Carlsbad FEARLESS 23       726H           12/10/2021
           Mexico            FED COM
1674       New      Carlsbad FEARLESS 23       728H           12/10/2021
           Mexico            FED COM
1675       New      Carlsbad FEARLESS 23       706H           12/22/2021
           Mexico            FED COM
1676       New      Carlsbad FEARLESS 23       707H           12/22/2021
           Mexico            FED COM



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1677       New      Carlsbad FEARLESS 23       709H           12/22/2021
           Mexico            FED COM
1678       New      Carlsbad FEARLESS 23       725H           12/22/2021
           Mexico            FED COM
1679       New      Carlsbad AUDACIOUS 19      501Y           5/10/2021
           Mexico            FED
1680       New      Carlsbad AUDACIOUS 19      502H           5/10/2021
           Mexico            FED
1681       New      Carlsbad AUDACIOUS 19      503H           5/10/2021
           Mexico            FED
1682       New      Carlsbad AUDACIOUS 19      505H           5/10/2021
           Mexico            FED
1683       New      Carlsbad AUDACIOUS 19      506H           5/12/2021
           Mexico            FED COM
1684       New      Carlsbad AUDACIOUS 19      507H           5/10/2021
           Mexico            FED COM
1685       New      Carlsbad AUDACIOUS 19      508H           5/10/2021
           Mexico            FED COM
1686       New      Carlsbad AUDACIOUS 19      509H           5/10/2021
           Mexico            FED COM
1687       New      Carlsbad AUDACIOUS 19      510H           5/10/2021
           Mexico            FED COM
1688       New      Carlsbad AUDACIOUS 19      746H           5/10/2021
           Mexico            FED COM
1689       New      Carlsbad AUDACIOUS 19      504H           5/10/2021
           Mexico            FED
1690       New      Carlsbad PHILLY 31 FED     201H           5/28/2021
           Mexico            COM
1691       New      Carlsbad PHILLY 31 FED     202H           5/28/2021
           Mexico            COM
1692       New      Carlsbad PHILLY 31 FED     203H           5/28/2021
           Mexico            COM
1693       New      Carlsbad PHILLY 31 FED     204H           5/28/2021
           Mexico            COM
1694       New      Carlsbad PHILLY 31 FED     205H           5/28/2021
           Mexico            COM
1695       New      Carlsbad PHILLY 31 FED     741H           5/28/2021
           Mexico            COM
1696       New      Carlsbad PHILLY 31 FED     742H           5/28/2021
           Mexico            COM
1697       New      Carlsbad PHILLY 31 FED     743H           5/28/2021
           Mexico            COM
1698       New      Carlsbad PHILLY 31 FED     744H           5/28/2021
           Mexico            COM



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1699       New      Carlsbad PHILLY 31 FED     745H           5/28/2021
           Mexico            COM
1700       New      Carlsbad PHILLY 31 FED     746H           5/28/2021
           Mexico            COM
1701       New      Carlsbad PHILLY 31 FED     747H           5/28/2021
           Mexico            COM
1702       New      Carlsbad LONESOME          514H           11/2/2021
           Mexico            DOVE FED COM

1703       New      Carlsbad LONESOME          413H           11/2/2021
           Mexico            DOVE FED COM

1704       New      Carlsbad LONESOME          424H           11/2/2021
           Mexico            DOVE FED COM

1705       New      Carlsbad LONESOME          204H           11/2/2021
           Mexico            DOVE FED COM

1706       New      Carlsbad CASTLE BLACK      1H             3/17/2022
           Mexico            6/1 B2KL FED
                             COM

1707       New      Carlsbad CASTLE BLACK      1H             6/23/2022
           Mexico            6/1 B2NM FED
                             COM

1708       New      Carlsbad CASSIUS FED       113H           1/27/2022
           Mexico            COM 1510

1709       New      Carlsbad CASSIUS FED       114H           1/27/2022
           Mexico            COM 1510

1710       New      Carlsbad CASSIUS FED       123H           1/27/2022
           Mexico            COM 1510

1711       New      Carlsbad CASSIUS FED       124H           1/27/2022
           Mexico            COM 1510

1712       New      Carlsbad CASSIUS FED       133H           1/27/2022
           Mexico            COM 1510

1713       New      Carlsbad CASSIUS FED       233H           1/27/2022
           Mexico            COM 1510




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1714       New      Carlsbad SATURNINUS        131H           2/22/2022
           Mexico            FED COM 1510

1715       New      Carlsbad SATURNINUS        132H           2/22/2022
           Mexico            FED COM 1510

1716       New      Carlsbad SATURNINUS        211H           2/22/2022
           Mexico            FED COM 1510

1717       New      Carlsbad SATURNINUS        212H           2/22/2022
           Mexico            FED COM 1510

1718       New      Carlsbad SATURNINUS        222H           2/22/2022
           Mexico            FED COM 1510

1719       New      Carlsbad SATURNINUS        231H           2/22/2022
           Mexico            FED COM 1510

1720       New      Carlsbad SATURNINUS        232H           2/22/2022
           Mexico            FED COM 1510

1721       New      Carlsbad SATURNINUS        235H           2/22/2022
           Mexico            FED COM 1510

1722       New      Carlsbad SATURNINUS        241H           2/22/2022
           Mexico            FED COM 1510

1723       New      Carlsbad SATURNINUS        242H           2/22/2022
           Mexico            FED COM 1510

1724       New      Carlsbad SATURNINUS        245H           2/22/2022
           Mexico            FED COM 1510

1725       New      Carlsbad CASSIUS FED       213H           3/9/2022
           Mexico            COM 1510

1726       New      Carlsbad CASSIUS FED       214H           3/9/2022
           Mexico            COM 1510

1727       New      Carlsbad CASSIUS FED       223H           3/9/2022
           Mexico            COM 1510

1728       New      Carlsbad CASSIUS FED       234H           3/9/2022
           Mexico            COM 1510




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1729       New      Carlsbad CASSIUS FED       236H           3/9/2022
           Mexico            COM 1510

1730       New      Carlsbad PRINCE 31 W0EH    3H             4/12/2021
           Mexico            FED COM

1731       New      Carlsbad PRINCE 31 W1EH    4H             4/12/2021
           Mexico            FED COM

1732       New      Carlsbad VORTEX            1              2/2/2022
           Mexico            FEDERAL SWD

1733       New      Carlsbad ATREIDES 8 WXY 4H                5/16/2022
           Mexico            FED COM

1734       New      Carlsbad ATREIDES 8 WXY 5H                5/16/2022
           Mexico            FED COM

1735       New      Carlsbad ALMOST EDDY       701H           4/23/2021
           Mexico            30 FED COM

1736       New      Carlsbad ALMOST EDDY       702H           4/23/2021
           Mexico            30 FED COM

1737       New      Carlsbad ALMOST EDDY       703H           4/23/2021
           Mexico            30 FED COM

1738       New      Carlsbad ALMOST EDDY       704H           4/23/2021
           Mexico            30 FED COM

1739       New      Carlsbad ALMOST EDDY       705H           4/23/2021
           Mexico            30 FED COM

1740       New      Carlsbad ALMOST EDDY       721H           4/23/2021
           Mexico            30 FED COM

1741       New      Carlsbad ALMOST EDDY       722H           4/23/2021
           Mexico            30 FED COM

1742       New      Carlsbad ALMOST EDDY       723H           4/23/2021
           Mexico            30 FED COM

1743       New      Carlsbad ALMOST EDDY       724H           4/23/2021
           Mexico            30 FED COM




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1744       New      Carlsbad ALMOST EDDY       501H           5/6/2021
           Mexico            30 FED COM

1745       New      Carlsbad ALMOST EDDY       582H           5/6/2021
           Mexico            30 FED COM

1746       New      Carlsbad ALMOST EDDY       583H           5/6/2021
           Mexico            30 FED COM

1747       New      Carlsbad ALMOST EDDY       504H           5/6/2021
           Mexico            30 FED COM

1748       New      Carlsbad ALMOST EDDY       505H           5/6/2021
           Mexico            30 FED COM

1749       New      Carlsbad ALMOST EDDY       506H           5/6/2021
           Mexico            30 FED COM

1750       New      Carlsbad ALMOST EDDY       507H           5/6/2021
           Mexico            30 FED COM

1751       New      Carlsbad ALMOST EDDY       508H           5/6/2021
           Mexico            30 FED COM

1752       New      Carlsbad ALMOST EDDY       509H           5/6/2021
           Mexico            30 FED COM

1753       New      Carlsbad ALMOST EDDY       706H           11/10/2021
           Mexico            30 FED COM

1754       New      Carlsbad ALMOST EDDY       707H           11/10/2021
           Mexico            30 FED COM

1755       New      Carlsbad ALMOST EDDY       708H           11/10/2021
           Mexico            30 FED COM

1756       New      Carlsbad ALMOST EDDY       725H           11/10/2021
           Mexico            30 FED COM

1757       New      Carlsbad ALMOST EDDY       726H           11/10/2021
           Mexico            30 FED COM

1758       New      Carlsbad ALMOST EDDY       727H           11/10/2021
           Mexico            30 FED COM




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1759       New      Carlsbad CHICKEN           301H           3/10/2022
           Mexico            NOODLE FED
                             COM
1760       New      Carlsbad CHICKEN           401H           3/10/2022
           Mexico            NOODLE FED
                             COM
1761       New      Carlsbad CHICKEN           402H           4/12/2022
           Mexico            NOODLE FED
                             COM
1762       New      Carlsbad JEFF HART FED     111H           4/16/2021
           Mexico            COM
1763       New      Carlsbad JEFF HART FED     111H           4/16/2021
           Mexico            COM
1764       New      Carlsbad JEFF HART FED     112H           4/16/2021
           Mexico            COM
1765       New      Carlsbad JEFF HART FED     113H           4/16/2021
           Mexico            COM
1766       New      Carlsbad JEFF HART FED     121H           4/16/2021
           Mexico            COM
1767       New      Carlsbad JEFF HART FED     121H           4/16/2021
           Mexico            COM
1768       New      Carlsbad JEFF HART FED     122H           4/16/2021
           Mexico            COM
1769       New      Carlsbad JEFF HART FED     123H           4/16/2021
           Mexico            COM
1770       New      Carlsbad JEFF HART FED     132H           4/16/2021
           Mexico            COM
1771       New      Carlsbad JEFF HART FED     133H           4/16/2021
           Mexico            COM
1772       New      Carlsbad GREEN             601H           8/13/2021
           Mexico            EYESHADE
                             FEDERAL COM

1773       New      Carlsbad GREEN             602H           8/13/2021
           Mexico            EYESHADE
                             FEDERAL COM

1774       New      Carlsbad GREEN             603H           8/13/2021
           Mexico            EYESHADE
                             FEDERAL COM

1775       New      Carlsbad GREEN             702H           8/13/2021
           Mexico            EYESHADE
                             FEDERAL COM




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1776       New      Carlsbad GREEN             704H           8/13/2021
           Mexico            EYESHADE
                             FEDERAL COM

1777       New      Carlsbad GREEN             604H           8/13/2021
           Mexico            EYESHADE
                             FEDERAL COM

1778       New      Carlsbad GREEN             701H           8/13/2021
           Mexico            EYESHADE
                             FEDERAL COM

1779       New      Carlsbad GREEN             703H           8/13/2021
           Mexico            EYESHADE
                             FEDERAL COM

1780       New      Carlsbad BANDANA           601H           8/13/2021
           Mexico            FEDERAL COM

1781       New      Carlsbad BANDANA           602H           2/11/2022
           Mexico            FEDERAL COM

1782       New      Carlsbad BANDANA           603H           8/13/2021
           Mexico            FEDERAL COM

1783       New      Carlsbad BANDANA           604H           2/11/2022
           Mexico            FEDERAL COM

1784       New      Carlsbad BANDANA           702H           2/11/2022
           Mexico            FEDERAL COM

1785       New      Carlsbad BANDANA           703H           2/11/2022
           Mexico            FEDERAL COM

1786       New      Carlsbad BANDANA           704H           2/11/2022
           Mexico            FEDERAL COM

1787       New      Carlsbad BANDANA           701H           3/4/2022
           Mexico            FEDERAL COM

1788       New      Carlsbad SPUNKY 2 FED      583H           4/19/2022
           Mexico            COM
1789       New      Carlsbad SPUNKY 2 FED      502H           4/19/2022
           Mexico            COM




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1790       New      Carlsbad SPUNKY 2 FED      582H           4/19/2022
           Mexico            COM
1791       New      Carlsbad SPUNKY 2 FED      581H           4/19/2022
           Mexico            COM
1792       New      Carlsbad SPUNKY 2 FED      503H           4/19/2022
           Mexico            COM
1793       New      Carlsbad SPUNKY 2 FED      302H           4/19/2022
           Mexico            COM
1794       New      Carlsbad SPUNKY 2 FED      301H           4/19/2022
           Mexico            COM
1795       New      Carlsbad SPUNKY 2 FED      303H           4/19/2022
           Mexico            COM
1796       New      Carlsbad SPUNKY 2 FED      304H           4/19/2022
           Mexico            COM
1797       New      Carlsbad SPUNKY 2 FED      504H           4/19/2022
           Mexico            COM
1798       New      Carlsbad SPUNKY 2 FED      505H           4/19/2022
           Mexico            COM
1799       New      Carlsbad SPUNKY 2 FED      584H           4/19/2022
           Mexico            COM
1800       New      Carlsbad SPUNKY 2 FED      585H           4/19/2022
           Mexico            COM
1801       New      Carlsbad SPUNKY 2 FED      702H           3/9/2022
           Mexico            COM
1802       New      Carlsbad SPUNKY 2 FED      704H           3/9/2022
           Mexico            COM
1803       New      Carlsbad SPUNKY 2 FED      706H           3/9/2022
           Mexico            COM
1804       New      Carlsbad SPUNKY 2 FED      708H           3/9/2022
           Mexico            COM
1805       New      Carlsbad SPUNKY 2 FED      710H           3/9/2022
           Mexico            COM
1806       New      Carlsbad SPUNKY 2 FED      712H           3/9/2022
           Mexico            COM
1807       New      Carlsbad SPUNKY 2 FED      721H           3/9/2022
           Mexico            COM
1808       New      Carlsbad SPUNKY 2 FED      723H           3/9/2022
           Mexico            COM
1809       New      Carlsbad SPUNKY 2 FED      725H           3/9/2022
           Mexico            COM
1810       New      Carlsbad SPUNKY 2 FED      727H           3/9/2022
           Mexico            COM
1811       New      Carlsbad SPUNKY 2 FED      729H           3/9/2022
           Mexico            COM



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1812       New      Carlsbad SPUNKY 2 FED      761H           3/9/2022
           Mexico            COM
1813       New      Carlsbad SPUNKY 2 FED      762H           3/9/2022
           Mexico            COM
1814       New      Carlsbad SPUNKY 2 FED      764H           3/9/2022
           Mexico            COM
1815       New      Carlsbad SPUNKY 2 FED      765H           3/9/2022
           Mexico            COM
1816       New      Carlsbad SPUNKY 2 FED      771H           3/9/2022
           Mexico            COM
1817       New      Carlsbad SPUNKY 2 FED      772H           3/9/2022
           Mexico            COM
1818       New      Carlsbad SPUNKY 2 FED      773H           3/9/2022
           Mexico            COM
1819       New      Carlsbad SPUNKY 2 FED      774H           3/9/2022
           Mexico            COM
1820       New      Carlsbad GUTSY BUN 4       581H           3/4/2022
           Mexico            FED COM
1821       New      Carlsbad GUTSY BUN 4       708H           3/4/2022
           Mexico            FED COM
1822       New      Carlsbad GUTSY BUN 4       710H           3/4/2022
           Mexico            FED COM
1823       New      Carlsbad GUTSY BUN 4       723H           3/4/2022
           Mexico            FED COM
1824       New      Carlsbad GUTSY BUN 4       727H           3/4/2022
           Mexico            FED COM
1825       New      Carlsbad GUTSY BUN 4       771H           3/4/2022
           Mexico            FED COM
1826       New      Carlsbad GUTSY BUN 4       774H           3/4/2022
           Mexico            FED COM
1827       New      Carlsbad EIDER 23          704H           4/22/2021
           Mexico            FEDERAL COM

1828       New      Carlsbad EIDER 23          705H           4/22/2021
           Mexico            FEDERAL COM

1829       New      Carlsbad SERPENTINE 2-35   20H            3/28/2022
           Mexico            STATE FED COM


1830       New      Carlsbad SERPENTINE 2-26   25H            3/28/2022
           Mexico            STATE FED COM




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1831       New      Carlsbad SERPENTINE 2-35   26H            3/28/2022
           Mexico            STATE FED COM


1832       New      Carlsbad SERPENTINE 2-35   27H            4/13/2022
           Mexico            STATE FED COM


1833       New      Carlsbad SERPENTINE 2-35   28H            3/28/2022
           Mexico            STATE FED COM


1834       New      Carlsbad SERPENTINE 2-35   29H            3/28/2022
           Mexico            STATE FED COM


1835       New      Carlsbad SERPENTINE 2-26   30H            3/28/2022
           Mexico            STATE FED COM


1836       New      Carlsbad SERPENTINE 2-35   31H            3/28/2022
           Mexico            STATE FED COM


1837       New      Carlsbad SOUTHERN          1H             4/13/2022
           Mexico            HILLS 32-29
                             FEDERAL COM

1838       New      Carlsbad SOUTHERN          3H             4/13/2022
           Mexico            HILLS 32-29
                             FEDERAL COM

1839       New      Carlsbad SOUTHERN          2H             4/13/2022
           Mexico            HILLS 32-29
                             FEDERAL COM

1840       New      Carlsbad SOUTHERN          4H             4/13/2022
           Mexico            HILLS 32-29
                             FEDERAL COM

1841       New      Carlsbad FNR FEDERAL       7H             4/16/2021
           Mexico            UNIT




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1842       New      Carlsbad FNR FEDERAL       8H             4/16/2021
           Mexico            UNIT

1843       New      Carlsbad FNR FEDERAL       10H            6/17/2021
           Mexico            UNIT

1844       New      Carlsbad FNR FEDERAL       15H            1/18/2022
           Mexico            UNIT

1845       New      Carlsbad FNR FEDERAL       13H            1/18/2022
           Mexico            UNIT

1846       New      Carlsbad FNR FED COM       2H             2/18/2022
           Mexico            17/20 D3JO

1847       New      Carlsbad FNR FEDERAL       14H            3/2/2022
           Mexico            UNIT

1848       New      Carlsbad FNR FEDERAL       14H            3/2/2022
           Mexico            UNIT

1849       New      Carlsbad FNR FEDERAL       14H            3/2/2022
           Mexico            UNIT

1850       New      Carlsbad FNR FEDERAL       14H            3/2/2022
           Mexico            UNIT

1851       New      Carlsbad FNR FED UNIT      17H            3/25/2022
           Mexico
1852       New      Carlsbad FNR FED UNIT      19H            4/8/2022
           Mexico
1853       New      Carlsbad FNR FED UNIT      20H            4/8/2022
           Mexico
1854       New      Carlsbad FNR FED UNIT      18H            4/8/2022
           Mexico
1855       New      Carlsbad FNR FED UNIT      16H            3/24/2022
           Mexico
1856       New      Carlsbad FNR FEDERAL       21H            4/26/2022
           Mexico            UNIT

1857       New      Carlsbad OWL DRAW 27/22    2H             3/9/2022
           Mexico            W1NC FED COM




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1858       New      Carlsbad ROADRUNNER        7H             7/23/2021
           Mexico            FEDERAL 25 PAL


1859       New      Carlsbad ROADRUNNER     5H                6/1/2022
           Mexico            FEDERAL COM 23
                             ILL

1860       New      Carlsbad ROADRUNNER     6H                6/1/2022
           Mexico            FEDERAL COM 23
                             PML


1861       New      Carlsbad ROADRUNNER        8H             6/2/2022
           Mexico            FEDERAL 25 OBL


1862       New      Carlsbad DRIVER 14 FED     503H           4/23/2021
           Mexico            COM
1863       New      Carlsbad DRIVER 14 FED     201H           4/30/2021
           Mexico            COM
1864       New      Carlsbad DRIVER 14 FED     202H           4/30/2021
           Mexico            COM
1865       New      Carlsbad DRIVER 14 FED     203H           4/30/2021
           Mexico            COM
1866       New      Carlsbad SEAWOLF 12-1      4H             5/26/2021
           Mexico            FED
1867       New      Carlsbad SEAWOLF 12-1      5H             5/26/2021
           Mexico            FED
1868       New      Carlsbad SEAWOLF 12-1      13H            5/26/2021
           Mexico            FED
1869       New      Carlsbad SEAWOLF 12-1      16H            5/26/2021
           Mexico            FED
1870       New      Carlsbad SEAWOLF 12-1      17H            5/26/2021
           Mexico            FED
1871       New      Carlsbad SEAWOLF 12-1      20H            5/26/2021
           Mexico            FED
1872       New      Carlsbad SEAWOLF 12-1      15H            5/26/2021
           Mexico            FED
1873       New      Carlsbad SEAWOLF 12-1      11H            7/19/2021
           Mexico            FED
1874       New      Carlsbad RED STAG 5/32     1H             6/23/2022
           Mexico            B2OB FED COM




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1875       New      Carlsbad RED STAG 5/32     1H             6/23/2022
           Mexico            B2PA FED COM

1876       New      Carlsbad RED STAG 5/32     1H             6/23/2022
           Mexico            B2PA FED COM

1877       New      Carlsbad RED STAG 5/32     1H             6/23/2022
           Mexico            B3OB FED COM

1878       New      Carlsbad RED STAG 5/32     1H             6/23/2022
           Mexico            B3PA FED COM

1879       New      Carlsbad SIOUX 25-36       14H            9/30/2021
           Mexico            STATE FED COM

1880       New      Carlsbad SIOUX 25-36       16H            9/30/2021
           Mexico            STATE FED COM

1881       New      Carlsbad SIOUX 25-36       17H            12/2/2021
           Mexico            STATE FED COM

1882       New      Carlsbad SIOUX 25-36       20H            9/21/2021
           Mexico            STATE FED COM

1883       New      Carlsbad SIOUX 25-36       21H            9/21/2021
           Mexico            STATE FED COM

1884       New      Carlsbad SIOUX 25-36       22H            9/21/2021
           Mexico            STATE FED COM

1885       New      Carlsbad SIOUX 25-36       23H            4/19/2022
           Mexico            STATE FED COM

1886       New      Carlsbad SIOUX 25-36       15H            12/2/2021
           Mexico            STATE FED COM

1887       New      Carlsbad RIVER RANCH       123H           2/22/2021
           Mexico            FED COM

1888       New      Carlsbad RIVER RANCH       324H           2/22/2021
           Mexico            FED COM

1889       New      Carlsbad RIVER RANCH       203H           5/26/2021
           Mexico            FED COM




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1890       New      Carlsbad RIVER RANCH       403H           5/26/2021
           Mexico            FED COM

1891       New      Carlsbad RIVER RANCH       404H           5/26/2021
           Mexico            FED COM

1892       New      Carlsbad ROY BATTY 33      3H             11/12/2021
           Mexico            WA FED COM

1893       New      Carlsbad ROY BATTY 33      1H             9/30/2021
           Mexico            WXY FED COM

1894       New      Carlsbad ROY BATTY 33      5H             9/30/2021
           Mexico            WXY FED COM

1895       New      Carlsbad ADMIRAL           701H           7/20/2021
           Mexico            FEDERAL COM

1896       New      Carlsbad ADMIRAL           803H           7/20/2021
           Mexico            FEDERAL COM

1897       New      Carlsbad ADMIRAL           802H           7/20/2021
           Mexico            FEDERAL COM

1898       New      Carlsbad ADMIRAL           801H           7/20/2021
           Mexico            FEDERAL COM

1899       New      Carlsbad BIG PAPI          701H           4/20/2022
           Mexico            FEDERAL COM

1900       New      Carlsbad BIG PAPI          702H           4/20/2022
           Mexico            FEDERAL COM

1901       New      Carlsbad BIG PAPI          703H           4/20/2022
           Mexico            FEDERAL COM

1902       New      Carlsbad BIG PAPI          704H           4/20/2022
           Mexico            FEDERAL COM

1903       New      Carlsbad BIG PAPI          705H           4/20/2022
           Mexico            FEDERAL COM

1904       New      Carlsbad BIG PAPI          706H           4/20/2022
           Mexico            FEDERAL COM




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1905       New      Carlsbad JENNINGS 27       2H             5/5/2021
           Mexico            B2AP FED COM

1906       New      Carlsbad JENNINGS 27       1H             7/1/2021
           Mexico            B2BO FED COM

1907       New      Carlsbad JENNINGS 27       2H             6/18/2021
           Mexico            B2BO FED COM

1908       New      Carlsbad JENNINGS 27       1H             5/5/2021
           Mexico            B2AP FED COM

1909       New      Carlsbad CICADA UNIT       56H            4/14/2022
           Mexico
1910       New      Carlsbad CICADA UNIT       57H            4/14/2022
           Mexico
1911       New      Carlsbad CICADA UNIT       58H            4/14/2022
           Mexico
1912       New      Carlsbad CICADA UNIT       59H            4/14/2022
           Mexico
1913       New      Carlsbad MACALLAN 12 1     2H             6/3/2022
           Mexico            FED ST COM 23

1914       New      Carlsbad WILD TURKEY 12    002H           6/3/2022
           Mexico            1 FED COM 24


1915       New      Carlsbad WILD TURKEY 12    001H           6/3/2022
           Mexico            1 FED COM 24


1916       New      Carlsbad WILD TURKEY 12    003H           6/3/2022
           Mexico            1 FED COM 24


1917       New      Carlsbad CICADA UNIT       60H            4/14/2022
           Mexico
1918       New      Carlsbad CICADA UNIT       61H            4/14/2022
           Mexico
1919       New      Carlsbad CICADA UNIT       62H            4/14/2022
           Mexico
1920       New      Carlsbad CICADA UNIT       63H            4/14/2022
           Mexico




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1921       New      Carlsbad MACALLAN 12 1     1H             6/3/2022
           Mexico            FED ST COM 23

1922       New      Carlsbad MERAK 7           21H            9/9/2021
           Mexico            FEDERAL
1923       New      Carlsbad CHEDDAR           302            4/19/2022
           Mexico            FEDERAL COM

1924       New      Carlsbad PF FED COM        101H           3/7/2022
           Mexico
1925       New      Carlsbad PF FED COM        102H           3/7/2022
           Mexico
1926       New      Carlsbad PF FED COM        103H           3/7/2022
           Mexico
1927       New      Carlsbad PF FED COM        501H           3/7/2022
           Mexico
1928       New      Carlsbad PF FED COM        502H           3/7/2022
           Mexico
1929       New      Carlsbad PF FED COM        503H           11/17/2021
           Mexico
1930       New      Carlsbad PF FED COM        504H           3/7/2022
           Mexico
1931       New      Carlsbad PF FED COM        801H           3/7/2022
           Mexico
1932       New      Carlsbad PF FED COM        802H           3/7/2022
           Mexico
1933       New      Carlsbad PF FED COM        803H           3/7/2022
           Mexico
1934       New      Carlsbad PF FED COM        804H           3/7/2022
           Mexico
1935       New      Carlsbad PF FED COM        805H           3/7/2022
           Mexico
1936       New      Carlsbad PF FED COM        806H           3/7/2022
           Mexico
1937       New      Carlsbad PF FED COM        104H           11/17/2021
           Mexico
1938       New      Carlsbad RED BULL 29-20    5H             3/9/2022
           Mexico            FED
1939       New      Carlsbad RED BULL 29-20    6H             3/9/2022
           Mexico            FED
1940       New      Carlsbad RED BULL 29-20    7H             3/9/2022
           Mexico            FED
1941       New      Carlsbad RED BULL 29-20    8H             3/9/2022
           Mexico            FED



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1942       New      Carlsbad MAKERS MARK 8     002H           6/3/2022
           Mexico            5 FED COM 27

1943       New      Carlsbad MAKERS MARK 8     001H           6/3/2022
           Mexico            5 FED COM 27

1944       New      Carlsbad MAKERS MARK 8     003H           6/3/2022
           Mexico            5 FED COM 27

1945       New      Carlsbad MAKERS MARK 8     004H           6/3/2022
           Mexico            5 FED COM 27

1946       New      Carlsbad MAKERS MARK 8     005H           6/3/2022
           Mexico            5 FED COM 27

1947       New      Carlsbad DELAWARE          2H             3/2/2022
           Mexico            RANCH 12 W1MD
                             FED COM

1948       New      Carlsbad DELAWARE          1H             8/19/2022
           Mexico            RANCH 12 W1MD
                             FED COM

1949       New      Carlsbad DELAWARE          1H             8/19/2022
           Mexico            RANCH 12 W1NC
                             FED COM

1950       New      Carlsbad DELAWARE          2H             8/19/2022
           Mexico            RANCH 12 W1NC
                             FED COM

1951       New      Carlsbad SD 14 23 FED P343 421H           2/9/2022
           Mexico
1952       New      Carlsbad SD 14 23 FED P343 422H           2/9/2022
           Mexico
1953       New      Carlsbad SD 14 23 FED P343 423H           2/9/2022
           Mexico
1954       New      Carlsbad SD 14 23 FED P344 424H           2/9/2022
           Mexico
1955       New      Carlsbad SD 14 23 FED P344 425H           2/9/2022
           Mexico
1956       New      Carlsbad SD 14 23 FED P344 426H           2/9/2022
           Mexico
1957       New      Carlsbad SD 15 FED P367    416H           8/19/2022
           Mexico


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1958       New      Carlsbad SD 15 FED P367    417H           8/19/2022
           Mexico
1959       New      Carlsbad SD 15 FED P368    418H           6/24/2022
           Mexico
1960       New      Carlsbad SD 15 FED P368    419H           5/24/2022
           Mexico
1961       New      Carlsbad SD 15 FED P368    420H           5/24/2022
           Mexico
1962       New      Carlsbad SD 24 13 FED P414 10H            2/9/2022
           Mexico
1963       New      Carlsbad SD 24 13 FED P414 11H            2/9/2022
           Mexico
1964       New      Carlsbad SD 24 13 FED P414 12H            2/9/2022
           Mexico
1965       New      Carlsbad SD 24 13 FED P414 9H             2/9/2022
           Mexico
1966       New      Carlsbad HARROUN         10H              4/19/2022
           Mexico            RANCH 20702 20-
                             17 FEDERAL COM


1967       New      Carlsbad HARROUN         11H              4/19/2022
           Mexico            RANCH 20702 20-
                             17 FEDERAL COM


1968       New      Carlsbad HARROUN         12H              4/19/2022
           Mexico            RANCH 20702 20-
                             17 FEDERAL COM


1969       New      Carlsbad HARROUN         13H              4/19/2022
           Mexico            RANCH 20702 20-
                             17 FEDERAL COM


1970       New      Carlsbad MODELO 10 FED     502H           3/4/2022
           Mexico            COM
1971       New      Carlsbad IGLOO 19-18       10H            5/5/2022
           Mexico            STATE FED COM

1972       New      Carlsbad IGLOO 19-18       11H            5/5/2022
           Mexico            STATE FED COM




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1973       New      Carlsbad NANDINA FED       118H           5/27/2021
           Mexico            COM 25 36 31

1974       New      Carlsbad NANDINA FED       127H           5/27/2021
           Mexico            COM 25 36 31

1975       New      Carlsbad NANDINA FED       128H           5/27/2021
           Mexico            COM 25 36 31

1976       New      Carlsbad NANDINA FED       108H           9/7/2021
           Mexico            COM 25 36 31

1977       New      Carlsbad PRINCE 31 B2DA    1H             7/1/2021
           Mexico            FED COM

1978       New      Carlsbad PRINCE 31 B2EH    1H             7/1/2021
           Mexico            FED COM

1979       New      Carlsbad NIMITZ MDP1       171H           6/4/2021
           Mexico            13_1 FEDERAL
                             COM

1980       New      Carlsbad NIMITZ MDP1       311H           6/4/2021
           Mexico            13_1 FEDERAL
                             COM

1981       New      Carlsbad NIMITZ MDP1       1H             6/4/2021
           Mexico            13_1 FEDERAL
                             COM

1982       New      Carlsbad NIMITZ MDP1       173H           6/4/2021
           Mexico            13_1 FEDERAL
                             COM

1983       New      Carlsbad NIMITZ MDP1       312H           6/4/2021
           Mexico            13_1 FEDERAL
                             COM

1984       New      Carlsbad NIMITZ MDP1       172H           6/4/2021
           Mexico            13_1 FEDERAL
                             COM

1985       New      Carlsbad SND 12 01 FED     440H           10/21/2021
           Mexico            COM 001 P306




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1986       New      Carlsbad SND 12 01 FED     439H           10/21/2021
           Mexico            COM 001 P306

1987       New      Carlsbad SND 12 01 FED     438H           10/21/2021
           Mexico            COM 001 P306

1988       New      Carlsbad SND 12 01 FED     437H           10/21/2021
           Mexico            COM 001 P306

1989       New      Carlsbad ANDERSON FED      501H           4/22/2021
           Mexico            COM
1990       New      Carlsbad ANDERSON FED      503H           4/30/2021
           Mexico            COM
1991       New      Carlsbad ANDERSON FED      551H           4/30/2021
           Mexico            COM
1992       New      Carlsbad ANDERSON FED      552H           4/30/2021
           Mexico            COM
1993       New      Carlsbad ANDERSON FED      553H           4/30/2021
           Mexico            COM
1994       New      Carlsbad ANDERSON FED      554H           4/30/2021
           Mexico            COM
1995       New      Carlsbad ANDERSON FED      555H           4/30/2021
           Mexico            COM
1996       New      Carlsbad ANDERSON FED      556H           4/30/2021
           Mexico            COM
1997       New      Carlsbad ANDERSON FED      601H           4/30/2021
           Mexico            COM
1998       New      Carlsbad ANDERSON FED      602H           4/30/2021
           Mexico            COM
1999       New      Carlsbad ANDERSON FED      603H           4/30/2021
           Mexico            COM
2000       New      Carlsbad ANDERSON FED      507H           9/21/2021
           Mexico            COM
2001       New      Carlsbad ANDERSON FED      505H           9/21/2021
           Mexico            COM
2002       New      Carlsbad ANDERSON FED      508H           9/21/2021
           Mexico            COM
2003       New      Carlsbad ANDERSON FED      701H           10/15/2021
           Mexico            COM
2004       New      Carlsbad ANDERSON FED      703H           10/15/2021
           Mexico            COM
2005       New      Carlsbad ANDERSON FED      705H           10/15/2021
           Mexico            COM
2006       New      Carlsbad ANDERSON FED      702H           10/15/2021
           Mexico            COM


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2007       New      Carlsbad ANDERSON FED      502H           4/30/2021
           Mexico            COM
2008       New      Carlsbad EIDER 35          701H           4/22/2021
           Mexico            FEDERAL
2009       New      Carlsbad EIDER 35          702H           4/22/2021
           Mexico            FEDERAL
2010       New      Carlsbad EIDER 35          501H           4/22/2021
           Mexico            FEDERAL
2011       New      Carlsbad EIDER 35          502H           4/22/2021
           Mexico            FEDERAL COM

2012       New      Carlsbad EIDER 35          502H           4/22/2021
           Mexico            FEDERAL COM

2013       New      Carlsbad AZORES            703H           4/22/2021
           Mexico            FEDERAL COM

2014       New      Carlsbad AZORES            704H           4/22/2021
           Mexico            FEDERAL COM

2015       New      Carlsbad AZORES            705H           4/22/2021
           Mexico            FEDERAL COM

2016       New      Carlsbad AZORES            706H           4/22/2021
           Mexico            FEDERAL COM

2017       New      Carlsbad WINDWARD          701H           6/22/2022
           Mexico            FEDERAL
2018       New      Carlsbad WINDWARD          702H           6/22/2022
           Mexico            FEDERAL
2019       New      Carlsbad WINDWARD          703H           6/22/2022
           Mexico            FEDERAL
2020       New      Carlsbad WINDWARD          704H           6/22/2022
           Mexico            FEDERAL
2021       New      Carlsbad WINDWARD          705H           6/22/2022
           Mexico            FEDERAL
2022       New      Carlsbad WINDWARD          706H           6/22/2022
           Mexico            FEDERAL
2023       New      Carlsbad PILEDRIVER        703H           4/22/2021
           Mexico            FEDERAL
2024       New      Carlsbad PILEDRIVER        704H           4/22/2021
           Mexico            FEDERAL




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2025       New      Carlsbad FIGURE FOUR       701H           4/22/2021
           Mexico            FEDERAL COM


2026       New      Carlsbad FIGURE FOUR       702H           4/22/2021
           Mexico            FEDERAL COM


2027       New      Carlsbad FIGURE FOUR       703H           4/22/2021
           Mexico            FEDERAL COM


2028       New      Carlsbad FIGURE FOUR       704H           4/22/2021
           Mexico            FEDERAL COM


2029       New      Carlsbad PILEDRIVER        701H           4/22/2021
           Mexico            FEDERAL
2030       New      Carlsbad PILEDRIVER        702H           4/22/2021
           Mexico            FEDERAL
2031       New      Carlsbad COTTON DRAW       521H           5/27/2021
           Mexico            UNIT
2032       New      Carlsbad COTTON DRAW       611H           5/27/2021
           Mexico            UNIT
2033       New      Carlsbad CICADA UNIT       55H            6/28/2021
           Mexico
2034       New      Carlsbad CICADA UNIT       54H            4/22/2021
           Mexico
2035       New      Carlsbad CICADA UNIT       53H            4/22/2021
           Mexico
2036       New      Carlsbad CICADA UNIT       52H            4/22/2021
           Mexico
2037       New      Carlsbad CICADA UNIT       51H            4/22/2021
           Mexico
2038       New      Carlsbad SOPHIA 32-20      101H           7/23/2021
           Mexico            FED
2039       New      Carlsbad SOPHIA 32-20      102H           7/23/2021
           Mexico            FED
2040       New      Carlsbad SOPHIA 32-20      121H           7/23/2021
           Mexico            FED
2041       New      Carlsbad SOPHIA 32-20      123H           7/23/2021
           Mexico            FED
2042       New      Carlsbad SOPHIA 32-20      165H           7/23/2021
           Mexico            FED



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2043       New      Carlsbad SOPHIA 32-20       71H           7/23/2021
           Mexico            FED
2044       New      Carlsbad SOPHIA 32-20       72H           7/23/2021
           Mexico            FED
2045       New      Carlsbad RATTLESNAKE        751H          3/9/2022
           Mexico            28 FED COM

2046       New      Carlsbad BONANZA 22/15      1H            9/3/2021
           Mexico            B2FC FED COM

2047       New      Carlsbad BONANZA 22/15      1H            9/3/2021
           Mexico            B2ED FED COM

2048       New      Carlsbad ASTRODOG FED       245H          6/18/2021
           Mexico            COM 0809

2049       New      Carlsbad ASTRODOG FED       242H          6/18/2021
           Mexico            COM 0809

2050       New      Carlsbad ASTRODOG FED       241H          6/18/2021
           Mexico            COM 0809

2051       New      Carlsbad ASTRODOG FED       231H          6/18/2021
           Mexico            COM 0810

2052       New      Carlsbad ASTRODOG FED       235H          6/18/2021
           Mexico            COM 0810

2053       New      Carlsbad ASTRODOG FED       232H          6/24/2021
           Mexico            COM 0809

2054       New      Carlsbad PINKIE PIE 20-22   223H          3/23/2021
           Mexico            FED COM

2055       New      Carlsbad DAUNTLESS 7        102H          8/11/2022
           Mexico            FED
2056       New      Carlsbad DAUNTLESS 7        202H          8/11/2022
           Mexico            FED
2057       New      Carlsbad DAUNTLESS 7        208H          8/11/2022
           Mexico            FED
2058       New      Carlsbad DAUNTLESS 7        201H          8/11/2022
           Mexico            FED
2059       New      Carlsbad DAUNTLESS 7        209H          8/11/2022
           Mexico            FED




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2060       New      Carlsbad PEACHTREE 25      756H           5/5/2021
           Mexico            FED COM
2061       New      Carlsbad PEACHTREE 25      749H           5/5/2021
           Mexico            FED COM
2062       New      Carlsbad PEACHTREE 25      747H           9/7/2021
           Mexico            FED COM
2063       New      Carlsbad PEACHTREE 25      758H           9/7/2021
           Mexico            FED COM
2064       New      Carlsbad PITCHBLENDE 29    701H           11/12/2021
           Mexico            FED COM

2065       New      Carlsbad PITCHBLENDE 29    702H           11/12/2021
           Mexico            FED COM

2066       New      Carlsbad PITCHBLENDE 29    703H           11/12/2021
           Mexico            FED COM

2067       New      Carlsbad PITCHBLENDE 29    704H           11/12/2021
           Mexico            FED COM

2068       New      Carlsbad PITCHBLENDE 29    705H           11/12/2021
           Mexico            FED COM

2069       New      Carlsbad PITCHBLENDE 29    706H           11/12/2021
           Mexico            FED COM

2070       New      Carlsbad PITCHBLENDE 29    707H           11/12/2021
           Mexico            FED COM

2071       New      Carlsbad PITCHBLENDE 29    708H           11/12/2021
           Mexico            FED COM

2072       New      Carlsbad GOLDEN FED        303H           9/28/2021
           Mexico            COM
2073       New      Carlsbad TATANKA FED       101H           3/7/2022
           Mexico            COM
2074       New      Carlsbad TATANKA FED       102H           3/7/2022
           Mexico            COM
2075       New      Carlsbad TATANKA FED       103H           3/7/2022
           Mexico            COM
2076       New      Carlsbad TATANKA FED       104H           3/7/2022
           Mexico            COM
2077       New      Carlsbad TATANKA FED       501H           3/7/2022
           Mexico            COM



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2078       New      Carlsbad TATANKA FED       502H           3/7/2022
           Mexico            COM
2079       New      Carlsbad TATANKA FED       503H           3/7/2022
           Mexico            COM
2080       New      Carlsbad TATANKA FED       504H           3/7/2022
           Mexico            COM
2081       New      Carlsbad TATANKA FED       601H           3/7/2022
           Mexico            COM
2082       New      Carlsbad TATANKA FED       602H           3/7/2022
           Mexico            COM
2083       New      Carlsbad TATANKA FED       603H           3/7/2022
           Mexico            COM
2084       New      Carlsbad TATANKA FED       704H           3/7/2022
           Mexico            COM
2085       New      Carlsbad TATANKA FED       704H           3/7/2022
           Mexico            COM
2086       New      Carlsbad TATANKA FED       705H           3/7/2022
           Mexico            COM
2087       New      Carlsbad TATANKA FED       705H           3/7/2022
           Mexico            COM
2088       New      Carlsbad TATANKA FED       801H           3/7/2022
           Mexico            COM
2089       New      Carlsbad TATANKA FED       802H           3/7/2022
           Mexico            COM
2090       New      Carlsbad TATANKA FED       805H           3/7/2022
           Mexico            COM
2091       New      Carlsbad TATANKA FED       805H           3/7/2022
           Mexico            COM
2092       New      Carlsbad TATANKA FED       806H           3/7/2022
           Mexico            COM
2093       New      Carlsbad OURAY FED COM     302H           9/28/2021
           Mexico
2094       New      Carlsbad HARRIER 35        306H           3/11/2022
           Mexico            NORTH FED COM

2095       New      Carlsbad HARRIER 35        302H           4/26/2022
           Mexico            NORTH FED COM

2096       New      Carlsbad HARRIER 35        303H           4/26/2022
           Mexico            NORTH FED COM

2097       New      Carlsbad HARRIER 35        304H           4/26/2022
           Mexico            NORTH FED COM




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2098       New      Carlsbad HARRIER 35        305H           4/26/2022
           Mexico            NORTH FED COM

2099       New      Carlsbad HARRIER 35        702H           4/26/2022
           Mexico            NORTH FED COM

2100       New      Carlsbad HARRIER 35        704H           4/26/2022
           Mexico            NORTH FED COM

2101       New      Carlsbad HARRIER 35        705H           4/26/2022
           Mexico            NORTH FED COM

2102       New      Carlsbad HARRIER 35        706H           4/26/2022
           Mexico            NORTH FED COM

2103       New      Carlsbad HARRIER 35        707H           4/26/2022
           Mexico            NORTH FED COM

2104       New      Carlsbad HARRIER 35        307H           3/10/2022
           Mexico            NORTH FED COM

2105       New      Carlsbad HARRIER 35        701H           8/10/2022
           Mexico            NORTH FED COM

2106       New      Carlsbad HARRIER 35        703H           3/10/2022
           Mexico            NORTH FED COM

2107       New      Carlsbad PEREGRINE 27      717H           4/20/2021
           Mexico            FED COM
2108       New      Carlsbad PEREGRINE 27      701H           4/23/2021
           Mexico            FED COM
2109       New      Carlsbad PEREGRINE 27      702H           4/23/2021
           Mexico            FED COM
2110       New      Carlsbad PEREGRINE 27      401H           3/4/2022
           Mexico            FED COM
2111       New      Carlsbad PEREGRINE 27      402H           3/4/2022
           Mexico            FED COM
2112       New      Carlsbad PEREGRINE 27      315H           3/4/2022
           Mexico            FED COM
2113       New      Carlsbad PEREGRINE 27      405H           3/4/2022
           Mexico            FED COM
2114       New      Carlsbad PEREGRINE 27      314H           3/4/2022
           Mexico            FED COM
2115       New      Carlsbad PEREGRINE 27      314H           3/4/2022
           Mexico            FED COM


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2116       New      Carlsbad PEREGRINE 27      403H           3/11/2022
           Mexico            FED COM
2117       New      Carlsbad PEREGRINE 27      313H           3/15/2022
           Mexico            FED COM
2118       New      Carlsbad PEREGRINE 27      316H           3/11/2022
           Mexico            FED COM
2119       New      Carlsbad PEREGRINE 27      318H           3/11/2022
           Mexico            FED COM
2120       New      Carlsbad PEREGRINE 27      731H           4/12/2022
           Mexico            FED COM
2121       New      Carlsbad PEREGRINE 27      732H           4/12/2022
           Mexico            FED COM
2122       New      Carlsbad PEREGRINE 27      733H           4/12/2022
           Mexico            FED COM
2123       New      Carlsbad PEREGRINE 27      734H           4/12/2022
           Mexico            FED COM
2124       New      Carlsbad PEREGRINE 27      741H           4/12/2022
           Mexico            FED COM
2125       New      Carlsbad PEREGRINE 27      742H           4/12/2022
           Mexico            FED COM
2126       New      Carlsbad PEREGRINE 27      743H           4/12/2022
           Mexico            FED COM
2127       New      Carlsbad PEREGRINE 27      744H           4/12/2022
           Mexico            FED COM
2128       New      Carlsbad HAMBONE           505H           9/7/2021
           Mexico            FEDERAL COM

2129       New      Carlsbad PERRY 22          15H            6/4/2021
           Mexico            FEDERAL COM

2130       New      Carlsbad PERRY 22          29H            11/12/2021
           Mexico            FEDERAL COM

2131       New      Carlsbad PERRY 22          16H            6/4/2021
           Mexico            FEDERAL COM

2132       New      Carlsbad GUNNER 8          601H           7/22/2021
           Mexico            FEDERAL COM

2133       New      Carlsbad GUNNER 8          602H           7/22/2021
           Mexico            FEDERAL COM

2134       New      Carlsbad GUNNER 8          701H           7/20/2021
           Mexico            FEDERAL COM



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2135       New      Carlsbad GUNNER 8          702H           7/22/2021
           Mexico            FEDERAL COM

2136       New      Carlsbad RED HILLS WEST    023H           12/9/2021
           Mexico            UNIT
2137       New      Carlsbad COMANCHE 25-      7H             6/3/2022
           Mexico            36 FED STATE
                             COM
2138       New      Carlsbad GOLDEN            705H           5/6/2021
           Mexico            GRAHAM 1 FED
                             COM
2139       New      Carlsbad GOLDEN            706H           5/6/2021
           Mexico            GRAHAM 1 FED
                             COM
2140       New      Carlsbad GOLDEN            725H           5/6/2021
           Mexico            GRAHAM 1 FED
                             COM
2141       New      Carlsbad DEERSTALKER       601H           6/22/2022
           Mexico            FEDERAL COM


2142       New      Carlsbad DEERSTALKER       701H           6/22/2022
           Mexico            FEDERAL COM


2143       New      Carlsbad DL 10 3 KRAKEN    207H           4/2/2021
           Mexico            FED COM

2144       New      Carlsbad DL 10 3 KRAKEN    208H           4/2/2021
           Mexico            FED COM

2145       New      Carlsbad DL 10 3 KRAKEN    209H           4/2/2021
           Mexico            FED COM

2146       New      Carlsbad DL 10 15          423H           3/9/2022
           Mexico            OGOPOGO FED
                             COM
2147       New      Carlsbad DL 10 15          423H           3/9/2022
           Mexico            OGOPOGO FED
                             COM
2148       New      Carlsbad DRIVER 14 FED     504H           4/23/2021
           Mexico            COM
2149       New      Carlsbad DRIVER 14 FED     504H           4/23/2021
           Mexico            COM




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2150       New      Carlsbad DRIVER 14 FED     505H           4/23/2021
           Mexico            COM
2151       New      Carlsbad DRIVER 14 FED     506H           4/23/2021
           Mexico            COM
2152       New      Carlsbad DRIVER 14 FED     204H           4/30/2021
           Mexico            COM
2153       New      Carlsbad DRIVER 14 FED     206H           4/30/2021
           Mexico            COM
2154       New      Carlsbad DRIVER 14 FED     205H           4/30/2021
           Mexico            COM
2155       New      Carlsbad SYLVESTER         502H           4/22/2021
           Mexico            FEDERAL COM

2156       New      Carlsbad SOLOMON           505H           4/12/2021
           Mexico            FEDERAL COM

2157       New      Carlsbad SOLOMON           304H           12/21/2021
           Mexico            FEDERAL COM

2158       New      Carlsbad EL CAMPEON        434H           5/12/2021
           Mexico            FED COM

2159       New      Carlsbad PAR THREE FED     105H           12/9/2021
           Mexico            COM 25 36 06

2160       New      Carlsbad PAR THREE FED     107H           12/9/2021
           Mexico            COM 25 36 06

2161       New      Carlsbad PINE STRAW FED    105H           6/24/2022
           Mexico            COM 25 36 05


2162       New      Carlsbad PINE STRAW FED    107H           6/24/2022
           Mexico            COM 25 36 05


2163       New      Carlsbad PINE STRAW 25     103H           7/8/2022
           Mexico            36 05 FED COM


2164       New      Carlsbad PINE STRAW FED    102H           8/10/2022
           Mexico            COM 25 36 05




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2165       New      Carlsbad PINE STRAW FED    104H           7/8/2022
           Mexico            COM 25 36 05


2166       New      Carlsbad PINE STRAW FED    106H           7/8/2022
           Mexico            COM 25 36 05


2167       New      Carlsbad PINE STRAW FED    108H           7/8/2022
           Mexico            COM 25 36 05


2168       New      Carlsbad PINE STRAW FED    113H           7/8/2022
           Mexico            COM 25 36 05


2169       New      Carlsbad PINE STRAW FED    114H           7/8/2022
           Mexico            COM 25 36 05


2170       New      Carlsbad PINE STRAW FED    115H           7/8/2022
           Mexico            COM 25 36 05


2171       New      Carlsbad PINE STRAW FED    116H           7/8/2022
           Mexico            COM 25 36 05


2172       New      Carlsbad PINE STRAW FED    117H           7/8/2022
           Mexico            COM 25 36 05


2173       New      Carlsbad PINE STRAW FED    118H           8/10/2022
           Mexico            COM 25 36 05


2174       New      Carlsbad PINE STRAW FED    122H           7/8/2022
           Mexico            COM 25 36 05


2175       New      Carlsbad PINE STRAW FED    123H           7/8/2022
           Mexico            COM 25 36 05




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2176       New      Carlsbad PINE STRAW FED    124H           7/8/2022
           Mexico            COM 25 36 05


2177       New      Carlsbad PINE STRAW FED    125H           7/8/2022
           Mexico            COM 25 36 05


2178       New      Carlsbad BLUE MARLIN       111H           5/12/2021
           Mexico            FED COM

2179       New      Carlsbad BLUE MARLIN       112H           5/12/2021
           Mexico            FED COM

2180       New      Carlsbad BLUE MARLIN       201H           5/12/2021
           Mexico            FED COM

2181       New      Carlsbad BLUE MARLIN       202H           5/12/2021
           Mexico            FED COM

2182       New      Carlsbad BLUE MARLIN       205H           5/12/2021
           Mexico            FED COM

2183       New      Carlsbad BLUE MARLIN       211H           5/12/2021
           Mexico            FED COM

2184       New      Carlsbad BLUE MARLIN       211H           5/12/2021
           Mexico            FED COM

2185       New      Carlsbad BLUE MARLIN       215H           5/12/2021
           Mexico            FED COM

2186       New      Carlsbad BLUE MARLIN       212H           6/3/2021
           Mexico            FED COM

2187       New      Carlsbad BLUE MARLIN       212H           6/3/2021
           Mexico            FED COM

2188       New      Carlsbad BLACK MARLIN      113H           4/16/2021
           Mexico            FED COM

2189       New      Carlsbad BLACK MARLIN      114H           4/16/2021
           Mexico            FED COM




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2190       New      Carlsbad BLACK MARLIN      203H           4/16/2021
           Mexico            FED COM

2191       New      Carlsbad BLACK MARLIN      206H           4/16/2021
           Mexico            FED COM

2192       New      Carlsbad BLACK MARLIN      213H           4/16/2021
           Mexico            FED COM

2193       New      Carlsbad BLACK MARLIN      216H           4/16/2021
           Mexico            FED COM

2194       New      Carlsbad DOGWOOD FED       112H           10/28/2021
           Mexico            COM 25 36 20

2195       New      Carlsbad BIG BULL FED      705H           1/21/2021
           Mexico            COM
2196       New      Carlsbad DOUBLE X 25       18H            4/28/2021
           Mexico            FEDERAL COM

2197       New      Carlsbad DR AWKWARD        11H            1/21/2021
           Mexico            17-8 FEDERAL
                             COM


2198       New      Carlsbad DR AWKWARD        12H            1/21/2021
           Mexico            17-8 FEDERAL
                             COM


2199       New      Carlsbad DR AWKWARD        22H            1/21/2021
           Mexico            17-8 FEDERAL
                             COM


2200       New      Carlsbad DR AWKWARD        23H            1/21/2021
           Mexico            17-8 FEDERAL
                             COM


2201       New      Carlsbad DR AWKWARD        24H            4/16/2021
           Mexico            17-8 FEDERAL
                             COM




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2202       New      Carlsbad DR AWKWARD            25H        4/16/2021
           Mexico            17-8 FEDERAL
                             COM


2203       New      Carlsbad DR AWKWARD            26H        4/16/2021
           Mexico            17-8 FEDERAL
                             COM


2204       New      Carlsbad DR PI FED UNIT        34H        4/20/2021
           Mexico            17_8 DA

2205       New      Carlsbad Dr Pi Fed Unit 17_8   35H        4/20/2021
           Mexico            DA
2206       New      Carlsbad DR AWKWARD            73H        4/20/2021
           Mexico            17-8 FEDERAL
                             COM


2207       New      Carlsbad DR AWKWARD            74H        4/20/2021
           Mexico            17-8 FEDERAL
                             COM


2208       New      Carlsbad Dr Pi Fed Unit 17_8   312H       4/20/2021
           Mexico            DA
2209       New      Carlsbad DR AWKWARD            313H       4/20/2021
           Mexico            17-8 FEDERAL
                             COM


2210       New      Carlsbad Dr Pi Federal Unit    31H        5/26/2021
           Mexico            17 8 DA
2211       New      Carlsbad Dr Pi Fed Unit 17_8   32H        5/26/2021
           Mexico            DA
2212       New      Carlsbad DR AWKWARD            33H        5/26/2021
           Mexico            17-8 FEDERAL
                             COM




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2213       New      Carlsbad DR AWKWARD            71H        5/26/2021
           Mexico            17-8 FEDERAL
                             COM


2214       New      Carlsbad DR AWKWARD            72H        5/26/2021
           Mexico            17-8 FEDERAL
                             COM


2215       New      Carlsbad Dr Pi Fed Unit 17_8   311H       6/3/2021
           Mexico            DA
2216       New      Carlsbad SUPREME               601H       11/26/2021
           Mexico            FEDERAL COM

2217       New      Carlsbad SUPREME               602H       11/26/2021
           Mexico            FEDERAL COM

2218       New      Carlsbad SUPREME               603H       11/26/2021
           Mexico            FEDERAL COM

2219       New      Carlsbad SUPREME               604H       11/26/2021
           Mexico            FEDERAL COM

2220       New      Carlsbad GOLDEN TEE 31         301H       8/17/2021
           Mexico            FED COM

2221       New      Carlsbad GOLDEN TEE 31         302H       8/17/2021
           Mexico            FED COM

2222       New      Carlsbad GOLDEN TEE 31         303H       8/17/2021
           Mexico            FED COM

2223       New      Carlsbad GOLDEN TEE 31         304H       8/17/2021
           Mexico            FED COM

2224       New      Carlsbad GOLDEN TEE 31         305H       8/17/2021
           Mexico            FED COM

2225       New      Carlsbad GOLDEN TEE 31         306H       8/17/2021
           Mexico            FED COM

2226       New      Carlsbad GOLDEN TEE 31         502H       8/17/2021
           Mexico            FED COM




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2227       New      Carlsbad GOLDEN TEE 31     505H           8/17/2021
           Mexico            FED COM

2228       New      Carlsbad GOLDEN TEE 31     506H           8/19/2021
           Mexico            FED COM

2229       New      Carlsbad GOLDEN TEE 31     501H           9/7/2021
           Mexico            FED COM

2230       New      Carlsbad GOLDEN TEE 31     604H           9/9/2021
           Mexico            FED COM

2231       New      Carlsbad GOLDEN TEE 31     605H           9/9/2021
           Mexico            FED COM

2232       New      Carlsbad GOLDEN TEE 31     606H           9/9/2021
           Mexico            FED COM

2233       New      Carlsbad GOLDEN TEE 31     504H           9/9/2021
           Mexico            FED COM

2234       New      Carlsbad HORSESHOE FED     301H           4/9/2021
           Mexico            COM
2235       New      Carlsbad HORSESHOE FED     303H           4/9/2021
           Mexico            COM
2236       New      Carlsbad HORSESHOE FED     304H           4/9/2021
           Mexico            COM
2237       New      Carlsbad HORSESHOE FED     401H           4/9/2021
           Mexico            COM
2238       New      Carlsbad HORSESHOE FED     402H           4/9/2021
           Mexico            COM
2239       New      Carlsbad HORSESHOE FED     503H           4/9/2021
           Mexico            COM
2240       New      Carlsbad HORSESHOE FED     703H           4/9/2021
           Mexico            COM
2241       New      Carlsbad HORSESHOE FED     704H           4/9/2021
           Mexico            COM
2242       New      Carlsbad HORSESHOE FED     302H           4/12/2021
           Mexico            COM
2243       New      Carlsbad CRUNCH BERRY      602H           5/11/2021
           Mexico            6 FEDERAL COM




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2244       New      Carlsbad FOREIGNER 33/4    2H             8/13/2021
           Mexico            W0IP FED COM

2245       New      Carlsbad FOREIGNER 33/4    1H             8/13/2021
           Mexico            W0IP FED COM

2246       New      Carlsbad CHICAGO 9/8       3H             6/23/2022
           Mexico            W2AD FED COM

2247       New      Carlsbad KYLE 34 WD        9H             4/13/2021
           Mexico            FEDERAL COM

2248       New      Carlsbad KYLE FEDERAL      7H             4/19/2021
           Mexico            24 28 34 WXY

2249       New      Carlsbad KYLE FEDERAL      8H             4/19/2021
           Mexico            24 28 34 WXY

2250       New      Carlsbad KYLE FEDERAL      1H             4/9/2021
           Mexico            24 28 34 TB

2251       New      Carlsbad KYLE 34 WD        4H             6/4/2021
           Mexico            FEDERAL COM

2252       New      Carlsbad KYLE 34 WD        22H            6/4/2021
           Mexico            FEDERAL COM

2253       New      Carlsbad CRAZY HORSE 32    131H           2/21/2021
           Mexico            STATE FED COM


2254       New      Carlsbad CRAZY HORSE 32    132H           2/21/2021
           Mexico            STATE FED COM


2255       New      Carlsbad CRAZY HORSE 32    201H           2/21/2021
           Mexico            STATE FED COM


2256       New      Carlsbad MOZZARELLA        604H           4/6/2021
           Mexico            FED COM

2257       New      Carlsbad GOUDA             605H           4/6/2021
           Mexico            FEDERAL COM




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2258       New      Carlsbad CHEDDAR            502H          8/13/2021
           Mexico            FEDERAL COM

2259       New      Carlsbad MOZZARELLA         504H          3/4/2022
           Mexico            FEDERAL COM


2260       New      Carlsbad MOZZARELLA         503H          3/4/2022
           Mexico            FEDERAL COM


2261       New      Carlsbad GOUDA 5            505H          4/25/2022
           Mexico            FEDERAL COM

2262       New      Carlsbad GOUDA 5            506H          4/25/2022
           Mexico            FEDERAL COM

2263       New      Carlsbad PRAIRIE FIRE 25-   333H          8/31/2022
           Mexico            26 FED COM

2264       New      Carlsbad PRAIRIE FIRE 25-   623H          8/31/2022
           Mexico            26 FED COM

2265       New      Carlsbad PRAIRIE FIRE 25-   624H          8/31/2022
           Mexico            26 FED COM

2266       New      Carlsbad SD 18 19 FED       425H          4/13/2022
           Mexico            COM P361

2267       New      Carlsbad SD 18 19 FED       24H           3/30/2022
           Mexico            COM P346

2268       New      Carlsbad SD 18 19 FED       25H           3/30/2022
           Mexico            COM P346

2269       New      Carlsbad UNCLE CHES         231H          4/16/2021
           Mexico            2116 FED COM

2270       New      Carlsbad KC7 FED COM        603H          1/21/2021
           Mexico
2271       New      Carlsbad EL PASO FED        706H          4/9/2021
           Mexico            COM
2272       New      Carlsbad EL PASO FED        604H          4/9/2021
           Mexico            COM




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2273       New      Carlsbad EL PASO FED       705H           4/9/2021
           Mexico            COM
2274       New      Carlsbad FMM FED COM       101H           2/11/2022
           Mexico
2275       New      Carlsbad FMM FED COM       102H           2/11/2022
           Mexico
2276       New      Carlsbad FMM FED COM       103H           2/11/2022
           Mexico
2277       New      Carlsbad FMM FED COM       104H           2/11/2022
           Mexico
2278       New      Carlsbad FMM FED COM       302H           2/11/2022
           Mexico
2279       New      Carlsbad FMM FED COM       303H           2/11/2022
           Mexico
2280       New      Carlsbad FMM FED COM       304H           2/11/2022
           Mexico
2281       New      Carlsbad FMM FED COM       801H           2/11/2022
           Mexico
2282       New      Carlsbad FMM FED COM       802H           2/11/2022
           Mexico
2283       New      Carlsbad FMM FED COM       803H           2/11/2022
           Mexico
2284       New      Carlsbad FMM FED COM       804H           2/11/2022
           Mexico
2285       New      Carlsbad FMM FED COM       805H           2/11/2022
           Mexico
2286       New      Carlsbad FMM FED COM       806H           2/11/2022
           Mexico
2287       New      Carlsbad FMM FED COM       301H           3/4/2022
           Mexico
2288       New      Carlsbad FMM FED COM       301H           3/4/2022
           Mexico
2289       New      Carlsbad GOONCH FED        223H           4/9/2021
           Mexico            COM 0409

2290       New      Carlsbad GOONCH FED        213H           4/9/2021
           Mexico            COM 0409

2291       New      Carlsbad GOONCH FED        224H           4/9/2021
           Mexico            COM 0409

2292       New      Carlsbad GOONCH FED        216H           4/12/2021
           Mexico            COM 0409




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2293       New      Carlsbad PONY EXPRESS      505H           4/23/2021
           Mexico            FED COM

2294       New      Carlsbad PONY EXPRESS      506H           4/23/2021
           Mexico            FED COM

2295       New      Carlsbad PONY EXPRESS      704H           4/23/2021
           Mexico            FED COM

2296       New      Carlsbad PONY EXPRESS      305H           4/23/2021
           Mexico            FED COM

2297       New      Carlsbad PONY EXPRESS      306H           4/23/2021
           Mexico            FED COM

2298       New      Carlsbad PONY EXPRESS      307H           4/23/2021
           Mexico            FED COM

2299       New      Carlsbad PONY EXPRESS      308H           4/23/2021
           Mexico            FED COM

2300       New      Carlsbad PONY EXPRESS      403H           4/23/2021
           Mexico            FED COM

2301       New      Carlsbad PONY EXPRESS      404H           4/23/2021
           Mexico            FED COM

2302       New      Carlsbad PONY EXPRESS      504H           4/23/2021
           Mexico            FED COM

2303       New      Carlsbad PONY EXPRESS      603H           4/28/2021
           Mexico            FED COM

2304       New      Carlsbad PONY EXPRESS      703H           4/23/2021
           Mexico            FED COM

2305       New      Carlsbad PONY EXPRESS      604H           4/28/2021
           Mexico            FED COM

2306       New      Carlsbad PONY EXPRESS      707H           4/28/2021
           Mexico            FED COM

2307       New      Carlsbad PONY EXPRESS      708H           4/28/2021
           Mexico            FED COM




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2308       New      Carlsbad HOLYFIELD 9       105H           7/19/2021
           Mexico            FED COM
2309       New      Carlsbad HOLYFIELD 9       205H           7/19/2021
           Mexico            FED COM
2310       New      Carlsbad HOLYFIELD 9       709H           3/4/2022
           Mexico            FED COM
2311       New      Carlsbad HOLYFIELD 9       711H           3/4/2022
           Mexico            FED COM
2312       New      Carlsbad HOLYFIELD 9       710H           3/30/2022
           Mexico            FED COM
2313       New      Carlsbad HOLYFIELD 9       745H           3/30/2022
           Mexico            FED COM
2314       New      Carlsbad GREEN BERET       603H           8/13/2021
           Mexico            FEDERAL COM


2315       New      Carlsbad GREEN BERET       703H           8/13/2021
           Mexico            FEDERAL COM


2316       New      Carlsbad GREEN BERET       704H           8/13/2021
           Mexico            FEDERAL COM


2317       New      Carlsbad GREEN BERET       704H           8/13/2021
           Mexico            FEDERAL COM


2318       New      Carlsbad GREEN BERET       705H           8/13/2021
           Mexico            FEDERAL COM


2319       New      Carlsbad GREEN BERET       705H           8/13/2021
           Mexico            FEDERAL COM


2320       New      Carlsbad GREEN BERET       802H           8/13/2021
           Mexico            FEDERAL COM


2321       New      Carlsbad OXBOW 26/25       1H             10/21/2021
           Mexico            B2MP FED COM




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2322       New      Carlsbad OXBOW 26/25       2H             10/21/2021
           Mexico            W0MP FED COM

2323       New      Carlsbad OXBOW 26/25       1H             10/21/2021
           Mexico            B2LI FED COM

2324       New      Carlsbad BENT TREE 9-11    331H           7/19/2021
           Mexico            FED COM

2325       New      Carlsbad BENT TREE 9-10    221H           7/19/2021
           Mexico            FED COM

2326       New      Carlsbad BENT TREE 9-11    332H           7/19/2021
           Mexico            FED COM

2327       New      Carlsbad BENT TREE 9-11    333H           7/19/2021
           Mexico            FED COM

2328       New      Carlsbad BENT TREE 9-11    621H           7/19/2021
           Mexico            FED COM

2329       New      Carlsbad BENT TREE 9-11    622H           10/22/2021
           Mexico            FED COM

2330       New      Carlsbad HOSS 2/11 W1AP    2H             5/3/2021
           Mexico            FED COM

2331       New      Carlsbad HOSS 2/11 W0BO    1H             5/3/2021
           Mexico            FED COM

2332       New      Carlsbad HOSS 2/11 W0AP    1H             5/3/2021
           Mexico            FED COM

2333       New      Carlsbad HOSS 2/11 W1BO    2H             5/3/2021
           Mexico            FED COM

2334       New      Carlsbad HOSS 2/11 B2AP    1H             5/3/2021
           Mexico            FED COM

2335       New      Carlsbad LOCAL LEGEND      1H             4/26/2022
           Mexico            18/17 B2EH FED
                             COM




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2336       New      Carlsbad LOCAL LEGEND      1H             4/26/2022
           Mexico            18/17 B2DA FED
                             COM

2337       New      Carlsbad DESERT ROSE 17-   16H            4/16/2021
           Mexico            8 FEDERAL

2338       New      Carlsbad DESERT ROSE 17-   5H             4/16/2021
           Mexico            8 FEDERAL

2339       New      Carlsbad DESERT ROSE 17-   6H             1/26/2022
           Mexico            8 FEDERAL

2340       New      Carlsbad DESERT ROSE 17-   7H             4/16/2021
           Mexico            8 FEDERAL

2341       New      Carlsbad IBEX 15/10 B2NC   1H             8/17/2022
           Mexico            FED COM

2342       New      Carlsbad THE CONTEST       108H           4/13/2022
           Mexico            FED COM

2343       New      Carlsbad THE CONTEST       128H           4/13/2022
           Mexico            FED COM

2344       New      Carlsbad THE CONTEST       208H           4/13/2022
           Mexico            FED COM

2345       New      Carlsbad THE CONTEST       218H           4/13/2022
           Mexico            FED COM

2346       New      Carlsbad CORRAL            105H           12/21/2021
           Mexico            CANYON 3 FED

2347       New      Carlsbad CORRAL            124H           12/21/2021
           Mexico            CANYON 3 FED

2348       New      Carlsbad CORRAL            125H           12/21/2021
           Mexico            CANYON 3 FED

2349       New      Carlsbad CORRAL            126H           12/21/2021
           Mexico            CANYON 3 FED




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2350       New      Carlsbad CORRAL            162H           12/21/2021
           Mexico            CANYON 3 FED

2351       New      Carlsbad CORRAL            163H           12/21/2021
           Mexico            CANYON 3 FED

2352       New      Carlsbad NANDINA FED       117H           5/27/2021
           Mexico            COM 25 36 31

2353       New      Carlsbad NANDINA FED       116H           6/18/2021
           Mexico            COM 25 36 31

2354       New      Carlsbad HOLLY FED COM     075H           4/16/2021
           Mexico            26 36 05

2355       New      Carlsbad HOLLY FED COM     116H           4/16/2021
           Mexico            26 36 05

2356       New      Carlsbad HOLLY FED COM     085H           4/16/2021
           Mexico            26 36 05

2357       New      Carlsbad HOLLY FED COM     093H           4/16/2021
           Mexico            26 36 05

2358       New      Carlsbad HOLLY FED COM     105H           4/16/2021
           Mexico            26 36 05

2359       New      Carlsbad HOLLY FED COM     107H           4/16/2021
           Mexico            26 36 05

2360       New      Carlsbad HOLLY FED COM     126H           4/16/2021
           Mexico            26 36 05

2361       New      Carlsbad HOLLY FED COM     128H           4/16/2021
           Mexico            26 36 05

2362       New      Carlsbad HOLLY FED COM     117H           6/18/2021
           Mexico            26 36 05

2363       New      Carlsbad HOLLY FED COM     106H           7/23/2021
           Mexico            26 36 05

2364       New      Carlsbad HOLLY FED COM     077H           9/7/2021
           Mexico            26 36 05




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2365       New      Carlsbad HOLLY FED COM      087H          9/7/2021
           Mexico            26 36 05

2366       New      Carlsbad HOLLY FED COM      095H          9/7/2021
           Mexico            26 36 05

2367       New      Carlsbad HOLLY FED COM      127H          9/7/2021
           Mexico            26 36 05

2368       New      Carlsbad HOLLY FED COM      097H          9/30/2021
           Mexico            26 36 05

2369       New      Carlsbad GOLDEN BELL        093H          5/27/2021
           Mexico            FED COM 26 36 06


2370       New      Carlsbad GOLDEN BELL        106H          9/7/2021
           Mexico            FED COM 26 36 06


2371       New      Carlsbad GOLDEN BELL        107H          5/27/2021
           Mexico            FED COM 26 36 06


2372       New      Carlsbad GOLDEN BELL        127H          5/27/2021
           Mexico            FED COM 26 36 06


2373       New      Carlsbad GOLDEN BELL        128H          5/27/2021
           Mexico            FED COM 26 36 06


2374       New      Carlsbad GOLDEN BELL        108H          9/7/2021
           Mexico            FED COM 26 36 06


2375       New      Carlsbad S BIG OAK TREE     117H          5/27/2021
           Mexico            FEDCOM 26 36 31


2376       New      Carlsbad S BIG OAK TREE     128H          5/27/2021
           Mexico            FEDCOM 26 36 31




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2377       New      Carlsbad S GREEN JACKET    102H           5/27/2021
           Mexico            FEDCOM 26 36 32


2378       New      Carlsbad S GREEN JACKET    121H           5/27/2021
           Mexico            FEDCOM 26 36 32


2379       New      Carlsbad S GREEN JACKET    122H           5/27/2021
           Mexico            FEDCOM 26 36 32


2380       New      Carlsbad CICADA UNIT       45H            4/14/2022
           Mexico
2381       New      Carlsbad CICADA UNIT       47H            4/14/2022
           Mexico
2382       New      Carlsbad CICADA UNIT       48H            2/22/2022
           Mexico
2383       New      Carlsbad CICADA UNIT       50H            4/14/2022
           Mexico
2384       New      Carlsbad RICK VAUGHN 7     6H             7/22/2021
           Mexico            WA FED COM


2385       New      Carlsbad RICK VAUGHN 7     14H            7/22/2021
           Mexico            WA FED COM


2386       New      Carlsbad RICK VAUGHN 7     9H             7/22/2021
           Mexico            WA FED COM


2387       New      Carlsbad HAMBONE           506H           9/7/2021
           Mexico            FEDERAL COM

2388       New      Carlsbad RICK VAUGHN 7     1H             9/7/2021
           Mexico            WA FED COM


2389       New      Carlsbad JACK HAMMACK      001            6/18/2021
           Mexico            FED SWD

2390       New      Carlsbad RODNEY            023H           9/7/2021
           Mexico            ROBINSON FED
                             COM



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2391       New      Carlsbad PREVAIL FED       602H           1/21/2021
           Mexico            COM
2392       New      Carlsbad TRIUMPH FED       604H           1/21/2021
           Mexico            COM
2393       New      Carlsbad TRIUMPH FED       705H           1/21/2021
           Mexico            COM
2394       New      Carlsbad TRIUMPH FED       706H           1/21/2021
           Mexico            COM
2395       New      Carlsbad PREVAIL FED       703H           4/22/2021
           Mexico            COM
2396       New      Carlsbad WESTERN FED       601H           1/21/2021
           Mexico            COM
2397       New      Carlsbad BIDDER 49 FED     602H           4/15/2021
           Mexico            COM
2398       New      Carlsbad BIDDER 49 FED     703H           4/15/2021
           Mexico            COM
2399       New      Carlsbad CLINCHER FED      601H           4/15/2021
           Mexico            COM
2400       New      Carlsbad CLINCHER FED      701H           4/15/2021
           Mexico            COM
2401       New      Carlsbad CLINCHER FED      702H           4/15/2021
           Mexico            COM
2402       New      Carlsbad KC7 FED COM       704H           4/16/2021
           Mexico
2403       New      Carlsbad VESTED FED        604H           4/15/2021
           Mexico            COM
2404       New      Carlsbad WESTERN FED       702H           4/16/2021
           Mexico            COM
2405       New      Carlsbad 1912 FEDERAL      601H           4/22/2021
           Mexico
2406       New      Carlsbad 1912 FEDERAL      701H           4/22/2021
           Mexico
2407       New      Carlsbad 1912 FEDERAL      702H           4/22/2021
           Mexico
2408       New      Carlsbad DOGWOOD FED       116H           11/12/2021
           Mexico            COM 25 36 20

2409       New      Carlsbad RED BUD FED       102H           4/16/2021
           Mexico            COM 25 36 32

2410       New      Carlsbad RED BUD FED       111H           4/16/2021
           Mexico            COM 25 36 32




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2411       New      Carlsbad RED BUD FED        112H          4/16/2021
           Mexico            COM 25 36 32

2412       New      Carlsbad RED BUD FED        113H          4/16/2021
           Mexico            COM 25 36 32

2413       New      Carlsbad RED BUD FED        122H          4/16/2021
           Mexico            COM 25 36 32

2414       New      Carlsbad RED BUD FED        071H          5/27/2021
           Mexico            COM 25 36 32

2415       New      Carlsbad RED BUD FED        081H          5/27/2021
           Mexico            COM 25 36 32

2416       New      Carlsbad RED BUD FED        091H          5/27/2021
           Mexico            COM 25 36 32

2417       New      Carlsbad RED BUD FED        101H          5/27/2021
           Mexico            COM 25 36 32

2418       New      Carlsbad GRAMA 8817 16-9    6H            3/7/2022
           Mexico            FEDERAL COM


2419       New      Carlsbad GOLDEN BELL        091H          5/27/2021
           Mexico            FED COM 26 36 06


2420       New      Carlsbad PRIZEHOG A         3H            4/19/2022
           Mexico            FEDERAL STATE
                             COM
2421       New      Carlsbad PRIZEHOG A         4H            4/19/2022
           Mexico            FEDERAL STATE
                             COM
2422       New      Carlsbad PRIZEHOG B         2H            4/19/2022
           Mexico            FEDERAL STATE
                             COM
2423       New      Carlsbad PRIZEHOG B         3H            4/19/2022
           Mexico            FEDERAL STATE
                             COM
2424       New      Carlsbad KABAR 27 FED       401H          5/26/2021
           Mexico            COM




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2425       New      Carlsbad KABAR 27          402H           5/26/2021
           Mexico            FEDERAL COM

2426       New      Carlsbad SAKER 6-7         31H            4/21/2021
           Mexico            FEDERAL COM

2427       New      Carlsbad SAKER 6-7         32H            4/21/2021
           Mexico            FEDERAL COM

2428       New      Carlsbad SAKER 6-7         33H            4/21/2021
           Mexico            FEDERAL COM

2429       New      Carlsbad SAKER 6-7         34H            4/21/2021
           Mexico            FEDERAL COM

2430       New      Carlsbad SAKER 6-7         35H            4/21/2021
           Mexico            FEDERAL COM

2431       New      Carlsbad SAKER 6-7         36H            4/21/2021
           Mexico            FEDERAL COM

2432       New      Carlsbad SAKER 6-7         37H            4/21/2021
           Mexico            FEDERAL COM

2433       New      Carlsbad SAKER 6-7         38H            4/21/2021
           Mexico            FEDERAL COM

2434       New      Carlsbad MALTESE 5_8       31H            4/21/2021
           Mexico            FEDERAL COM


2435       New      Carlsbad MALTESE 5_8       32H            4/21/2021
           Mexico            FEDERAL COM


2436       New      Carlsbad MALTESE 5_8       34H            4/21/2021
           Mexico            FEDERAL COM


2437       New      Carlsbad MALTESE 5_8       35H            4/21/2021
           Mexico            FEDERAL COM




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2438       New      Carlsbad MALTESE 5_8       37H            4/21/2021
           Mexico            FEDERAL COM


2439       New      Carlsbad SND JAVELINA      420H           6/3/2022
           Mexico            UNIT 11 2 P417


2440       New      Carlsbad MESA 8105 1-12    57H            7/19/2021
           Mexico            FEDERAL

2441       New      Carlsbad MESA 8105 1-12    72H            7/19/2021
           Mexico            FEDERAL

2442       New      Carlsbad MESA 8105 1-12    73H            7/19/2021
           Mexico            FEDERAL

2443       New      Carlsbad KEYSTONE 6 FED    401H           8/23/2022
           Mexico            COM
2444       New      Carlsbad KEYSTONE 6 FED    402H           8/31/2022
           Mexico            COM
2445       New      Carlsbad KEYSTONE 6 FED    403H           8/31/2022
           Mexico            COM
2446       New      Carlsbad KEYSTONE 6 FED    404H           8/31/2022
           Mexico            COM
2447       New      Carlsbad KEYSTONE 6 FED    406H           8/23/2022
           Mexico            COM
2448       New      Carlsbad KEYSTONE 6 FED    407H           8/23/2022
           Mexico            COM
2449       New      Carlsbad KEYSTONE 6 FED    501H           8/31/2022
           Mexico            COM
2450       New      Carlsbad KEYSTONE 6 FED    502H           8/31/2022
           Mexico            COM
2451       New      Carlsbad KEYSTONE 6 FED    503H           8/31/2022
           Mexico            COM
2452       New      Carlsbad KEYSTONE 6 FED    504H           8/31/2022
           Mexico            COM
2453       New      Carlsbad KEYSTONE 6 FED    505H           8/31/2022
           Mexico            COM
2454       New      Carlsbad KEYSTONE 6 FED    506H           8/31/2022
           Mexico            COM
2455       New      Carlsbad KEYSTONE 6 FED    507H           8/31/2022
           Mexico            COM
2456       New      Carlsbad KEYSTONE 6 FED    508H           8/31/2022
           Mexico            COM


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2457       New      Carlsbad PRINCE            002H           5/5/2021
           Mexico            FEDERAL 19A

2458       New      Carlsbad PRINCE            001H           5/5/2021
           Mexico            FEDERAL 19A

2459       New      Carlsbad PRINCE            001H           5/5/2021
           Mexico            FEDERAL 19B

2460       New      Carlsbad ANGUS FEDERAL 003H               5/5/2021
           Mexico            COM 17

2461       New      Carlsbad ANGUS FEDERAL 002H               5/5/2021
           Mexico            COM 17

2462       New      Carlsbad PRINCE            002H           5/5/2021
           Mexico            FEDERAL 19B

2463       New      Carlsbad OZZY FEDERAL      001H           5/5/2021
           Mexico            COM 18C

2464       New      Carlsbad OZZY FEDERAL      001H           5/5/2021
           Mexico            COM 18C

2465       New      Carlsbad OZZY FEDERAL      002H           5/5/2021
           Mexico            COM 18C

2466       New      Carlsbad OZZY FEDERAL      004H           5/5/2021
           Mexico            COM 18D

2467       New      Carlsbad OZZY FEDERAL      003H           5/5/2021
           Mexico            COM 18D

2468       New      Carlsbad OZZY FEDERAL      002H           5/5/2021
           Mexico            COM 18D

2469       New      Carlsbad OZZY FEDERAL      001H           5/5/2021
           Mexico            COM 18D

2470       New      Carlsbad OZZY FEDERAL      003H           5/5/2021
           Mexico            COM 18C

2471       New      Carlsbad ANGUS FEDERAL 001H               5/5/2021
           Mexico            COM 17




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2472       New      Carlsbad ROJO 7811 22      71H            7/19/2021
           Mexico            FEDERAL
2473       New      Carlsbad ROJO 7811 22      72H            7/19/2021
           Mexico            FEDERAL
2474       New      Carlsbad ROJO 7811 22      73H            7/19/2021
           Mexico            FEDERAL
2475       New      Carlsbad ROJO 7811 22      74H            7/19/2021
           Mexico            FEDERAL
2476       New      Carlsbad ROJO 7811 22      67H            9/7/2021
           Mexico            FEDERAL
2477       New      Carlsbad ROJO 7811 22      68H            9/7/2021
           Mexico            FEDERAL
2478       New      Carlsbad ROJO 7811 22      69H            9/7/2021
           Mexico            FEDERAL
2479       New      Carlsbad ROJO 7811 22      70H            9/7/2021
           Mexico            FEDERAL
2480       New      Carlsbad ROJO 7811 27-22   51H            9/7/2021
           Mexico            FEDERAL COM


2481       New      Carlsbad ROJO 7811 27-22   52H            9/7/2021
           Mexico            FEDERAL COM


2482       New      Carlsbad ROJO 7811 27-22   53H            9/7/2021
           Mexico            FEDERAL COM


2483       New      Carlsbad ROJO 7811 27-22   54H            9/7/2021
           Mexico            FEDERAL COM


2484       New      Carlsbad ROJO 7811 27-22   43H            5/26/2021
           Mexico            FEDERAL COM


2485       New      Carlsbad CORRAL            161H           12/21/2021
           Mexico            CANYON 3 FED

2486       New      Carlsbad CORRAL GORGE      6H             6/4/2021
           Mexico            12-13 FEDERAL
                             COM




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2487       New      Carlsbad CORRAL GORGE      14H            6/4/2021
           Mexico            12-13 FEDERAL
                             COM

2488       New      Carlsbad CORRAL BLUFF      26H            7/19/2021
           Mexico            11_14 FEDERAL
                             COM


2489       New      Carlsbad CORRAL BLUFF      25H            7/19/2021
           Mexico            11_14 FEDERAL
                             COM


2490       New      Carlsbad RUTHLESS 11       506H           4/16/2021
           Mexico            FED COM
2491       New      Carlsbad RUTHLESS 11       759H           4/23/2021
           Mexico            FED COM
2492       New      Carlsbad POKER LAKE        154H           9/21/2021
           Mexico            UNIT 29-20 BS

2493       New      Carlsbad MESA B 8115 7     26H            3/29/2022
           Mexico            FEDERAL COM


2494       New      Carlsbad MESA B 8115 7     27H            3/29/2022
           Mexico            FEDERAL COM


2495       New      Carlsbad MESA B 8115 7     28H            3/29/2022
           Mexico            FEDERAL COM


2496       New      Carlsbad MESA B 8115 7     29H            3/29/2022
           Mexico            FEDERAL COM


2497       New      Carlsbad RIVERBEND 11-  16H               4/13/2022
           Mexico            14 FEDERAL COM


2498       New      Carlsbad RIVERBEND 11-  15H               6/24/2022
           Mexico            14 FEDERAL COM




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2499       New      Carlsbad RIVERBEND 11-  3H                6/24/2022
           Mexico            14 FEDERAL COM


2500       New      Carlsbad PEREGRINE 27      718H           4/20/2021
           Mexico            FED COM
2501       New      Carlsbad PEREGRINE 27      705H           4/20/2021
           Mexico            FED COM
2502       New      Carlsbad PEREGRINE 27      706H           4/20/2021
           Mexico            FED COM
2503       New      Carlsbad HOLYFIELD 9       723H           4/16/2021
           Mexico            FED COM
2504       New      Carlsbad SHEBA FEDERAL     506H           4/16/2021
           Mexico            COM

2505       New      Carlsbad HOLYFIELD 9       713H           7/19/2021
           Mexico            FED COM
2506       New      Carlsbad HOLYFIELD 9       104H           7/19/2021
           Mexico            FED COM
2507       New      Carlsbad HOLYFIELD 9       721H           7/19/2021
           Mexico            FED COM
2508       New      Carlsbad HOLYFIELD 9       204H           7/19/2021
           Mexico            FED COM
2509       New      Carlsbad HOLYFIELD 9       101H           2/11/2022
           Mexico            FED COM
2510       New      Carlsbad HOLYFIELD 9       201H           2/11/2022
           Mexico            FED COM
2511       New      Carlsbad HOLYFIELD 9       703H           3/4/2022
           Mexico            FED COM
2512       New      Carlsbad HOLYFIELD 9       708H           3/4/2022
           Mexico            FED COM
2513       New      Carlsbad HOLYFIELD 9       742H           3/4/2022
           Mexico            FED COM
2514       New      Carlsbad PEREGRINE 27      406H           3/4/2022
           Mexico            FED COM
2515       New      Carlsbad HOLYFIELD 9       401H           3/30/2022
           Mexico            FED COM
2516       New      Carlsbad HOLYFIELD 9       403H           3/30/2022
           Mexico            FED COM
2517       New      Carlsbad HOLYFIELD 9       704H           3/30/2022
           Mexico            FED COM
2518       New      Carlsbad HOLYFIELD 9       402H           3/30/2022
           Mexico            FED COM
2519       New      Carlsbad HOLYFIELD 9       404H           3/30/2022
           Mexico            FED COM


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2520       New      Carlsbad HOLYFIELD 9       405H           3/30/2022
           Mexico            FED COM
2521       New      Carlsbad HOLYFIELD 9       702H           3/30/2022
           Mexico            FED COM
2522       New      Carlsbad SHEBA FEDERAL     306H           12/21/2021
           Mexico            COM

2523       New      Carlsbad SHEBA FEDERAL     507H           5/27/2021
           Mexico            COM

2524       New      Carlsbad ARMSTRONG         1H             6/7/2021
           Mexico            26/23 B2HA FED
                             COM

2525       New      Carlsbad OUTRIDER 28       604H           12/2/2021
           Mexico            FED
2526       New      Carlsbad CHOLULA 12/11     2H             9/3/2021
           Mexico            W0HG FED COM

2527       New      Carlsbad BO HOWARD         121H           3/25/2022
           Mexico            1211 FED COM


2528       New      Carlsbad BO HOWARD         122H           3/25/2022
           Mexico            1211 FED COM


2529       New      Carlsbad FOXHOLE 25/26     1H             4/16/2021
           Mexico            W0IJ FED COM

2530       New      Carlsbad FOXHOLE 25/26     1H             5/5/2021
           Mexico            W0AB FED COM

2531       New      Carlsbad FOXHOLE 25/26     1Y             5/5/2021
           Mexico            W0PO FED COM

2532       New      Carlsbad FOXHOLE 25/26     1H             5/10/2021
           Mexico            W0HG FED COM

2533       New      Carlsbad PERAZZI 9/10      1H             4/12/2021
           Mexico            W0LI FED

2534       New      Carlsbad PERAZZI 9/10      1H             4/12/2021
           Mexico            B3MP FED




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2535       New      Carlsbad KYLE FEDERAL      11H            4/19/2021
           Mexico            24 28 34 WA

2536       New      Carlsbad KYLE FEDERAL      14H            4/19/2021
           Mexico            24 28 34 WA

2537       New      Carlsbad KYLE FEDERAL      13H            4/19/2021
           Mexico            24 28 34 TB

2538       New      Carlsbad OXBOW CC 17-8     42H            4/21/2021
           Mexico            FEDERAL COM


2539       New      Carlsbad OXBOW CC 17-8     41H            4/21/2021
           Mexico            FEDERAL COM


2540       New      Carlsbad SALT FLAT CC      51H            4/21/2021
           Mexico            20-29 FED COM

2541       New      Carlsbad OXBOW CC 17-8     11H            4/21/2021
           Mexico            FEDERAL COM


2542       New      Carlsbad ANACONDA 11-      5H             3/7/2022
           Mexico            14 FED 1BS COM

2543       New      Carlsbad ANACONDA 11-      6H             3/7/2022
           Mexico            14 FED 1BS COM

2544       New      Carlsbad ANACONDA 11-      3H             3/7/2022
           Mexico            14 FED 2BS COM

2545       New      Carlsbad ANACONDA 11-      4H             3/7/2022
           Mexico            14 FED 2BS COM

2546       New      Carlsbad ANACONDA 11-      1H             3/7/2022
           Mexico            14 FED 3BS COM

2547       New      Carlsbad ANACONDA 11-      2H             3/7/2022
           Mexico            14 FED 3BS COM

2548       New      Carlsbad YUKON 20 FED      506H           12/10/2021
           Mexico            COM




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2549       New      Carlsbad YUKON 20 FED      706H           12/10/2021
           Mexico            COM
2550       New      Carlsbad YUKON 20 FED      104H           12/10/2021
           Mexico            COM
2551       New      Carlsbad YUKON 20 FED      103H           12/10/2021
           Mexico            COM
2552       New      Carlsbad YUKON 20 FED      512H           7/12/2022
           Mexico            COM
2553       New      Carlsbad YUKON 20 FED      511H           7/12/2022
           Mexico            COM
2554       New      Carlsbad YUKON 20 FED      510H           7/12/2022
           Mexico            COM
2555       New      Carlsbad YUKON 20 FED      509H           7/12/2022
           Mexico            COM
2556       New      Carlsbad YUKON 20 FED      401H           7/12/2022
           Mexico            COM
2557       New      Carlsbad YUKON 20 FED      402H           7/12/2022
           Mexico            COM
2558       New      Carlsbad YUKON 20 FED      508H           7/12/2022
           Mexico            COM
2559       New      Carlsbad YUKON 20 FED      507H           6/30/2022
           Mexico            COM
2560       New      Carlsbad YUKON 20 FED      701H           6/22/2022
           Mexico            COM
2561       New      Carlsbad YUKON 20 FED      702H           6/22/2022
           Mexico            COM
2562       New      Carlsbad YUKON 20 FED      703H           6/22/2022
           Mexico            COM
2563       New      Carlsbad YUKON 20 FED      102Y           6/22/2022
           Mexico            COM
2564       New      Carlsbad YUKON 20 FED      101H           6/22/2022
           Mexico            COM
2565       New      Carlsbad YUKON 20 FED      405H           6/30/2022
           Mexico            COM
2566       New      Carlsbad YUKON 20 FED      406H           6/30/2022
           Mexico            COM
2567       New      Carlsbad YUKON 20 FED      205H           8/10/2022
           Mexico            COM
2568       New      Carlsbad YUKON 20 FED      206H           8/10/2022
           Mexico            COM
2569       New      Carlsbad YUKON 20 FED      207H           7/12/2022
           Mexico            COM
2570       New      Carlsbad YUKON 20 FED      704H           7/12/2022
           Mexico            COM



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2571       New      Carlsbad YUKON 20 FED      709H           7/12/2022
           Mexico            COM
2572       New      Carlsbad YUKON 20 FED      710H           7/12/2022
           Mexico            COM
2573       New      Carlsbad YUKON 20 FED      711H           7/12/2022
           Mexico            COM
2574       New      Carlsbad YUKON 20 FED      740H           7/12/2022
           Mexico            COM
2575       New      Carlsbad YUKON 20 FED      741H           7/12/2022
           Mexico            COM
2576       New      Carlsbad YUKON 20 FED      742H           7/12/2022
           Mexico            COM
2577       New      Carlsbad YUKON 20 FED      743H           7/12/2022
           Mexico            COM
2578       New      Carlsbad YUKON 20 FED      746H           7/12/2022
           Mexico            COM
2579       New      Carlsbad DL 10 15          424H           3/9/2022
           Mexico            OGOPOGO FED
                             COM
2580       New      Carlsbad GOONCH FED        225H           2/21/2021
           Mexico            COM 0409

2581       New      Carlsbad GOONCH FED        135H           4/20/2021
           Mexico            COM 04
2582       New      Carlsbad JACK SLEEPER      202H           2/22/2022
           Mexico            FED COM

2583       New      Carlsbad JACK SLEEPER      112H           2/22/2022
           Mexico            FED COM

2584       New      Carlsbad JACK SLEEPER      122H           2/22/2022
           Mexico            FED COM

2585       New      Carlsbad JACK SLEEPER      222H           2/22/2022
           Mexico            FED COM

2586       New      Carlsbad GOONCH FED        215H           3/7/2022
           Mexico            COM 04
2587       New      Carlsbad PRIZEHOG B        4H             4/19/2022
           Mexico            FEDERAL STATE
                             COM
2588       New      Carlsbad MAXUS 8026 FED    11H            1/25/2022
           Mexico            COM




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2589       New      Carlsbad FOXIE 18 FED      701H           7/19/2021
           Mexico            COM
2590       New      Carlsbad TROJAN HORSE      2H             4/19/2022
           Mexico            35 WXY FED
                             COM

2591       New      Carlsbad TROJAN HORSE      3H             4/19/2022
           Mexico            35 WB FED COM


2592       New      Carlsbad TROJAN HORSE      4H             4/19/2022
           Mexico            35 WXY FED
                             COM

2593       New      Carlsbad STEEL GUITAR      451H           9/7/2021
           Mexico            35-26 FED COM

2594       New      Carlsbad STEEL GUITAR      411H           7/30/2021
           Mexico            35-26-29 FED
                             COM

2595       New      Carlsbad STEEL GUITAR      412H           8/6/2021
           Mexico            35-26-29 FED
                             COM

2596       New      Carlsbad STEEL GUITAR      413H           8/6/2021
           Mexico            35-26-29 FED
                             COM

2597       New      Carlsbad STEEL GUITAR      422H           9/9/2021
           Mexico            35-26-29 FED
                             COM

2598       New      Carlsbad STEEL GUITAR      423H           7/30/2021
           Mexico            35-26-29 FED
                             COM

2599       New      Carlsbad BEBOP 36/25       2H             9/3/2021
           Mexico            W1NK FED COM

2600       New      Carlsbad BEBOP 36/25       1H             9/3/2021
           Mexico            W0NK FED COM




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2601       New      Carlsbad BEBOP 36/25       1H             9/3/2021
           Mexico            W0ML FED COM

2602       New      Carlsbad MALTESE 5-8       5H             6/3/2022
           Mexico            FEDERAL COM

2603       New      Carlsbad SCHLITZ FED       158H           8/19/2022
           Mexico            COM
2604       New      Carlsbad LACEY SWISS 1     722H           3/4/2022
           Mexico            FED COM

2605       New      Carlsbad LACEY SWISS 1     502H           3/4/2022
           Mexico            FED COM

2606       New      Carlsbad LACEY SWISS 1     701H           3/4/2022
           Mexico            FED COM

2607       New      Carlsbad LACEY SWISS 1     702H           3/4/2022
           Mexico            FED COM

2608       New      Carlsbad LACEY SWISS 1     721H           3/4/2022
           Mexico            FED COM

2609       New      Carlsbad HORN 22-27-34     412H           3/25/2022
           Mexico            FED COM
2610       New      Carlsbad HORN 22-27-34     413H           3/25/2022
           Mexico            FED COM
2611       New      Carlsbad HORN 22-27-34     421H           3/25/2022
           Mexico            FED COM
2612       New      Carlsbad HORN 22-27-34     422H           3/25/2022
           Mexico            FED COM
2613       New      Carlsbad DIAMOND 31 FED    503H           7/20/2021
           Mexico            COM
2614       New      Carlsbad DIAMOND 31 FED    504H           7/20/2021
           Mexico            COM
2615       New      Carlsbad DIAMOND 31 FED    507H           1/26/2022
           Mexico            COM
2616       New      Carlsbad DIAMOND 31 FED    305H           1/26/2022
           Mexico            COM
2617       New      Carlsbad DIAMOND 31 FED    306H           1/26/2022
           Mexico            COM
2618       New      Carlsbad BIG FISH 12-10    312H           4/9/2021
           Mexico            FEDERAL COM




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2619       New      Carlsbad LLAMA MALL 26- 34H               6/3/2022
           Mexico            35 FEDERAL COM


2620       New      Carlsbad LLAMA MALL 26- 35H               6/3/2022
           Mexico            35 FEDERAL COM


2621       New      Carlsbad LLAMA MALL 26- 312H              6/3/2022
           Mexico            35 FEDERAL COM


2622       New      Carlsbad CALZONE           701H           4/8/2022
           Mexico            FEDERAL COM

2623       New      Carlsbad CALZONE           702H           4/8/2022
           Mexico            FEDERAL COM

2624       New      Carlsbad CALZONE           703H           4/8/2022
           Mexico            FEDERAL COM

2625       New      Carlsbad CALZONE           704H           4/8/2022
           Mexico            FEDERAL COM

2626       New      Carlsbad SILVER BAR 35     133H           2/21/2021
           Mexico            FED STATE COM

2627       New      Carlsbad STETSON 13-24     10H            12/2/2021
           Mexico            2BS FED COM

2628       New      Carlsbad STETSON 13-24     11H            12/2/2021
           Mexico            2BS FED COM

2629       New      Carlsbad APPALOOSA 18      701H           9/7/2021
           Mexico            FED COM

2630       New      Carlsbad APPALOOSA 18      702H           9/7/2021
           Mexico            FED COM

2631       New      Carlsbad APPALOOSA 18      704H           9/7/2021
           Mexico            FED COM

2632       New      Carlsbad APPALOOSA 18      703H           10/21/2021
           Mexico            FED COM




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2633       New      Carlsbad APPALOOSA 18      707H           10/21/2021
           Mexico            FED COM

2634       New      Carlsbad APPALOOSA 18      721H           10/21/2021
           Mexico            FED COM

2635       New      Carlsbad APPALOOSA 18      722H           10/21/2021
           Mexico            FED COM

2636       New      Carlsbad APPALOOSA 18      723H           10/21/2021
           Mexico            FED COM

2637       New      Carlsbad APPALOOSA 18      724H           10/21/2021
           Mexico            FED COM

2638       New      Carlsbad APPALOOSA 18      725H           10/21/2021
           Mexico            FED COM

2639       New      Carlsbad APPALOOSA 18      742H           10/21/2021
           Mexico            FED COM

2640       New      Carlsbad APPALOOSA 18      744H           10/21/2021
           Mexico            FED COM

2641       New      Carlsbad APPALOOSA 18      745H           10/21/2021
           Mexico            FED COM

2642       New      Carlsbad APPALOOSA 18      747H           10/21/2021
           Mexico            FED COM

2643       New      Carlsbad APPALOOSA 18      727H           11/26/2021
           Mexico            FED COM

2644       New      Carlsbad APPALOOSA 18      501H           3/4/2022
           Mexico            FED COM

2645       New      Carlsbad APPALOOSA 18      502H           3/4/2022
           Mexico            FED COM

2646       New      Carlsbad APPALOOSA 18      503H           3/4/2022
           Mexico            FED COM

2647       New      Carlsbad APPALOOSA 18      506H           3/4/2022
           Mexico            FED COM




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2648       New      Carlsbad APPALOOSA 18      706H           3/4/2022
           Mexico            FED COM

2649       New      Carlsbad APPALOOSA 18      743H           3/4/2022
           Mexico            FED COM

2650       New      Carlsbad APPALOOSA 18      705H           3/10/2022
           Mexico            FED COM

2651       New      Carlsbad APPALOOSA 18      726H           3/4/2022
           Mexico            FED COM

2652       New      Carlsbad APPALOOSA 18      741H           3/4/2022
           Mexico            FED COM

2653       New      Carlsbad APPALOOSA 18      708H           3/4/2022
           Mexico            FED COM

2654       New      Carlsbad APPALOOSA 18      746H           10/21/2021
           Mexico            FED COM

2655       New      Carlsbad APPALOOSA 18      101H           3/17/2022
           Mexico            FED COM

2656       New      Carlsbad APPALOOSA 18      102H           3/17/2022
           Mexico            FED COM

2657       New      Carlsbad APPALOOSA 18      104H           3/17/2022
           Mexico            FED COM

2658       New      Carlsbad APPALOOSA 18      201H           3/25/2022
           Mexico            FED COM

2659       New      Carlsbad APPALOOSA 18      202H           3/25/2022
           Mexico            FED COM

2660       New      Carlsbad APPALOOSA 18      203H           3/25/2022
           Mexico            FED COM

2661       New      Carlsbad APPALOOSA 18      204H           3/25/2022
           Mexico            FED COM

2662       New      Carlsbad APPALOOSA 18      205H           3/25/2022
           Mexico            FED COM




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2663       New      Carlsbad APPALOOSA 18      207H           3/25/2022
           Mexico            FED COM

2664       New      Carlsbad APPALOOSA 18      208H           3/25/2022
           Mexico            FED COM

2665       New      Carlsbad APPALOOSA 18      209H           3/25/2022
           Mexico            FED COM

2666       New      Carlsbad APPALOOSA 18      210H           3/25/2022
           Mexico            FED COM

2667       New      Carlsbad APPALOOSA 18      211H           3/25/2022
           Mexico            FED COM

2668       New      Carlsbad APPALOOSA 18      212H           3/25/2022
           Mexico            FED COM

2669       New      Carlsbad APPALOOSA 18      213H           3/25/2022
           Mexico            FED COM

2670       New      Carlsbad APPALOOSA 18      214H           3/25/2022
           Mexico            FED COM

2671       New      Carlsbad APPALOOSA 18      505H           3/25/2022
           Mexico            FED COM

2672       New      Carlsbad DAGGER LAKE       502H           4/21/2021
           Mexico            SOUTH 8 FED
                             COM

2673       New      Carlsbad DAGGER LAKE       506H           4/21/2021
           Mexico            SOUTH 8 FED
                             COM

2674       New      Carlsbad DAGGER LAKE       508H           4/21/2021
           Mexico            SOUTH 8 FED
                             COM

2675       New      Carlsbad DAGGER LAKE       602H           4/21/2021
           Mexico            SOUTH 8 FED
                             COM




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2676       New      Carlsbad DAGGER LAKE       504H           7/23/2021
           Mexico            SOUTH 8 FED
                             COM

2677       New      Carlsbad DAGGER LAKE       552H           10/21/2021
           Mexico            SOUTH 8 FED
                             COM

2678       New      Carlsbad DAGGER LAKE       554H           10/21/2021
           Mexico            SOUTH 8 FED
                             COM

2679       New      Carlsbad ROJO 7811 27-22   55H            5/26/2021
           Mexico            FEDERAL COM


2680       New      Carlsbad ROJO 7811 27-22   56H            5/26/2021
           Mexico            FEDERAL COM


2681       New      Carlsbad ROJO 7811 27-22   57H            5/26/2021
           Mexico            FEDERAL COM


2682       New      Carlsbad ROJO 7811 27-22   58H            11/12/2021
           Mexico            FEDERAL COM


2683       New      Carlsbad NORTH RIDGE       8H             2/11/2022
           Mexico            8040 FEDERAL
                             COM

2684       New      Carlsbad NORTH RIDGE       9H             2/11/2022
           Mexico            8040 FEDERAL
                             COM

2685       New      Carlsbad GISSLER B         113            10/18/2021
           Mexico
2686       New      Carlsbad GISSLER B 8 PM    1H             11/12/2021
           Mexico
2687       New      Carlsbad GISSLER B 8 IL    1H             11/12/2021
           Mexico
2688       New      Carlsbad SD 29 32 FED      421H           3/7/2022
           Mexico            COM P363




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2689       New      Carlsbad SD 29 32 FED      422H           3/7/2022
           Mexico            COM P363

2690       New      Carlsbad SD 29 32 FED      423H           3/7/2022
           Mexico            COM P363

2691       New      Carlsbad SD 18 19 FED      422H           4/13/2022
           Mexico            COM P360

2692       New      Carlsbad SD 18 19 FED      423H           4/13/2022
           Mexico            COM P360

2693       New      Carlsbad SD 18 19 FED      21H            3/9/2022
           Mexico            COM P345

2694       New      Carlsbad SD 18 19 FED      22H            3/9/2022
           Mexico            COM P345

2695       New      Carlsbad SD 29 32 FED      21H            2/11/2022
           Mexico            COM P341

2696       New      Carlsbad SD 29 32 FED      22H            2/11/2022
           Mexico            COM P341

2697       New      Carlsbad SD 29 32 FED      23H            2/11/2022
           Mexico            COM P341

2698       New      Carlsbad FIDDLE FIRE 24    11H            10/22/2021
           Mexico            SB FED COM

2699       New      Carlsbad FIDDLE FIRE 24    10H            10/22/2021
           Mexico            SB FED COM

2700       New      Carlsbad DIAMOND 31 FED    501H           7/20/2021
           Mexico            COM
2701       New      Carlsbad DIAMOND 31 FED    502H           7/20/2021
           Mexico            COM
2702       New      Carlsbad DILLON 31 FED     502H           7/20/2021
           Mexico            COM
2703       New      Carlsbad DILLON 31 FED     503H           7/20/2021
           Mexico            COM
2704       New      Carlsbad DILLON 31 FED     504H           7/20/2021
           Mexico            COM
2705       New      Carlsbad DILLON 31 FED     501H           8/13/2021
           Mexico            COM


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2706       New      Carlsbad DIAMOND 31 FED    506H           1/26/2022
           Mexico            COM
2707       New      Carlsbad DILLON 31 FED     404H           7/12/2022
           Mexico            COM
2708       New      Carlsbad DILLON 31 FED     306H           7/12/2022
           Mexico            COM
2709       New      Carlsbad DILLON 31 FED     304H           7/12/2022
           Mexico            COM
2710       New      Carlsbad DILLON 31 FED     403H           7/12/2022
           Mexico            COM
2711       New      Carlsbad TOP SPOT 12_13    1H             6/4/2021
           Mexico            FED COM

2712       New      Carlsbad TOP SPOT 12_13    11H            6/4/2021
           Mexico            FED COM

2713       New      Carlsbad TOP SPOT 12_13    32H            6/4/2021
           Mexico            FED COM

2714       New      Carlsbad TOP SPOT 12_13    31H            6/4/2021
           Mexico            FEDERAL COM


2715       New      Carlsbad SND 11 2 FED      217H           9/30/2021
           Mexico            COM 004 P27

2716       New      Carlsbad SND 11 2 FED      216H           9/30/2021
           Mexico            COM 004 P27

2717       New      Carlsbad EIDER 23          703H           4/22/2021
           Mexico            FEDERAL COM

2718       New      Carlsbad LACEY SWISS 1     708H           4/16/2021
           Mexico            FED COM

2719       New      Carlsbad LACEY SWISS 1     725H           3/4/2022
           Mexico            FED COM

2720       New      Carlsbad LACEY SWISS 1     707H           3/4/2022
           Mexico            FED COM

2721       New      Carlsbad LACEY SWISS 1     706H           3/4/2022
           Mexico            FED COM




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2722       New      Carlsbad CARPET BOMB       1              7/20/2021
           Mexico            FEDERAL SWD


2723       New      Carlsbad LAKEWOOD 34       1H             7/30/2021
           Mexico            Y2PA FED COM

2724       New      Carlsbad JAVELINA UNIT     417H           6/24/2022
           Mexico
2725       New      Carlsbad YEAH YEAH         604H           3/17/2022
           Mexico            FEDERAL COM

2726       New      Carlsbad BIG EDDY UNIT     200H           7/1/2022
           Mexico            BB HUX

2727       New      Carlsbad BIG EDDY UNIT     201H           7/1/2022
           Mexico            BB HUX

2728       New      Carlsbad BIG EDDY UNIT     202H           7/1/2022
           Mexico            BB HUX

2729       New      Carlsbad CLAWHAMMER        412H           6/18/2021
           Mexico            33-28-21 FED
                             COM
2730       New      Carlsbad CLAWHAMMER        413H           6/18/2021
           Mexico            33-28-21 FED
                             COM
2731       New      Carlsbad CLAWHAMMER        421H           6/18/2021
           Mexico            33-28-21 FED
                             COM
2732       New      Carlsbad CLAWHAMMER        422H           6/18/2021
           Mexico            33-28-21 FED
                             COM
2733       New      Carlsbad CLAWHAMMER        423H           6/18/2021
           Mexico            33-28-21 FED
                             COM
2734       New      Carlsbad SALADO DRAW       3H             6/3/2022
           Mexico            10 W1MD FED
                             COM

2735       New      Carlsbad WTG FED COM       242H           2/28/2021
           Mexico
2736       New      Carlsbad WTG FED COM       245H           2/28/2021
           Mexico




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2737       New      Carlsbad WTG FED COM       246H           2/28/2021
           Mexico
2738       New      Carlsbad WTG FED COM       236H           2/28/2021
           Mexico
2739       New      Carlsbad WTG FED COM       243H           2/28/2021
           Mexico
2740       New      Carlsbad WTG FED COM       241H           2/28/2021
           Mexico
2741       New      Carlsbad WTG FED COM       232H           4/20/2021
           Mexico
2742       New      Carlsbad WTG FED COM       232H           4/20/2021
           Mexico
2743       New      Carlsbad WTG FED COM       235H           4/20/2021
           Mexico
2744       New      Carlsbad MONEY          124H              10/22/2021
           Mexico            GRAHAM FED
                             COM
2745       New      Carlsbad MONEY          126Y              10/22/2021
           Mexico            GRAHAM FED
                             COM
2746       New      Carlsbad GHOST RIDER 22 21H               9/7/2021
           Mexico            15 FEDERAL COM


2747       New      Carlsbad GHOST RIDER 22 22H               4/19/2022
           Mexico            15 FEDERAL COM


2748       New      Carlsbad GHOST RIDER 22 401H              4/19/2022
           Mexico            15 FEDERAL COM


2749       New      Carlsbad SILVER BULLET     4H             9/3/2021
           Mexico            16/21 W1BO
                             FEDCO

2750       New      Carlsbad SILVER BULLET     3H             9/27/2021
           Mexico            16/21 W1BO
                             FEDCO

2751       New      Carlsbad SILVER BULLET     2H             9/27/2021
           Mexico            16/21 H3AP
                             FEDCO




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2752       New      Carlsbad SILVER BULLET     2H             9/27/2021
           Mexico            16/21 W1AP
                             FEDCO

2753       New      Carlsbad SILVER BULLET     1H             9/27/2021
           Mexico            16/21 H3BO
                             FEDCO

2754       New      Carlsbad SILVER BULLET     1H             9/27/2021
           Mexico            16/21 H3AP
                             FEDCO

2755       New      Carlsbad SILVER BULLET     5H             9/27/2021
           Mexico            16/21 W1BO
                             FEDCO

2756       New      Carlsbad SILVER BULLET     1H             9/27/2021
           Mexico            16/21 W1AP
                             FEDCO

2757       New      Carlsbad SILVER BULLET     1H             9/27/2021
           Mexico            16/21 B2BO
                             FEDCO

2758       New      Carlsbad TATANKA FED       702H           3/7/2022
           Mexico            COM
2759       New      Carlsbad TATANKA FED       703H           3/7/2022
           Mexico            COM
2760       New      Carlsbad TATANKA FED       803H           3/7/2022
           Mexico            COM
2761       New      Carlsbad TATANKA FED       804H           3/7/2022
           Mexico            COM
2762       New      Carlsbad YEAH YEAH         501H           3/17/2022
           Mexico            FEDERAL COM

2763       New      Carlsbad YEAH YEAH         502H           3/17/2022
           Mexico            FEDERAL COM

2764       New      Carlsbad YEAH YEAH         503H           3/17/2022
           Mexico            FEDERAL COM

2765       New      Carlsbad YEAH YEAH         601H           3/17/2022
           Mexico            FEDERAL COM




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2766       New      Carlsbad YEAH YEAH         602H           3/17/2022
           Mexico            FEDERAL COM

2767       New      Carlsbad SILVER FED COM    401H           4/19/2021
           Mexico
2768       New      Carlsbad SILVER FED COM    501H           4/19/2021
           Mexico
2769       New      Carlsbad SILVER FED COM    601H           4/19/2021
           Mexico
2770       New      Carlsbad SILVER FED COM    301H           4/23/2021
           Mexico
2771       New      Carlsbad SILVER FED COM    302H           4/23/2021
           Mexico
2772       New      Carlsbad SILVER FED COM    303H           4/23/2021
           Mexico
2773       New      Carlsbad SILVER FED COM    304H           4/23/2021
           Mexico
2774       New      Carlsbad SILVER FED COM    305H           4/23/2021
           Mexico
2775       New      Carlsbad SILVER FED COM    306H           4/23/2021
           Mexico
2776       New      Carlsbad SILVER FED COM    402H           4/23/2021
           Mexico
2777       New      Carlsbad SILVER FED COM    403H           4/23/2021
           Mexico
2778       New      Carlsbad SILVER FED COM    502H           4/23/2021
           Mexico
2779       New      Carlsbad SILVER FED COM    503H           4/23/2021
           Mexico
2780       New      Carlsbad SILVER FED COM    504H           4/23/2021
           Mexico
2781       New      Carlsbad SILVER FED COM    602H           4/23/2021
           Mexico
2782       New      Carlsbad SILVER FED COM    701H           4/19/2021
           Mexico
2783       New      Carlsbad SILVER FED COM    705H           4/23/2021
           Mexico
2784       New      Carlsbad SILVER FED COM    706H           4/23/2021
           Mexico
2785       New      Carlsbad SILVER FED COM    707H           4/23/2021
           Mexico
2786       New      Carlsbad SILVER FED COM    603H           5/12/2021
           Mexico
2787       New      Carlsbad SILVER FED COM    703H           5/12/2021
           Mexico


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2788       New      Carlsbad SILVER FED COM    702H           6/28/2021
           Mexico
2789       New      Carlsbad FORTY NINER       130H           3/24/2022
           Mexico            RIDGE UNIT

2790       New      Carlsbad OVATION FED       236H           10/21/2021
           Mexico            COM 1318

2791       New      Carlsbad OVATION FED       224H           3/30/2022
           Mexico            COM 1318

2792       New      Carlsbad OVATION FED       243H           3/30/2022
           Mexico            COM 1318

2793       New      Carlsbad MESA VERDE BS     44H            4/21/2021
           Mexico            UNIT

2794       New      Carlsbad MESA VERDE BS     45H            4/21/2021
           Mexico            UNIT

2795       New      Carlsbad MESA VERDE BS     46H            4/21/2021
           Mexico            UNIT

2796       New      Carlsbad MESA VERDE BS     59H            4/21/2021
           Mexico            UNIT

2797       New      Carlsbad MESA VERDE BS     73H            4/21/2021
           Mexico            UNIT

2798       New      Carlsbad MESA VERDE BS     74H            4/21/2021
           Mexico            UNIT

2799       New      Carlsbad MESA VERDE WC 39H                4/21/2021
           Mexico            UNIT

2800       New      Carlsbad MESA VERDE WC 40H                4/21/2021
           Mexico            UNIT

2801       New      Carlsbad MESA VERDE WC 41H                4/21/2021
           Mexico            UNIT

2802       New      Carlsbad DOUBLE ABJ 16     704H           4/16/2021
           Mexico            FED COM




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2803       New      Carlsbad DOUBLE ABJ 16     705H           4/16/2021
           Mexico            FED COM

2804       New      Carlsbad MESA VERDE BS     60H            4/21/2021
           Mexico            UNIT

2805       New      Carlsbad HAMBONE           502H           9/7/2021
           Mexico            FEDERAL COM

2806       New      Carlsbad HAMBONE           501H           10/22/2021
           Mexico            FEDERAL COM

2807       New      Carlsbad THUNDERBALL       1H             4/8/2022
           Mexico            23 FED 1BS COM

2808       New      Carlsbad THUNDERBALL       3H             4/8/2022
           Mexico            23 FED 3BS COM

2809       New      Carlsbad THUNDERBALL    5H                4/8/2022
           Mexico            23 FED WCA COM

2810       New      Carlsbad THUNDERBALL    6H                4/8/2022
           Mexico            23 FED WCA COM

2811       New      Carlsbad GAVILON FED       301H           1/21/2021
           Mexico            COM
2812       New      Carlsbad GAVILON FED       302H           1/21/2021
           Mexico            COM
2813       New      Carlsbad GAVILON FED       306H           1/21/2021
           Mexico            COM
2814       New      Carlsbad GAVILON FED       305H           1/21/2021
           Mexico            COM
2815       New      Carlsbad ROSS DRAW 17      776H           5/6/2021
           Mexico            FED COM

2816       New      Carlsbad RANA SALADA       224H           4/12/2021
           Mexico            FED COM 0504


2817       New      Carlsbad RANA SALADA       236H           7/22/2021
           Mexico            FED COM 0504




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2818       New      Carlsbad RANA SALADA       225H           4/16/2021
           Mexico            FED COM 0605


2819       New      Carlsbad RANA SALADA       135H           4/16/2021
           Mexico            FED COM 0605


2820       New      Carlsbad RANA SALADA       215H           4/12/2021
           Mexico            FED COM 0605


2821       New      Carlsbad RANA SALADA       212H           4/9/2021
           Mexico            FED COM 0605


2822       New      Carlsbad RANA SALADA       222H           4/9/2021
           Mexico            FED COM 0605


2823       New      Carlsbad RANA SALADA       124H           4/22/2021
           Mexico            FED COM 0605


2824       New      Carlsbad RANA SALADA       232H           4/22/2021
           Mexico            FED COM 0605


2825       New      Carlsbad RANA SALADA       235H           4/22/2021
           Mexico            FED COM 0605


2826       New      Carlsbad RANA SALADA       221H           5/6/2021
           Mexico            FED COM 0605


2827       New      Carlsbad RANA SALADA       226H           7/22/2021
           Mexico            FED COM 0504


2828       New      Carlsbad RANA SALADA       223H           9/7/2021
           Mexico            FED COM 0504




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2829       New      Carlsbad RANA SALADA       145H           7/30/2021
           Mexico            FED COM 0605


2830       New      Carlsbad ALLEY CAT 17-20   124H           10/22/2021
           Mexico            FED COM

2831       New      Carlsbad ALLEY CAT 17-20   125H           11/17/2021
           Mexico            FED COM

2832       New      Carlsbad LOS VAQUEROS      202H           8/10/2022
           Mexico            FED

2833       New      Carlsbad SND JAVELINA      403H           10/21/2021
           Mexico            UNIT 9 16 P351


2834       New      Carlsbad SND JAVELINA 9    401H           9/22/2021
           Mexico            16 P351

2835       New      Carlsbad SND JAVELINA 9    404H           10/21/2021
           Mexico            16 P351

2836       New      Carlsbad SND 9 16 FED      402H           10/21/2021
           Mexico            COM 002 P351

2837       New      Carlsbad EXOTIC CAT 5-17   522H           4/8/2022
           Mexico            FED COM

2838       New      Carlsbad EXOTIC CAT 5-17   523H           4/8/2022
           Mexico            FED COM

2839       New      Carlsbad EXOTIC CAT 5-17   532H           4/8/2022
           Mexico            FED COM

2840       New      Carlsbad EXOTIC CAT 5-17   533H           4/8/2022
           Mexico            FED COM

2841       New      Carlsbad EXOTIC CAT 5-17   521H           4/19/2022
           Mexico            FED COM

2842       New      Carlsbad EXOTIC CAT 5-17   331H           6/30/2022
           Mexico            FED COM




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2843       New      Carlsbad EXOTIC CAT 5-17    332H          6/30/2022
           Mexico            FED COM

2844       New      Carlsbad EXOTIC CAT 5-17    611H          6/30/2022
           Mexico            FED COM

2845       New      Carlsbad EXOTIC CAT 5-17    612H          7/1/2022
           Mexico            FED COM

2846       New      Carlsbad EXOTIC CAT 5-17    711H          6/30/2022
           Mexico            FED COM

2847       New      Carlsbad EXOTIC CAT 5-17    712H          6/30/2022
           Mexico            FED COM

2848       New      Carlsbad MADERA 24          1H            7/14/2021
           Mexico            FEDERAL 26 34 24
                             TB
2849       New      Carlsbad MADERA 24          10H           7/14/2021
           Mexico            FEDERAL 26 34 24
                             TB
2850       New      Carlsbad MADERA 24          11H           7/14/2021
           Mexico            FEDERAL 26 34 24
                             WA
2851       New      Carlsbad MADERA 24          7H            6/4/2021
           Mexico            FEDERAL 26 34 24
                             WXY
2852       New      Carlsbad MADERA 25 TB       1H            6/4/2021
           Mexico            Fed Com
2853       New      Carlsbad MADERA 25 FED      10H           6/4/2021
           Mexico            COM 26 34 25 TB

2854       New      Carlsbad MADERA 25 WA       2H            8/13/2021
           Mexico            FED COM

2855       New      Carlsbad MADERA 25 FED      11H           6/18/2021
           Mexico            COM 26 34 25 WA

2856       New      Carlsbad MADERA 25 FED      6H            8/13/2021
           Mexico            COM 26 34 25 WB

2857       New      Carlsbad MADERA 25 FED      7H            6/18/2021
           Mexico            COM 26 34 25
                             WXY




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2858       New      Carlsbad MADERA 24        2H              9/30/2021
           Mexico            FEDERAL 26 34 24
                             WA
2859       New      Carlsbad MADERA 24        6H              12/10/2021
           Mexico            FEDERAL 26 34 24
                             WB
2860       New      Carlsbad GOLDEN 35-22-28 401H             3/28/2022
           Mexico            FED COM

2861       New      Carlsbad GOLDEN 35-22-28   402H           10/21/2021
           Mexico            FED COM

2862       New      Carlsbad RETRIEVER 35-     401H           10/21/2021
           Mexico            22-28 FED COM

2863       New      Carlsbad RETRIEVER 35-     402H           11/12/2021
           Mexico            22-28 FED COM

2864       New      Carlsbad MESCALERO 7-6     1H             1/12/2022
           Mexico            FED 1BS COM

2865       New      Carlsbad MESCALERO 7-6     2H             1/12/2022
           Mexico            FED 1BS COM

2866       New      Carlsbad MESCALERO 7-6     3H             1/12/2022
           Mexico            FED 2BS COM

2867       New      Carlsbad MESCALERO 7-6     4H             1/12/2022
           Mexico            FED 2BS COM

2868       New      Carlsbad ASTEROID 20-29    4H             4/16/2021
           Mexico            FED COM WCA

2869       New      Carlsbad JAVELINA UNIT     411H           8/26/2022
           Mexico
2870       New      Carlsbad JAVELINA UNIT     412H           6/3/2022
           Mexico
2871       New      Carlsbad ROCK SPUR 27      3H             7/19/2021
           Mexico            W2DM FED COM

2872       New      Carlsbad ROCK SPUR 27      1H             12/2/2021
           Mexico            W2DM FED COM

2873       New      Carlsbad KO LANTA 9-4      512H           9/7/2021
           Mexico            FED COM


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2874       New      Carlsbad IGOR 33 FED          202H        9/30/2021
           Mexico            COM
2875       New      Carlsbad IGOR 33 FED          503H        9/30/2021
           Mexico            COM
2876       New      Carlsbad LACEY SWISS 1        505H        3/4/2022
           Mexico            FED COM

2877       New      Carlsbad LACEY SWISS 1        709H        3/4/2022
           Mexico            FED COM

2878       New      Carlsbad LACEY SWISS 1        726H        4/12/2022
           Mexico            FED COM

2879       New      Carlsbad JULIET FEDERAL       513H        4/19/2021
           Mexico            COM

2880       New      Carlsbad JULIET FEDERAL       514H        4/19/2021
           Mexico            COM

2881       New      Carlsbad JULIET FEDERAL       113H        3/7/2022
           Mexico            COM

2882       New      Carlsbad ROMEO                111H        3/4/2022
           Mexico            FEDERAL COM

2883       New      Carlsbad ROMEO                112H        3/4/2022
           Mexico            FEDERAL COM

2884       New      Carlsbad ROMEO                311H        3/4/2022
           Mexico            FEDERAL COM

2885       New      Carlsbad Juliet Federal Com   313H        3/4/2022
           Mexico
2886       New      Carlsbad JULIET FEDERAL       114H        3/7/2022
           Mexico            COM

2887       New      Carlsbad JULIET FEDERAL       312H        3/7/2022
           Mexico            COM

2888       New      Carlsbad GUACAMOLE CC         14H         4/9/2021
           Mexico            24-23 FEDERAL
                             COM




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2889       New      Carlsbad GUACAMOLE CC      13H            4/9/2021
           Mexico            24-23 FEDERAL
                             COM

2890       New      Carlsbad BOUDIN CC 24-23   213H           5/26/2021
           Mexico            FEDERAL COM


2891       New      Carlsbad BOUDIN CC 24-23   212H           5/26/2021
           Mexico            FEDERAL

2892       New      Carlsbad BOUDIN CC 24-23   211H           5/26/2021
           Mexico            FEDERAL

2893       New      Carlsbad LIVE OAK CC 24- 43H              6/4/2021
           Mexico            23 FEDERAL COM


2894       New      Carlsbad LIVE OAK CC 24- 44H              1/4/2022
           Mexico            23 FEDERAL COM


2895       New      Carlsbad BOUDIN CC 24-23   214H           7/19/2021
           Mexico            FEDERAL COM


2896       New      Carlsbad TAILS CC 10_3     38H            7/19/2021
           Mexico            FED COM

2897       New      Carlsbad TAILS CC 10_3     37H            7/19/2021
           Mexico            FED COM

2898       New      Carlsbad TAILS CC 10_3     33H            7/19/2021
           Mexico            FED COM

2899       New      Carlsbad TAILS CC 10_3     32H            7/19/2021
           Mexico            FED COM

2900       New      Carlsbad TAILS CC 10_3     31H            7/19/2021
           Mexico            FED COM

2901       New      Carlsbad TAILS CC 10_3     312H           7/19/2021
           Mexico            FED COM




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2902       New      Carlsbad TAILS CC 10_3     311H           7/19/2021
           Mexico            FED COM

2903       New      Carlsbad NIMITZ MDP1 12-   45H            4/12/2021
           Mexico            1 FEDERAL COM


2904       New      Carlsbad NIMITZ MDP1 12-   46H            4/12/2021
           Mexico            1 FEDERAL COM


2905       New      Carlsbad NUGGET 6 31       31H            6/3/2021
           Mexico            FEDERAL COM

2906       New      Carlsbad NUGGET 6 31       34H            6/3/2021
           Mexico            FEDERAL COM

2907       New      Carlsbad NUGGET 6 31       33H            6/3/2021
           Mexico            FEDERAL COM

2908       New      Carlsbad NUGGET 6 31       32H            6/3/2021
           Mexico            FEDERAL COM

2909       New      Carlsbad GRUMPY CAT 15-    532H           2/28/2021
           Mexico            22 FED COM

2910       New      Carlsbad GRUMPY CAT 15-    612H           2/28/2021
           Mexico            22 FED COM

2911       New      Carlsbad GRUMPY CAT 15-    712H           2/28/2021
           Mexico            22 FED COM

2912       New      Carlsbad GRUMPY CAT 15-    122H           2/28/2021
           Mexico            22 FED COM

2913       New      Carlsbad GRUMPY CAT 15-    522H           2/28/2021
           Mexico            22 FED COM

2914       New      Carlsbad GRUMPY CAT 15-    332H           3/23/2021
           Mexico            22 FED COM

2915       New      Carlsbad RAMATHORN 14      2H             5/28/2021
           Mexico            WA FED COM




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2916       New      Carlsbad COLIBRI            1H            3/28/2022
           Mexico            FEDERAL 23 32 10
                             TB
2917       New      Carlsbad COLIBRI            2H            3/28/2022
           Mexico            FEDERAL 23 32 10
                             WA
2918       New      Carlsbad COLIBRI            20H           3/28/2022
           Mexico            FEDERAL 23 32 10
                             WB
2919       New      Carlsbad COLIBRI            6H            3/28/2022
           Mexico            FEDERAL 23 32 10
                             WB
2920       New      Carlsbad COLIBRI            19H           3/28/2022
           Mexico            FEDERAL 23 32 10
                             WD
2921       New      Carlsbad COLIBRI            7H            3/28/2022
           Mexico            FEDERAL 23 32 10
                             WXY
2922       New      Carlsbad CYPRESS 33 FED     205H          5/5/2021
           Mexico            COM
2923       New      Carlsbad CYPRESS 33 FED     207H          5/5/2021
           Mexico            COM
2924       New      Carlsbad NINA CORTELL       125H          12/2/2021
           Mexico            FED COM

2925       New      Carlsbad NINA CORTELL       203H          12/2/2021
           Mexico            FED COM

2926       New      Carlsbad NINA CORTELL       204H          12/2/2021
           Mexico            FED COM

2927       New      Carlsbad FLOOFY CAT 21-     121H          3/4/2022
           Mexico            16 FED STATE
                             COM

2928       New      Carlsbad FLOOFY CAT 21-     122H          3/4/2022
           Mexico            16 FED STATE
                             COM

2929       New      Carlsbad FLOOFY CAT 21-     123H          4/8/2022
           Mexico            16 FED STATE
                             COM




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2930       New      Carlsbad FLOOFY CAT 21-    124H           3/4/2022
           Mexico            16 FED STATE
                             COM

2931       New      Carlsbad FLOOFY CAT 21-    521H           3/4/2022
           Mexico            16 FED STATE
                             COM

2932       New      Carlsbad FLOOFY CAT 21-    522H           3/4/2022
           Mexico            16 FED STATE
                             COM

2933       New      Carlsbad FLOOFY CAT 21-    523H           3/4/2022
           Mexico            16 FED STATE
                             COM

2934       New      Carlsbad FLOOFY CAT 21-    524H           3/4/2022
           Mexico            16 FED STATE
                             COM

2935       New      Carlsbad FLOOFY CAT 21-    525H           3/4/2022
           Mexico            16 FED STATE
                             COM

2936       New      Carlsbad FLOOFY CAT 21-    526H           4/8/2022
           Mexico            16 FED STATE
                             COM

2937       New      Carlsbad FLOOFY CAT 21-    527H           3/4/2022
           Mexico            16 FED STATE
                             COM

2938       New      Carlsbad DESERT ROSE 17-   13H            9/28/2021
           Mexico            8 FEDERAL

2939       New      Carlsbad DESERT ROSE 17-   14H            9/28/2021
           Mexico            8 FEDERAL

2940       New      Carlsbad DESERT ROSE 17-   15H            9/28/2021
           Mexico            8 FEDERAL

2941       New      Carlsbad FORTY NINER       110H           3/24/2022
           Mexico            RIDGE UNIT




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2942       New      Carlsbad RIVERBEND 12-  1H                7/23/2021
           Mexico            13 FEDERAL COM


2943       New      Carlsbad RIVERBEND 12-  2H                7/23/2021
           Mexico            13 FEDERAL COM


2944       New      Carlsbad AMAZING 19 FED    601H           6/24/2022
           Mexico
2945       New      Carlsbad AMAZING 19 FED    701H           6/24/2022
           Mexico
2946       New      Carlsbad AMAZING 19 FED    702H           6/24/2022
           Mexico
2947       New      Carlsbad AMAZING 19 FED    703H           6/24/2022
           Mexico
2948       New      Carlsbad VALKYRIE 12       11H            12/2/2021
           Mexico            WXY FEDERAL
                             COM

2949       New      Carlsbad LOST TANK 30-19   41H            4/12/2021
           Mexico            FEDERAL COM


2950       New      Carlsbad SILVER BAR 35     134H           2/21/2021
           Mexico            FED STATE COM

2951       New      Carlsbad CROSSBOW 8 WA     16H            5/27/2021
           Mexico            FED COM

2952       New      Carlsbad CROSSBOW 8        15H            5/27/2021
           Mexico            WXY FED COM

2953       New      Carlsbad CROSSBOW 8        14H            5/27/2021
           Mexico            WXY FED COM

2954       New      Carlsbad CROSSBOW 8        9H             5/27/2021
           Mexico            WXY FED COM

2955       New      Carlsbad RANA SALADA       233H           4/12/2021
           Mexico            FED COM 0106




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2956       New      Carlsbad RANA SALADA       234H           4/16/2021
           Mexico            FED COM 0106


2957       New      Carlsbad RANA SALADA       223H           4/16/2021
           Mexico            FED COM 0106


2958       New      Carlsbad RANA SALADA       134H           4/16/2021
           Mexico            FED COM 0106


2959       New      Carlsbad RANA SALADA       235H           4/12/2021
           Mexico            FED 01

2960       New      Carlsbad RANA SALADA       224H           4/19/2021
           Mexico            FED COM 0106


2961       New      Carlsbad RANA SALADA       226H           4/19/2021
           Mexico            FED COM 0106


2962       New      Carlsbad RANA SALADA       236H           4/12/2021
           Mexico            FED COM 0106


2963       New      Carlsbad RANA SALADA       231H           6/4/2021
           Mexico            FED 01

2964       New      Carlsbad RANA SALADA       221H           6/4/2021
           Mexico            FED 01

2965       New      Carlsbad RANA SALADA       211H           6/4/2021
           Mexico            FED 01

2966       New      Carlsbad RANA SALADA       131H           6/4/2021
           Mexico            FED 01

2967       New      Carlsbad RANA SALADA       232H           6/4/2021
           Mexico            FED 01

2968       New      Carlsbad RANA SALADA       132H           7/22/2021
           Mexico            FED 01




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2969       New      Carlsbad RANA SALADA       222H           7/30/2021
           Mexico            FED 01

2970       New      Carlsbad MIDNIGHT HOUR     592H           5/5/2022
           Mexico            11 FED

2971       New      Carlsbad MIDNIGHT HOUR     708H           5/5/2022
           Mexico            11 FED COM

2972       New      Carlsbad MIDNIGHT HOUR     704H           5/5/2022
           Mexico            11 FED COM

2973       New      Carlsbad MIDNIGHT HOUR     725H           5/5/2022
           Mexico            11 FED COM

2974       New      Carlsbad MIDNIGHT HOUR     727H           5/5/2022
           Mexico            11 FED COM

2975       New      Carlsbad MIDNIGHT HOUR     729H           5/5/2022
           Mexico            11 FED COM

2976       New      Carlsbad MIDNIGHT HOUR     763H           5/5/2022
           Mexico            11 FED COM

2977       New      Carlsbad MIDNIGHT HOUR     801H           5/5/2022
           Mexico            11 FED COM

2978       New      Carlsbad MIDNIGHT HOUR     207H           5/5/2022
           Mexico            11 FED COM

2979       New      Carlsbad MIDNIGHT HOUR     584H           5/5/2022
           Mexico            11 FED COM

2980       New      Carlsbad MIDNIGHT HOUR     106H           5/5/2022
           Mexico            11 FED COM

2981       New      Carlsbad MIDNIGHT HOUR     593H           5/5/2022
           Mexico            11 FED

2982       New      Carlsbad MIDNIGHT HOUR     706H           6/22/2022
           Mexico            11 FED COM

2983       New      Carlsbad MIDNIGHT HOUR     109H           6/22/2022
           Mexico            10 FED COM




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2984       New      Carlsbad MIDNIGHT HOUR     103H           7/12/2022
           Mexico            11 FED

2985       New      Carlsbad MIDNIGHT HOUR     104H           7/12/2022
           Mexico            11 FED

2986       New      Carlsbad MIDNIGHT HOUR     101H           7/12/2022
           Mexico            11 FED

2987       New      Carlsbad MIDNIGHT HOUR     102H           7/12/2022
           Mexico            11 FED

2988       New      Carlsbad MIDNIGHT HOUR     107H           6/22/2022
           Mexico            10 FED COM

2989       New      Carlsbad MIDNIGHT HOUR     208H           8/10/2022
           Mexico            10 FED COM

2990       New      Carlsbad MIDNIGHT HOUR     303H           8/10/2022
           Mexico            10 FED COM

2991       New      Carlsbad MIDNIGHT HOUR     505H           8/10/2022
           Mexico            10 FED COM

2992       New      Carlsbad MIDNIGHT HOUR     585H           8/10/2022
           Mexico            10 FED COM

2993       New      Carlsbad MIDNIGHT HOUR     714H           7/12/2022
           Mexico            10 FED COM

2994       New      Carlsbad MIDNIGHT HOUR     733H           7/12/2022
           Mexico            10 FED COM

2995       New      Carlsbad MIDNIGHT HOUR     735H           7/12/2022
           Mexico            10 FED COM

2996       New      Carlsbad MIDNIGHT HOUR     767H           8/10/2022
           Mexico            10 FED COM

2997       New      Carlsbad MIDNIGHT HOUR     777H           8/10/2022
           Mexico            10 FED COM

2998       New      Carlsbad MIDNIGHT HOUR     778H           8/10/2022
           Mexico            10 FED COM




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2999       New      Carlsbad MIDNIGHT HOUR     504H           8/10/2022
           Mexico            11 FED COM

3000       New      Carlsbad MIDNIGHT HOUR     594H           8/10/2022
           Mexico            11 FED COM

3001       New      Carlsbad MIDNIGHT HOUR     768H           7/12/2022
           Mexico            11 FED COM

3002       New      Carlsbad MIDNIGHT HOUR     769H           6/22/2022
           Mexico            11 FED COM

3003       New      Carlsbad MADERA 19 FB      8H             6/4/2021
           Mexico            FED COM

3004       New      Carlsbad MADERA 19 WA      9H             6/4/2021
           Mexico            FED COM

3005       New      Carlsbad MADERA 19 FED     11H            6/4/2021
           Mexico            COM 26 35 19 WB

3006       New      Carlsbad MADERA 19 FED     10H            6/4/2021
           Mexico            COM 26 35 19 WC

3007       New      Carlsbad MADERA 19 FED     12H            6/4/2021
           Mexico            COM 26 35 19
                             WXY
3008       New      Carlsbad CAPER 20/29       1H             3/30/2022
           Mexico            B2AP FED COM

3009       New      Carlsbad CAPER 20/29       1H             3/30/2022
           Mexico            B3BO FED COM

3010       New      Carlsbad CAPER 20/29       1H             3/30/2022
           Mexico            W0AP FED COM

3011       New      Carlsbad DIRE WOLF 12      594H           4/26/2022
           Mexico            FED
3012       New      Carlsbad DIRE WOLF 12      505H           4/26/2022
           Mexico            FED
3013       New      Carlsbad DIRE WOLF 12      764H           4/26/2022
           Mexico            FED
3014       New      Carlsbad DIRE WOLF 12      801H           4/26/2022
           Mexico            FED




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3015       New      Carlsbad DIRE WOLF 12      776H           4/26/2022
           Mexico            FED
3016       New      Carlsbad DIRE WOLF 12      775H           4/26/2022
           Mexico            FED
3017       New      Carlsbad DIRE WOLF 12      774H           4/26/2022
           Mexico            FED
3018       New      Carlsbad DIRE WOLF 12      773H           4/26/2022
           Mexico            FED
3019       New      Carlsbad DIRE WOLF 12      772H           4/26/2022
           Mexico            FED
3020       New      Carlsbad DIRE WOLF 12      767H           4/26/2022
           Mexico            FED
3021       New      Carlsbad DIRE WOLF 12      766H           4/26/2022
           Mexico            FED
3022       New      Carlsbad DIRE WOLF 12      765H           4/26/2022
           Mexico            FED
3023       New      Carlsbad DIRE WOLF 12      763H           4/26/2022
           Mexico            FED
3024       New      Carlsbad DIRE WOLF 12      762H           4/26/2022
           Mexico            FED
3025       New      Carlsbad OXBOW CC 17-8     15H            4/21/2021
           Mexico            FED COM

3026       New      Carlsbad OXBOW CC 17-8     3H             4/21/2021
           Mexico            FED COM

3027       New      Carlsbad OXBOW CC 17-8     2H             4/21/2021
           Mexico            FED COM

3028       New      Carlsbad MODELO 3 FED      575H           3/16/2022
           Mexico            COM
3029       New      Carlsbad MODELO 3 FED      574H           3/16/2022
           Mexico            COM
3030       New      Carlsbad MODELO 3 FED      1H             3/16/2022
           Mexico            COM
3031       New      Carlsbad PEGASUS 3 FED     753H           3/16/2022
           Mexico            COM
3032       New      Carlsbad MODELO 3 FED      530H           3/16/2022
           Mexico            COM
3033       New      Carlsbad PEGASUS 3 FED     754H           5/25/2022
           Mexico            COM
3034       New      Carlsbad PEGASUS 3 FED     755H           5/25/2022
           Mexico            COM
3035       New      Carlsbad PEGASUS 3 FED     756H           5/25/2022
           Mexico            COM


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3036       New      Carlsbad PEGASUS 3 FED     752H           6/24/2022
           Mexico            COM
3037       New      Carlsbad GRUMPY CAT 15-    121H           2/28/2021
           Mexico            22 FED COM

3038       New      Carlsbad GRUMPY CAT 15-    521H           2/28/2021
           Mexico            22 FED COM

3039       New      Carlsbad GRUMPY CAT 15-    531H           2/28/2021
           Mexico            22 FED COM

3040       New      Carlsbad GRUMPY CAT 15-    611H           2/28/2021
           Mexico            22 FED COM

3041       New      Carlsbad GRUMPY CAT 15-    711H           2/28/2021
           Mexico            22 FED COM

3042       New      Carlsbad GRUMPY CAT 15-    331H           3/23/2021
           Mexico            22 FED COM

3043       New      Carlsbad TOMAHAWK 13-      331H           10/22/2021
           Mexico            14 FED COM

3044       New      Carlsbad TOMAHAWK 13-      332H           10/22/2021
           Mexico            14 FED COM

3045       New      Carlsbad TOMAHAWK 13-      334H           10/22/2021
           Mexico            14 FED COM

3046       New      Carlsbad TOMAHAWK 13-      620H           10/22/2021
           Mexico            14 FED COM

3047       New      Carlsbad TOMAHAWK 13-      621H           10/22/2021
           Mexico            14 FED COM

3048       New      Carlsbad TOMAHAWK 13-      623H           10/22/2021
           Mexico            14 FED COM

3049       New      Carlsbad TOMAHAWK 13-      333H           10/22/2021
           Mexico            14 FED COM

3050       New      Carlsbad TOMAHAWK 13-      622H           11/12/2021
           Mexico            14 FED COM




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3051       New      Carlsbad DAGGER LAKE       516H           4/21/2021
           Mexico            SOUTH 8 FED
                             COM

3052       New      Carlsbad DAGGER LAKE       558H           4/21/2021
           Mexico            SOUTH 8 FED
                             COM

3053       New      Carlsbad DAGGER LAKE       606H           4/21/2021
           Mexico            SOUTH 8 FED
                             COM

3054       New      Carlsbad DAGGER LAKE       608H           4/21/2021
           Mexico            SOUTH 8 FED
                             COM

3055       New      Carlsbad DAGGER LAKE       510H           7/23/2021
           Mexico            SOUTH 8 FED
                             COM

3056       New      Carlsbad DAGGER LAKE       512H           10/21/2021
           Mexico            SOUTH 8 FED
                             COM

3057       New      Carlsbad DAGGER LAKE       514H           10/21/2021
           Mexico            SOUTH 8 FED
                             COM

3058       New      Carlsbad DAGGER LAKE       556H           10/21/2021
           Mexico            SOUTH 8 FED
                             COM

3059       New      Carlsbad ARENA ROJA        1H             11/12/2021
           Mexico            FED UNIT 15-22

3060       New      Carlsbad WHITE CITY 8-17   18H            5/6/2021
           Mexico            FEDERAL COM


3061       New      Carlsbad VACA DRAW         28H            7/23/2021
           Mexico            9418 10 FEDERAL

3062       New      Carlsbad VACA DRAW         29H            7/23/2021
           Mexico            9418 10 FEDERAL




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3063       New      Carlsbad VACA DRAW         30H            7/23/2021
           Mexico            9418 10 FEDERAL

3064       New      Carlsbad VACA DRAW         31H            7/23/2021
           Mexico            9418 10 FEDERAL

3065       New      Carlsbad VACA DRAW         32H            7/23/2021
           Mexico            9418 10 FEDERAL

3066       New      Carlsbad VACA DRAW         33H            7/23/2021
           Mexico            9418 10 FEDERAL

3067       New      Carlsbad VACA DRAW         34H            7/23/2021
           Mexico            9418 10 FEDERAL

3068       New      Carlsbad VACA DRAW         35H            7/23/2021
           Mexico            9418 10 FEDERAL

3069       New      Carlsbad VACA DRAW         36H            7/23/2021
           Mexico            9418 10 FEDERAL

3070       New      Carlsbad VACA DRAW         37H            7/23/2021
           Mexico            9418 10 FEDERAL

3071       New      Carlsbad VACA DRAW         38H            7/23/2021
           Mexico            9418 10 FEDERAL

3072       New      Carlsbad WHITE DOVE 17     21H            9/27/2021
           Mexico            FED COM

3073       New      Carlsbad WHITE DOVE 17     22H            9/27/2021
           Mexico            FED COM

3074       New      Carlsbad WHITE DOVE 17     23H            9/27/2021
           Mexico            FED COM

3075       New      Carlsbad WHITE DOVE 17     24H            9/27/2021
           Mexico            FED COM

3076       New      Carlsbad SD 18 19 FED      421H           4/13/2022
           Mexico            COM P360

3077       New      Carlsbad SD 18 19 FED      424H           4/13/2022
           Mexico            COM P361




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3078       New      Carlsbad SD 18 19 FED      426H           4/26/2022
           Mexico            COM P361

3079       New      Carlsbad SD 29 32 FED      426H           4/27/2022
           Mexico            COM P364

3080       New      Carlsbad JAMES RANCH       822H           7/30/2021
           Mexico            UNIT DI 11
                             EKALAKA

3081       New      Carlsbad JAMES RANCH       123H           9/21/2021
           Mexico            UNIT DI 11
                             EKALAKA

3082       New      Carlsbad SIG 6/5 B2EH      1H             7/22/2021
           Mexico            FEDERAL COM


3083       New      Carlsbad MESA 8105 1-12    71H            4/12/2021
           Mexico            FEDERAL

3084       New      Carlsbad BARLOW 34 FED     103H           5/10/2021
           Mexico            COM
3085       New      Carlsbad BARLOW 34 FED     104H           5/10/2021
           Mexico            COM
3086       New      Carlsbad BARLOW 34 FED     106H           5/10/2021
           Mexico            COM
3087       New      Carlsbad BARLOW 34 FED     201H           5/10/2021
           Mexico            COM
3088       New      Carlsbad BARLOW 34 FED     203H           5/10/2021
           Mexico            COM
3089       New      Carlsbad BARLOW 34 FED     204H           5/10/2021
           Mexico            COM
3090       New      Carlsbad BARLOW 34 FED     205H           5/10/2021
           Mexico            COM
3091       New      Carlsbad VACA DRAW         39H            7/23/2021
           Mexico            9418 10 FEDERAL

3092       New      Carlsbad VACA DRAW         40H            7/23/2021
           Mexico            9418 10 FEDERAL

3093       New      Carlsbad IGOR 33 FED       201H           9/30/2021
           Mexico            COM
3094       New      Carlsbad IGOR 33 FED       203H           9/30/2021
           Mexico            COM


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3095       New      Carlsbad IGOR 33 FED       204H           9/30/2021
           Mexico            COM
3096       New      Carlsbad IGOR 33 FED       205H           9/30/2021
           Mexico            COM
3097       New      Carlsbad IGOR 33 FED       301H           9/30/2021
           Mexico            COM
3098       New      Carlsbad IGOR 33 FED       302H           9/30/2021
           Mexico            COM
3099       New      Carlsbad IGOR 33 FED       303H           9/30/2021
           Mexico            COM
3100       New      Carlsbad IGOR 33 FED       304H           9/30/2021
           Mexico            COM
3101       New      Carlsbad VACA DRAW 20-     60H            5/11/2021
           Mexico            17 FED

3102       New      Carlsbad VACA DRAW         41H            7/23/2021
           Mexico            9418 10 FEDERAL

3103       New      Carlsbad VACA DRAW         42H            7/23/2021
           Mexico            9418 10 FEDERAL

3104       New      Carlsbad VACA DRAW 20-     46H            5/11/2021
           Mexico            17 FEDERAL

3105       New      Carlsbad VACA DRAW 20-     15H            5/26/2021
           Mexico            17 FEDERAL

3106       New      Carlsbad VACA DRAW 20-     16H            5/26/2021
           Mexico            17 FEDERAL

3107       New      Carlsbad VACA DRAW 20-     47H            5/11/2021
           Mexico            17 FEDERAL

3108       New      Carlsbad VACA DRAW 20-     74H            5/11/2021
           Mexico            17 FEDERAL

3109       New      Carlsbad VACA DRAW 20-     14H            5/26/2021
           Mexico            17 FEDERAL

3110       New      Carlsbad GOODBYE TOBY      1              4/19/2022
           Mexico            SWD
3111       New      Carlsbad IGOR 33 FED       501H           9/30/2021
           Mexico            COM
3112       New      Carlsbad IGOR 33 FED       502H           9/30/2021
           Mexico            COM


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3113       New       Carlsbad IGOR 33 FED      701H             9/30/2021
           Mexico             COM
3114       New       Carlsbad IGOR 33 FED      702H             9/30/2021
           Mexico             COM
3115       New       Carlsbad IGOR 33 FED      703H             9/30/2021
           Mexico             COM
3116       New       Carlsbad IGOR 33 FED      704H             9/30/2021
           Mexico             COM
3117       New       Carlsbad IGOR 33 FED      705H             9/30/2021
           Mexico             COM
3118       New       Carlsbad KYLE FEDERAL     6H               4/19/2022
           Mexico             24 28 34 WD

3119       New       Roswell   FEDERAL A       1                5/18/2022
           Mexico
3120       New       Roswell   OTTAWA          1H               6/30/2022
           Mexico              FEDERAL COM

3121       New       Roswell   WINDSOR         1H               6/30/2022
           Mexico              FEDERAL
3122       New       Roswell   COLD LAKE       1H               12/7/2021
           Mexico              FEDERAL
3123       New       Roswell   CAMROSE         1H               6/16/2021
           Mexico              FEDERAL
3124       New       Roswell   OAKVILLE        1H               4/14/2021
           Mexico              FEDERAL
3125       New       Roswell   GREENWOOD       1H               6/16/2021
           Mexico              FEDERAL
3126       Wyoming   Buffalo   HATCH FED       4377-0112 4NH    3/15/2022

3127       Wyoming Buffalo     FLYING V FED    4677-24-35-16E   7/1/2022
                                               MH
3128       Wyoming Buffalo     FLYING V FED    4677-24-13-3E    7/1/2022
                                               MH
3129       Wyoming Buffalo     FLYING V FED    4677-24-13-3E    7/1/2022
                                               NH
3130       Wyoming Buffalo     FLYING V FED    4677-25-13-4E    7/1/2022
                                               MH
3131       Wyoming Buffalo     FLYING V FED    4677-25-13-4E    7/1/2022
                                               NH
3132       Wyoming Buffalo     FLYING V FED    4677-25-13-4W    7/1/2022
                                               NH
3133       Wyoming Buffalo     PATHFINDER      300-2017H        5/24/2022




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3134       Wyoming Buffalo     PATHFINDER      307-2017H        5/24/2022

3135       Wyoming Buffalo     BARBER CREEK    50-76-27-        12/2/2021
                                               20MOH
3136       Wyoming Buffalo     BARBER CREEK    50-76-27-30PH    1/4/2022

3137       Wyoming Buffalo     BARBER CREEEK   49-76-24-32PH    7/6/2022

3138       Wyoming   Buffalo   ANTARES         2833-10H         5/24/2022
3139       Wyoming   Buffalo   CERES           2116-09H         5/24/2022
3140       Wyoming   Buffalo   CERES           2116-10H         5/24/2022
3141       Wyoming   Buffalo   GEIS FED        22-9-4-33 SH     8/4/2022
3142       Wyoming   Buffalo   FLYING V FED    4677-24-14-1E    7/1/2022
                                               MH
3143       Wyoming Buffalo     FLYING V FED    4677-24-14-1E    7/1/2022
                                               NH
3144       Wyoming Buffalo     FLYING V FED    4677-24-14-1W    7/1/2022
                                               NH
3145       Wyoming Buffalo     FLYING V FED    4677-24-36-13E   7/1/2022
                                               MH
3146       Wyoming Buffalo     FLYING V FED    4677-24-36-13E   7/1/2022
                                               NH
3147       Wyoming Buffalo     FLYING V FED    4677-24-36-13W   7/1/2022
                                               NH
3148       Wyoming Buffalo     FLYING V FED    4677-24-36-14E   7/1/2022
                                               MH
3149       Wyoming Buffalo     FLYING V FED    4677-24-36-14E   7/1/2022
                                               NH
3150       Wyoming Buffalo     WOODPECKER      1522-16H         9/2/2021

3151       Wyoming Buffalo     REMINGTON 14    1H               3/26/2021

3152       Wyoming   Buffalo   RHINE           3625-21H         3/8/2021
3153       Wyoming   Buffalo   RHINE           3625-21H         3/8/2021
3154       Wyoming   Buffalo   RHINE           3625-20H         3/2/2021
3155       Wyoming   Buffalo   RHINE           3625-20H         3/2/2021
3156       Wyoming   Buffalo   JUPITER         3130-01H         3/2/2021
3157       Wyoming   Buffalo   JUPITER         3130-02H         3/2/2021
3158       Wyoming   Buffalo   JUPITER         3130-03H         3/2/2021
3159       Wyoming   Buffalo   JUPITER         3130-04H         3/2/2021
3160       Wyoming   Buffalo   JUPITER         3130-09H         3/2/2021
3161       Wyoming   Buffalo   JUPITER         3130-10H         3/2/2021
3162       Wyoming   Buffalo   JUPITER         3130-11H         3/2/2021
3163       Wyoming   Buffalo   JUPITER         3130-12H         3/2/2021


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3164       Wyoming Buffalo     RHINE           3625-22H       3/2/2021
3165       Wyoming Buffalo     BROADHEAD       0805-15H       2/19/2021

3166       Wyoming Buffalo     BROADHEAD       0805-15H       2/19/2021

3167       Wyoming Buffalo     BROADHEAD       0805-48H       2/18/2021

3168       Wyoming Buffalo     BROADHEAD       0805-48H       2/18/2021

3169       Wyoming Buffalo     BROADHEAD       0805-07H       9/20/2021

3170       Wyoming   Buffalo   CAMARO          0607-05H       4/22/2021
3171       Wyoming   Buffalo   CAMARO          0607-06H       4/22/2021
3172       Wyoming   Buffalo   CAMARO          0607-07H       3/3/2021
3173       Wyoming   Buffalo   CAMARO          0607-08H       3/3/2021
3174       Wyoming   Buffalo   CAMARO          0607-13H       3/3/2021
3175       Wyoming   Buffalo   CAMARO          0607-14H       3/3/2021
3176       Wyoming   Buffalo   CAMARO          0607-15H       3/3/2021
3177       Wyoming   Buffalo   DAYTONA         1918-05H       3/3/2021
3178       Wyoming   Buffalo   DAYTONA         1918-06H       3/3/2021
3179       Wyoming   Buffalo   DAYTONA         1918-07H       3/3/2021
3180       Wyoming   Buffalo   DAYTONA         1918-08H       3/3/2021
3181       Wyoming   Buffalo   DAYTONA         1918-13H       3/3/2021
3182       Wyoming   Buffalo   DAYTONA         1918-14H       3/3/2021
3183       Wyoming   Buffalo   DAYTONA         1918-15H       3/3/2021
3184       Wyoming   Buffalo   DAYTONA         1918-16H       3/3/2021
3185       Wyoming   Buffalo   DAYTONA         1918-21H       11/5/2021
3186       Wyoming   Buffalo   LAUREL          31-7           6/15/2022
                               FEDERAL
3187       Wyoming   Buffalo   GENEVA          3229-01H       5/14/2021
3188       Wyoming   Buffalo   GENEVA          3229-02H       5/14/2021
3189       Wyoming   Buffalo   GENEVA          3229-03H       5/14/2021
3190       Wyoming   Buffalo   GENEVA          3229-04H       5/14/2021
3191       Wyoming   Buffalo   GENEVA          3229-09H       5/14/2021
3192       Wyoming   Buffalo   GENEVA          3229-10H       5/14/2021
3193       Wyoming   Buffalo   GENEVA          3229-11H       5/14/2021
3194       Wyoming   Buffalo   TELLURIDE       3328-12H       5/17/2021
3195       Wyoming   Buffalo   ELM             2635-01H       3/3/2021
3196       Wyoming   Buffalo   ELM             2635-02H       3/3/2021
3197       Wyoming   Buffalo   ELM             2635-03H       3/18/2021
3198       Wyoming   Buffalo   ELM             2635-04H       3/3/2021
3199       Wyoming   Buffalo   ELM             2635-05H       6/30/2021



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3200       Wyoming   Buffalo   ELM              2635-06H        6/29/2021
3201       Wyoming   Buffalo   ELM              2635-07H        6/30/2021
3202       Wyoming   Buffalo   ELM              2635-10H        3/5/2021
3203       Wyoming   Buffalo   ELM              2635-11H        3/5/2021
3204       Wyoming   Buffalo   ELM              2635-12H        3/5/2021
3205       Wyoming   Buffalo   ELM              2635-13H        6/30/2021
3206       Wyoming   Buffalo   ELM              2635-14H        6/30/2021
3207       Wyoming   Buffalo   ELM              2635-15H        6/29/2021
3208       Wyoming   Buffalo   ELM              2635-16H        6/4/2021
3209       Wyoming   Buffalo   USA              44-71-19C-18-   10/29/2021
                                                1H
3210       Wyoming Buffalo     BRIDLE BIT FED   1-13TH          9/2/2021

3211       Wyoming Buffalo     BRIDLE BIT FED   1-11-14NH       7/26/2021

3212       Wyoming Buffalo     BRIDLE BIT FED   1-11-14PH       7/26/2021

3213       Wyoming Buffalo     BRIDLE BIT FED   1-11-14TH       7/23/2021

3214       Wyoming Buffalo     BRIDLE BIT FED   1-13-12NH       9/10/2021

3215       Wyoming Buffalo     BRIDLE BIT FED   1-13-12PH       9/2/2021

3216       Wyoming Buffalo     BRIDLE BIT FED   2-13-12NH       9/2/2021

3217       Wyoming Buffalo     BRIDLE BIT FED   2-13-12PH       9/10/2021

3218       Wyoming Buffalo     BRIDLE BIT FED   2-13-12TH       9/2/2021

3219       Wyoming Buffalo     BRIDLE BIT FED   3-11-14NH       7/26/2021

3220       Wyoming Buffalo     BRIDLE BIT FED   3-11-14PH       7/23/2021

3221       Wyoming   Buffalo   BLUEJAY          1819-03H        5/24/2021
3222       Wyoming   Buffalo   BLUEJAY          1819-04H        5/26/2021
3223       Wyoming   Buffalo   BLUEJAY          1819-11H        5/24/2021
3224       Wyoming   Buffalo   BLUEJAY          1819-12H        5/24/2021
3225       Wyoming   Buffalo   BROADHEAD        0805-12H        2/18/2021

3226       Wyoming Buffalo     BROADHEAD        0805-12H        2/18/2021

3227       Wyoming Buffalo     REDWOOD          0112-20H        3/8/2021
3228       Wyoming Buffalo     REDWOOD          0112-20H        3/8/2021
3229       Wyoming Buffalo     MAPLE            0310-32H        4/22/2021


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3230       Wyoming   Buffalo   REDWOOD         0112-22H        3/8/2021
3231       Wyoming   Buffalo   GDU FED         12-32-28 PH     4/11/2022
3232       Wyoming   Buffalo   PINON           2314-02H        3/3/2021
3233       Wyoming   Buffalo   PINON           2314-03H        3/5/2021
3234       Wyoming   Buffalo   PINON           2314-04H        3/3/2021
3235       Wyoming   Buffalo   PINON           2314-05H        3/3/2021
3236       Wyoming   Buffalo   PINON           2314-06H        6/29/2021
3237       Wyoming   Buffalo   PINON           2314-07H        3/3/2021
3238       Wyoming   Buffalo   PINON           2314-09H        5/10/2021
3239       Wyoming   Buffalo   PINON           2314-10H        3/5/2021
3240       Wyoming   Buffalo   PINON           2314-11H        3/3/2021
3241       Wyoming   Buffalo   PINON           2314-12H        3/3/2021
3242       Wyoming   Buffalo   PINON           2314-13H        3/3/2021
3243       Wyoming   Buffalo   PINON           2314-14H        3/3/2021
3244       Wyoming   Buffalo   PINON           2314-15H        6/29/2021
3245       Wyoming   Buffalo   PINON           2314-16H        3/3/2021
3246       Wyoming   Buffalo   BLACKHAWK       1               7/28/2022

3247       Wyoming Buffalo     CHINOOK         1               7/26/2022
3248       Wyoming Buffalo     DURHAM          14-024472-      7/25/2022
                               RANCHES FED     1XNH

3249       Wyoming Buffalo     BOLLER          45-71-33C-28-   9/2/2021
                                               3H
3250       Wyoming   Buffalo   HAWK            0904-05H        9/2/2021
3251       Wyoming   Buffalo   HAWK            0904-06H        9/2/2021
3252       Wyoming   Buffalo   HAWK            0904-07H        9/2/2021
3253       Wyoming   Buffalo   HAWK            0904-08H        9/10/2021
3254       Wyoming   Buffalo   HAWK            0904-13H        6/11/2021
3255       Wyoming   Buffalo   HAWK            0904-14H        9/2/2021
3256       Wyoming   Buffalo   HAWK            0904-15H        9/2/2021
3257       Wyoming   Buffalo   HAWK            0904-16H        9/2/2021
3258       Wyoming   Buffalo   SCULPIN         1102-02H        3/2/2021
3259       Wyoming   Buffalo   SCULPIN         1102-03H        3/2/2021
3260       Wyoming   Buffalo   SCULPIN         1102-04H        3/2/2021
3261       Wyoming   Buffalo   SCULPIN         1102-05H        6/9/2021
3262       Wyoming   Buffalo   SCULPIN         1102-06H        6/9/2021
3263       Wyoming   Buffalo   SCULPIN         1102-07H        6/9/2021
3264       Wyoming   Buffalo   SCULPIN         1102-09H        3/2/2021
3265       Wyoming   Buffalo   SCULPIN         1102-10H        3/2/2021
3266       Wyoming   Buffalo   SCULPIN         1102-11H        3/2/2021
3267       Wyoming   Buffalo   SCULPIN         1102-12H        3/2/2021


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3268       Wyoming   Buffalo   SCULPIN         1102-13H       3/5/2021
3269       Wyoming   Buffalo   SCULPIN         1102-14H       3/5/2021
3270       Wyoming   Buffalo   SCULPIN         1102-15H       6/9/2021
3271       Wyoming   Buffalo   SCULPIN         1102-16H       6/9/2021
3272       Wyoming   Buffalo   SCULPIN         1102-17H       6/9/2021
3273       Wyoming   Buffalo   SCULPIN         1102-18H       6/9/2021
3274       Wyoming   Buffalo   SCULPIN         1102-19H       6/9/2021
3275       Wyoming   Buffalo   WHITEFISH       1423-05H       3/5/2021
3276       Wyoming   Buffalo   WHITEFISH       1423-06H       3/5/2021
3277       Wyoming   Buffalo   WHITEFISH       1423-07H       3/5/2021
3278       Wyoming   Buffalo   WHITEFISH       1423-08H       3/5/2021
3279       Wyoming   Buffalo   WHITEFISH       1423-13H       3/5/2021
3280       Wyoming   Buffalo   WHITEFISH       1423-14H       3/5/2021
3281       Wyoming   Buffalo   WHITEFISH       1423-15H       3/5/2021
3282       Wyoming   Buffalo   WHITEFISH       1423-17H       3/5/2021
3283       Wyoming   Buffalo   WHITEFISH       1423-18H       3/5/2021
3284       Wyoming   Buffalo   WHITEFISH       1423-01H       3/2/2021
3285       Wyoming   Buffalo   WHITEFISH       1423-02H       3/2/2021
3286       Wyoming   Buffalo   WHITEFISH       1423-03H       3/2/2021
3287       Wyoming   Buffalo   WHITEFISH       1423-04H       3/2/2021
3288       Wyoming   Buffalo   WHITEFISH       1423-10H       3/2/2021
3289       Wyoming   Buffalo   WHITEFISH       1423-11H       3/2/2021
3290       Wyoming   Buffalo   WHITEFISH       1423-12H       3/2/2021
3291       Wyoming   Buffalo   WOODPECKER      1522-01H       3/3/2021

3292       Wyoming Buffalo     WOODPECKER      1522-02H       3/3/2021

3293       Wyoming Buffalo     WOODPECKER      1522-10H       3/3/2021

3294       Wyoming   Buffalo   ROUSH FED       21-14-23 NH    3/26/2021
3295       Wyoming   Buffalo   ROUSH FED       11-14-23 NH    3/26/2021
3296       Wyoming   Buffalo   ROUSH FED       11-14-23 MH    3/26/2021
3297       Wyoming   Buffalo   ROUSH FED       21-14-23 2MH   3/26/2021

3298       Wyoming Buffalo     KINNEY DIVIDE   21-3-10 PH     8/24/2022
                               FED
3299       Wyoming   Buffalo   FIR             2215-03H       7/21/2021
3300       Wyoming   Buffalo   FIR             2215-04H       7/21/2021
3301       Wyoming   Buffalo   FIR             2215-05H       7/21/2021
3302       Wyoming   Buffalo   FIR             2215-06H       7/21/2021
3303       Wyoming   Buffalo   FIR             2215-07H       7/21/2021
3304       Wyoming   Buffalo   FIR             2215-11H       7/21/2021


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3305       Wyoming   Buffalo   FIR             2215-12H       7/21/2021
3306       Wyoming   Buffalo   FIR             2215-13H       7/21/2021
3307       Wyoming   Buffalo   FIR             2215-14H       7/21/2021
3308       Wyoming   Buffalo   FIR             2215-15H       7/21/2021
3309       Wyoming   Buffalo   FIR             2215-16H       7/21/2021
3310       Wyoming   Buffalo   STODDARD FED    11-22-23 PH    10/29/2021

3311       Wyoming Buffalo     STODDARD FED    13-22-23 PH    10/29/2021

3312       Wyoming Buffalo     STODDARD FED    21-22-23 TH    10/29/2021

3313       Wyoming Buffalo     STODDARD FED    23-22-23 TH    10/29/2021

3314       Wyoming   Buffalo   YUKON           3229-24H       6/22/2022
3315       Wyoming   Buffalo   YUKON           3229-23H       6/22/2022
3316       Wyoming   Buffalo   RENO FED        43-9-8 TH      5/7/2021
3317       Wyoming   Buffalo   VAN BUGGENUM    1-11-2H        10/29/2021

3318       Wyoming Buffalo     LEAVITT TRUST   21-6 TH        5/26/2021
                               FED
3319       Wyoming Buffalo     SCISSORTAIL     1003-02H       3/3/2021

3320       Wyoming Buffalo     SCISSORTAIL     1003-03H       3/3/2021

3321       Wyoming Buffalo     SCISSORTAIL     1003-04H       3/3/2021

3322       Wyoming Buffalo     SCISSORTAIL     1003-08H       9/2/2021

3323       Wyoming Buffalo     SCISSORTAIL     1003-09H       3/3/2021

3324       Wyoming Buffalo     SCISSORTAIL     1003-10H       3/3/2021

3325       Wyoming Buffalo     SCISSORTAIL     1003-11H       3/3/2021

3326       Wyoming Buffalo     SCISSORTAIL     1003-12H       3/3/2021

3327       Wyoming Buffalo     WOODPECKER      1522-03H       3/3/2021

3328       Wyoming Buffalo     WOODPECKER      1522-04H       3/3/2021

3329       Wyoming Buffalo     WOODPECKER      1522-11H       3/3/2021

3330       Wyoming Buffalo     WOODPECKER      1522-12H       3/3/2021




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3331       Wyoming Buffalo     LEAVITT TRUST   31-34 TH       9/21/2021
                               FED
3332       Wyoming   Buffalo   OAK             1819-17H       3/17/2022
3333       Wyoming   Buffalo   OAK             1819-18H       3/17/2022
3334       Wyoming   Buffalo   OAK             1819-20H       3/17/2022
3335       Wyoming   Buffalo   OAK             1819-21H       3/17/2022
3336       Wyoming   Buffalo   LEAVITT TRUST   24-31-30 TH    5/26/2021
                               FED
3337       Wyoming   Buffalo   HELLFIRE        2932-05H       3/9/2022
3338       Wyoming   Buffalo   HELLFIRE        2932-12H       3/9/2022
3339       Wyoming   Buffalo   MAVERICK        2017-01H       3/9/2022
3340       Wyoming   Buffalo   MAVERICK        2017-16H       3/9/2022
3341       Wyoming   Buffalo   DRAKE           0211-01H       3/3/2021
3342       Wyoming   Buffalo   DRAKE           0211-02H       3/3/2021
3343       Wyoming   Buffalo   DRAKE           0211-03H       3/3/2021
3344       Wyoming   Buffalo   DRAKE           0211-04H       3/3/2021
3345       Wyoming   Buffalo   DRAKE           0211-07H       9/10/2021
3346       Wyoming   Buffalo   DRAKE           0211-08H       9/10/2021
3347       Wyoming   Buffalo   DRAKE           0211-10H       3/3/2021
3348       Wyoming   Buffalo   DRAKE           0211-11H       3/3/2021
3349       Wyoming   Buffalo   DRAKE           0211-12H       3/3/2021
3350       Wyoming   Buffalo   DRAKE           0211-13H       9/2/2021
3351       Wyoming   Buffalo   DRAKE           0211-14H       9/2/2021
3352       Wyoming   Buffalo   DRAKE           0211-15H       9/2/2021
3353       Wyoming   Buffalo   DRAKE           0211-16H       5/11/2021
3354       Wyoming   Buffalo   CHEVELLE        3031-013H      3/3/2021
3355       Wyoming   Buffalo   CHEVELLE        3031-014H      3/3/2021
3356       Wyoming   Buffalo   CHEVELLE        3031-015H      3/3/2021
3357       Wyoming   Buffalo   CHEVELLE        3031-016H      3/3/2021
3358       Wyoming   Buffalo   CHEVELLE        3031-018H      3/3/2021
3359       Wyoming   Buffalo   CHEVELLE        3031-05H       4/22/2021
3360       Wyoming   Buffalo   CHEVELLE        3031-06H       4/22/2021
3361       Wyoming   Buffalo   CHEVELLE        3031-07H       3/3/2021
3362       Wyoming   Buffalo   CHEVELLE        3031-08H       3/3/2021
3363       Wyoming   Buffalo   JUPITER         3130-20H       12/14/2021
3364       Wyoming   Buffalo   JUPITER         3130-21H       12/14/2021
3365       Wyoming   Buffalo   JUPITER         3130-22H       3/8/2021
3366       Wyoming   Buffalo   HUDSON          3526-17H       4/22/2021
3367       Wyoming   Buffalo   WALNUT          0211-05H       3/5/2021
3368       Wyoming   Buffalo   WALNUT          0211-08H       3/3/2021
3369       Wyoming   Buffalo   WALNUT          0211-15H       3/3/2021
3370       Wyoming   Buffalo   ASH             2116-05H       6/2/2021


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3371       Wyoming   Buffalo   ASH             2116-06H       6/2/2021
3372       Wyoming   Buffalo   ASH             2116-07H       6/2/2021
3373       Wyoming   Buffalo   ASH             2116-13H       6/2/2021
3374       Wyoming   Buffalo   ASH             2116-14H       6/2/2021
3375       Wyoming   Buffalo   ASH             2116-15H       6/2/2021
3376       Wyoming   Buffalo   ASH             2116-16H       6/2/2021
3377       Wyoming   Buffalo   FIR             2215-02H       7/21/2021
3378       Wyoming   Buffalo   FIR             2215-09H       7/21/2021
3379       Wyoming   Buffalo   FIR             2215-10H       7/21/2021
3380       Wyoming   Buffalo   LODGEPOLE       2734-01H       7/21/2021
3381       Wyoming   Buffalo   LODGEPOLE       2734-02H       7/21/2021
3382       Wyoming   Buffalo   LODGEPOLE       2734-03H       7/21/2021
3383       Wyoming   Buffalo   LODGEPOLE       2734-04H       7/21/2021
3384       Wyoming   Buffalo   LODGEPOLE       2734-05H       7/21/2021
3385       Wyoming   Buffalo   LODGEPOLE       2734-06H       7/21/2021
3386       Wyoming   Buffalo   LODGEPOLE       2734-07H       7/21/2021
3387       Wyoming   Buffalo   LODGEPOLE       2734-08H       7/21/2021
3388       Wyoming   Buffalo   LODGEPOLE       2734-10H       7/21/2021
3389       Wyoming   Buffalo   LODGEPOLE       2734-12H       7/21/2021
3390       Wyoming   Buffalo   LODGEPOLE       2734-13H       7/21/2021
3391       Wyoming   Buffalo   LODGEPOLE       2734-14H       7/21/2021
3392       Wyoming   Buffalo   LODGEPOLE       2734-15H       7/21/2021
3393       Wyoming   Buffalo   HUDSON          3526-20H       4/22/2021
3394       Wyoming   Buffalo   HUDSON          3526-18H       4/22/2021
3395       Wyoming   Buffalo   HUDSON          3526-48H       4/26/2021
3396       Wyoming   Buffalo   HUDSON          3526-03H       4/22/2021
3397       Wyoming   Buffalo   HUDSON          3526-04H       4/22/2021
3398       Wyoming   Buffalo   HUDSON          3526-25H       4/26/2021
3399       Wyoming   Buffalo   HUDSON          3526-47H       4/26/2021
3400       Wyoming   Buffalo   NILE            3427-32H       4/22/2021
3401       Wyoming   Buffalo   HUDSON          3526-12H       4/22/2021
3402       Wyoming   Buffalo   HUDSON          3526-10H       4/22/2021
3403       Wyoming   Buffalo   HUDSON          3526-11H       4/22/2021
3404       Wyoming   Buffalo   HUDSON          3526-01H       4/22/2021
3405       Wyoming   Buffalo   HUDSON          3526-02H       4/22/2021
3406       Wyoming   Buffalo   HUDSON          3526-05H       4/26/2021
3407       Wyoming   Buffalo   HUDSON          3526-06H       4/26/2021
3408       Wyoming   Buffalo   HUDSON          3526-07H       4/26/2021
3409       Wyoming   Buffalo   HUDSON          3526-08H       4/26/2021
3410       Wyoming   Buffalo   HUDSON          3526-13H       4/26/2021
3411       Wyoming   Buffalo   HUDSON          3526-14H       4/26/2021



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3412       Wyoming Buffalo     HUDSON          3526-15H         4/26/2021
3413       Wyoming Buffalo     HUDSON          3526-16H         4/26/2021
3414       Wyoming Buffalo     DAVIS FED       47-72-19-31-     1/12/2022
                                               ASH
3415       Wyoming   Buffalo   WALLEYE         3526-03H         3/3/2021
3416       Wyoming   Buffalo   WALLEYE         3526-04H         3/3/2021
3417       Wyoming   Buffalo   WALLEYE         3526-02H         3/3/2021
3418       Wyoming   Buffalo   WALLEYE         3526-03H         3/3/2021
3419       Wyoming   Buffalo   WALLEYE         3526-04H         3/3/2021
3420       Wyoming   Buffalo   WALLEYE         3526-09H         3/3/2021
3421       Wyoming   Buffalo   WALLEYE         3526-10H         3/3/2021
3422       Wyoming   Buffalo   WALLEYE         3526-11H         3/3/2021
3423       Wyoming   Buffalo   WALLEYE         3526-12H         3/3/2021
3424       Wyoming   Buffalo   PIKE            1720-07H         3/3/2021
3425       Wyoming   Buffalo   PIKE            1720-08H         5/20/2021
3426       Wyoming   Buffalo   PIKE            1720-15H         3/3/2021
3427       Wyoming   Buffalo   PIKE            1720-16H         5/20/2021
3428       Wyoming   Buffalo   CHEVELLE        3031-017H        4/22/2021
3429       Wyoming   Buffalo   CHEVELLE        3031-01H         3/3/2021
3430       Wyoming   Buffalo   CHEVELLE        3031-02H         3/3/2021
3431       Wyoming   Buffalo   CHEVELLE        3031-03H         3/3/2021
3432       Wyoming   Buffalo   CHEVELLE        3031-04H         3/5/2021
3433       Wyoming   Buffalo   CHEVELLE        3031-10H         3/3/2021
3434       Wyoming   Buffalo   CHEVELLE        3031-11H         3/5/2021
3435       Wyoming   Buffalo   CHEVELLE        3031-12H         3/5/2021
3436       Wyoming   Buffalo   CHEVELLE        3031-20H         11/5/2021
3437       Wyoming   Buffalo   REYES           0211-05H         5/3/2021
3438       Wyoming   Buffalo   REYES           0211-06H         5/3/2021
3439       Wyoming   Buffalo   REYES           0211-07H         5/3/2021
3440       Wyoming   Buffalo   REYES           0211-13H         5/3/2021
3441       Wyoming   Buffalo   REYES           0211-14H         5/3/2021
3442       Wyoming   Buffalo   REYES           0211-15H         5/3/2021
3443       Wyoming   Buffalo   REYES           0211-16H         5/3/2021
3444       Wyoming   Buffalo   W.I. MOORE      4175-1522-       3/3/2021
                                               002MH
3445       Wyoming Buffalo     W.I. MOORE      4175-1522-       3/3/2021
                                               006NH
3446       Wyoming Buffalo     CASE FED        4777-36-25-4E    2/28/2022
                                               MH
3447       Wyoming Buffalo     CASE FED        4777-36-12-13E   3/7/2022
                                               MH




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3448       Wyoming Buffalo     CASE FED        4777-36-12-13E   2/28/2022
                                               NH
3449       Wyoming Buffalo     CASE FED        4777-36-12-13W   2/28/2022
                                               NH
3450       Wyoming Buffalo     CASE FED        4777-36-12-15W   2/28/2022
                                               NH
3451       Wyoming   Buffalo   SANDPIPER       0706-05H         4/19/2021
3452       Wyoming   Buffalo   SANDPIPER       0706-06H         4/19/2021
3453       Wyoming   Buffalo   SANDPIPER       0706-13H         4/19/2021
3454       Wyoming   Buffalo   SANDPIPER       0706-14H         4/19/2021
3455       Wyoming   Buffalo   MOJAVE FED      4377-34-44SH-H   3/17/2022

3456       Wyoming Buffalo     TORNADO FED     4778-5-9-14E     7/27/2021
                                               NH
3457       Wyoming   Buffalo   CAMARO          0607-01H         3/2/2021
3458       Wyoming   Buffalo   CAMARO          0607-02H         3/2/2021
3459       Wyoming   Buffalo   CAMARO          0607-03H         3/2/2021
3460       Wyoming   Buffalo   CAMARO          0607-04H         3/2/2021
3461       Wyoming   Buffalo   CAMARO          0607-09H         3/2/2021
3462       Wyoming   Buffalo   CAMARO          0607-10H         3/2/2021
3463       Wyoming   Buffalo   CAMARO          0607-11H         3/2/2021
3464       Wyoming   Buffalo   CAMARO          0607-12H         3/2/2021
3465       Wyoming   Buffalo   CAMARO          0607-20H         12/14/2021
3466       Wyoming   Buffalo   CAMARO          0607-21H         12/14/2021
3467       Wyoming   Buffalo   CAMARO          0607-22H         12/14/2021
3468       Wyoming   Buffalo   WALNUT          0211-20H         4/22/2021
3469       Wyoming   Buffalo   WALNUT          0211-17H         4/22/2021
3470       Wyoming   Buffalo   DYNO            0211-05H         12/14/2021
3471       Wyoming   Buffalo   DYNO            0211-13H         12/14/2021
3472       Wyoming   Buffalo   USA             43-71-4B-9-1TH   6/11/2021

3473       Wyoming Buffalo     IBERLIN         4176-14-11-      7/13/2021
                                               2M3H
3474       Wyoming Buffalo     IBERLIN         4176-14-11-      7/9/2021
                                               2N3H
3475       Wyoming Buffalo     IBERLIN         4176-14-11-      7/9/2021
                                               2N6H
3476       Wyoming Buffalo     SHADOW FED      4176-0916-       1/4/2022
                                               001MH
3477       Wyoming Buffalo     SHADOW FED      4176-0916-       1/4/2022
                                               001NH
3478       Wyoming Buffalo     SHADOW FED      4176-0916-       1/4/2022
                                               002MH



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3479       Wyoming Buffalo     SHADOW FED      4176-0916-       1/4/2022
                                               002NH
3480       Wyoming Buffalo     IBERLIN         4176-1201-       11/23/2021
                                               001MH
3481       Wyoming Buffalo     IBERLIN         4176-1201-       11/23/2021
                                               001NH
3482       Wyoming   Buffalo   HOPPER          0310-09H         4/19/2021
3483       Wyoming   Buffalo   HOPPER          0310-10H         6/30/2021
3484       Wyoming   Buffalo   HOPPER          0310-11H         6/30/2021
3485       Wyoming   Buffalo   HOPPER          0310-12H         6/30/2021
3486       Wyoming   Buffalo   KENWORTHY       #2               9/22/2021

3487       Wyoming Buffalo     FLYING V FED    4677-24-35-16E   7/1/2022
                                               NH
3488       Wyoming Buffalo     BCFU            45-69-26-35      1/4/2022
                                               3TH
3489       Wyoming Buffalo     BCFU            45-69-22-15      1/4/2022
                                               4TH
3490       Wyoming   Buffalo   SAUGEYE         1522-18H         10/29/2021
3491       Wyoming   Buffalo   PIKE            1720-05H         3/5/2021
3492       Wyoming   Buffalo   PIKE            1720-06H         3/3/2021
3493       Wyoming   Buffalo   PIKE            1720-14H         3/3/2021
3494       Wyoming   Buffalo   GEER FED        42-17-18 PH      6/15/2022
3495       Wyoming   Buffalo   HAYDEN FED      34-2-35 PH       8/24/2022

3496       Wyoming Buffalo     ROHDE FED       11-7-12-11 PH    8/31/2022

3497       Wyoming   Buffalo   ARAPAHOE        3526-05H         5/3/2021
3498       Wyoming   Buffalo   ARAPAHOE        3526-06H         5/3/2021
3499       Wyoming   Buffalo   ARAPAHOE        3526-07H         5/3/2021
3500       Wyoming   Buffalo   ARAPAHOE        3526-08H         5/3/2021
3501       Wyoming   Buffalo   W.I. MOORE      4175-1522-       3/3/2021
                                               001MH
3502       Wyoming Buffalo     W.I. MOORE      4175-1522-       3/3/2021
                                               001NH
3503       Wyoming Buffalo     W.I. MOORE      4175-1522-       3/3/2021
                                               005NH
3504       Wyoming Buffalo     PEPPER FED      4176-0607-       3/5/2021
                                               008MH
3505       Wyoming Buffalo     IBERLIN         4176-1324-       3/5/2021
                                               001NH
3506       Wyoming Buffalo     IBERLIN         4176-1324-       3/5/2021
                                               002MH



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3507       Wyoming Buffalo     IBERLIN         4176-1324-     3/5/2021
                                               003NH
3508       Wyoming Buffalo     IBERLIN         4176-1324-     3/5/2021
                                               004NH
3509       Wyoming Buffalo     IBERLIN         4176-1522-     3/5/2021
                                               001MH
3510       Wyoming Buffalo     IBERLIN         4176-1522-     3/5/2021
                                               002MH
3511       Wyoming Buffalo     IBERLIN         4176-1522-     3/5/2021
                                               006NH
3512       Wyoming Buffalo     IBERLIN         4176-1522-     3/5/2021
                                               007NH
3513       Wyoming Buffalo     IBERLIN         4176-1522-     3/5/2021
                                               008NH
3514       Wyoming Buffalo     T-CHAIR         4275-1621-     3/3/2021
                                               001MH
3515       Wyoming Buffalo     T-CHAIR         4275-1621-     3/3/2021
                                               002MH
3516       Wyoming Buffalo     T-CHAIR         4275-1621-     3/3/2021
                                               002NH
3517       Wyoming Buffalo     T-CHAIR         4275-1621-     3/3/2021
                                               003NH
3518       Wyoming Buffalo     T-CHAIR         4275-1621-     3/3/2021
                                               004NH
3519       Wyoming Buffalo     NINE MILE       4174-2734-     2/10/2022
                                               001MH
3520       Wyoming Buffalo     NINE MILE       4174-2734-     2/10/2022
                                               001NH
3521       Wyoming Buffalo     NINE MILE       4174-2116-     5/17/2021
                                               003MH
3522       Wyoming Buffalo     NINE MILE       4174-2116-     5/17/2021
                                               004MH
3523       Wyoming Buffalo     NINE MILE       4174-2116-     5/17/2021
                                               004NH
3524       Wyoming Buffalo     NINE MILE       4174-2116-     5/17/2021
                                               007NH
3525       Wyoming Buffalo     NINE MILE       4174-2116-     5/17/2021
                                               008FH
3526       Wyoming   Buffalo   ROLLINS         0112-01H       9/2/2021
3527       Wyoming   Buffalo   ROLLINS         0112-02H       9/2/2021
3528       Wyoming   Buffalo   ROLLINS         0112-03H       9/2/2021
3529       Wyoming   Buffalo   ROLLINS         0112-12H       4/19/2021
3530       Wyoming   Buffalo   ROLLINS         0112-17H       5/20/2021
3531       Wyoming   Buffalo   ROLLINS         0112-18H       3/8/2021



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3532       Wyoming   Buffalo   SANDPIPER       0706-09H        2/18/2021
3533       Wyoming   Buffalo   SANDPIPER       0706-09H        2/18/2021
3534       Wyoming   Buffalo   SANDPIPER       0706-10H        2/18/2021
3535       Wyoming   Buffalo   SANDPIPER       0706-10H        2/18/2021
3536       Wyoming   Buffalo   SANDPIPER       0706-11H        2/18/2021
3537       Wyoming   Buffalo   SANDPIPER       0706-11H        2/18/2021
3538       Wyoming   Buffalo   SANDPIPER       0706-12H        2/18/2021
3539       Wyoming   Buffalo   SANDPIPER       0706-12H        2/18/2021
3540       Wyoming   Buffalo   TANAGER         0705-18H        4/19/2021
3541       Wyoming   Buffalo   BLUEJAY         1819-01H        5/24/2021
3542       Wyoming   Buffalo   BLUEJAY         1819-02H        5/24/2021
3543       Wyoming   Buffalo   BLUEJAY         1819-05H        4/19/2021
3544       Wyoming   Buffalo   BLUEJAY         1819-06H        4/19/2021
3545       Wyoming   Buffalo   BLUEJAY         1819-07H        4/22/2021
3546       Wyoming   Buffalo   BLUEJAY         1819-08H        4/19/2021
3547       Wyoming   Buffalo   BLUEJAY         1819-10H        5/24/2021
3548       Wyoming   Buffalo   BLUEJAY         1819-13H        4/19/2021
3549       Wyoming   Buffalo   BLUEJAY         1819-14H        4/19/2021
3550       Wyoming   Buffalo   BLUEJAY         1819-15H        4/21/2021
3551       Wyoming   Buffalo   SANDPIPER       0706-02H        5/20/2021
3552       Wyoming   Buffalo   SANDPIPER       0706-03H        5/20/2021
3553       Wyoming   Buffalo   SANDPIPER       0706-04H        5/20/2021
3554       Wyoming   Buffalo   SANDPIPER       0706-15H        4/19/2021
3555       Wyoming   Buffalo   SANDPIPER       0706-16H        4/19/2021
3556       Wyoming   Buffalo   T-CHAIR         4276-1201-      3/5/2021
                                               001MH
3557       Wyoming Buffalo     T-CHAIR         4276-1201-      3/5/2021
                                               001NH
3558       Wyoming Buffalo     T-CHAIR         4276-1201-      3/5/2021
                                               002NH
3559       Wyoming Buffalo     T-CHAIR         4276-1201-      3/5/2021
                                               003NH
3560       Wyoming   Buffalo   JUNIPER         0508-23H        6/22/2022
3561       Wyoming   Buffalo   JUNIPER         0508-24H        6/22/2022
3562       Wyoming   Buffalo   JUNIPER         0508-20H        3/3/2021
3563       Wyoming   Buffalo   JUNIPER         0508-22H        3/2/2021
3564       Wyoming   Buffalo   ALPHA           13-1R           2/24/2022
3565       Wyoming   Buffalo   MIDWAY          4570-2932-1TH   4/1/2021

3566       Wyoming Buffalo     COOPER          3130-02H        3/9/2021
3567       Wyoming Buffalo     COOPER          3130-09H        3/9/2021
3568       Wyoming Buffalo     COOPER          3130-17H        7/1/2022


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3569       Wyoming Buffalo     WI MOORE        4174-2536-     4/12/2021
                                               002MH
3570       Wyoming Buffalo     WI MOORE        4174-2536-     4/12/2021
                                               002FH
3571       Wyoming Buffalo     WI MOORE        4174-2536-     4/12/2021
                                               001NH
3572       Wyoming Buffalo     WI MOORE        4174-2536-     4/12/2021
                                               004NH
3573       Wyoming   Buffalo   ASH             2116-02H       3/2/2021
3574       Wyoming   Buffalo   ASH             2116-03H       3/2/2021
3575       Wyoming   Buffalo   ASH             2116-04H       3/2/2021
3576       Wyoming   Buffalo   ASH             2116-09H       3/2/2021
3577       Wyoming   Buffalo   ASH             2116-10H       3/2/2021
3578       Wyoming   Buffalo   ASH             2116-11H       3/2/2021
3579       Wyoming   Buffalo   ASH             2116-12H       3/2/2021
3580       Wyoming   Buffalo   DOUGLAS         2833-01H       3/2/2021
3581       Wyoming   Buffalo   DOUGLAS         2833-02H       3/2/2021
3582       Wyoming   Buffalo   DOUGLAS         2833-03H       3/2/2021
3583       Wyoming   Buffalo   DOUGLAS         2833-04H       3/2/2021
3584       Wyoming   Buffalo   DOUGLAS         2833-05H       6/2/2021
3585       Wyoming   Buffalo   DOUGLAS         2833-06H       6/2/2021
3586       Wyoming   Buffalo   DOUGLAS         2833-07H       6/2/2021
3587       Wyoming   Buffalo   DOUGLAS         2833-08H       6/2/2021
3588       Wyoming   Buffalo   DOUGLAS         2833-10H       3/2/2021
3589       Wyoming   Buffalo   DOUGLAS         2833-11H       3/2/2021
3590       Wyoming   Buffalo   DOUGLAS         2833-12H       3/2/2021
3591       Wyoming   Buffalo   DOUGLAS         2833-13H       6/2/2021
3592       Wyoming   Buffalo   DOUGLAS         2833-14H       6/2/2021
3593       Wyoming   Buffalo   DOUGLAS         2833-15H       6/2/2021
3594       Wyoming   Buffalo   ROLLINS         0112-19H       5/20/2021
3595       Wyoming   Buffalo   NINE MILE       4174-2215-     2/28/2022
                                               002MH
3596       Wyoming Buffalo     NINE MILE       4174-2116-     5/17/2021
                                               005FH
3597       Wyoming Buffalo     NINE MILE       4174-2116-     5/17/2021
                                               001MH
3598       Wyoming Buffalo     NINE MILE       4174-2116-     5/17/2021
                                               002MH
3599       Wyoming Buffalo     NINE MILE       4174-2116-     5/17/2021
                                               002NH
3600       Wyoming Buffalo     NINE MILE       4174-2116-     3/5/2021
                                               003NH



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3601       Wyoming Buffalo     NINE MILE       4174-2116-       5/17/2021
                                               006NH
3602       Wyoming Buffalo     NINE MILE       4174-2215-       2/10/2022
                                               001MH
3603       Wyoming Buffalo     NINE MILE       4174-2215-       2/14/2022
                                               003MH
3604       Wyoming Buffalo     NINE MILE       4174-2326-       3/3/2021
                                               001MH
3605       Wyoming Buffalo     NINE MILE       4174-2326-       3/3/2021
                                               002MH
3606       Wyoming Buffalo     NINE MILE       4174-2326-       3/3/2021
                                               002NH
3607       Wyoming Buffalo     NINE MILE       4174-2326-       3/3/2021
                                               003NH
3608       Wyoming Buffalo     NINE MILE       4174-2326-       3/3/2021
                                               004NH
3609       Wyoming Buffalo     NINE MILE       4174-2326-       4/12/2021
                                               001NH
3610       Wyoming Buffalo     NINE MILE       4174-2326-       3/22/2021
                                               003MH
3611       Wyoming Buffalo     NINE MILE       4174-2326-       3/3/2021
                                               004MH
3612       Wyoming Buffalo     NINE MILE       4174-2326-       3/3/2021
                                               010NH
3613       Wyoming Buffalo     NINE MILE       4174-2326-       3/3/2021
                                               020NH
3614       Wyoming Buffalo     NINE MILE       4174-2326-       3/3/2021
                                               030NH
3615       Wyoming Buffalo     LEAVITT FED     2-9-4NH          9/2/2021

3616       Wyoming Buffalo     LEAVITT FED     2-9-4TH          9/2/2021

3617       Wyoming Buffalo     LEAVITT FED     4-9-4NH          9/2/2021

3618       Wyoming   Buffalo   HURLEY          0607-01H         3/9/2021
3619       Wyoming   Buffalo   HURLEY          0607-02H         3/9/2021
3620       Wyoming   Buffalo   HURLEY          0607-09H         3/9/2021
3621       Wyoming   Buffalo   HURLEY          0607-10H         3/9/2021
3622       Wyoming   Buffalo   HURLEY          0607-17H         7/1/2022
3623       Wyoming   Buffalo   TEX FED         4271-17-20-15E   2/22/2022
                                               NH
3624       Wyoming Buffalo     TEX FED         4271-17-20-16E   2/22/2022
                                               NH
3625       Wyoming Buffalo     TEX FED         4271-17-20-15W   2/22/2022
                                               NH


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3626       Wyoming Buffalo     TEX FED         4271-17-20-16W   2/22/2022
                                               NH
3627       Wyoming   Buffalo   VEGA            2932-07H         7/20/2021
3628       Wyoming   Buffalo   VEGA            2932-15H         7/20/2021
3629       Wyoming   Buffalo   ANTARES         2833-01H         5/25/2022
3630       Wyoming   Buffalo   ANTARES         2833-02H         5/24/2022
3631       Wyoming   Buffalo   ANTARES         2833-09H         5/24/2022
3632       Wyoming   Buffalo   VEGA            2932-08H         5/24/2022
3633       Wyoming   Buffalo   VEGA            2932-16H         5/25/2022
3634       Wyoming   Buffalo   GEIS FED        32-9-4-33 SH     3/26/2021
3635       Wyoming   Casper    MARYS DRAW      203-3130H*       7/28/2021

3636       Wyoming Casper      NEWMAN FED      1FH              7/19/2022
                               3773-2413

3637       Wyoming Casper      NEWMAN FED      3FH              12/23/2021
                               3773-2413

3638       Wyoming   Casper    SCLOU           25WC1NE23        11/17/2021
3639       Wyoming   Casper    SCLOU           23WC2NE23        11/17/2021
3640       Wyoming   Casper    SCLOU           31WC2NW24        11/16/2021
3641       Wyoming   Casper    SCLOU           18WC2SW24        11/17/2021
3642       Wyoming   Casper    SCLOU           15WC1SE23        11/16/2021
3643       Wyoming   Casper    SCLOU           03WC2SE23        11/17/2021
3644       Wyoming   Casper    SCLOU           30WC2SE23        11/19/2021
3645       Wyoming   Casper    SCLOU           01WC2SE23        11/17/2021
3646       Wyoming   Casper    FEDERAL         35               8/2/2021
3647       Wyoming   Casper    FEDERAL         38               8/2/2021
3648       Wyoming   Casper    FEDERAL         36               8/2/2021
3649       Wyoming   Casper    FEDERAL         37               8/2/2021
3650       Wyoming   Casper    FEDERAL         39               8/2/2021
3651       Wyoming   Casper    FEDERAL         40               8/2/2021
3652       Wyoming   Casper    SCLOU           01ASHSW23        11/17/2021
3653       Wyoming   Casper    SCLOU           29AXWC2SW24      11/16/2021

3654       Wyoming   Casper    SCLOU           36WC2SE23        11/19/2021
3655       Wyoming   Casper    SCLOU           08WC2SE23        11/17/2021
3656       Wyoming   Casper    SCLOU           34WC2SE23        11/19/2021
3657       Wyoming   Casper    SCLOU           05WC2SE23        11/17/2021
3658       Wyoming   Casper    KELPIE          0805-18H         7/18/2022
3659       Wyoming   Casper    KELPIE          0805-19H         7/18/2022




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3660       Wyoming Casper    GREYHOUND         1720-19H         3/30/2021

3661       Wyoming Casper    LEO               409 18-19H*      10/28/2021
3662       Wyoming Casper    OAKLEY FED        3571-3-27-3 PH   7/5/2022

3663       Wyoming Casper    SPEARHEAD         4075-3526-       3/17/2021
                                               003MH
3664       Wyoming Casper    SPEARHEAD         4075-3526-       3/17/2021
                                               004MH
3665       Wyoming Casper    SPEARHEAD         4075-3526-       3/17/2021
                                               005NH
3666       Wyoming Casper    SPEARHEAD         4075-3526-       3/17/2021
                                               006NH
3667       Wyoming Casper    SPEARHEAD         4075-3526-       3/17/2021
                                               007NH
3668       Wyoming Casper    SPEARHEAD         4075-3526-       3/17/2021
                                               008NH
3669       Wyoming Casper    HUCKLEBERRY       3570-25-N1H*     2/18/2022
                             FED
3670       Wyoming Casper    HUCKLEBERRY       3570-25-N5H*     2/18/2022
                             FED
3671       Wyoming Casper    HUCKLEBERRY       3570-25-N8H*     2/28/2022
                             FED
3672       Wyoming Casper    HUCKLEBERRY       3570-25-T4H*     3/2/2022
                             FED
3673       Wyoming Casper    LUND FED          3570-22-N1H*     10/29/2021

3674       Wyoming Casper    LUND FED          3570-22-N2H*     10/29/2021

3675       Wyoming Casper    NITRO FED         3569-19-T4H*     1/21/2022

3676       Wyoming Casper    JUMBO FED         3571-3-10-13E    7/5/2022
                                               NH
3677       Wyoming Casper    JUMBO FED         3571-3-10-14E    7/5/2022
                                               NH
3678       Wyoming Casper    KALI FED          3671-16-4-4W     4/1/2022
                                               NH
3679       Wyoming Casper    HORNER 24-33-69   NB 1H            2/3/2022
                             USA B
3680       Wyoming Casper    HUCKLEBERRY       3570-12-N5H*     3/2/2022
                             FED
3681       Wyoming Casper    HUCKLEBERRY       3570-12-N8H*     2/14/2022
                             FED
3682       Wyoming Casper    HUCKLEBERRY       3570-12-T4H*     2/14/2022
                             FED


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3683       Wyoming Casper    CITRA FED         3773-0310 1NH     7/5/2022

3684       Wyoming Casper    CITRA FED         3773-0310 2NH     7/5/2022

3685       Wyoming Casper    ABBEY FED         3671-33-9-15E     6/21/2022
                                               NH
3686       Wyoming Casper    ABBEY FED         3671-33-9-15      6/21/2022
                                               SXH
3687       Wyoming Casper    ABBEY FED         3671-33-9-16E     6/21/2022
                                               NH
3688       Wyoming Casper    OAKLEY FED        3571-3-10-15 PH   7/5/2022

3689       Wyoming Casper    OAKLEY FED        3571-3-10-15E     7/5/2022
                                               NH
3690       Wyoming Casper    OAKLEY FED        3571-3-10-16E     7/5/2022
                                               NH
3691       Wyoming Casper    OAKLEY FED        3571-3-27-2 PH    7/5/2022

3692       Wyoming Casper    ABBEY FED         3671-33-9-14E     6/21/2022
                                               NH
3693       Wyoming Casper    ABBEY FED         3671-33-9-13E     6/21/2022
                                               NH
3694       Wyoming Casper    NITRO FED         3569-6-T1H        12/23/2021
3695       Wyoming Casper    DORADO            334 10-3H         6/21/2022
3696       Wyoming Casper    AXEL FED          3572-1-36-11W     6/17/2021
                                               NH
3697       Wyoming Casper    AXEL FED          3572-1-36-12      9/13/2021
                                               TH
3698       Wyoming Casper    AXEL FED          3572-1-36-12W     6/17/2021
                                               NH
3699       Wyoming Casper    CLEO FED          3672-24-36-8W     6/2/2021
                                               NH*
3700       Wyoming Casper    CLEO FED          3672-24-36-7W     7/29/2021
                                               NH*
3701       Wyoming Casper    CLEO FED          3672-24-36-7      6/2/2021
                                               TH*
3702       Wyoming Casper    CITRA FED         3773-1003 3FH     4/8/2022

3703       Wyoming Casper    BLUE HILL         3676-10-3-34-     4/6/2021
                                               3F2H
3704       Wyoming Casper    CASCADE FED       3873-3427 1FH*    12/13/2021

3705       Wyoming Casper    EH FED            3569-34-T2H       3/1/2021
                             WORMHOLE



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3706       Wyoming Casper     EH FED           3569-34-N4H     3/1/2021
                              WORMHOLE
3707       Wyoming Casper     EH FED           3569-34-N3H     3/1/2021
                              WORMHOLE
3708       Wyoming   Casper   SHAVANO          2932-01H        3/17/2021
3709       Wyoming   Casper   ELBERT           1930-02H        12/20/2021
3710       Wyoming   Casper   ELBERT           1930-03H        12/20/2021
3711       Wyoming   Casper   BIERSTADT        1807-03H        9/13/2021
3712       Wyoming   Casper   MIDGE FED        4171-36-23-1E   4/5/2021
                                               NH
3713       Wyoming Casper     EH FED           3569-15-N3H     3/1/2021
                              WORMHOLE
3714       Wyoming Casper     EH FED           3569-15-N4H     3/1/2021
                              WORMHOLE
3715       Wyoming Casper     EH FED           3569-15-T1H     3/1/2021
                              WORMHOLE
3716       Wyoming Casper     EH FED           3569-15-T2H     3/1/2021
                              WORMHOLE
3717       Wyoming Casper     EH FED           3569-23-N4H     3/30/2021
                              SUPERNOVA W

3718       Wyoming Casper     STATE WIM        4173-3526-      2/11/2022
                                               001FH*
3719       Wyoming Casper     STATE WIM        4173-3526-      12/3/2021
                                               001MH*
3720       Wyoming Casper     STATE WIM        4173-3526-      2/11/2022
                                               001NH*
3721       Wyoming Casper     STATE WIM        4173-3526-      1/6/2022
                                               002FH*
3722       Wyoming Casper     STATE WIM        4173-3526-      12/3/2021
                                               002MH*
3723       Wyoming Casper     STATE WIM        4173-3526-      12/2/2021
                                               002NH*
3724       Wyoming Casper     STATE WIM        4173-3526-      12/3/2021
                                               003MH*
3725       Wyoming Casper     STATE WIM        4173-3526-      1/5/2022
                                               004MH*
3726       Wyoming Casper     STATE WIM        4173-3526-      12/23/2021
                                               004NH*
3727       Wyoming Casper     STATE WIM        4173-3526-      12/3/2021
                                               006NH*
3728       Wyoming Casper     ARTEMIS          347 35-26H      7/19/2022
3729       Wyoming Casper     GEMINI           334 11-2H       5/12/2022
3730       Wyoming Casper     PISCES           334 14-23H      5/12/2022



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3731       Wyoming   Casper   PISCES            347 14-23H      5/12/2022
3732       Wyoming   Casper   CRATER            306 8-5H        7/19/2022
3733       Wyoming   Casper   CRATER            347 8-5H        8/1/2022
3734       Wyoming   Casper   KRATOS            448 8-5H        8/5/2021
3735       Wyoming   Casper   LYNX              306 17-20H      7/19/2022
3736       Wyoming   Casper   JUNIPER           19E18-5NH       3/18/2021
3737       Wyoming   Casper   JUNIPER           19E18-8NH       3/17/2021
3738       Wyoming   Casper   JUNIPER           19E31-5NH       3/17/2021
3739       Wyoming   Casper   JUNIPER           30W18-1NH       4/12/2021
3740       Wyoming   Casper   JUNIPER           30W18-4NH       4/16/2021
3741       Wyoming   Casper   JUNIPER           30W31-1NH       4/5/2021
3742       Wyoming   Casper   JUNIPER           30W31-4NH       4/16/2021
3743       Wyoming   Casper   RUBY              1819-16H        5/25/2021
3744       Wyoming   Casper   DILTS FED         15-033972-      1/27/2022
                                                3XPH*
3745       Wyoming Casper     DILTS FED         15-033972-      1/27/2022
                                                3XPH*
3746       Wyoming Casper     TOPAZ             1324-01H        10/6/2021
3747       Wyoming Casper     CLAUSEN 8-34-70   NB 3H*          11/12/2021
                              USA B
3748       Wyoming Casper     SDU TILLARD       23-143771-      5/24/2021
                              FED               1XNH*

3749       Wyoming Casper     SDU TILLARD       23-143771-      5/24/2021
                              FED               3XNH*

3750       Wyoming Casper     SDU DILTS FED     333871-2PH*     10/15/2021

3751       Wyoming Casper     SDU DILTS FED     333871-4PH*     10/15/2021

3752       Wyoming Casper     PINON             03W10-1NH       5/11/2021
3753       Wyoming Casper     GLENDO FED        3872-1621 1NH   5/12/2022

3754       Wyoming   Casper   SPRUCE            29W17-2NH       3/29/2021
3755       Wyoming   Casper   SPRUCE            22W34-1NH       7/9/2021
3756       Wyoming   Casper   SPRUCE            29E32-5NH       3/29/2021
3757       Wyoming   Casper   SPRUCE            29W32-2NH       3/29/2021
3758       Wyoming   Casper   VIRGO             306 33-28H      2/3/2022
3759       Wyoming   Casper   VIRGO             347 33-28H      5/12/2022
3760       Wyoming   Casper   VIRGO             519 33-28H      2/3/2022
3761       Wyoming   Casper   VIRGO             534 33-28H      2/3/2022
3762       Wyoming   Casper   VIRGO             547 33-28H      2/3/2022



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3763       Wyoming Casper     CWDU TILLARD     07-193871-      4/22/2021
                              FED              2XTH*

3764       Wyoming   Casper   GEMINI           306 11-2H       6/15/2022
3765       Wyoming   Casper   GEMINI           319 11-2H       6/15/2022
3766       Wyoming   Casper   GEMINI           506 11-2H       6/15/2022
3767       Wyoming   Casper   GEMINI           519 11-2H       6/15/2022
3768       Wyoming   Casper   PISCES           409 14-23H      6/15/2022
3769       Wyoming   Casper   CARINA           347 5-8H        5/12/2022
3770       Wyoming   Casper   JUNO             409 15-22H*     10/28/2021
3771       Wyoming   Casper   JUNO             444 15-22H      1/13/2022
3772       Wyoming   Casper   DIANA            402 10-3H*      10/28/2021
3773       Wyoming   Casper   SHEILA           7-6-35-67-1H    8/1/2022
3774       Wyoming   Casper   SPILLMAN         36-73 34-1NH    11/15/2021
                              DRAW UNIT
3775       Wyoming Casper     SPILLMAN         36-73 34-1NH    11/15/2021
                              DRAW UNIT
3776       Wyoming Casper     SPILLMAN         36-73 34-2NH    11/16/2021
                              DRAW UNIT
3777       Wyoming Casper     SKUNK CREEK      3772-0718 1FH   12/23/2021
                              FED
3778       Wyoming Casper     SPEARHEAD        4075-3526-      3/17/2021
                                               001MH
3779       Wyoming Casper     SPEARHEAD        4075-3526-      3/17/2021
                                               001NH
3780       Wyoming Casper     SPEARHEAD        4075-3526-      3/17/2021
                                               003NH
3781       Wyoming   Casper   SPRUCE           19E18-3SH       6/16/2021
3782       Wyoming   Casper   SPRUCE           19E18-5FH       6/16/2021
3783       Wyoming   Casper   SPRUCE           19E18-6FH       6/16/2021
3784       Wyoming   Casper   SPRUCE           22W34-4NH       7/9/2021
3785       Wyoming   Casper   SPRUCE           19E31-3SH       6/16/2021
3786       Wyoming   Casper   ORCUS            447 29-20H      9/14/2021
3787       Wyoming   Casper   ZEUS             423 32-5H       9/14/2021
3788       Wyoming   Casper   CU REPP FED      09-043769-      10/26/2021
                                               1XNH*
3789       Wyoming Casper     CU REPP FED      09-043769-      10/26/2021
                                               3XNH*
3790       Wyoming Casper     CU REPP FED      09-043769-      10/26/2021
                                               5XNH*
3791       Wyoming Casper     CU REPP FED      16-213769-      10/26/2021
                                               5XNH*
3792       Wyoming Casper     CU DOWNS FED     24-133769-      8/18/2022
                                               3XNH


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3793       Wyoming Casper     CU DOWNS FED     24-133769-     8/18/2022
                                               5XNH
3794       Wyoming   Casper   CHIP FED         1H             5/24/2021
3795       Wyoming   Casper   SPRUCE           05E08-5NH      3/18/2021
3796       Wyoming   Casper   SPRUCE           26E14-5NH      3/29/2021
3797       Wyoming   Casper   STATE WEST       4075-3625-     3/1/2021
                                               001MH
3798       Wyoming Casper     STATE WEST       4075-3625-     3/1/2021
                                               001NH
3799       Wyoming Casper     STATE WEST       4075-3625-     3/1/2021
                                               002MH
3800       Wyoming Casper     STATE WEST       4075-3625-     3/1/2021
                                               002NH
3801       Wyoming Casper     STATE WEST       4075-3625-     3/1/2021
                                               003NH
3802       Wyoming Casper     STATE WEST       4075-3625-     3/1/2021
                                               004NH
3803       Wyoming Casper     CWDU TILLARD     12-133872-     4/5/2021
                              FED              1XPH

3804       Wyoming Casper     CWDU TILLARD     12-133872-     4/5/2021
                              FED              2XTH

3805       Wyoming Casper     CWDU TILLARD     12-133872-     4/5/2021
                              FED              4XTH

3806       Wyoming Casper     CWDU TILLARD     12-243872-     4/5/2021
                              FED              3XPH

3807       Wyoming   Casper   ASPEN            18E19-5NH      5/19/2021
3808       Wyoming   Casper   ASPEN            18E19-8NH      5/19/2021
3809       Wyoming   Casper   ASPEN            29E32-6NH      7/13/2021
3810       Wyoming   Casper   ASPEN            29E32-8NH      3/30/2021
3811       Wyoming   Casper   ASPEN            29W32-1NH      7/14/2021
3812       Wyoming   Casper   ASPEN            29W32-4NH      5/27/2021
3813       Wyoming   Casper   CWDU TILLARD     07-193871-     4/22/2021
                              FED              4XTH*

3814       Wyoming   Casper   ASPEN            12E01-5NH      5/11/2021
3815       Wyoming   Casper   ASPEN            31E07-5NH      5/24/2021
3816       Wyoming   Casper   ASPEN            31E30-5NH      5/25/2021
3817       Wyoming   Casper   ASPEN            31E30-8NH      5/25/2021
3818       Wyoming   Casper   SPRUCE           26E14-8NH      3/29/2021



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3819       Wyoming Casper    STATE WEST        4075-3625-       3/1/2021
                                               003MH
3820       Wyoming Casper    STATE WEST        4075-3625-       3/1/2021
                                               004MH
3821       Wyoming Casper    STATE WEST        4075-3625-       3/1/2021
                                               005NH
3822       Wyoming Casper    STATE WEST        4075-3625-       3/1/2021
                                               006NH
3823       Wyoming Casper    STATE WEST        4075-3625-       3/1/2021
                                               007NH
3824       Wyoming Casper    STATE WEST        4075-3625-       3/1/2021
                                               008NH
3825       Wyoming Casper    SHULTZ            1114 34-73 N-    8/13/2021
                             FEDERAL           DH
3826       Wyoming Casper    SPILLMAN          36-73 31-2TRH    3/19/2021
                             DRAW UNIT
3827       Wyoming Casper    GREYHOUND         1720-17H         3/30/2021

3828       Wyoming Casper    SSU MLT FED       26-143668-       12/16/2021
                                               3XNH*
3829       Wyoming Casper    SSU MLT FED       26-143668-       12/16/2021
                                               3XNH*
3830       Wyoming Casper    SSU MLT FED       26-143668-       12/15/2021
                                               5XNH*
3831       Wyoming Casper    HUCKLEBERRY       3570-25-T1H*     2/18/2022
                             FED
3832       Wyoming Casper    SFU 5-34-71 USA   TR 20H           3/10/2021
                             A
3833       Wyoming Casper    SFU 5-34-71 USA   22H              3/11/2021
                             A TR
3834       Wyoming Casper    BOOMER FED        3571-21-33-13W   3/11/2021
                                               NH
3835       Wyoming Casper    KAI FED           3671-36-25-1TH   4/5/2021

3836       Wyoming Casper    KAI FED           3671-36-25-1E    4/5/2021
                                               NH
3837       Wyoming Casper    KAI FED           3671-36-25-2E    4/5/2021
                                               NH
3838       Wyoming Casper    KYRA FED          3671-36-25-3     4/5/2021
                                               TH
3839       Wyoming Casper    KYRA FED          3671-36-25-3E    4/6/2021
                                               NH
3840       Wyoming Casper    KYRA FED          3671-36-25-4E    4/5/2021
                                               NH
3841       Wyoming Casper    KELPIE            0805-17H         7/18/2022


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3842       Wyoming   Casper   BFU FED          11-15V           4/15/2022
3843       Wyoming   Casper   ASPEN            12E24-5NH        5/11/2021
3844       Wyoming   Casper   ASPEN            12E24-8NH        5/24/2021
3845       Wyoming   Casper   LUND FED         3570-22-T1H*     10/29/2021

3846       Wyoming Casper     SPEARHEAD        4075-3526-       3/17/2021
                                               002MH
3847       Wyoming Casper     SPEARHEAD        4075-3526-       3/17/2021
                                               002NH
3848       Wyoming Casper     SPEARHEAD        4075-3526-       3/17/2021
                                               004NH
3849       Wyoming Casper     NWFU 25-34-72    PK 30H           3/29/2021
                              USA C
3850       Wyoming Casper     NWFU 25-34-72    PK 31H           12/23/2021
                              USA C
3851       Wyoming Casper     NWFU 25-34-72    PK 32H           12/23/2021
                              USA C
3852       Wyoming Casper     NWFU 25-34-72    PK 33H           3/10/2022
                              USA C
3853       Wyoming Casper     NWFU 25-34-72    TR 20H           12/23/2021
                              USA C
3854       Wyoming Casper     NWFU 25-34-72    TR 21H           12/23/2021
                              USA C
3855       Wyoming Casper     NWFU 25-34-72    TR 22H           3/29/2021
                              USA C
3856       Wyoming Casper     NWFU 25-34-72    TR 23H           12/23/2021
                              USA C
3857       Wyoming Casper     DUCK CREEK       3773-3229 1NH    1/18/2022
                              FED
3858       Wyoming Casper     WIL E COYOTE     2833 35-73 TR-   7/21/2022
                              FEDERAL          DH

3859       Wyoming Casper     WIL E COYOTE     2833 35-73 N-    7/22/2022
                              FEDERAL          CH

3860       Wyoming Casper     CETUS 387006     29ATH            8/30/2021

3861       Wyoming Casper     CETUS 387006     29ATH            8/30/2021

3862       Wyoming Casper     TUFFY FEDERAL    3601 35-73 TR-   7/12/2022
                                               AH
3863       Wyoming Casper     TUFFY FEDERAL    3601 35-73 N-    7/12/2022
                                               BH
3864       Wyoming Casper     TUFFY FEDERAL    3601 35-73 N-    7/22/2021
                                               CH


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3865       Wyoming Casper     SHULTZ           34-73 TR-DH      6/2/2021
                              FEDERAL 1114

3866       Wyoming Casper     TUFFY FEDERAL    3601 35-73 N-    6/10/2021
                                               DH
3867       Wyoming Casper     TUFFY FEDERAL    3601 35-73 TR-   7/14/2021
                                               DH
3868       Wyoming Casper     GRACE FEDERAL    2425 35-73 N-    6/8/2021
                                               DH
3869       Wyoming   Casper   PINON            02W11-1NH        5/11/2021
3870       Wyoming   Casper   PINON            02W26-1MH        5/24/2021
3871       Wyoming   Casper   PINON            02W26-3NH        5/11/2021
3872       Wyoming   Casper   CLAUSEN 11-34-   NB 1H            6/17/2021
                              71 USA A

3873       Wyoming Casper     CLAUSEN 11-34-   PK 31H           6/17/2021
                              71 USA A

3874       Wyoming Casper     CLAUSEN 11-34-   NB 2H            6/17/2021
                              71 USA A

3875       Wyoming Casper     CLAUSEN 11-34-   PK 30H           6/17/2021
                              71 USA A

3876       Wyoming Casper     CLAUSEN 12-34-   NB 3H            6/15/2022
                              71 USA C

3877       Wyoming Casper     CLAUSEN 12-34-   NB 4H            6/15/2022
                              71 USA C

3878       Wyoming Casper     CLAUSEN 12-34-   PK 30H           6/15/2022
                              71 USA C

3879       Wyoming Casper     CLAUSEN 12-34-   PK 31H           6/15/2022
                              71 USA C

3880       Wyoming Casper     CLAUSEN 25-34-   PK 32H           6/15/2022
                              71 USA A

3881       Wyoming Casper     CLAUSEN 25-34-   PK 33H           6/15/2022
                              71 USA A

3882       Wyoming Casper     CLAUSEN 25-34-   PK 31H           6/15/2022
                              71 USA A



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3883       Wyoming Casper     HORNER 24-33-69   NB 3H           2/3/2022
                              USA B
3884       Wyoming Casper     SDU TILLARD       09-333871-      3/11/2021
                              FED               1XNH

3885       Wyoming Casper     SDU TILLARD       09-333871-      3/11/2021
                              FED               3XNH

3886       Wyoming Casper     SDU TILLARD       09-333871-      3/11/2021
                              FED               5XNH

3887       Wyoming   Casper   JUNIPER           22W15-4NH       6/1/2021
3888       Wyoming   Casper   JUNIPER           22W15-2NH       6/1/2021
3889       Wyoming   Casper   JUNIPER           22W34-1NH       6/1/2021
3890       Wyoming   Casper   JUNIPER           22W34-4NH       6/1/2021
3891       Wyoming   Casper   PINON             03W27-1NH       5/3/2021
3892       Wyoming   Casper   DILTS FED         07-063972-      8/12/2021
                                                1XTLH
3893       Wyoming Casper     DILTS FED         07-063972-      7/9/2021
                                                3XTLH
3894       Wyoming   Casper   EMERALD           1301-04H        11/3/2021
3895       Wyoming   Casper   TOPAZ             1324-02H        10/29/2021
3896       Wyoming   Casper   TOPAZ             1324-03H        10/29/2021
3897       Wyoming   Casper   SSU MLT FED       26-143668-      12/16/2021
                                                1XNH*
3898       Wyoming Casper     SKUNK CREEK       3772-0718 3FH   12/23/2021
                              FED
3899       Wyoming Casper     HORNBUCKLE        3674-10-3-      12/15/2021
                                                1M2H
3900       Wyoming Casper     INOT              1-22-15TH       3/30/2021
3901       Wyoming Casper     CASSIDY FED       3773-1720 4MH   6/15/2022

3902       Wyoming Casper     SHU DOWNS FED     05-293768-      12/23/2021
                                                1XNH
3903       Wyoming Casper     SHU DOWNS FED     06-303768-      12/23/2021
                                                3XNH
3904       Wyoming Casper     SHU DOWNS FED     06-303768-      12/23/2021
                                                5XNH
3905       Wyoming Casper     ELBERT            1930-01H        9/13/2021
3906       Wyoming Casper     MIDGE FED         4171-36-24-4    1/14/2022
                                                TH
3907       Wyoming Casper     MIDGE FED         4171-36-24-3E   1/14/2022
                                                NH
3908       Wyoming Casper     VELA              319 4-9H        5/12/2022


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3909       Wyoming   Casper   VELA             306 4-9H         5/12/2022
3910       Wyoming   Casper   VELA             334 4-9H         5/12/2022
3911       Wyoming   Casper   BFU FED          21-31V           8/18/2022
3912       Wyoming   Casper   BFU FED          31-31V           8/18/2022
3913       Wyoming   Casper   PATTON           3973-2116-       3/31/2021
                                               1TXH
3914       Wyoming Casper     TITAN            444 26-35H       8/18/2022
3915       Wyoming Casper     GREYHOUND        1720-18H         7/18/2022

3916       Wyoming Casper     BUSTER           3502 35-73 TR-   7/26/2022
                              FEDERAL          DH
3917       Wyoming   Casper   ASPEN            21E33-5NH        3/11/2021
3918       Wyoming   Casper   ASPEN            21E33-8NH        3/11/2021
3919       Wyoming   Casper   ASPEN            28W33-1NH        5/5/2021
3920       Wyoming   Casper   ASPEN            28W33-4NH        5/5/2021
3921       Wyoming   Casper   ASPEN            18E06-8NH        5/19/2021
3922       Wyoming   Casper   ASPEN            08E05-6NH        5/27/2021
3923       Wyoming   Casper   ASPEN            08E05-8NH        5/27/2021
3924       Wyoming   Casper   ASPEN            08E20-6FH        5/27/2021
3925       Wyoming   Casper   ASPEN            08E20-8NH        5/27/2021
3926       Wyoming   Casper   ASPEN            18E06-5NH        5/19/2021
3927       Wyoming   Casper   STATE 3975-      36-25-4S2H       3/11/2021
3928       Wyoming   Casper   OGALALLA FED     4075-1102 2SH    5/13/2021

3929       Wyoming   Casper   ELM              07W06-8NH        5/11/2021
3930       Wyoming   Casper   ELM              07W19-4NH        5/11/2021
3931       Wyoming   Casper   ELM              07W19-8NH        5/11/2021
3932       Wyoming   Casper   CAPTAIN FED      3671-20-32-14W   6/2/2021
                                               NH
3933       Wyoming Casper     DOLLY FED        3671-19-31-13W   6/2/2021
                                               NH
3934       Wyoming Casper     REBA FED         3671-30-31-15    7/12/2021
                                               TH
3935       Wyoming Casper     REBA FED         3671-30-31-15W   7/13/2021
                                               NH
3936       Wyoming Casper     REBA FED         3671-30-31-16W   7/13/2021
                                               NH
3937       Wyoming Casper     ABBEY FED        3671-33-28-2E    9/1/2021
                                               NH
3938       Wyoming Casper     ABBEY FED        3671-33-28-1E    4/5/2021
                                               NH
3939       Wyoming Casper     JUMBO FED        3571-3-27-4E     4/6/2021
                                               NH



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3940       Wyoming Casper    JUMBO FED         3571-3-27-3E     4/6/2021
                                               NH
3941       Wyoming Casper    JUMBO FED         3571-3-27-4 TH   4/6/2021

3942       Wyoming Casper    ABBEY FED         3671-33-28-2     4/6/2021
                                               TH
3943       Wyoming Casper    SPEARHEAD FED     3975-0112 3SH*   12/9/2021

3944       Wyoming Casper    SPEARHEAD FED     3975-0112 3SH*   12/9/2021

3945       Wyoming Casper    MOKI FED          3672-24-36-6W    9/14/2021
                                               NH
3946       Wyoming Casper    MOKI FED          3672-24-36-5W    9/14/2021
                                               NH
3947       Wyoming Casper    MOKI FED          3672-24-36-5     9/14/2021
                                               TH
3948       Wyoming Casper    SANTANA FED       3571-27-15-4E    3/11/2021
                                               NH
3949       Wyoming Casper    SANTANA FED       3571-27-15-3W    3/11/2021
                                               NH
3950       Wyoming Casper    MEATLOAF FED      3571-27-34-15E   6/25/2021
                                               NH
3951       Wyoming Casper    MEATLOAF FED      3571-27-34-16E   6/25/2021
                                               NH
3952       Wyoming Casper    KALI FED          3671-16-4-3W     4/1/2022
                                               NH
3953       Wyoming Casper    KALI FED          3671-16-4-4 TH   4/1/2022

3954       Wyoming Casper    JACK FED          3671-18-6-1E     4/1/2022
                                               NH
3955       Wyoming Casper    JACK FED          3671-18-6-2 TH   4/1/2022

3956       Wyoming Casper    JACK FED          3671-18-6-2E     4/1/2022
                                               NH
3957       Wyoming Casper    TINY FED          3671-17-20-15    4/1/2022
                                               TH
3958       Wyoming Casper    TINY FED          3671-17-20-15E   4/1/2022
                                               NH
3959       Wyoming Casper    TINY FED          3671-17-20-16E   4/1/2022
                                               NH
3960       Wyoming Casper    TINY FED          3671-17-5-1E     4/1/2022
                                               NH
3961       Wyoming Casper    TINY FED          3671-17-5-2 TH   4/1/2022




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3962       Wyoming Casper    TINY FED          3671-17-5-2E     4/1/2022
                                               NH
3963       Wyoming Casper    DOLLY FED         3671-19-31-13    6/2/2021
                                               TH
3964       Wyoming Casper    DOLLY FED         3671-19-31-14W   6/2/2021
                                               NH
3965       Wyoming Casper    PATTERSON         30-19-18-3FH*    12/14/2021
                             3874-
3966       Wyoming Casper    CORVUS            334 9-4H         7/19/2022
3967       Wyoming Casper    PANDORA           421 21-28H       8/5/2021
3968       Wyoming Casper    CENTENNIAL        3773-0409 1FH    12/23/2021
                             FED
3969       Wyoming Casper    CENTENNIAL        3773-0409 1NH    12/23/2021
                             FED
3970       Wyoming Casper    CITRA FED         3773-0315 1FH    12/13/2021

3971       Wyoming Casper    STATE             4075-0211-       11/10/2021
                                               001MH*
3972       Wyoming Casper    STATE             4075-0211-       4/22/2021
                                               001NH*
3973       Wyoming Casper    STATE             4075-0211-       3/3/2021
                                               002MH*
3974       Wyoming Casper    STATE             4075-0211-       7/21/2021
                                               002NH*
3975       Wyoming Casper    STATE             4075-0211-       3/3/2021
                                               003FH*
3976       Wyoming Casper    STATE             4075-0211-       3/3/2021
                                               004NH*
3977       Wyoming Casper    OGALALLA FED      4075-1102 1SH    5/13/2021

3978       Wyoming Casper    AXEL FED          3572-1-36-10     6/17/2021
                                               TH
3979       Wyoming Casper    AXEL FED          3572-1-36-10W    6/17/2021
                                               NH
3980       Wyoming Casper    REX FED           3571-21-33-15W   7/26/2021
                                               NH
3981       Wyoming Casper    REX FED           3571-21-33-16W   6/23/2021
                                               NH
3982       Wyoming Casper    KRAMER FED        3671-33-28-4     4/5/2021
                                               TH
3983       Wyoming Casper    KRAMER FED        3671-33-28-4W    4/5/2021
                                               NH
3984       Wyoming Casper    TRIGGER FED       3671-32-29-1W    7/9/2021
                                               NH



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3985       Wyoming Casper    TRIGGER FED       3671-32-29-2     7/7/2021
                                               TH
3986       Wyoming Casper    TRIGGER FED       3671-32-29-2W    7/9/2021
                                               NH
3987       Wyoming Casper    OAKLEY FED        3571-3-27-1E     4/6/2021
                                               NH
3988       Wyoming Casper    OAKLEY FED        3571-3-27-2 TH   4/6/2021

3989       Wyoming Casper    OAKLEY FED        3571-3-27-2 TH   4/6/2021

3990       Wyoming Casper    OAKLEY FED        3571-3-27-2E     4/6/2021
                                               NH
3991       Wyoming Casper    EH FED            3569-15-N1H      3/1/2021
                             WORMHOLE
3992       Wyoming Casper    EH FED            3569-15-N2H      3/1/2021
                             WORMHOLE
3993       Wyoming Casper    EH FED            3569-34-T1H      3/1/2021
                             WORMHOLE
3994       Wyoming Casper    EH FED            3569-34-N2H      3/1/2021
                             WORMHOLE
3995       Wyoming Casper    EH FED            3569-34-N1H      3/1/2021
                             WORMHOLE
3996       Wyoming Casper    JACK FED          3671-18-19-15    4/1/2022
                                               TH
3997       Wyoming Casper    JACK FED          3671-18-19-15E   4/1/2022
                                               NH
3998       Wyoming Casper    JACK FED          3671-18-19-16E   4/1/2022
                                               NH
3999       Wyoming Casper    PHOENIX           409 25-36H       5/11/2021
4000       Wyoming Casper    PHOENIX           426 25-36H       5/11/2021
4001       Wyoming Casper    KALI FED          3671-16-21-13    4/1/2022
                                               TH
4002       Wyoming Casper    KALI FED          3671-16-21-13W   4/1/2022
                                               NH
4003       Wyoming Casper    KALI FED          3671-16-21-14W   4/1/2022
                                               NH
4004       Wyoming Casper    CAPTAIN FED       3671-20-32-13    6/2/2021
                                               TH
4005       Wyoming Casper    CAPTAIN FED       3671-20-32-13W   6/2/2021
                                               NH
4006       Wyoming Casper    WILLOW CREEK      1FH*             12/23/2021
                             FED 3773-2536




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4007       Wyoming Casper     WILLOW CREEK     1NH            12/23/2021
                              FED 3773-2536

4008       Wyoming Casper     STATE            4075-0211-     8/16/2021
                                               003MH*
4009       Wyoming Casper     STATE            4075-0211-     7/29/2021
                                               004MH*
4010       Wyoming Casper     STATE            4075-0211-     6/15/2021
                                               005NH*
4011       Wyoming Casper     STATE            4075-0211-     6/15/2021
                                               006NH*
4012       Wyoming Casper     STATE            4075-0211-     6/4/2021
                                               007NH*
4013       Wyoming Casper     STATE            4075-0211-     4/22/2021
                                               008NH*
4014       Wyoming Casper     PINEHURST FED    4NH            12/23/2021
                              3974-0805

4015       Wyoming Casper     LUND FED         3570-22-N3H*   10/29/2021

4016       Wyoming   Casper   DORADO           534 10-3H      6/21/2022
4017       Wyoming   Casper   DORADO           547 10-3H      6/21/2022
4018       Wyoming   Casper   DORADO           634 10-3H      3/30/2021
4019       Wyoming   Casper   ELM              07W19-5NH      5/11/2021




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